     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 1 of 366 Page ID #:1




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15
16                        UNITED STATES DISTRICT COURT
17                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                EASTERN DIVISION
18
19
       FEATHER RIVER TRIBAL                ) Case No.: _______________
20     HEALTH, INC.,                       )
                                           )
21                                         )
       Plaintiff,                          )
22
                                           )
23     vs.                                 ) COMPLAINT AND JURY
                                           ) DEMAND
24     PURDUE PHARMA, L.P.;                )
                                           )
25     PURDUE PHARMA, INC.; THE
                                           )
       PURDUE FREDERICK                    )
26     COMPANY, INC.; THE P.F.             )
27     LABORATORIES, INC.;                 )
                                           )
28                                            1
                                          COMPLAINT
     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 2 of 366 Page ID #:2




       RICHARD S. SACKLER;                 )   This Complaint Relates to In Re
1
       MORTIMER D.A. SACKLER;              )   National Prescription Opiate Litigation,
2                                          )
       JONATHAN D. SACKLER;                    MDL No. 2804
                                           )
3      KATHE A. SACKLER; ILENE             )
       SACKLER LEFCOURT; DAVID A.          )   Case No. 17-md-2804
4      SACKLER; BEVERLY SACKLER;           )
       THERESA SACKLER; STUART             )   Judge Dan Aaron Polster
5
       BAKER; RAYMOND SACKLER              )   N.D. Ohio (Eastern Division)
6                                          )
       TRUST; RHODES
                                           )
7      PHARMACEUTICALS, INC.;              )
       RHODES PHARMACEUTICALS              )
8      L.P.; RHODES TECHNOLOGIES;          )
9      RHODES TECHNOLOGIES INC.;           )
       ENDO HEALTH SOLUTIONS               )
10                                         )
       INC.; ENDO
                                           )
11     PHARMACEUTICALS, INC.; PAR          )
       PHARMACEUTICAL, INC.; PAR           )
12     PHARMACEUTICAL                      )
13     COMPANIES, INC. F/K/A PAR           )
       PHARMACEUTICAL HOLDINGS,            )
14     INC.; JANSSEN                       )
                                           )
15     PHARMACEUTICALS, INC.;              )
       ORTHO-MCNEIL-JANSSEN                )
16     PHARMACEUTICALS, INC.               )
17     N/K/A JANSSEN                       )
       PHARMACEUTICALS, INC.;              )
18     JANSSEN PHARMACEUTICA,              )
                                           )
19     INC. N/K/A JANSSEN                  )
       PHARMACEUTICALS, INC.;              )
20     JOHNSON & JOHNSON;                  )
21     NORAMCO, INC.; TEVA                 )
       PHARMACEUTICAL                      )
22     INDUSTRIES, LTD.; TEVA              )
                                           )
23     PHARMACEUTICALS USA, INC.;          )
       CEPHALON, INC.; ALLERGAN            )
24     PLC F/K/A ACTAVIS PLC F/K/A         )
25     ALLERGAN, INC.; ALLERGAN            )
       FINANCE, LLC, F/K/A/ ACTAVIS,       )
26     INC., F/K/A WATSON                  )
                                           )
27     PHARMACEUTICALS, INC.;              )
28                                           2
                                         COMPLAINT
     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 3 of 366 Page ID #:3




       ALLERGAN SALES, LLC;                )
1
       ALLERGAN USA, INC.; WATSON          )
2                                          )
       LABORATORIES, INC.; WARNER
                                           )
3      CHILCOTT COMPANY, LLC;              )
       ACTAVIS PHARMA, INC. F/K/A          )
4      WATSON PHARMA, INC.;                )
       ACTAVIS SOUTH ATLANTIC              )
5
       LLC; ACTAVIS ELIZABETH LLC;         )
6                                          )
       ACTAVIS MID ATLANTIC LLC;
                                           )
7      ACTAVIS TOTOWA LLC;                 )
       ACTAVIS LLC; ACTAVIS                )
8      KADIAN LLC; ACTAVIS                 )
9      LABORATORIES UT, INC., F/K/A        )
       WATSON LABORATORIES, INC.-          )
10                                         )
       SALT LAKE CITY; ACTAVIS
                                           )
11     LABORATORIES FL, INC., F/K/A        )
       WATSON LABORATORIES, INC.-          )
12     FLORIDA; INSYS                      )
13     THERAPEUTICS, INC.;                 )
       MALLINCKRODT PLC; SPECGX            )
14     LLC; MALLINCKRODT LLC;              )
                                           )
15     MYLAN PHARMACEUTICALS,              )
       INC.; WEST-WARD                     )
16     PHARMACEUTICALS CORP;               )
17     AMERISOURCEBERGEN DRUG              )
       CORPORATION; ANDA, INC.;            )
18     CARDINAL HEALTH, INC.; CVS          )
                                           )
19     HEALTH CORPORATION:                 )
       MCKESSON CORPORATION;               )
20     WALGREENS BOOTS                     )
21     ALLIANCE, INC. A/K/A                )
       WALGREEN CO.; WALMART               )
22     INC. F/K/A WAL-MART STORES,         )
                                           )
23     INC.; H. D. SMITH, LLC D/B/A        )
       HD SMITH, F/K/A H. D. SMITH         )
24     WHOLESALE DRUG CO.; H. D.           )
25     SMITH HOLDINGS, LLC; H. D.          )
       SMITH HOLDING COMPLANY;             )
26     AND THRIFTY PAYLESS.                )
                                           )
27     Defendants.
28                                           3
                                         COMPLAINT
     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 4 of 366 Page ID #:4




1           1.    Plaintiff, Feather River Tribal Health, Inc., a Tribal governmental health

2     program founded and operated by three (3) sovereign Indian tribes to address the start
3
      disparities in health care services available to Native American patients and Tribal
4
5     communities in North-Eastern California, brings this action to prevent future harm and

6     to redress past wrongs, against Defendants: Purdue Pharma, L.P.; Purdue Pharma, Inc.;
7
      The Purdue Frederick Company, Inc.; The P.F. Laboratories, Inc.; Richard S. Sackler;
8
9     Jonathan D. Sackler; Mortimer D.A. Sackler; Kathe A. Sackler; Ilene Sackler Lefcourt;
10    Beverly Sackler; Theresa Sackler; David A. Sackler; Stuart Baker; Raymond Sackler
11
      Trust; Rhodes Technologies; Rhodes Technologies, Inc. ; Rhodes Pharmaceutical, L.P.;
12
13    Rhodes Pharmaceutical, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.;
14    Par Pharmaceutical, Inc.; Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical
15
      Holdings, Inc.; Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen
16
17    Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen
18    Pharmaceuticals, Inc.; Johnson & Johnson; Noramco, Inc.; Teva Pharmaceutical
19
      Industries, Ltd.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Allergan plc f/k/a
20
21    Actavis plc f/k/a Allergan, Inc.; Allergan Finance, LLC, f/k/a/ Actavis, Inc., f/k/a Watson
22    Pharmaceuticals, Inc.; Allergan Sales, LLC; Allergan USA, Inc.; Watson Laboratories,
23
      Inc.; Warner Chilcott Company, LLC; Actavis Pharma, Inc., f/k/a/ Watson Pharma, Inc.;
24
25    Actavis South Atlantic LLC; Actavis Elizabeth LLC; Actavis Mid Atlantic LLC; Actavis
26    Totowa LLC; Actavis LLC; Actavis Kadian LLC; Actavis Laboratories UT, Inc. f/k/a
27
28
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                                            COMPLAINT
     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 5 of 366 Page ID #:5




1     Watson Laboratories, Inc.-Salt Lake City; Actavis Laboratories FL, Inc., f/k/a Watson

2     Laboratories, Inc.-Florida; Insys Therapeutics, Inc.; Mallinckrodt PLC; Mallinckrodt
3
      LLC; SpecGx LLC; Mylan Pharmaceuticals, Inc.; West-Ward Pharmaceuticals Corp;
4
5     AmerisourceBergen Drug Corporation; Anda, Inc.; Cardinal Health, Inc.; CVS Health

6     Corporation; McKesson Corporation; Walgreen Boots Alliance, Inc. a/k/a Walgreen Co.;
7
      Walmart Inc. f/k/a Wal-Mart Stores, Inc.; H.D. Smith, LLC d/b/a HD Smith, f/k/a H.D.
8
9     Wholesale Drug Company; H.D. Smith Holdings, LLC; H.D. Smith Holding Company;
10    and Thrifty Payless. Plaintiff asserts two categories of claims: claims against the
11
      pharmaceutical manufacturers of prescription opioid drugs that engaged in a massive
12
13    false marketing campaign to drastically expand the market for such drugs and their own
14    market share, and claims against entities in the supply chain that reaped enormous
15
      financial rewards by refusing to monitor and restrict the improper distribution of those
16
17    drugs.
18                                        INTRODUCTION
19
               2.   This case arises from the worst man-made epidemic in modern medical
20
21    history—the misuse, abuse, and over-prescription of opioids.

22             3.   By now, most Americans have been affected, either directly or indirectly, by
23
      the opioid disaster. But few realize that this crisis arose from the opioid manufacturers’
24
25    deliberate marketing strategy together with distributors’ equally deliberate efforts to

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27
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                                             COMPLAINT
     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 6 of 366 Page ID #:6




1     evade restrictions on opioid distribution. Manufacturers and distributors alike acted

2     without regard for the lives that would be trammeled in pursuit of profit.
3
            4.    Since the push to expand prescription opioid use began in the late 1990s, the
4
5     death toll has steadily climbed, with no sign of slowing. The number of opioid overdoses

6     in the United States rose from 8,000 in 1999 to over 20,000 in 2009, and over 33,000 in
7
      2015. In the twelve months that ended in September 2017, opioid overdoses claimed
8
9     45,000 lives.
10          5.    From 1999 through 2016, more than 350,000 people died from an overdose
11
      involving any opioids. Well over half of those deaths—over 200,000 people—involved
12
13    opioids prescribed by doctors to treat pain.        These opioids include brand-name
14    prescription medications like OxyContin, Opana ER, Vicodin, Subsys, and Duragesic, as
15
      well as generics like oxycodone, hydrocodone, and fentanyl.
16
17          6.    Most of the overdoses from non-prescription opioids are also directly related
18    to prescription pills. Many opioid users, having become addicted to but no longer able
19
      to obtain prescription opioids, have turned to heroin. According to the American Society
20
21    of Addiction Medicine, 80% of people who initiated heroin use in the past decade started
22    with prescription painkillers—which, at the molecular level and in their effect, closely
23
      resemble heroin. In fact, people who are addicted to prescription painkillers are 40 times
24
25    more likely to become addicted to heroin, and the CDC identified addiction to
26    prescription pain medication as the strongest risk factor for heroin addiction.
27
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                                            COMPLAINT
     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 7 of 366 Page ID #:7




1           7.    As a result, in part, of the proliferation of opioid pharmaceuticals between

2     the late 1990s and 2015, the life expectancy for Americans decreased for the first time in
3
      recorded history. Drug overdoses are now the leading cause of death for Americans under
4
5     50.

6           8.    In the words of Robert Anderson, who oversees death statistics at the Centers
7
      for Disease Control and Prevention, “I don’t think we’ve ever seen anything like this.
8
9     Certainly not in modern times.” On October 27, 2017, the President declared the opioid
10    epidemic a public health emergency.
11
            9.    This suit takes aim at the two primary causes of the opioid crisis: (a) a
12
13    marketing scheme involving the false and deceptive marketing of prescription opioids,
14    which was designed to dramatically increase the demand for and sale of opioids and
15
      opioid prescriptions; and (b) a supply chain scheme, pursuant to which the various entities
16
17    in the supply chain failed to design and operate systems to identify suspicious orders of
18    prescription opioids, maintain effective controls against diversion, and halt suspicious
19
      orders when they were identified, thereby contributing to the oversupply of such drugs
20
21    and fueling an illegal secondary market.
22          10.   On the demand side, the crisis was precipitated by the defendants who
23
      manufacture, sell, and market prescription opioid painkillers (“Marketing Defendants”).
24
25    Through a massive marketing campaign premised on false and incomplete information,
26    the Marketing Defendants engineered a dramatic shift in how and when opioids are
27
28
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                                            COMPLAINT
     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 8 of 366 Page ID #:8




1     prescribed by the medical community and used by patients. The Marketing Defendants

2     relentlessly and methodically, but untruthfully, asserted that the risk of addiction was low
3
      when opioids were used to treat chronic pain, and overstated the benefits and trivialized
4
5     the risk of the long-term use of opioids.

6           11.   The Marketing Defendants’ goal was simple: to dramatically increase sales
7
      by convincing doctors to prescribe opioids not only for the kind of severe pain associated
8
9     with cancer or short-term post-operative pain, but also for common chronic pains, such
10    as back pain and arthritis. They did this even though they knew that opioids were
11
      addictive and subject to abuse, and that their other claims regarding the risks, benefits,
12
13    and superiority of opioids for long-term use were untrue and unfounded.
14          12.   The Marketing Defendants’ push to increase opioid sales worked. Through
15
      their publications and websites, endless stream of sales representatives, “education”
16
17    programs, and other means, Marketing Defendants dramatically increased their sales of
18    prescription opioids and reaped billions of dollars of profit as a result. Since 1999, the
19
      amount of prescription opioids sold in the U.S. nearly quadrupled. In 2016, 289 million
20
21    prescriptions for opioids were filled in the U.S.—enough to medicate every adult in
22    America around the clock for a month.
23
            13.   Meanwhile, the Defendants made blockbuster profits. In 2012 alone, opioids
24
25    generated $8 billion in revenue for drug companies. By 2015, sales of opioids grew to
26    approximately $9.6 billion.
27
28
                                                -5-
                                             COMPLAINT
     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 9 of 366 Page ID #:9




1           14.   On the supply side, the crisis was fueled and sustained by those involved in

2     the supply chain of opioids, including manufacturers, distributors, and pharmacies
3
      (together, “Defendants”), who failed to maintain effective controls over the distribution
4
5     of prescription opioids, and who instead have actively sought to evade such controls.

6     Defendants have contributed substantially to the opioid crisis by selling and distributing
7
      far greater quantities of prescription opioids than they know could be necessary for
8
9     legitimate medical uses, while failing to report, and to take steps to halt suspicious orders
10    when they were identified, thereby exacerbating the oversupply of such drugs and fueling
11
      an illegal secondary market.
12
13          15.   From the day they made the pills to the day those pills were consumed in our
14    community, these manufacturers had control over the information regarding addiction
15
      they chose to spread and emphasize as part of their massive marketing campaign. By
16
17    providing misleading information to doctors about addiction being rare and opioids being
18    safe even in high doses, then pressuring them into prescribing their products by arguing,
19
      among other things, that no one should be in pain, the Marketing Defendants created a
20
21    population of addicted patients who sought opioids at never-before-seen rates. The
22    scheme worked, and through it the Marketing Defendants caused their profits to soar as
23
      more and more people became dependent on opioids.
24
25          16.   As many as 1 in 4 patients who receive prescription opioids long-term for
26    chronic pain in primary care setting struggles with addiction. In 2014, almost 2 million
27
28
                                                -6-
                                             COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 10 of 366 Page ID #:10




1     Americas were addicted to prescription opioids and another 600,000 to heroin. From

2     1999 to 2015, more than 183,000 people died in the U.S. from overdoses related to
3
      prescription opioids—more than the number of Americans who died in the Vietnam War.
4
5     From 1999 to 2016, more than 200,000 people died in the U.S. from overdoses related to

6     prescription opioids. Overdose deaths involving prescription opioids were five times
7
      higher in 2017 than 1999.
8
9                17.      As millions became addicted to opioids, “pill mills,” often styled as “pain
10    clinics,” sprouted nationwide and rogue prescribers stepped in to supply prescriptions for
11
      non-medical use. These pill mills, typically under the auspices of licensed medical
12
13    professionals, issue high volumes of opioid prescriptions under the guise of medical
14    treatment. Prescription opioid pill mills and rogue prescribers cannot channel opioids for
15
      illicit use without at least the tacit support and willful blindness of the Defendants, if not
16
17    their knowing support.
18               18.      As a direct and foreseeable result of Defendants’ conduct, cities, counties and
19
      health care providers across the nation, including Plaintiff, are now swept up in what the
20
21    Centers for Disease Control (“CDC”) has called a “public health epidemic” and what the
22
      U.S. Surgeon General has deemed an “urgent health crisis.”1 The increased volume of
23
24    opioid prescribing correlates directly to skyrocketing addiction, overdose and death;

25
26   1 Examining the Growing Problems of Prescription Drug and Heroin Abuse, Ctrs. For Disease Control and Prevention (Apr. 29, 2014),
          http://www,cdc,give.washington/testimony/2014/t20140429.htm; see also, Letter from Vivek H. Murthy, Surgeon General, Tide RX (Aug. 2016),
27        http://turnthetiderx.org.

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                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 11 of 366 Page ID #:11




1     black markets for diverted prescriptions opioids; and a concomitant rise in heroin and

2     fentanyl abuse by individuals who could no longer legally acquire or simply could not
3
      afford prescription opioids.
4
5            19.   Thus, rather than compassionately helping patients, this explosion in opioid

6     use and Defendants’ profits has come at the expense of patients and has caused ongoing
7
      harm and damages to Plaintiff. As the then CDC director concluded: “We know of no
8
9     other medication routinely used for a nonfatal condition that kills patients so
10
      frequently.”2
11
             20.   Defendants’ conduct in promoting opioid use, addiction, abuse, overdose and
12
13    death has had severe and far-reaching public health, social services, and criminal justice
14
      consequences, including the fueling of addiction and overdose from illicit drugs such as
15
      heroin. The costs are borne by Plaintiff and other governmental entities. These necessary
16
17    and costly responses to the opioid crisis include comprehensive substance abuse and
18
      addiction treatment, domestic violence programs, prisoner reentry programs, mental
19
      health programs, among others.
20
21           21.   The burdens imposed on Plaintiff is not the normal or typical burdens of a
22
      health care provider. Rather, these are extraordinary costs and losses that are related
23
24    directly to Defendants’ illegal actions. The Defendants’ conduct has created a a blight.

25    It has created a precedent strain on their resources, and the services they provide their
26
27   2 Id.

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                                               -8-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 12 of 366 Page ID #:12




1    tribal patients. Governmental entities and Plaintiff have been strained to the breaking

2    point by this public health crisis.
3
           22.   Defendants have not changed their ways or corrected their past misconduct
4
5    but instead are continuing to fuel the crisis.

6          23.   Within the next hour, six Americans will die from opioid overdoses; two
7
     babies will be born addicted to opioids and begin to go through withdrawal; and drug
8
9    manufacturers will earn over $2.7 million from the sale of opioids.
10         24.   Plaintiff brings this suit to bring the devastating march of this epidemic to a
11
     halt and to hold Defendants responsible for the crisis they caused.
12
13                                JURISDICTION AND VENUE
14         25.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331
15
     because Plaintiff’s claims under the Racketeer Influenced and Corrupt Organizations Act
16
17   (“RICO”), 18 U.S.C. § 1961 et seq., raise a federal question. This Court has supplemental

18   jurisdiction over the Plaintiff’s state-law claims under 28 U.S.C. § 1367 because those
19
     claims are so related to the RICO claim as to form part of the same case or controversy.
20
21         26.   This Court has personal jurisdiction over all Defendants because the causes

22   of action alleged in this Complaint arise out of each Defendants’ transacting business in
23
     California, contracting to supply services or goods in this state, causing tortious injury by
24
25   an act or omission in this state, and because the Defendants regularly do or solicit business

26   or engage in a persistent course of conduct or deriving substantial revenue from goods
27
28
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                                             COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 13 of 366 Page ID #:13




1    used or consumed or services rendered in this state. Defendants have purposefully

2    directed their actions towards California and/or have the requisite minimum contacts with
3
     California to satisfy any statutory or constitutional requirements for personal jurisdiction.
4
5           27.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) in that a

6    substantial part of the events or omissions giving rise to the claim occurred in this district.
7
     Venue is also proper under 18 U.S.C. § 1965(a) because Defendants reside, are found,
8
9    have agents, or transact their affairs in this district.
10                                             PARTIES
11
     I.PLAINTIFF
12
           28.    The Plaintiff, Feather River Tribal Health, Inc. (“FRTH”), is a Tribal
13
14   governmental non-profit Indian health program with its principal place of business in
15   Oroville, California. FRTH was formed in 1993 to address the stark disparities in health
16
     care services available to Native American patients and Tribal communities in North-
17
18   Eastern California. Plaintiff is a consortium of three sovereign, federally recognized
19   Indian tribes in California, including: (1) the Tyme Maidu Tribe of the Berry Creek
20
     Rancheria; (2) the Mooretown Rancheria, Concow Maidu Tribe; and, (3) the Enterprise
21
22   Rancheria, Estom-Yumeka Maidu Tribe (“Consortium Tribes”).
23          29.   FRTH serves as the Tribal governmental health agency for its founding
24
     Consortium Tribes. FRTH also serves members of other federally recognized Tribes,
25
26   including Native American patients and their families who reside within its service area
27
28
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                                              COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 14 of 366 Page ID #:14




1    and are eligible for FRTH’s services. The Consortium Tribes’ governing bodies have

2    each authorized FRTH to enter into a Self Governance Compact with the Secretary of
3
     Indian Health Services (IHS), as authorized by Title V of the Indian Self Determination
4
5    Education and Assistance Act (ISDEAA), and enter into a Funding Agreement under the

6    Compact, on their behalf. (Compact Between Feather River Tribal Health, Inc. on behalf
7
     of the Tyme Maidu Tribe of the Berry Creek Rancheria, Concow Maidu Tribe, and
8
9    Enterprise Rancheria, Estom-Yumeka Maidu Tribe and the United States of America,
10   Effective September 30, 2011)(“Compact”)(2011); see ISDEAA, (25 U.S.C. §5301 et
11
     seq.)(the ISDEAA gave Indian tribes and tribal entities the authority to contract directly
12
13   with the federal government to operate governmental programs serving their tribal
14   members and other eligible persons). FRTH’s Compact with IHS confirms that FRTH
15
     has “the power to decide how federal programs, services, functions and activities (or
16
17   portions thereof) shall be funded and carried out from the Indian Health Service to
18   FRTH.” (Compact).
19
           30.   FRTH’s Board of Directors is comprised of tribal delegates from each of
20
21   these Consortium Tribes. The Board of Directors is comprised of nine members and three
22   alternates who are responsible for overseeing FRTH’s health programs, culturally
23
     appropriate services, and quality of health care, including monitoring its funding and
24
25   grants. Each Tribe appoints three members and an alternate to serve on the board. The
26   Consortium Tribes and their members rely on FRTH’s health services. FRTH strives to
27
28
                                              -11-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 15 of 366 Page ID #:15




1    provide culturally appropriate health care to its Consortium Tribes, incorporating Maidu

2    culture, customs, and traditions into its health care services.
3
           31.   FRTH provides a wide range of outpatient services to its Native American
4
5    patients and their families, which ranges from approximately 5,500 to 7,500 eligible

6    patients per year.    FRTH provides comprehensive substance abuse and addiction
7
     treatment, domestic violence programs, prisoner reentry programs, and mental health
8
9    programs. FRTH provides patients who suffer both directly and indirectly from alcohol
10   and drug addiction, including opioid addiction, specialized treatment through a portfolio
11
     of services. In addition to outpatient services, FRTH contracts with third parties for in-
12
13   patient rehabilitation programs, straining its limited purchased/referred care dollars and
14   diverting resources and funding away from other programs to fight the opioid epidemic.
15
     FRTH provides these services to patients of all ages.
16
17         32.   The opioid epidemic has burdened FRTH with patients and their families
18   who require expanded patient services to treat and support opioid-related health, wellness
19
     and mental health issues. These critical services often times go unpaid and, in providing
20
21   them, FRTH has consequently incurred a considerable accumulation of unreimbursed
22   costs. Additionally, FRTH has incurred substantial costs fighting this epidemic by hiring
23
     additional staff and providers, as well as providing pain management training and
24
25   education to its staff and providers.
26
27
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                                                -12-
                                             COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 16 of 366 Page ID #:16




1           33.    Plaintiff directly and foreseeably sustained all economic damages alleged

2    herein. Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks
3
     relief. These damages have been suffered, and continue to be suffered directly, by the
4
5    Plaintiff.

6           34.    Plaintiff also seeks its future costs it will incur in caring for its patients as the
7
     epidemic created by Defendants’ wrongful and/or unlawful conduct continues.
8
9           35.    Plaintiff has standing to bring an action for the opioid epidemic created by
10   Defendants.
11
            36.    Plaintiff has standing to recover damages incurred as a result of Defendants’
12
13   actions and omissions. Plaintiff has standing to bring all claims pled herein, including,
14   inter alia, to bring claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3)
15
     (“persons” include entities which can hold legal title to property) and 18 U.S.C. § 1964
16
17   (“persons” have standing).
18   II. DEFENDANTS
19
     A.    Marketing Defendants
20
21          37.    At all relevant times, the Marketing Defendants, each of whom is defined

22   below, have packaged, distributed, supplied, sold, placed into the stream of commerce,
23
     labeled, described, marketed, advertised, promoted and purported to warn or purported
24
25   to inform prescribers and users regarding the benefits and risks associated with the use of

26   the prescription opioid drugs. The Marketing Defendants, at all times, have manufactured
27
28
                                                  -13-
                                               COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 17 of 366 Page ID #:17




1     and sold prescription opioids without fulfilling their legal duty to prevent diversion and

2     report suspicious orders.
3
                 1.                  Purdue Entities
4
                 38.      Defendant Purdue Pharma L.P. (“PPL”) is a limited partnership organized
5
6     under the laws of Delaware with its principal place of business in Stamford, Connecticut.
7
      None of the PPL’s partners have citizenship in the State of California.
8
                 39.      Defendant Purdue Pharma Inc. (“PPI”) is a New York corporation with its
9
10    principal place of business in Stamford, Connecticut.
11
                 40.      Defendant The Purdue Frederick Company, Inc. (“PFC”) is a New York
12
      corporation with its principal place of business in Stamford, Connecticut.
13
14               41.      PPL, PPI, and PFC and their DEA registrant subsidiaries and affiliates
15
      (collectively, “Purdue”) are engaged in the manufacture, promotion, distribution, and sale
16
17    of opioids nationally, and in Plaintiff’s community, including the following:

18              Product                  Chemical Name                                                                           Schedule3
19              Name
20              OxyContin                Oxycodone hydrochloride, extended release                                               Schedule
                                                                                                                                 II
21
                MS Contin                Morphine sulfate, extended release                                                      Schedule
22                                                                                                                               II
23              Dilaudid                 Hydromorphone hydrochloride                                                             Schedule
                                                                                                                                 II
24
     3 Since passage of the Comprehensive Drug Abuse Prevention and Control Act of 1970, 21 U.S.C. § 801 et seq. (“CSA” or “Controlled Substances Act”),
25        opioids have been regulated as controlled substances. As controlled substances, they are categorized in five schedules, ranked in order of their
          potential for abuse, with Schedule I being the most dangerous. The CSA imposes a hierarchy of restrictions on prescribing and dispensing drugs
26        based on their medicinal value, likelihood of addiction or abuse, and safety. Opioids generally had been categorized as Schedule II or Schedule III
          drugs; hydrocodone and tapentadol were recently reclassified from Schedule III to Schedule II. Schedule II drugs have a high potential for abuse, and
          may lead to severe psychological or physical dependence. Schedule III drugs are deemed to have a lower potential for abuse, but their abuse still may
27        lead to moderate or low physical dependence or high psychological dependence.

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                                                                         -14-
                                                                      COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 18 of 366 Page ID #:18




1            Product       Chemical Name                                      Schedule3
             Name
2
             Dilaudid-     Hydromorphone hydrochloride                        Schedule
3            HP                                                               II
4            Butrans       Buprenorphine                                      Schedule
5                                                                             III

6            Hysingla      Hydrocodone bitrate                                Schedule
             ER                                                               II
7
             Targiniq      Oxycodone hydrochloride and naloxone               Schedule
8            ER            hydrochloride                                      II
9
10           42.   Purdue made thousands of payments to physicians nationwide, including in
11
     California, ostensibly for activities including participating on speakers’ bureaus,
12
13   providing consulting services, assisting in post-marketing safety surveillance and other
14   services, but in fact to deceptively promote and maximize the use of opioids.
15
             43.   OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national
16
17   annual sales of OxyContin have fluctuated between $2.47 billion and $3.1 billion, up
18   four-fold from 2006 sales of $800 million. OxyContin constitutes roughly 30% of the
19
     entire market for analgesic drugs (i.e., painkillers). Sales of OxyContin (launched in
20
21   1996) went from a mere $49 million in its first full year on the market to $1.6 billion in
22   2002.
23
             44.   In 2007, Purdue settled criminal and civil charges against it for misbranding
24
25   OxyContin and agreed to pay the United States $635 million—at the time, one of the
26   largest settlements with a drug company for marketing misconduct. None of this stopped
27
28
                                               -15-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 19 of 366 Page ID #:19




1    Purdue. In fact, Purdue continued to create the false perception that opioids were safe

2    and effective for long term use, even after being caught, by using unbranded marketing
3
     methods to circumvent the system. In short, Purdue paid the fine when caught and then
4
5    continued business as usual, deceptively marketing and selling billions of dollars of

6    opioids each year.
7
           2.             Purdue Related Entities
8
9          45.   Purdue-related Defendants are entities and individuals associated with
10   Purdue. Three Purdue entities, PPLP, PPI, and PFC are members of a worldwide group
11
     of associated companies all of which are owned and controlled, directly or indirectly
12
13   through family trusts and holding companies, 50% by the widow and descendants of
14   Mortimer D. Sackler (“Mortimer Sackler Family”) and 50% by the widow and
15
     descendants of Raymond R. Sackler (“Raymond Sackler Family”) (together the Mortimer
16
17   Sackler Family and the Raymond Sackler Family are referred to as the “Sackler
18   Families”). At all relevant times, the Sackler Families jointly managed and controlled all
19
     of the associated companies that the two families owned. Each of the Purdue-related
20
21   individuals and entities named herein knowingly aided, abetted, participated in, and
22   benefitted from the wrongdoing of Purdue; none is named merely because of his, her, or
23
     its status as a shareholder, limited partner, member of a limited liability company, or
24
25   beneficiary of a trust.
26
27
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                                              -16-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 20 of 366 Page ID #:20




1           46.   Purdue has been sued by many plaintiffs for the role it played in creating the

2    opioid epidemic. The three Purdue entities, PPLP, PPI, and PFC, may, however, lack
3
     sufficient assets to satisfy their liabilities to those plaintiffs, other creditors, and Plaintiff,
4
5    because billions of dollars of profits from Purdue’s sale of opioids has been distributed

6    to the Sackler Families since the 1980s. Accordingly, Plaintiff includes those members
7
     of the Sackler Families and their controlled entities who knowingly participated in the
8
9    wrongdoing of Purdue who knowingly received the benefits of that wrongdoing.
10          47.   Defendant Richard S. Sackler is a natural person residing in Travis County,
11
     Texas. He is a son of Raymond Sackler and, beginning in the 1990’s, served as a member
12
13   of the Board of Directors of Purdue and Purdue-related entities.
14          48.   Defendant Jonathan D. Sackler is a natural person residing in Fairfield
15
     County, Connecticut. He is a son of Raymond Sackler and has been a member of the
16
17   Board of Directors of Purdue and Purdue-related entities since the 1990s.
18          49.   Defendant Mortimer D.A. Sackler is a natural person residing in New York
19
     County, New York. He is the son of Mortimer Sackler and has been a member of the
20
21   board of directors of Purdue and Purdue-related entities since the 1990s.
22          50.   Defendant Kathe A. Sackler is a natural person residing in Fairfield County,
23
     Connecticut. She is the daughter of Mortimer Sackler and has served as a member of the
24
25   board of directors of Purdue and Purdue-related entities since the 1990s.
26
27
28
                                                  -17-
                                               COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 21 of 366 Page ID #:21




1          51.     Defendant Ilene Sackler Lefcourt is a natural person residing in New York

2    County, New York. She is the daughter of Mortimer Sackler and has served as a member
3
     of the board of directors of Purdue and Purdue-related entities since the 1990s.
4
5          52.     Defendant Beverly Sackler is a natural person residing in Fairfield County,

6    Connecticut. She is the widow of Raymond Sackler and has served as a member of the
7
     board of directors of Purdue and Purdue-related entities since the 1990s.
8
9          53.     Defendant Theresa Sackler is a natural person residing in New York County,
10   New York. She is the widow of Mortimer Sackler and has served as a member of the
11
     board of directors of Purdue and Purdue-related entities since the 1990s.
12
13         54.     Defendant David A. Sackler is a natural person residing in New York County,
14   New York. He is the son of Richard Sackler (and thus grandson of Raymond Sackler)
15
     and has served as a member of the board of directors of Purdue and Purdue-related entities
16
17   since 2012.
18         55.     Defendant Rhodes Technologies (“Rhodes Tech”) is a Delaware general
19
     partnership formed on April 12, 2005 with its principal place of business in Coventry,
20
21   Rhode Island. At relevant times, Rhodes Tech or its predecessor has manufactured and
22   supplied Purdue with oxycodone, the active pharmaceutical ingredient in OxyContin, for
23
     use in the manufacture of pharmaceutical preparations.
24
25         56.     Defendant Rhodes Technologies Inc. (“Rhodes Tech Inc.”) is a Delaware
26   corporation formed January 28, 1999 with its principal place of business in Coventry,
27
28
                                               -18-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 22 of 366 Page ID #:22




1    Rhode Island. Rhodes Tech Inc. is a general partner of Rhodes Tech. At relevant times,

2    Rhodes Tech Inc. has manufactured and supplied Purdue with oxycodone, the active
3
     pharmaceutical ingredient in OxyContin, for use in the manufacture of pharmaceutical
4
5    preparations or has managed Rhodes Tech or its predecessor in doing so.

6          57.   Defendant Rhodes Pharmaceuticals L.P. (“Rhodes Pharma”) is a Delaware
7
     limited partnership formed November 9, 2007 with its principal place of business in
8
9    Coventry, Rhode Island. At all relevant times, Rhodes Pharma has marketed a generic
10   form of OxyContin which is manufactured by Purdue Pharmaceuticals L.P. (“PPNC”), a
11
     Delaware limited partnership, which is a subsidiary of Defendant PPLP and which owns
12
13   and operates a pharmaceutical manufacturing facility in Wilson, North Carolina.
14         58.   Defendant Rhodes Pharmaceuticals Inc. (“Rhodes Pharma Inc.”) is a New
15
     York corporation formed on November 9, 2007. Rhodes Pharma Inc. is a general partner
16
17   of Rhodes Pharma. At all relevant times, Rhodes Pharma Inc. has marketed a generic
18   form of OxyContin which is manufactured by PPNC.
19
           59.   Defendant Trust for the Benefit of Members of the Raymond Sackler Family
20
21   (the “Raymond Sackler Trust”) is a trust of which Defendants Beverly Sackler, Richard
22   S. Sackler, and/or Jonathan D. Sackler are trustees. It is the 50% direct or indirect
23
     beneficial owner of Purdue and the Purdue-related Defendants and the recipient of 50%
24
25   of the profits from the sale of opioids by Purdue and the Purdue-related Defendants.
26
27
28
                                             -19-
                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 23 of 366 Page ID #:23




1                 60.       Defendant The P.F. Laboratories, Inc. (“PF Labs”) is a New Jersey

2     corporation with its principal place of business located in Totowa, New Jersey. It was, at
3
      relevant times, engaged in the business of manufacturing OxyContin for Purdue. At all
4
5     relevant times, PF Labs has been beneficially owned, managed, and controlled by

6     Defendant Sackler Family members.
7
                  61.       Defendant Stuart D. Baker is a natural person residing in Suffolk County,
8
9     New York. He has served as a senior executive of, and/or counsel to, Purdue, Purdue-
10    related entities, and members of the Sackler Families since the 1990s.
11
                  62.       Defendants Richard S. Sackler, Jonathan D. Sackler, Mortimer D.A. Sackler,
12
13    Kathe A. Sackler, Ilene Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David A.
14    Sackler, Stuart Baker, Rhodes Tech, Rhodes Tech Inc., Rhodes Pharma, Rhodes Pharma
15
      Inc., Raymond Sackler Trust, and PF Labs, are “Manufacturer Defendants” as used in
16
17    FRTH’s Complaint. Plaintiff adopts all allegations and causes of action alleged against
18    the Manufacturer Defendants in its Complaint against these defendants as if fully set forth
19
      herein.
20
21                3.                   Actavis Entities4
22
                  63.       Defendant Allergan plc (f/k/a Actavis plc, f/k/a Allergan, Inc.) is a public
23
24    limited company incorporated in Ireland with its principal place of business in Dublin,

25
     4 The list of Allergan-related entities shall be understood to incorporate all affiliates that owned, manufactured, distributed, monitored, or sold opioid
26        medicines at issue, including: Allergan Finance, LLC; Allergan Sales, LLC; Allergan USA, Inc.; Warner Chilcott Company, LLC; Watson
          Laboratories, Inc.; Actavis Elizabeth LLC; Actavis Pharma, Inc.; Actavis LLC; Actavis Mid Atlantic LLC; Actavis Kadian LLC; Actavis Totowa
          LLC; Actavis South Atlantic LLC; Actavis Laboratories UT, Inc.; Actavis Laboratories FL, Inc.; and Allergan Finance LLC f/k/a Actavis, Inc., f/k/a
27        Watson Pharmaceuticals, Inc.

28
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                                                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 24 of 366 Page ID #:24




1    Ireland, and its administrative headquarters and all executive officers located in Madison,

2    New Jersey.      In October 2012, the Actavis Group was acquired by Watson
3
     Pharmaceuticals, Inc., and the combined company changed its name to Actavis, Inc. as
4
5    of January 2013, and then to Actavis plc in October 2013. In October 2013, Actavis plc

6    (n/k/a Allergan plc) acquired Warner Chilcott plc pursuant to a transaction agreement
7
     dated May 19, 2013. Actavis plc (n/k/a Allergan plc) was established to facilitate the
8
9    business combination between Actavis, Inc. (n/k/a Allergan Finance, LLC) and Warner
10   Chilcott plc. Following the consummation of the October 1, 2013 acquisition, Actavis,
11
     Inc. (n/k/a Allergan Finance, LLC Inc.) and Warner Chilcott plc became wholly-owned
12
13   subsidiaries of Actavis plc (n/k/a Allergan plc). Pursuant to the transaction, each of
14   Actavis, Inc.’s common shares was converted into one Actavis plc share. Further,
15
     Actavis plc (n/k/a Allergan plc) was the “successor issuer” to Actavis, Inc. and Warner
16
17   Chilcott. Actavis plc acquired Allergan, Inc. in March 2015, and the combined company
18   thereafter changed its name to Allergan plc.
19
           64.   The transaction that created Actavis plc converted each share of Actavis
20
21   Inc.’s Class A common shares into one Actavis plc Ordinary Share. See City of Chicago
22   v. Purdue Pharma L.P., et al. (N.D. Ill. 2015), No. 14-4361, 2015 WL 2208423, at
23
     *7. Actavis Inc. and Actavis plc had the same corporate headquarters both before and
24
25   after the merger; Actavis plc had the same website as Actavis Inc.; and, Actavis plc
26   maintained all of Actavis Inc.’s officers in the same positions. See id. Actavis plc’s SEC
27
28
                                              -21-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 25 of 366 Page ID #:25




1     filings explained that “references throughout to ‘we,’ ‘our,’ ‘us,’ the ‘Company’ or

2        ‘Actavis’ refer interchangeably to Watson Pharmaceuticals, Inc., Actavis, Inc., and
3
         Actavis plc depending on the date.” See City of Chicago v. Purdue Pharma L.P., et al.
4
5        (N.D. Ill. 2015), No. 14-4361, 2015 WL 2208423, at *7.

6                65.       Defendant Allergan Finance, LLC (f/k/a Actavis, Inc., f/k/a Watson
7
         Pharmaceuticals, Inc.) is a limited liability company incorporated in Nevada and
8
9        headquartered in Madison, New Jersey. Allergan Finance, LLC is a wholly-owned
10       subsidiary of defendant Allergan plc. In 2008, Actavis, Inc. (n/k/a Allergan Finance,
11
         LLC), acquired the opioid Kadian through its subsidiary, Actavis Elizabeth LLC, which
12
13       had been the contract manufacturer of Kadian since 2005. Since 2008, Kadian’s label
14       has identified the following entities as the manufacturer or distributor of Kadian: Actavis
15
         Elizabeth LLC, Actavis Kadian LLC, Actavis Pharma, Inc., and Allergan USA, Inc.
16
17       Currently, Allergan USA, Inc. is contracted with UPS SCS, Inc. to distribute Kadian on
18       its behalf.
19
                 66.       Defendant Allergan Sales, LLC is incorporated in Delaware and
20
21       headquartered in Irvine, California. Allergan Sales, LLC is the current New Drug
22       Application (“NDA”) holder for Kadian, and in 2016, Allergan Sales, LLC held the
23
24       Abbreviated New Drug Applications (“ANDAs”) for Norco.5 Allergan Sales, LLC is

25       the wholly-owned subsidiary of Allergan plc.
26
27   5     The Norco ANDAs are currently held by Allergan Pharmaceuticals International Limited, which is incorporated in Ireland.

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                                                                      COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 26 of 366 Page ID #:26




1           67.   Defendant Allergan USA, Inc. is incorporated in Delaware and

2    headquartered in Madison, New Jersey. Allergan USA, Inc. is currently responsible for
3
     Norco and Kadian sales. Allergan USA, Inc. is a wholly-owned subsidiary of Allergan
4
5    plc.

6           68.   Defendant Watson Laboratories, Inc. is a Nevada corporation with its
7
     principal place of business in Corona, California. Watson Laboratories, Inc. was sold to
8
9    Teva Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale of its generic
10   businesses to Teva. Prior to the sale, Watson Laboratories, Inc. was a direct subsidiary
11
     of Actavis, Inc., (n/k/a Allergan Finance, LLC). Between 2000 and 2015, Watson
12
13   Laboratories, Inc. held the ANDAs for Norco and was the manufacturer of the drug.
14   Watson Laboratories, Inc. was also the ANDA holder of various generic opioids.
15
            69.   Defendant Warner Chilcott Company, LLC is a limited liability company
16
17   incorporated in Puerto Rico. Since 2015, Warner Chilcott Company, LLC has been the
18   manufacturer of Norco. Warner Chilcott Company, LLC was a subsidiary of Warner
19
     Chilcott plc until Warner Chilcott plc became a wholly owned subsidiary of Allergan plc
20
21   in 2013. Warner Chilcott Company LLC was sold to Teva Pharmaceutical Industries Ltd.
22   as part of Allergan plc’s 2016 sale of its generic businesses to Teva.
23
            70.   Defendant Actavis Pharma, Inc. (f/k/a Watson Pharma, Inc.) is a Delaware
24
25   corporation with its principal place of business in New Jersey.     Actavis Pharma, Inc.
26   (f/k/a Watson Pharma, Inc.) was previously responsible for sales of Kadian and Norco.
27
28
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                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 27 of 366 Page ID #:27




1    Actavis Pharma, Inc. was sold to Teva Pharmaceutical Industries Ltd. as part of Allergan

2    plc’s 2016 sale of its generic businesses to Teva.
3
           71.   Defendant Actavis South Atlantic LLC is a Delaware limited liability
4
5    company with its principal place of business in Sunrise, Florida. Actavis South Atlantic

6    LLC was listed as the ANDA holder for oxymorphone and fentanyl transdermal. Actavis
7
     South Atlantic LLC was sold to Teva Pharmaceutical Industries Ltd. as part of Allergan
8
9    plc’s 2016 sale of its generic businesses to Teva.
10         72.   Defendant Actavis Elizabeth LLC is a Delaware limited liability company
11
     with its principal place of business in Elizabeth, New Jersey. From December 19, 2005,
12
13   until it purchased the medication in December 2008, Actavis Elizabeth LLC served as
14   the contract manufacturer of Kadian for Alpharma. Actavis Elizabeth LLC held the NDA
15
     for Kadian from 2008 to 2013. Actavis Elizabeth LLC was also the holder of ANDAs
16
17   for the following Schedule II opioid products: oxycodone/acetaminophen; homatropine
18   methylbromide/hydrocodone bitartrate; morphine sulfate capsule; morphine sulfate
19
     tablet; oxycodone/hydrochloride tablet; oxycodone/ibuprofen; and oxymorphone tablet.
20
21   Actavis Elizabeth LLC was sold to Teva Pharmaceutical Industries Ltd. as part of
22   Allergan plc’s 2016 sale of its generic businesses to Teva.
23
           73.   Defendant Actavis Mid Atlantic LLC is a Delaware limited liability company
24
25   with its principal place of business in Parsippany, New Jersey. Actavis Mid Atlantic LLC
26   has held the ANDA for homatropine methylbromide/hydrocodone bitartrate. Actavis
27
28
                                              -24-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 28 of 366 Page ID #:28




1    Mid Atlantic LLC was sold to Teva Pharmaceutical Industries Ltd. as part of Allergan

2    plc’s 2016 sale of its generic businesses to Teva.
3
           74.   Defendant Actavis Totowa LLC is a Delaware limited liability company with
4
5    its principal place of business in Parsippany, New Jersey. Actavis Totowa LLC has held

6    the ANDAs for the following Schedule II opioid products: oxycodone/acetaminophen;
7
     homatropine methylbromide; oxycodone/hydrochloride.
8
9          75.   Defendant Actavis LLC is a Delaware limited liability company with its
10   principal place of business in Parsippany, New Jersey. Defendants Actavis South
11
     Atlantic LLC, Actavis Elizabeth LLC, Actavis Mid Atlantic LLC, and Actavis Totowa
12
13   LLC were all direct subsidiaries of Actavis LLC, which was an indirect subsidiary of
14   defendant Watson Laboratories, Inc. Watson Laboratories, Inc., in turn, was a direct
15
     subsidiary of Actavis, Inc. (n/k/a Allergan Finance, LLC). Actavis LLC was sold to Teva
16
17   Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale of its generic businesses
18   to Teva.
19
           76.   Defendant Actavis Kadian LLC is a Delaware limited liability company with
20
21   its principal place of business in Morristown, New Jersey. Actavis Kadian LLC has been
22   identified on Kadian’s label as a manufacturer or distributor of Kadian. Actavis Kadian
23
     LLC was sold to Teva Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale
24
25   of its generic businesses to Teva.
26
27
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                                               -25-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 29 of 366 Page ID #:29




1            77.   Defendant Actavis Laboratories UT, Inc. (f/k/a Watson Laboratories, Inc.-

2    Salt Lake City) is a Delaware limited liability company with its principal place of
3
     business in Salt Lake City, Utah. Actavis Laboratories UT, Inc. was the Kadian NDA
4
5    holder from 2013 to 2016 and was listed as the NDA holder for morphine sulfate capsule.

6    Actavis Laboratories UT, Inc. was sold to Teva Pharmaceutical Industries Limited as part
7
     of Allergan plc’s 2016 sale of its generic businesses to Teva. Prior to the sale, Actavis
8
9    Laboratories UT, Inc. was a direct subsidiary of Actavis, Inc. (n/k/a Allergan Finance,
10   LLC).
11
             78.   Defendant Actavis Laboratories FL, Inc. (f/k/a Watson Laboratories, Inc.-
12
13   Florida) is a Florida limited liability company with its principal place of business in
14   Davie, Florida. Actavis Laboratories FL, Inc. was a Norco ANDA holder in 2015 and
15
     was     the   ANDA     holder   of     the   following   Schedule   II   opioid   products:
16
17   hydrocodone/acetaminophen;           hydrocodone/ibuprofen;     oxycodone/aspirin;      and
18   hydromorphone tablet. Actavis Laboratories FL, Inc. was sold to Teva Pharmaceutical
19
     Industries Ltd. as part of Allergan plc’s 2016 sale of its generic businesses to Teva. Prior
20
21   to the sale, Actavis Laboratories FL, Inc. was a direct subsidiary of Andrx Corporation,
22   which was a direct subsidiary of Actavis, Inc. (n/k/a Allergan Finance, LLC). Andrx
23
     Corporation was transferred to Teva as part of the 2016 sale.
24
25           79.   Each of these defendants and entities currently is or was previously owned
26   by Defendant Allergan plc, which uses them to market and sell its drugs in the United
27
28
                                                -26-
                                             COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 30 of 366 Page ID #:30




1    States. Collectively, these defendants and entities, and their DEA registrant subsidiaries

2    and affiliates that manufacture, promote, distribute, and sell prescription opioids, are
3
     referred to as “Actavis.”
4
5          80.   Actavis manufactures or has manufactured the following drugs as well as

6    generic versions of Kadian, Duragesic, and Opana in the United States:
7
           Product        Chemical Name                                       Schedule
8          Name
9          Kadian         Morphine sulfate, extended release                  Schedule
                                                                              II
10
           Norco          Hydrocodone bitartate and acetaminophen             Schedule
11                                                                            II
12         4.           Cephalon Entities
13         81.   Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware
14
     corporation with its principal place of business in North Wales, Pennsylvania. Teva USA
15
16   was in the business of selling generic opioids, including a generic form of OxyContin
17   from 2005 to 2009. Teva USA is a wholly-owned subsidiary of Defendant Teva
18
     Pharmaceutical Industries, Ltd. (“Teva Ltd.”), an Israeli corporation (collectively,
19
20   “Teva”).
21         82.   Defendant Cephalon, Inc. is a Delaware corporation with its principal place
22
     of business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.
23
24         83.   Teva USA and Cephalon, Inc. and their DEA registrant subsidiaries and
25   affiliates (collectively, “Cephalon”) work together to manufacture, promote, distribute
26
27
28
                                              -27-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 31 of 366 Page ID #:31




1    and sell both brand name and generic versions of opioids in the United States and in

2    Plaintiff’s community, including the following:
3
4                     Product Name        Chemical           Schedule
                                          Name
5
                      Actiq               Fentanyl citrate   Schedule II
6
                      Fentora             Fentanyl           Schedule II
7                                         buccal
8
9          84.   From 2000 forward, Cephalon has made thousands of payments to physicians
10
     nationwide, including in California, many of whom were not oncologists and did not treat
11
12   cancer pain, ostensibly for activities including participating on speakers’ bureaus,
13   providing consulting services, assisting in post-marketing safety surveillance and other
14
     services, but in fact to deceptively promote and maximize the use of opioids.
15
16         5.          Janssen Entities
17         85.   Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its
18
     principal place of business in New Brunswick, New Jersey.
19
20         86.   Defendant Janssen Pharmaceuticals, Inc. (“Janssen Pharmaceuticals”) is a

21   Pennsylvania corporation with its principal place of business in Titusville, New Jersey,
22
     and is a wholly-owned subsidiary of J&J. J&J corresponds with the FDA regarding
23
24   Janssen’s products.   Janssen Pharmaceuticals, Inc. formerly was known as Ortho-
25   McNeil-Janssen Pharmaceuticals, Inc., which in turn was formerly known as Janssen
26
     Pharmaceutica, Inc.
27
28
                                              -28-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 32 of 366 Page ID #:32




1                87.      Defendant            Noramco,             Inc.      (“Noramco”)   is   a   Delaware   company

2     headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J and
3
      its manufacturer of active pharmaceutical ingredients until July 2016 when J&J sold its
4
5     interests to SK Capital.

6                88.      Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“OMP”), now
7
      known as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal
8
9     place of business in Titusville, New Jersey.
10               89.      Defendant Janssen Pharmaceutica, Inc. (“Janssen Pharmaceutica”), now
11
      known as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal
12
13    place of business in Titusville, New Jersey.
14               90.      J&J, Janssen Pharmaceuticals, OMP, and Janssen Pharmaceutica and their
15
      DEA registrant subsidiaries and affiliates (collectively, “Janssen”) are or have been
16
17    engaged in the manufacture, promotion, distribution, and sale of opioids nationally, and
18    in Plaintiff’s community. Among the drugs Janssen manufactures or manufactured are
19
      the following:
20
21                     Product                  Chemical Name                                    Schedule
                       Name
22
                       Duragesic                Fentanyl                                         Schedule II
23
                       Nucynta6                 Tapentadol hydrochloride,                        Schedule II
24                                              immediate release
25                     Nucynta                  Tapentadol hydrochloride, extended               Schedule II
26                     ER                       release

27   6 Depomed, Inc. acquired the rights to Nucynta and Nucynta ER from Janssen in 2015.

28
                                                                       -29-
                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 33 of 366 Page ID #:33




1
2          91.   Janssen made thousands of payments to physicians nationwide, including,
3
     upon information and belief, in California, ostensibly for activities including participating
4
5    on speakers’ bureaus, providing consulting services, assisting in post-marketing safety

6    surveillance and other services, but in fact to deceptively promote and maximize the use
7
     of opioids. Together, Nucynta and Nucynta ER accounted for $172 million in sales in
8
9    2014. Prior to 2009, Duragesic accounted for at least $1 billion in annual sales.
10         92.   Information from the U.S. Department of Justice’s Office of the Inspector
11
     General shows that J&J made payments to prescribers, but does not indicate which drug
12
13   was being promoted when J&J made these payments.
14         93.   Janssen, like many other companies, has a corporate code of conduct, which
15
     clarifies the organization’s mission, values and principles. Janssen’s employees are
16
17   required to read, understand and follow its Code of Conduct for Health Care Compliance.
18   J&J imposes this code of conduct on Janssen as a pharmaceutical subsidiary of J&J.
19
     Documents posted on J&J’s and Janssen’s websites confirm J&J’s control of the
20
21   development and marketing of opioids by Janssen. Janssen’s website “Ethical Code for
22   the Conduct of Research and Development,” names only J&J and does not mention
23
     Janssen anywhere within the document. The “Ethical Code for the Conduct of Research
24
25   and Development” posted on the Janssen website is J&J’s company-wide Ethical Code,
26   which it requires all of its subsidiaries to follow.
27
28
                                                -30-
                                             COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 34 of 366 Page ID #:34




1          94.   The “Every Day Health Care Compliance Code of Conduct” posted on

2    Janssen’s website is a J&J company-wide document that describes Janssen as one of the
3
     “Pharmaceutical Companies of J&J” and as one of the “J&J Pharmaceutical Affiliates.”
4
5    It governs how “[a]ll employees of J&J Pharmaceutical Affiliates,” including those of

6    Janssen, “market, sell, promote, research, develop, inform and advertise J&J
7
     Pharmaceutical Affiliates’ products.” All Janssen officers, directors, employees, sales
8
9    associates must certify that they have “read, understood and will abide by” the code. The
10   code governs all of the forms of marketing at issue in this case.
11
           95.   J&J made payments to thousands of physicians nationwide ostensibly for
12
13   activities including participating on speakers’ bureaus, providing consulting services,
14   assisting in post-marketing safety surveillance and other services, but in fact to
15
     deceptively promote and maximize the use of opioids.
16
17         6.           Endo Entities
18         96.   Defendant Endo Health Solutions Inc. (“EHS”) is a Delaware corporation
19
     with its principal place of business in Malvern, Pennsylvania.
20
21         97.   Defendant Endo Pharmaceuticals, Inc. (“EPI”) is a wholly-owned subsidiary

22   of EHS and is a Delaware corporation with its principal place of business in Malvern,
23
     Pennsylvania.
24
25         98.   Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its

26   principal place of business located in Chestnut Ridge, New York. Par Pharmaceutical,
27
28
                                              -31-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 35 of 366 Page ID #:35




1    Inc. is a wholly-owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par

2    Pharmaceutical Holdings, Inc. Defendant Par Pharmaceuticals Companies, Inc. is a
3
     Delaware corporation with its principal place of business located in Chestnut Ridge, New
4
5    York (Par Pharmaceutical, Inc. and Par Pharmaceutical Companies, Inc. collectively,

6    “Par Pharmaceutical”). Par Pharmaceutical was acquired by Endo International plc in
7
     September 2015 and is an operating company of Endo International plc. EHS, EPI, and
8
9    Par Pharmaceutical, and their DEA registrant subsidiaries and affiliates (collectively,
10   “Endo”) manufacture opioids sold nationally, and in Plaintiff’s community. Among the
11
     drugs Endo manufactures or manufactured are the following:
12
13      Product          Chemical Name                              Schedule
        Name
14
        Opana ER         Oxymorphone hydrochloride, extended        Schedule II
15                       release
16      Opana            Oxymorphone hydrochloride                  Schedule II
17      Percodan         Oxymorphone hydrochloride and aspirin      Schedule II
18      Percocet         Oxymorphone hydrochloride and              Schedule II
                         acetaminophen
19
        Generic          Oxycodone                                  Schedule II
20
        Generic          Oxymorphone                                Schedule II
21
        Generic          Hydromorphone                              Schedule II
22
        Generic          Hydrocodone                                Schedule II
23
24
25         99.    Endo made thousands of payments to physicians nationwide, including in

26   California, ostensibly for activities including participating on speakers’ bureaus,
27
28
                                             -32-
                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 36 of 366 Page ID #:36




1    providing consulting services, assisting in post-marketing safety surveillance and other

2    services, but in fact to deceptively promote and maximize the use of opioids.
3
           100. Opioids made up roughly $403 million of Endo’s overall revenues of $3
4
5    billion in 2012, accounting for over 10% of Endo’s total revenue; Opana ER yielded

6    revenue of $1.15 billion from 2010 to 2013. Endo also manufactures and sells generic
7
     opioids, both directly and through its subsidiaries, Par Pharmaceutical and Qualitest
8
9    Pharmaceuticals, Inc., including generic oxycodone, oxymorphone, hydromorphone, and
10   hydrocodone products.
11
           101. The Food and Drug Administration requested that Endo remove Opana ER
12
13   from the market in June 2017. The FDA relied on post-marketing data in reaching its
14   conclusion based on risk of abuse.
15
           7.          Insys Therapeutics, Inc.
16
           102. Insys Therapeutics, Inc. is a Delaware corporation with its principal place of
17
18   business in Chandler, Arizona. Insys’s principal product and source of revenue is Subsys:
19
        Product         Chemical Name                                Schedule
20      Name
21      Subsys          Fentanyl                                     Schedule II
22
23
           103. Insys made thousands of payments to physicians nationwide, including in
24
     California, ostensibly for activities including participating on speakers’ bureaus,
25
26
27
28
                                             -33-
                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 37 of 366 Page ID #:37




1    providing consulting services, assisting in post-marketing safety surveillance and other

2    services, but in fact to deceptively promote and maximize the use of opioids.
3
           104. Subsys is a transmucosal immediate-release formulation (TIRF) of fentanyl,
4
5    contained in a single-dose spray device intended for oral, under-the-tongue

6    administration.   Subsys was approved by the FDA solely for the treatment of
7
     breakthrough cancer pain.
8
9          105. In 2016, Insys made approximately $330 million in net revenue from Subsys.

10   Insys promotes, sells, and distributes Subsys throughout the United States, and in
11
     Plaintiff’s community.
12
13         106. Insys’s founder and owner was recently arrested and charged, along with

14   other Insys executives, with multiple felonies in connection with an alleged conspiracy
15
     to bribe practitioners to prescribe Subsys and defraud insurance companies. Other Insys
16
17   executives and managers were previously indicted.
18         8.          Mallinckrodt Entities
19
           107. Defendant Mallinckrodt plc is an Irish public limited company with its
20
21   headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was

22   incorporated in January 2013 for the purpose of holding the pharmaceuticals business of
23
     Covidien plc, which was fully transferred to Mallinckrodt plc in June of that year.
24
25   Mallinckrodt plc also operates under the registered business name Mallinckrodt

26   Pharmaceuticals, with its U.S. headquarters in Hazelwood, Missouri.             Defendant
27
28
                                             -34-
                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 38 of 366 Page ID #:38




1    Mallinckrodt LLC is a Delaware corporation with its headquarters in Hazelwood,

2    Missouri. Defendant SpecGx LLC is a Delaware limited liability company with its
3
     headquarters in Clayton, Missouri and is a wholly-owned subsidiary of Mallinckrodt plc.
4
5    Mallinckrodt plc, Mallinckrodt LLC, and SpecGx LLC and their DEA registrant

6    subsidiaries and affiliates (together, “Mallinckrodt”) manufacture, market, sell and
7
     distribute pharmaceutical drugs throughout the United States, and in Plaintiff’s
8
9    community. Mallinckrodt is the largest U.S. supplier of opioid pain medications and
10   among the top ten generic pharmaceutical manufacturers in the United States, based on
11
     prescriptions.
12
13         108. Mallinckrodt manufactures and markets two branded opioids: Exalgo, which

14   is extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and
15
     Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009,
16
17   Mallinckrodt Inc., a subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The
18   FDA approved Exalgo for treatment of chronic pain in 2012. Mallinckrodt further
19
     expanded its branded opioid portfolio in 2012 by purchasing Roxicodone from Xanodyne
20
21   Pharmaceuticals. In addition, Mallinckrodt developed Xartemis XR, an extended-release
22   combination of oxycodone and acetaminophen, which the FDA approved in March 2014,
23
     and which Mallinckrodt has since discontinued. Mallinckrodt promoted its branded
24
25   opioid products with its own direct sales force.
26
27
28
                                              -35-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 39 of 366 Page ID #:39




1          109. While it has sought to develop its branded opioid products, Mallinckrodt has

2    long been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015
3
     it received approximately 25% of the U.S. Drug Enforcement Administration’s (“DEA”)
4
5    entire annual quota for controlled substances that it manufactures. Mallinckrodt also

6    estimated, based on IMS Health data for the same period, that its generics claimed an
7
     approximately 23% market share of DEA Schedules II and III opioid and oral solid dose
8
9    medications.
10         110. Mallinckrodt operates a vertically integrated business in the United States:
11
     (1) importing raw opioid materials, (2) manufacturing generic opioid products, primarily
12
13   at its facility in Hobart, New York, and (3) marketing and selling its products to drug
14   distributors,   specialty   pharmaceutical   distributors,   retail   pharmacy      chains,
15
     pharmaceutical benefit managers that have mail-order pharmacies, and hospital buying
16
17   groups.
18         111. Among the drugs Mallinckrodt manufactures or has manufactured are the
19
     following:
20
21       Product
                          Chemical Name                                    Schedule
         Name
22
         Exalgo           Hydromorphone hydrochloride, extended            Schedule II
23                        release
24       Roxicodone       Oxycodone hydrochloride                          Schedule II
25       Xartemis XR      Oxycodone hydrochloride and                      Schedule II
26                        acetaminophen

27       Methadose        Methadone hydrochloride                          Schedule II

28
                                             -36-
                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 40 of 366 Page ID #:40




1       Product
                         Chemical Name                                    Schedule
        Name
2
        Generic          Morphine sulfate, extended release               Schedule II
3
        Generic          Morphine sulfate oral solution                   Schedule II
4
        Generic          Fentanyl transdermal system                      Schedule II
5       Generic          Oral transmucosal fentanyl citrate               Schedule II
6       Generic          Oxycodone and acetaminophen                      Schedule II
7       Generic          Hydrocodone bitartrate and acetaminophen         Schedule II
8       Generic          Hydromorphone hydrochloride                      Schedule II
9       Generic          Hydromorphone hydrochloride, extended            Schedule II
                         release
10
        Generic          Naltrexone hydrochloride                         unscheduled
11
        Generic          Oxymorphone hydrochloride                        Schedule II
12
        Generic          Methadone hydrochloride                          Schedule II
13
        Generic          Oxycodone hydrochloride                          Schedule II
14
        Generic          Buprenorphine and naloxone                       Schedule III
15
16
           112. Mallinckrodt made thousands of payments to physicians nationwide,
17
18   including in California, ostensibly for activities including participating on speakers’
19
     bureaus, providing consulting services, assisting in post-marketing safety surveillance
20
21   and other services, but in fact to deceptively promote and maximize the use of opioids.

22         9.          Mylan Pharmaceuticals, Inc.
23
           113. Defendant, Mylan Pharmaceuticals, Inc. (“Mylan”), is a West Virginia
24
25   corporation with its principal place of business in Canonsburg, Pennsylvania.

26
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                                             -37-
                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 41 of 366 Page ID #:41




1          114. At all relevant times, Mylan has packaged, distributed, supplied, sold, and

2    otherwise placed into the stream of commerce, both nationwide and in this jurisdiction,
3
     opioid drugs. Mylan has also labeled, described, marketed, advertised, promoted and
4
5    purported to warn or purported to inform prescribers and users regarding the benefits and

6    risks associated with the use of the prescription opioid drugs.
7
           115. Further, Mylan manufactured and sold prescription opioids without fulfilling
8
9    its legal duty to prevent diversion and report suspicious orders.
10         116. Based on private ARCOS data made available to Plaintiff, drugs sold and
11
     manufactured by Mylan represent a substantial market share in Plaintiff’s jurisdiction
12
13   from at least 2006-2014.
14         117. Mylan’s conduct thus directly caused the worst man-made epidemic in
15
     modern medical history—the misuse, abuse, and over-prescription of opioids across this
16
17   country, including in this jurisdiction.
18         10.          West-Ward Pharmaceuticals Corp.
19
           118. Defendant West-Ward Pharmaceuticals Corp. (“West-Ward”) is a Delaware
20
21   corporation with its principal place of business located in Eatontown, New Jersey. West-
22   Ward is the United States agent and subsidiary of Hikma Pharmaceuticals PLC
23
     (“Hikma”), a London-based global pharmaceutical company.
24
25         119. At all relevant times, West-Ward has packaged, distributed, supplied, sold,

26   and otherwise placed into the stream of commerce, both nationwide and in this
27
28
                                                   -38-
                                                COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 42 of 366 Page ID #:42




1     jurisdiction, opioid drugs. West-Ward also labeled, described, marketed, advertised,

2     promoted and purported to warn or purported to inform prescribers and users regarding
3
      the benefits and risks associated with the use of the prescription opioid drugs.
4
5                120. Further, West-Ward manufactured and sold prescription opioids without

6     fulfilling its legal duty to prevent diversion and report suspicious orders.
7
                 121. Based on private ARCOS data made available to Plaintiff, drugs sold and
8
9     manufactured by West-Ward LLC represent a substantial market share in Plaintiff’s
10    jurisdiction from at least 2006-2014.
11
                 122. West-Ward’s conduct thus directly caused the worst man-made epidemic in
12
13    modern medical history—the misuse, abuse, and over-prescription of opioids across this
14    country, including in this jurisdiction.
15
                 123. Collectively, Purdue and Purdue related entities, Actavis, Cephalon, Janssen,
16
17    Endo, Insys, Mallinckrodt, Mylan and West-Ward are referred to as “Marketing
18
      Defendants.”7
19
      B.       Distributor Defendants
20
21               124. The Distributor Defendants are defined below. At all relevant times, the

22    Distributor Defendants have distributed, supplied, sold, and placed into the stream of
23
      commerce the prescription opioids, without fulfilling the fundamental duty of wholesale
24
25    drug distributors to detect and warn of diversion of dangerous drugs for non-medical
26
27   7 Together, Purdue, Cephalon, Janssen, Endo, and Mallinckrodt are also sometimes referred to as “RICO Marketing Defendants.”

28
                                                                       -39-
                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 43 of 366 Page ID #:43




1    purposes. The Distributor Defendants universally failed to comply with federal and/or

2    state law. The Distributor Defendants are engaged in “wholesale distribution,” as defined
3
     under state and federal law. Plaintiff alleges the unlawful conduct by the Distributor
4
5    Defendants is a substantial cause for the volume of prescription opioids plaguing

6    Plaintiff’s community.
7
           1.          AmerisourceBergen Drug Corporation
8
           125. AmerisourceBergen Drug Corporation (“AmerisourceBergen”), through its
9
10   various DEA registrant subsidiaries and affiliated entities, is a wholesaler of
11
     pharmaceutical    drugs    that    distributes   opioids   throughout     the   country.
12
     AmerisourceBergen is the eleventh largest company by revenue in the United States, with
13
14   annual revenue of $147 billion in 2016. AmerisourceBergen’s principal place of business
15
     is located in Chesterbrook, Pennsylvania, and it is incorporated in Delaware.
16
17          2.         Anda, Inc.

18         126. Defendant Anda, Inc., (“Anda”) through its various DEA registrant

19   subsidiaries and affiliated entities, including but not limited to, Anda Pharmaceuticals,
20
     Inc., is the fourth largest distributor of generic pharmaceuticals in the United States.
21
22   Anda has its principal office located in Weston, Florida. In October 2016, Defendant
23   Teva acquired Anda from Allergan plc (i.e., Defendant Actavis), for $500 million in cash.
24
     At all times relevant to this Complaint, Anda distributed prescription opioids throughout
25
26   the United States, including in California and Plaintiff’s community.
27
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                                             -40-
                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 44 of 366 Page ID #:44




1          3.           Cardinal Health, Inc.

2          127. Cardinal Health, Inc. (“Cardinal”) describes itself as a “global, integrated

3
     health care services and products company,” and is the fifteenth largest company by
4
     revenue in the United States, with annual revenue of $121 billion in 2016. Through its
5
6    various DEA registrant subsidiaries and affiliated entities, Cardinal distributes
7
     pharmaceutical drugs, including opioids, throughout the country. Cardinal is an Ohio
8
     corporation and is headquartered in Dublin, Ohio. Cardinal, including its subsidiaries
9
10   and affiliated entities, has been licensed as a wholesale distributor of dangerous drugs in
11
     California.   Based on Defendant Cardinal’s own estimates, one of every six
12
     pharmaceutical products dispensed to United States patients travels through the Cardinal
13
14   Health network.
15
           4.           CVS Health Corporation
16
           128. Defendant CVS Health Corporation (“CVS”) is a Delaware corporation with
17
18   its principal place of business in Rhode Island. At all times relevant to this Complaint,
19   CVS distributed prescription opioids throughout the United States, including in
20
     California.
21
22         5.           McKesson Corporation
23         129. McKesson Corporation (“McKesson”) is fifth on the list of Fortune 500
24
     companies, ranking immediately after Apple and ExxonMobil, with annual revenue of
25
26   $191 billion in 2016. McKesson, through its various DEA registrant subsidiaries and

27
28
                                              -41-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 45 of 366 Page ID #:45




1    affiliated entities, is a wholesaler of pharmaceutical drugs that distributes opioids

2    throughout the country. McKesson is incorporated in Delaware, with its principal place
3
     of business in San Francisco, California.
4
5          130. In January 2017, McKesson paid a record $150 million to resolve an

6    investigation by the U.S. Department of Justice (“DOJ”) for failing to report suspicious
7
     orders of certain drugs, including opioids. In addition to the monetary penalty, the DOJ
8
9    required McKesson to suspend sales of controlled substances from distribution centers in
10   Ohio, Florida, Michigan and Colorado. The DOJ described these “staged suspensions”
11
     as “among the most severe sanctions ever agreed to by a [Drug Enforcement
12
13   Administration] registered distributor.”
14          6.         Walgreens Boots Alliance, Inc.
15
           131. Defendant Walgreens Boots Alliance, Inc., also known as Walgreen Co.
16
17   (“Walgreens”) is a Delaware corporation with its principal place of business in Illinois.

18   At all times relevant to this Complaint, Walgreens distributed prescription opioids
19
     throughout the United States, including in California.
20
21          7.         Walmart Inc.

22         132. Defendant Walmart Inc. (“Walmart”), formerly known as Wal-Mart Stores,

23   Inc., is a Delaware corporation with its principal place of business in Arkansas. Walmart,
24
     through its various DEA registrant subsidiaries and affiliated entities, conducts business
25
26   as a licensed wholesale distributor. At all times relevant to this Complaint, Walmart
27
28
                                              -42-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 46 of 366 Page ID #:46




1     distributed prescription opioids throughout the United States, including in Plaintiff’s

2     community.
3
                   8.                  H.D. Smith8
4
5                133. Defendant HD Smith Wholesale Drug Company (“H.D. Smith”) is a

6     Delaware corporation with its principal place of business in Springfield, Illinois. H.D.
7
      Smith is a privately held independent pharmaceuticals distributor of wholesale brand,
8
9     generic, and specialty pharmaceuticals. At all times relevant to this Complaint, H.D.
10
      Smith distributed prescription opioids throughout the United States, including in
11
      California.
12
13               9.                    Thrifty Payless, Inc.
14
                 134. Defendant Thrifty Payless, Inc. is a California corporation with its principal
15
      office in located in Camp Hill, Pennsylvania and is a subsidiary of Rite Aid Corporation.
16
17               135. At all times relevant to this Complaint, Thrifty Payless, Inc., as a DEA
18
      registrant or through its DEA registrant subsidiaries and its affiliate entities, distributed
19
      prescription opioids throughout the United States, including in Plaintiff’s community.
20
21    Thrifty Payless, Inc. was also authorized to conduct business in this jurisdiction.
22
23
24
25
26   8 The list of H.D. Smith-related entities shall be understood to incorporate all affiliates that owned, manufactured, distributed, monitored, or sold opioid
          medicines at issue, including: H.D. Smith, LLC; H.D. Smith; H.D. Smith Wholesale Drug Co.; H.D. Smith Holdings, LLC; and H.D. Smith Holdings
27        Company.

28
                                                                            -43-
                                                                         COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 47 of 366 Page ID #:47




1               136. Based on the private ARCOS data made available to Plaintiff, drugs sold and

2     distributed by Thrifty Payless, Inc. represent a substantial market share in Plaintiff’s
3
      jurisdiction from at least 2006-2014.
4
5               137. Thrifty Payless, Inc.’s conduct thus directly caused the worst man-made

6     epidemic in modern medical history—the misuse, abuse, and over-prescription of opioids
7
      across this country, including in this jurisdiction
8
9               138. Collectively, Defendants CVS, Walgreens, and Walmart are referred to as

10    “National Retail Pharmacies.”                              Defendants AmerisourceBergen, Anda, Cardinal,
11
      McKesson, H.D. Smith, Thrifty Payless, and the National Retail Pharmacies are
12
13    collectively referred to as the “Distributor Defendants.”9
14
                139. Defendants include the above referenced entities as well as their
15
      predecessors, successors, affiliates, subsidiaries, partnerships and divisions to the extent
16
17    that they are engaged in the manufacture, promotion, distribution, sale, and/or dispensing
18
      of opioids.
19
      C.       Agency and Authority
20
21              140. All of the actions described in this Complaint are part of, and in furtherance

22    of, the unlawful conduct alleged herein, and were authorized, ordered, and/or done by
23
      Defendants’ officers, agents, employees, or other representatives while actively engaged
24
25
26
     9 Together, Purdue, Actavis, Cephalon, Endo, Mallinckrodt, Cardinal, McKesson, and AmerisourceBergen are sometimes referred to as “RICO Supply
27        Chain Defendants.”

28
                                                                      -44-
                                                                   COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 48 of 366 Page ID #:48




1     in the management of Defendants’ affairs within the course and scope of their duties and

2     employment, and/or with Defendants’ actual, apparent, and/or ostensible authority.
3
                                                        FACTUAL ALLEGATIONS
4
                               10
5 I.FACTS COMMON TO ALL CLAIMS
6                A.        Opioids and Their Effects
7                141. The term “opioid” refers to a class of drugs that bind with opioid receptors in
8
      the brain and includes natural, synthetic, and semi-synthetic opioids. Natural opioids are
9
10    derived from the opium poppy. Generally used to treat pain, opioids produce multiple

11    effects on the human body, the most significant of which are analgesia, euphoria, and
12
      respiratory depression.
13
14               142. The medicinal properties of opioids have been recognized for millennia—as

15    well as their potential for abuse and addiction. The opium poppy contains various opium
16
      alkaloids, three of which are used in the pharmaceutical industry today: morphine,
17
18    codeine, and thebaine. Early use of opium in Western medicine was with a tincture of
19    opium and alcohol called laudanum, which contains all of the opium alkaloids and is still
20
      available by prescription today. Chemists first isolated the morphine and codeine
21
22    alkaloids in the early 1800s.
23               143. In 1827, the pharmaceutical company Merck began large-scale production
24
      and commercial marketing of morphine. During the American Civil War, field medics
25
26   10 The allegations in this complaint are made upon information and belief, including upon information immediately available to plaintiffs from the
          ARCOS database upon their initial and intensive review. Plaintiff reserves the right to seek leave to amend or correct this Complaint based upon
27        further analysis of the ARCOS, IMS Health, and other data and upon further investigation and discovery.

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                                                                          -45-
                                                                       COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 49 of 366 Page ID #:49




1     commonly used morphine, laudanum, and opium pills to treat the wounded, and many

2     veterans were left with morphine addictions. By 1900, an estimated 300,000 people were
3
      addicted to opioids in the United States, and many doctors prescribed opioids solely to
4
5     prevent their patients from suffering withdrawal symptoms. The nation’s first Opium

6     Commissioner, Hamilton Wright, remarked in 1911, “The habit has this nation in its grip
7
      to an astonishing extent. Our prisons and our hospitals are full of victims of it, it has
8
9     robbed ten thousand businessmen of moral sense and made them beasts who prey upon
10    their fellows . . . it has become one of the most fertile causes of unhappiness and sin in
11
      the United States.”11
12
13              144. Pharmaceutical companies tried to develop substitutes for opium and

14    morphine that would provide the same analgesic effects without the addictive properties.
15
      In 1898, Bayer Pharmaceutical Company began marketing diacetylmorphine (obtained
16
17    from acetylation of morphine) under the trade name “Heroin.” Bayer advertised heroin
18    as a non-addictive cough and cold remedy suitable for children, but as its addictive nature
19
      became clear, heroin distribution in the U.S. was limited to prescription only in 1914 and
20
21    then banned altogether a decade later.
22              145. Although heroin and opium became classified as illicit drugs, there is little
23
      difference between them and prescription opioids. Prescription opioids are synthesized
24
25
26   11 Nick Miroff, From Teddy Roosevelt to Trump: How Drug Companies Triggered an Opioid Crisis a Century Ago, The Wash. Post (Oct. 17, 2017),
          https://www.washingtonpost.com/news/retropolis/wp/2017/09/29/the-greatest-drug-fiends-in-the-world-an-american-opioid-crisis-in-
27        1908/?utm_term=.7832633fd7ca.

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                                                                       -46-
                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 50 of 366 Page ID #:50




1    from the same plant as heroin, have similar molecular structures, and bind to the same

2    receptors in the human brain.
3
           146. Due to concerns about their addictive properties, prescription opioids have
4
5    usually been regulated at the federal level as Schedule II controlled substances by the

6    U.S. Drug Enforcement Administration (“DEA”) since 1970.
7
           147. Throughout the twentieth century, pharmaceutical companies continued to
8
9    develop prescription opioids like Percodan, Percocet, and Vicodin, but these opioids were
10   generally produced in combination with other drugs, with relatively low opioid content.
11
           148. In contrast, OxyContin, the product whose launch in 1996 ushered in the
12
13   modern opioid epidemic, is pure oxycodone. Purdue initially made it available in the
14   following strengths: 10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg.
15
     The weakest OxyContin delivers as much narcotic as the strongest Percocet, and some
16
17   OxyContin tablets delivered sixteen times that.
18         149. Medical professionals describe the strength of various opioids in terms of
19
     morphine milligram equivalents (“MME”). According to the CDC, doses at or above 50
20
21   MME/day double the risk of overdose compared to 20 MME/day, and one study found
22   that patients who died of opioid overdose were prescribed an average of 98 MME/day.
23
           150. Different opioids provide varying levels of MMEs. For example, just 33 mg
24
25   of oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50
26
27
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                                             -47-
                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 51 of 366 Page ID #:51




1    MME/day threshold is nearly reached by a prescription of 15 mg twice daily. One 160

2    mg tablet of OxyContin, which Purdue took off the market in 2001, delivered 240 MME.
3
           151. The wide variation in the MME strength of prescription opioids renders
4
5    misleading any effort to capture “market share” by the number of pills or prescriptions

6    attributed to Purdue or other manufacturers. Purdue, in particular, focuses its business
7
     on branded, highly potent pills, causing it to be responsible for a significant percent of
8
9    the total amount of MME in circulation, even though it currently claims to have a small
10   percent of the market share in terms of pills or prescriptions.
11
           152. Fentanyl is a synthetic opioid that is 100 times stronger than morphine and
12
13   50 times stronger than heroin. First developed in 1959, fentanyl is showing up more and
14   more often in the market for opioids created by Marketing Defendants’ promotion, with
15
     particularly lethal consequences.
16
17         153. The effects of opioids vary by duration.         Long-acting opioids, such as
18   Purdue’s OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s
19
     Opana ER, and Actavis’s Kadian, are designed to be taken once or twice daily and are
20
21   purported to provide continuous opioid therapy for, in general, 12 hours. Short-acting
22   opioids, such as Cephalon’s Actiq and Fentora, are designed to be taken in addition to
23
     long-acting opioids to address “episodic pain” (also referred to as “breakthrough pain”)
24
25   and provide fast-acting, supplemental opioid therapy lasting approximately 4 to 6 hours.
26   Still other short-term opioids, such as Insys’s Subsys, are designed to be taken in addition
27
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                                               -48-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 52 of 366 Page ID #:52




1    to long-acting opioids to specifically address breakthrough cancer pain, excruciating pain

2    suffered by some patients with end-stage cancer. The Marketing Defendants promoted
3
     the idea that pain should be treated by taking long-acting opioids continuously and
4
5    supplementing them by also taking short-acting, rapid-onset opioids for episodic or

6    “breakthrough” pain.
7
           154. Patients develop tolerance to the analgesic effect of opioids relatively
8
9    quickly. As tolerance increases, a patient typically requires progressively higher doses
10   in order to obtain the same perceived level of pain reduction. The same is true of the
11
     euphoric effects of opioids—the “high.” However, opioids depress respiration, and at
12
13   very high doses can and often do arrest respiration altogether. At higher doses, the effects
14   of withdrawal are more severe. Long-term opioid use can also cause hyperalgesia, a
15
     heightened sensitivity to pain.
16
17         155. Discontinuing opioids after more than just a few weeks of therapy will cause

18   most patients to experience withdrawal symptoms. These withdrawal symptoms include:
19
     severe anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations,
20
21   delirium, pain, and other serious symptoms, which may persist for months after a
22   complete withdrawal from opioids, depending on how long the opioids were used.
23
           156. As one doctor put it, the widespread, long-term use of opioids “was an
24
25   experiment on the population of the United States. It wasn’t randomized, it wasn’t
26   controlled, and no data was collected until they started gathering death statistics.”
27
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                                               -49-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 53 of 366 Page ID #:53




1       B.        The Resurgence of Opioid Use in the United States

2            1.   The Sackler Family Integrated Advertising and Medicine
3            157. Given the history of opioid abuse in the U.S. and the medical profession’s
4
     resulting wariness, the commercial success of the Marketing Defendants’ prescription
5
6    opioids would not have been possible without a fundamental shift in prescribers’

7    perception of the risks and benefits of long-term opioid use.
8
             158. As it turned out, Purdue Pharma was uniquely positioned to execute just such
9
10   a maneuver, thanks to the legacy of a man named Arthur Sackler, the (now-deceased)
11   brother of Raymond and Mortimer Sacker. The Sackler family is the sole owner of
12
     Purdue and one of the wealthiest families in America, with a net worth of $13 billion as
13
14   of 2016. The company’s profits go to Sackler family trusts and entities. Yet the Sacklers
15   have avoided publicly associating themselves with Purdue, letting others serve as the
16
     spokespeople for the company.
17
18           159. The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

19   patent-medicine company called the Purdue Frederick Company in 1952. It was Arthur
20
     Sackler who created the pharmaceutical advertising industry as we know it, laying the
21
22   groundwork for the OxyContin promotion that would make the Sacklers billionaires.
23           160. Arthur Sackler was both a psychiatrist and a marketing executive, and, by
24
     many accounts, a brilliant and driven man. He pursued two careers simultaneously, as a
25
26   psychiatrist at Creedmoor State Hospital in New York and the president of an advertising
27
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                                              -50-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 54 of 366 Page ID #:54




1    agency called William Douglas McAdams. He pioneered both print advertising in

2    medical journals and promotion through physician “education” in the form of seminars
3
     and continuing medical education courses. He also understood the persuasive power of
4
5    recommendations from fellow physicians, and did not hesitate to manipulate information

6    when necessary. For example, one promotional brochure produced by his firm for Pfizer
7
     showed business cards of physicians from various cities as if they were testimonials for
8
9    the drug, but when a journalist tried to contact these doctors, he discovered that they did
10   not exist.
11
            161. Arthur Sackler revolutionized medical marketing in the 1950’s and 60’s by
12
13   creating the very marketing ploys his family later used to perpetuate the massive fraud
14   alleged in this action. In striving to make Pfizer (with its blockbuster drug, valium) a
15
     household name among physicians, Arthur Sackler recognized that “selling new drugs
16
17   requires a seduction of not just the patient but the doctor who writes the prescription,”
18   and he maximized influence over physician prescribing by developing the following
19
     marketing ploys to disseminate pharmaceutical messaging to the masses under the guise
20
21   of science and truth:
22
                  a.    contacting prescribers directly with a variety of perks, benefits and
23
                        even job offers;
24
                  b.    publishing seemingly neutral articles in medical journals, citing
25
                        scientific studies (frequently underwritten by the pharmaceutical
26
                        companies whose products he was marketing);
27
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                                              -51-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 55 of 366 Page ID #:55




1                         c.        marketing illnesses (i.e., lamenting and marketing the under treatment
2                                   of purported illnesses and the corresponding under-utilization of drugs
3                                   he was promoting);
4                         d.        paying prominent physicians to endorse his products; and
5                         e.        funding          continuing            medical           education           programs            (“CME’s”),
6                                     controlling the messaging of key opinion leaders, and maximizing
7                                     influence over physician prescribing practices.
8
9               162. It was Arthur Sackler who, in the 1960s, made Valium into the first $100-

10    million drug, so popular it became known as “Mother’s Little Helper.” When Arthur’s
11
      client, Roche, developed Valium, it already had a similar drug, Librium, another
12
13    benzodiazepine, on the market for treatment of anxiety. So Arthur invented a condition

14    he called “psychic tension”—essentially stress—and pitched Valium as the solution.12
15
      The campaign, for which Arthur was compensated based on volume of pills sold, was a
16
17    remarkable success.
18
                163. Arthur Sackler created not only the advertising for his clients but also the
19
      vehicle to bring their advertisements to doctors—a biweekly newspaper called the
20
21    Medical Tribune, which was distributed for free to doctors nationwide. Arthur also
22
      conceived a company now called IMS Health Holdings Inc., which monitors prescribing
23
      practices of every doctor in the U.S. and sells this valuable data to pharmaceutical
24
25
26
     12 Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of Addiction and Death 204 (Rodale 2003) (hereinafter “Meier”); see also, One Family Reaped
27        Billions From Opioids, WBUR On Point (Oct. 23, 2017), http://www.wbur.org/onpoint/2017/10/23/one-family-reaped-billions-from-opioids.

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                                                                       -52-
                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 56 of 366 Page ID #:56




1    companies like Marketing Defendants, who utilize it to target and tailor their sales pitches

2    to individual physicians.
3
            2.    Purdue and the Sackler Families and the Development of OxyContin
4
            164. The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small
5
6    patent-medicine company called the Purdue Frederick Company (“PF Co.”) in 1952.
7
            165. PF Co. had been formed in 1892 by Dr. John Purdue Gray and George
8
     Frederick Bingham and incorporated in New York on June 29, 1911.
9
10          166. After Arthur’s death, Mortimer and Raymond bought out his share. Since that
11
     time PF Co. and its associated companies have all been owned by the Raymond Sackler
12
     Family and the Mortimer Sackler Family.
13
14          167. PF Co. is no longer an active New York corporation, having been merged
15
     into PF Labs on May 7, 2004.
16
            168. At all relevant times, PF Co. and PF Labs have been beneficially owned by
17
18   the Sackler Families and controlled by them through Defendant Sackler Family members.
19
            169. After the Sackler brothers acquired the Purdue Frederick Company in 1952,
20
21   Purdue sold products ranging from earwax remover to antiseptic, and it became a

22   profitable business. As an advertising executive, Arthur Sackler was not involved, on
23
     paper at least, in running Purdue, which would have been a conflict of interest. Raymond
24
25   Sackler became Purdue’s head executive, while Mortimer Sackler ran Purdue’s UK

26   affiliate.
27
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                                               -53-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 57 of 366 Page ID #:57




1                170. Beginning in the 1980s PF Co. and its associated companies engaged in the

2     business of designing, testing, manufacturing, labeling, advertising, promoting,
3
      marketing, selling or distributing opioids throughout the United States.
4
5                171. In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug

6     producer that had developed a sustained-release technology suitable for morphine.
7
      Purdue marketed this extended-release morphine as MS Contin, and it quickly became
8
9     Purdue’s bestseller. As the patent expiration for MS Contin loomed, Purdue searched for
10    a drug to replace it. Around that time, Raymond’s oldest son, Richard Sackler, who was
11
      also a trained physician, became more involved in the management of the company.
12
13    Richard had grand ambitions for the company; according to a long-time Purdue sales
14
      representative, “Richard really wanted Purdue to be big—I mean really big.”13 Richard
15
      believed Purdue should develop another use for its “Contin” timed-release system.
16
17               172. In 1990, Purdue’s vice president of clinical research, Robert Kaiko, sent a
18
      memo to Richard and other executives recommending that the company work on a pill
19
      containing oxycodone. At the time, oxycodone was perceived as less potent than
20
21    morphine, largely because it was most commonly prescribed as Percocet, a relatively
22
      weak oxycodone-acetaminophen combination pill. MS Contin was not only approaching
23
24    patent expiration but had always been limited by the stigma associated with morphine.

25    Oxycodone did not have that problem, and what’s more, it was sometimes mistakenly
26
     13 Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire (Oct. 16, 2017), http://www.esquire.com/news-
27        politics/a12775932/sackler-family-oxycontin/.

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                                                                        -54-
                                                                     COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 58 of 366 Page ID #:58




1     called “oxycodeine,” which also contributed to the perception of relatively lower potency,

2     because codeine is weaker than morphine. Purdue acknowledged using this to its
3
      advantage when it later pled guilty to criminal charges of “misbranding” in 2007,
4
5     admitting that it was “well aware of the incorrect view held by many physicians that

6     oxycodone was weaker than morphine” and “did not want to do anything ‘to make
7
      physicians think that oxycodone was stronger or equal to morphine’ or to ‘take any
8
9     steps . . . that would affect the unique position that OxyContin’” held among
10
      physicians.14
11
              173. OxyContin was created by PF Co., but responsibility for designing, testing,
12
13    manufacturing, labeling, advertising, promoting, marketing, selling, and distributing
14
      OxyContin and other opioid products was shared among PF Co., Purdue, PF Labs, and
15
      other Purdue-related companies.
16
17            174. At relevant times, OxyContin was manufactured by PF Labs.
18
              175. Even though oxycodone did not have the same stigma as morphine, in focus
19
      groups conducted before OxyContin’s release, Purdue learned that doctors were
20
21    concerned about the abuse potential of opioids. The focus group concluded that the
22
      perceived abuse potential of opioids was the “‘biggest negative’ that might prevent
23
24    widespread use of the drug.”

25
26
27   14 Id.

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                                               -55-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 59 of 366 Page ID #:59




1                176. For Purdue and OxyContin to be “really big,”15 Purdue needed to both

2     distance its new product from the traditional view of narcotic addiction risk, and broaden
3
      the drug’s uses beyond cancer pain and hospice care. A marketing memo sent to Purdue’s
4
5     top sales executives in March 1995 recommended that if Purdue could show that the risk
6     of abuse was lower with OxyContin than with traditional immediate-release narcotics,
7
      sales would increase. As discussed below, Purdue did not find or generate any such
8
9     evidence, but this did not stop Purdue from making that claim regardless.
10
                 177. Armed with this and other misrepresentations about the risks and benefits of
11
      its new drug, Purdue was able to open an enormous untapped market: patients with non-
12
13    end-of-life, non-acute, everyday aches and pains. As Dr. David Haddox, a Senior
14
      Medical Director at Purdue, declared on the Early Show, a CBS morning talk program,
15
      “There are 50 million patients in this country who have chronic pain that’s not being
16
17    managed appropriately every single day. OxyContin is one of the choices that doctors
18
      have available to them to treat that.”16
19
20               178. In pursuit of these 50 million potential customers, Purdue poured resources

21    into OxyContin’s sales force and advertising, particularly to a far broader audience of
22
      primary care physicians who treated patients with chronic pain complaints. The graph
23
24    below shows how promotional spending in the first six years following OxyContin’s
25
26
     15 Id.
27   16 Meier, supra note 12, at 156.

28
                                                  -56-
                                               COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 60 of 366 Page ID #:60




1     launch dwarfed Purdue’s spending on MS Contin or Defendant Janssen’s spending on

2     Duragesic.17
3
4
5
6
7
8
9
10
11
12
13
14
15
16              179. Prior to Purdue’s launch of OxyContin, no drug company had ever promoted
17
      such a pure, high-strength Schedule II narcotic to so wide an audience of general
18
19    practitioners.

20              180. In the two decades following OxyContin’s launch, Purdue continued to
21
      devote substantial resources to its promotional efforts.
22
23              181. Purdue has generated estimated sales of more than $35 billion from opioids

24    since 1996, raking in more than $3 billion in 2015 alone. Remarkably, its opioid sales
25
26
     17 U.S. General Accounting Office, OxyContin Abuse and Diversion and Efforts to Address the Problem, U.S. General Accounting Office Report to
27        Congressional Requesters, at 22 (Dec. 2003), http://www.gao.gov/new/items/d04110.pdf.

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                                                                       -57-
                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 61 of 366 Page ID #:61




1    continued to climb even after a period of media attention and government inquiries

2    regarding OxyContin abuse in the early 2000s and a criminal investigation culminating
3
     in guilty pleas in 2007. Purdue proved itself skilled at evading full responsibility and
4
5    continuing to sell through the controversy. The company’s annual opioid sales of $3

6    billion in 2015 represent a four-fold increase from its 2006 sales of $800 million.
7
           182. One might imagine that Richard Sackler’s ambitions have been realized. But
8
9    in the best tradition of family patriarch Arthur Sackler, Purdue has its eyes on even greater
10   profits. Under the name of Mundipharma, the Sacklers are looking to new markets for
11
     their opioids—employing the exact same playbook in South America, China, and India
12
13   as they did in the United States.
14         183. In May 2017, a dozen members of Congress sent a letter to the World Health
15
     Organization, warning it of the deceptive practices Purdue is unleashing on the rest of the
16
17   world through Mundipharma:
18   We write to warn the international community of the deceptive and dangerous
19   practices of Mundipharma International—an arm of Purdue Pharmaceuticals. The
     greed and recklessness of one company and its partners helped spark a public
20   health crisis in the United States that will take generations to fully repair. We urge
21   the World Health Organization (WHO) to do everything in its power to avoid
     allowing the same people to begin a worldwide opioid epidemic. Please learn from
22   our experience and do not allow Mundipharma to carry on Purdue’s deadly legacy
23   on a global stage. . . .
24   Internal documents revealed in court proceedings now tell us that since the early
25   development of OxyContin, Purdue was aware of the high risk of addiction it
     carried. Combined with the misleading and aggressive marketing of the drug by
26   its partner, Abbott Laboratories, Purdue began the opioid crisis that has devastated
27
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                                               -58-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 62 of 366 Page ID #:62




1     American communities since the end of the 1990s. Today, Mundipharma is using
      many of the same deceptive and reckless practices to sell OxyContin abroad. . . .
2
      In response to the growing scrutiny and diminished U.S. sales, the Sacklers have
3
      simply moved on. On December 18, the Los Angeles Times published an
4     extremely troubling report detailing how in spite of the scores of lawsuits against
      Purdue for its role in the U.S. opioid crisis, and tens of thousands of overdose
5
      deaths, Mundipharma now aggressively markets OxyContin internationally. In
6     fact, Mundipharma uses many of the same tactics that caused the opioid epidemic
      to flourish in the U.S., though now in countries with far fewer resources to devote
7
      to the fallout.18
8
                184. Purdue’s recent pivot to untapped markets—after extracting substantial
9
10    profits from American communities and leaving local and Tribal governments to address
11    the devastating and still growing damage the company caused—only serves to underscore
12
      that Purdue’s actions have been knowing, intentional, and motivated by profits
13
14    throughout this entire story.
15         3.   Purdue’s Officers and Directors Knew About, and Participated in,
16    Purdue’s Wrongdoing
17              185. The members of the board of Purdue were intimately involved in the activities
18
      of the entities that they managed, often on a weekly or even daily basis.
19
                186. Purdue, PF Co., PF Labs, and the Sackler Families launched OxyContin with
20
21    one of the biggest pharmaceutical marketing campaigns in history, deploying many
22
      persuasive techniques pioneered by Arthur. They trained and armed a force of
23
24    approximately 1,000 sales representatives with charts showing OxyContin's purported

25
26
     18 Letter from Members of Congress to Dr. Margaret Chan, Director-General, World Health Organization (May 3, 2017),
27        http://katherineclark.house.gov/_cache/files/a577bd3c-29ec-4bb9-bdba-1ca71c784113/mundipharma-letter-signatures.pdf.

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                                                                       -59-
                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 63 of 366 Page ID #:63




1    benefits. A major thrust of the sales campaign was that OxyContin should be prescribed

2    not merely for the kind of severe short-term pain associated with surgery or for cancer
3
     pain but also for less acute, longer-lasting pain, such as arthritis, back pain, sports injuries,
4
5    fibromyalgia. The number of conditions that OxyContin could treat seemed almost

6    unlimited.
7
            187. The training included "training in 'overcoming objections' from clinicians."
8
9    "If a doctor inquired about addiction," the representative was instructed to respond thus:
10   "'The delivery system is believed to reduce the abuse liability of the drug.'" Another sales
11
     representative said that Purdue executives "told us to say things like it is 'virtually' non-
12
13   addicting."
14          188. Purdue sales representatives were provided with studies and literature
15
     provided by other physicians. Purdue had a speakers' bureau through which it paid
16
17   several thousand doctors to attend medical conferences and deliver presentations about
18   OxyContin's merits. "Doctors were offered all-expenses-paid trips to pain-management
19
     seminars in places like Boca Raton." Internal documents reflect that doctors who
20
21   attended these seminars wrote OxyContin prescriptions more than twice as often as those
22   who didn't.
23
            189. Purdue also advertised in medical journals and produced promotional videos
24
25   featuring not just satisfied patients but also doctor's testimonials. "The marketing of
26   OxyContin relied on an empirical circularity: the company convinced doctors of the
27
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                                                 -60-
                                              COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 64 of 366 Page ID #:64




1    drug's safety with literature that had been produced by doctors who were paid, or funded,

2    by the company."
3
           190. According to a former OxyContin sales representative, Richard Sackler was
4
5    "'the dude that made it happen.'" Richard Sackler himself was tireless in his dedication

6    to OxyContin's success. When benefit plans began citing OxyContin abuse as an excuse
7
     not to pay, Richard Sackler sent an email to sales representatives stating that, for insurers,
8
9    "'addiction' may be a convenient way to just say 'NO.'"
10         191. Members of the Sackler family were daily on site at Purdue's headquarters,
11
     controlling the management of their family business and all of its employees.
12
13         192. Richard Sackler is named as inventor on some 50 patents relating to

14   oxycodone and other pain medications, including several patents apparently issued as late
15
     as 2016. Virtually all such patents invented by Richard Sackler were assigned to Purdue.
16
17         193. In 1997, both Richard and Kathe Sackler were part of a conspiracy to deceive

18   physicians into believing that oxycodone was half as strong as morphine, when in fact
19
     the opposite was true; this deception was known by Purdue to ease the fears of well-
20
21   meaning and careful physicians about prescribing OxyContin for non-cancer pain uses.
22         194. In the late 1990s Richard, Jonathan and Kathe Sackler participated in an
23
     unlawful attempt to deceive European drug regulators into classifying OxyContin as
24
25   totally uncontrolled, i.e., capable of being obtained without a prescription, despite the
26
27
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                                               -61-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 65 of 366 Page ID #:65




1    fact that all of these family members were by then well aware of the abuse liability of the

2    drug in the U.S.
3
           195. In 2001, Kathe Sackler attended a talk given by the chief medical officer of
4
5    Sikorsky Aircraft, in which the speaker expressed grave concern about the risks

6    associated with OxyContin; instead of acknowledging this fact to the medical officer,
7
     Kathe Sackler instead remained silent and returned to the Purdue headquarters, where
8
9    employees were directed to find ways to undercut and deflect the Sikorsky medical
10   officer's concerns.
11
           196. In the period around 1999-2003, Purdue developed a method to cause
12
13   company emails to self-destruct at a pre-determined time; this was an attempt to create a
14   system where potentially incriminating documents would automatically self-destruct,
15
     even after receipt by unrelated third-parties. Richard, Jonathan and Kathe Sackler all were
16
17   directly aware and supportive of this project.
18        4. Members of the Sackler Families Were Aware of Risks Associated with
19   OxyContin No Later Than the Summer of 1999
20         197. That prescription opioids would lead to addiction, and specifically that
21
     OxyContin could be, and was being, abused has been known to Purdue and to the
22
23   members of the Sackler Families involved in running the family business since at least

24   the summer of 1999.
25
           198. In summer of 1999, a Purdue sales representative wrote to the President of
26
27   Purdue reporting widespread abuse of OxyContin. As a result of that memo, a secretary

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                                              -62-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 66 of 366 Page ID #:66




1    at Purdue, Maureen Sara, was tasked with doing research on the Internet to learn about

2    the nature and scope of the abuse, specifically to learn about how recreational drug users
3
     were misusing OxyContin.
4
5          199. In order to carry out her assignment, Ms. Sara began visiting drug-user

6    Internet "news groups" or "chat rooms" on a daily basis. Two groups in particular that
7
     Ms. Sara visited were alt.drugs and alt.drugs.hard. For a period of time, in the late
8
9    summer and early fall of 1999, Ms. Sara would forward screen shots from these news
10   groups on a daily basis to Howard Udell, then General Counsel of Purdue.
11
           200. In October or November 1999, Ms. Sara prepared a memo summarizing her
12
13   research into misuse of OxyContin. The memo described how users would remove the
14   coating on the OxyContin pills, crush them, cook them, and snort or shoot them. Ms.
15
     Sara sent the memo containing the details of OxyContin abuse by drug users not only to
16
17   the President of Purdue and to its General Counsel, but also to Purdue's then-medical
18   director, and directly to members of the Sackler Families involved in the management of
19
     the company, including Richard Sackler, Jonathan Sackler, and Kathe Sackler.
20
21         201. Purdue, Richard Sackler, Jonathan Sackler, and Kathe Sackler were thus all

22   aware of the risk and abuse potential and reality of OxyContin long before Purdue
23
     acknowledged the same to government, the healthcare community or the public. In sworn
24
25   testimony before the U.S. House of Representatives in 2001, Purdue President Michael
26   Friedman, in the presence of Purdue General Counsel Howard R. Udell, swore that the
27
28
                                              -63-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 67 of 366 Page ID #:67




1    first the companies knew of widespread abuse of OxyContin was in the year 2000. This

2    was, of course, patently inconsistent with what the members of the Sackler Families knew
3
     from the Sara memo they had received in 1999. No member of the Sackler Families at
4
5    any time tried to correct the false narrative promulgated far and wide about the abuse

6    liability of OxyContin, nor corrected the false statement about when Purdue became
7
     aware of this problem with the drug.
8
9          202. Richard Sackler, Kathe Sackler, Jonathan Sackler, Theresa Sackler,

10   Mortimer D.A. Sackler, and Ilene Sackler have been aware since at least 1999 of potential
11
     liability for Purdue, and those acting in concert with Purdue, because of the addictive
12
13   nature of OxyContin. With the intention of shielding from creditors the proceeds of their
14   wrongdoing, they have stripped out of Purdue and the Purdue-related Defendants each
15
     and every year hundreds of millions of dollars of profits from the sales of OxyContin and
16
17   other opioid-containing medications, including a generic form of OxyContin sold by
18   Rhodes Pharma. All such transfers were and are fraudulent within the meaning of
19
     applicable fraudulent transfer statutes and case law; all such transfers unjustly enriched
20
21   the recipients; and all such transferred funds should be clawed back from the Sackler
22   Defendants in order to satisfy the opioid-related liabilities of the companies from which
23
     they were transferred.
24
25
26
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                                               -64-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 68 of 366 Page ID #:68




1          5.   Purdue-Related Defendants Participated in and Profited From
     Purdue’s Wrongdoing- Structure of the Purdue Entities and the Roles of the
2    Individual Purdue-Related Defendants
3
           203. At all relevant times, the Sackler Families – in particular, Richard Sackler,
4
     Jonathan Sackler, Mortimer D.A. Sackler, Kathe Sackler, Beverly Sackler, Theresa
5
6    Sackler, Ilene Sackler Lefcourt, David Sackler, and Raymond Sackler Trust (“Sackler
7
     Defendants”) – controlled Purdue and its associated companies.        Purdue is part of a
8
     complicated web of entities through which the Sackler Families operate. PPI is the
9
10   managing general partner of PPLP and of many of the various Purdue-related entities. Its
11
     status as managing general partner of the various entities ensures PPI’s control of those
12
     entities. In turn, at all relevant times, all of the members of the board of PPI have been
13
14   members of the Sackler Families or Sackler-family retainers.         The Purdue-related
15
     Defendants that are not controlled by the Sackler Defendants through PPI are controlled
16
17   by them through different entities unknown to Plaintiff.

18         204. Because the Sackler Families control of the board of PPI, the officers of PPI
19
     and PPLP reported to them. This ensured Sackler control of PPI and PPLP, even when
20
21   the officers of those entities were not themselves members of the Sackler Families.

22         205. The Sackler Defendants are beneficial owners of, and exercise complete
23
     control over, all four Rhodes Defendants and PF Labs.
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25
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                                              -65-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 69 of 366 Page ID #:69




1          206. The Sackler Defendants made the decision that the Sackler Families should

2    enter the generic market for OxyContin in or about 2008 and that it should do so through
3
     Rhodes Pharma, a Sackler-owned entity created for that purpose.
4
5          207. The Sackler Defendants caused Purdue and other associated companies that

6    they beneficially owned and controlled to distribute to the Sackler Families hundreds of
7
     millions of dollars of profits earned by Purdue and its associated companies from the sale
8
9    of opioids.
10         208. Each of the Sackler Defendants named herein has served on the board of
11
     directors of, or as an officer of, Purdue and one or more Purdue-related Defendants.
12
13         209. The Sackler Defendants beneficially own and control all of the entities owned

14   by the Sackler Families, including PF Labs and the Rhodes Defendants, in substantially
15
     the same way as they control PPLP and its affiliates, although they may do so using
16
17   different holding companies and trusts than those used to control PPLP.
18         210. At all relevant times, Richard Sackler played an active and central role in the
19
     management of Purdue and the Purdue-related Defendants. He began working for Purdue
20
21   as Assistant to the President (his father, Raymond) in the 1970s. He later served as Vice
22   President of Marketing and Sales. In the early 1990s he became Senior Vice President,
23
     which was the position he held at the time OxyContin was launched in 1996. In 1999, he
24
25   became President, and he served in that position until 2003.
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                                              -66-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 70 of 366 Page ID #:70




1          211. Richard Sackler resigned as President in 2003, apparently due to a concern

2    that executive officers of Purdue would be held personally liable for opioid-related
3
     liabilities and crimes. However, he continued to serve, with his uncle Mortimer, as Co-
4
5    Chair of the Board of Purdue. In that way, among others, the family maintained control

6    over their family business, even though they were no longer officers, because the officers
7
     reported to them.
8
9          212. As a senior executive of Purdue, Richard Sackler was actively involved in

10   the invention, development, marketing, promotion, and sale of Purdue’s opioid products,
11
     including OxyContin. He worked tirelessly to make OxyContin a blockbuster, telling
12
13   colleagues how devoted he was to the drug’s success. Along with his father (Raymond)
14   and his uncle (Mortimer), he launched OxyContin with one of the biggest pharmaceutical
15
     marketing campaigns in history, deploying many persuasive techniques pioneered by his
16
17   uncle Arthur. Within five years of its introduction, OxyContin was generating a billion
18   dollars a year. When OxyContin was met with resistance, Richard participated in
19
     Purdue’s efforts to counter that resistance.
20
21         213. At all relevant times, Richard Sackler served as a trustee of one or more trusts

22   that beneficially own and control Purdue and the Purdue-related Defendants.
23
           214. Richard Sackler is the direct or indirect beneficiary of some portion of 25%
24
25   of the profits earned by Purdue and the Purdue-related Defendants named herein as
26   defendants from the sale of opioids.
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28
                                               -67-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 71 of 366 Page ID #:71




1          215. Jonathan Sackler was a Vice President of Purdue in 1991, and by 2000 he

2    was a Senior Vice President. Like his brother Richard, he resigned that position in or after
3
     2003, apparently due to a concern that executive officers of Purdue would be held
4
5    personally liable for opioid-related liabilities and crimes. However, he continued to serve

6    on the board of Purdue.
7
           216. At all relevant times, Jonathan Sackler served as a trustee on one or more
8
9    trusts that beneficially owns and control Purdue and the Purdue-related Defendants.
10         217. Jonathan Sackler is the direct or indirect beneficiary of some portion of 25%
11
     of the profits earned by Purdue and the Purdue-related Defendants from the sale of
12
13   opioids.
14         218. Mortimer D.A. Sackler served as a Vice President of Purdue during the
15
     period of the development, launch, and promotion of OxyContin. He resigned that
16
17   position in or after 2003, apparently due to a concern that executive officers of Purdue
18   would be held personally liable for opioid-related liabilities and crimes. However, he
19
     continued to serve on the Board of Purdue.
20
21         219. Mortimer D.A. Sackler is the direct or indirect beneficiary of 7.14% of the

22   profits earned by Purdue and the Purdue-related Defendants from the sale of opioids.
23
           220. Kathe A. Sackler was a Vice President of Purdue in 1991, and by 2000 she
24
25   was a Senior Vice President. She resigned that position in or about 2003 due to a concern
26
27
28
                                               -68-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 72 of 366 Page ID #:72




1    that executive officers of Purdue would be held personally liable for opioid-related

2    liabilities and crimes. However, she continued to serve on the Board of Purdue.
3
           221. Kathe A. Sackler is the direct or indirect beneficiary of 7.14% of the profits
4
5    earned by Purdue and the Purdue-related Defendants from the sale of opioids.

6          222. Ilene Sackler Lefcourt served as Vice President of Purdue during the period
7
     of the development, launch, and promotion of OxyContin. She resigned that position in
8
9    or after 2003, apparently due to a concern that executive officers of Purdue would be held
10   personally liable for opioid-related liabilities and crimes. However, she continued to
11
     serve on the Board of Purdue.
12
13         223. Ilene Sackler Lefcourt is the direct or indirect beneficiary of 7.14% of the

14   profits earned by Purdue and the Purdue-related Defendants from the sale of opioids.
15
           224. At all relevant times, Beverly Sackler served as a trustee of one or more trusts
16
17   that beneficially own and control Purdue and the Purdue-related Defendants and to which
18   50% of the profits of Purdue and the Purdue-related Defendants from the sale of opioids
19
     has been conveyed. She has also served as a member of the board of directors of Purdue
20
21   and Purdue-related entities since the 1990s.
22         225. Beverly Sackler is the direct or indirect beneficiary of some portion of 50%
23
     of the profits earned by Purdue and the Purdue-related Defendants from the sale of
24
25   opioids.
26
27
28
                                              -69-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 73 of 366 Page ID #:73




1          226. Theresa Sackler is the direct or indirect beneficiary of 50% of the profits

2    earned by Purdue and the Purdue-related Defendants from the sale of opioids. She has
3
     also served as a member of the board of directors of Purdue and Purdue-related entities
4
5    since the 1990s.

6          227. David A. Sackler is the direct or indirect beneficiary of some portion of 25%
7
     of the profits earned by Purdue and the Purdue-related Defendants from the sale of
8
9    opioids. He has also served as a member of the board of directors of Purdue and Purdue-
10   related entities since 2012.
11
           228. Stuart Baker joined Purdue in 1994 as Executive Vice President of PPLP and
12
13   as Vice President of PF Co. He served as legal counsel to the entire Purdue organization
14   and the Sackler Families. He also served as an officer of other Sackler-owned, Purdue-
15
     related entities. He served as a trustee of one or more trusts that beneficially own and
16
17   control Purdue and the Purdue-related Defendants. He served as Corporate Secretary for
18   Purdue, and as such he gained direct knowledge of the wrongdoing alleged in the
19
     Complaint. In his capacity as an officer, director, and lawyer, he knowingly aided,
20
21   abetted, participated in, and benefitted from the wrongdoing of Purdue as alleged in the
22   Complaint and knowingly aided and abetted the Sackler Families, and the Purdue-related
23
     Defendants, to structure their personal affairs and the personal and business organizations
24
25   they beneficially owned and controlled in such a way as to attempt to evade personal
26
27
28
                                              -70-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 74 of 366 Page ID #:74




1    liability for the wrongdoing in which he knew they had engaged and in which he knew

2    they intended to continue to engage.
3
           229. The Sackler Families are the sole beneficial owners of Purdue and its
4
5    associated companies and the Purdue-related Defendants. All of Purdue’s and its

6    associated companies’ profits go to Sackler-family trusts and entities.
7
           230. Richard Sackler, Jonathan Sackler, Mortimer D.A. Sackler, Kathe Sackler,
8
9    Ilene Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David Sackler, Rhodes Tech,
10   Rhodes Tech Inc., Rhodes Pharma, Rhodes Pharma Inc., the Raymond Sackler Trust
11
     (through its trustees), P.F. Labs, and Stuart D. Baker each knowingly aided, abetted,
12
13   participated in, and benefitted from the wrongdoing of Purdue as alleged in the
14   Complaint.
15
           6.     The Purdue-Related Defendants Continued to Oversee Purdue’s
16                Wrongdoing Even after Purdue Was Fined and Warned about Its
17                Conduct
18         231. From 2001 to 2007, Purdue was investigated by 26 states and the U.S.
19
     Department of Justice. Beginning in or about 2003, advised by Baker, who served as legal
20
21   counsel to the entire Purdue organization and the Sackler Families, all of the Sacklers

22   who served as executive officers of Purdue resigned out of concern that they might be
23
     held personally liable for conduct on behalf of Purdue in which they had previously
24
25   engaged and in which they expected and intended to continue to engage after their

26   respective resignations.
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28
                                               -71-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 75 of 366 Page ID #:75




1          232. In 2007, PFC agreed to pay nearly $700 million and pleaded guilty to a felony

2    for misleading doctors and patients about opioids. Purdue admitted that its supervisors
3
     and employees, “with the intent to defraud or mislead, marketed and promoted
4
5    OxyContin as less addictive, less subject to abuse and diversion, and less likely to cause

6    tolerance and withdrawal than other pain medications.” At the same time, Purdue
7
     executive officers Michael Friedman (the CEO), Howard Udell (Vice President and
8
9    General Counsel), and Paul Goldenheim (Chief Medical Officer) pleaded guilty to
10   criminal charges that they let Purdue deceive doctors and patients about its opioids.
11
           233. As part of the plea agreement in 2007, Purdue agreed to a detailed Corporate
12
13   Integrity Agreement with the U.S. government. The Agreement required Purdue to
14   appoint a Compliance Officer who would “be a member of senior management of
15
     Purdue,” “make periodic (at least quarterly) reports regarding compliance matters directly
16
17   to the Board of Directors,” and “be authorized to report on such matters to the Board of
18   Directors at any time.” The Corporate Integrity Agreement was built on the idea that the
19
     directors would ensure that Purdue never deceived doctors and patients again.
20
21         234. The Corporate Integrity Agreement included the directors as “Covered

22   Persons” from 2007 through 2012. All Covered Persons, including the directors and
23
     CEO, were required to comply with rules that prohibit deception about Purdue opioids.
24
25   The directors were required to undergo hours of training to ensure that they understood
26   the rules. The directors were required to report all violations of the rules. The directors
27
28
                                              -72-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 76 of 366 Page ID #:76




1    were warned that they could face consequences if they failed to comply with the rules.

2    The directors certified that they had read and understood the rules and would comply
3
     with them.
4
5          235. The directors were acutely aware of their obligations under the Corporate

6    Integrity Agreement because, in 2009, Purdue had to report to the Inspector General of
7
     the U.S. Department of Health and Human Services that it had not immediately trained a
8
9    new director on the Agreement. Purdue reported: “a new Director was appointed to
10   Purdue’s Board of Directors, without timely notice to either Corporate Compliance or the
11
     Office of General Counsel, as otherwise required by policy, resulting in failure to timely
12
13   launch the training assignment to this new Board member.” Purdue assured the U.S.
14   government that it had trained the new director: “Relevant personnel were reminded of
15
     existing policy to notify Corporate Compliance and the Office of General Counsel of
16
17   changes to the Board of Directors. In both instances, these individuals completed their
18   training assignments within 1 day of Corporate Compliance learning of this issue.”
19
     Purdue promised the government that the director’s training had addressed “the proper
20
21   methods of promoting, marketing, selling, and disseminating information about Purdue’s
22   products,” so Purdue would never deceive doctors and patients again.
23
           236. Every year since the 2007 guilty plea and Corporate Integrity Agreement,
24
25   Purdue’s directors received warning signs about Purdue’s ongoing misconduct and
26   opportunities to stop it.
27
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                                              -73-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 77 of 366 Page ID #:77




1          237. In 2008, more Americans died from opioid overdoses than ever before.

2          238. In 2009, the American Journal of Public Health published an article about
3
     Purdue’s opioid marketing entitled, “The Promotion and Marketing of OxyContin:
4
5    Commercial Triumph, Public Health Tragedy.” The article detailed Purdue’s use of sales

6    representatives, targeting of high-prescribers, and deception about addiction. That same
7
     year, CDC reported that deaths from opioids had recently tripled.
8
9          239. In 2010, Time magazine published a story about Purdue’s opioids entitled,

10   “The New Drug Crisis: Addiction by Prescription.” Overdoses were the leading cause of
11
     accidental death in 15 states. By the spring of 2010, Purdue’s directors had been told that
12
13   Purdue could not get product liability insurance to cover OxyContin.
14         240. In 2011, the White House announced that prescription drug abuse was the
15
     nation’s fastest-growing drug problem and called for “educating healthcare providers
16
17   about prescription drug abuse … so they will not over-prescribe[.]” The CDC announced
18   that prescription opioid overdoses had reached epidemic levels and called out Purdue’s
19
     opioids by name. That same year, Fortune magazine interviewed Purdue executives,
20
21   including Vice President Alan Must. Fortune published a story about Purdue, the Sackler
22   Families, and evidence that they profited from opioid addiction. Mr. Must admitted that
23
     Purdue was “well aware” of concerns about its conduct: “We are well aware of detractors.
24
25   For those individuals who think we’re evil … I don’t think there’s anything we can do
26   that is going to change their opinion.”
27
28
                                              -74-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 78 of 366 Page ID #:78




1          241. In 2012, the U.S. Senate launched an investigation into whether Purdue was

2    deceiving doctors and patients about opioids. In a letter to the CEO of Purdue, the
3
     Senators warned of “an epidemic of accidental deaths and addiction resulting from the
4
5    increased sale and use of powerful narcotic painkillers.” The Senate letter warned Purdue

6    specifically of the danger of patients taking higher doses: “over the last decade, the
7
     number of prescriptions for the strongest opioids has increased nearly fourfold, with only
8
9    limited evidence of their long-term effectiveness or risks while data suggest that hundreds
10   of thousands of patients nationwide may be on potentially dangerous doses.” The Senate
11
     letter also warned about Purdue misleading doctors and patients: “There is growing
12
13   evidence pharmaceutical companies that manufacture and market opioids may be
14   responsible, at least in part, for this epidemic by promoting misleading information about
15
     the drugs’ safety and effectiveness.” The Senate put the directors on notice that they were
16
17   under scrutiny, demanding that Purdue produce to investigators a set of “presentations,
18   reports, and communications to Purdue’s management team or board of directors from
19
     2007 to the present.”
20
21         242. In 2013, the Los Angeles Times revealed that Purdue had been compiling a

22   list for the past decade of 1,800 doctors suspected of recklessly prescribing its opioids,
23
     but Purdue had reported only 8% of them to authorities. Purdue attorney Robin Abrams
24
25   gave multiple interviews to the newspaper. Abrams was a Vice President of Purdue, and
26   she signed Purdue’s 2007 settlement agreement. In 2013, she admitted that Purdue had
27
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                                              -75-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 79 of 366 Page ID #:79




1    the list, and said Purdue would not agree to disclose it to authorities because, “I don’t

2    really want to open up an opportunity for folks to come in here and start looking and
3
     second-guessing.”
4
5          243. Abrams and Purdue’s directors knew they had reason to fear scrutiny. The

6    state of Kentucky was prosecuting a lawsuit against Purdue for deceiving doctors and
7
     patients about opioids. Purdue’s lawyers surveyed residents who could be on the jury.
8
9    One-third knew someone who overdosed or was seriously hurt taking a Purdue opioid,
10   and 29 percent knew someone who died. Purdue itself filed those statistics in court.
11
           244. In 2014, Edward Mahony, the Executive Vice President, CFO, and Treasurer
12
13   of Purdue stated that the Kentucky lawsuit was so significant that it could “jeopardize
14   Purdue’s long-term viability.” That same year, the Governor of Massachusetts declared
15
     the opioid crisis a public health emergency.
16
17         245. In 2016, the CDC published the CDC Guideline for Prescribing Opioids for

18   Chronic Pain to try to stop dangerous opioid prescribing.
19
           246. In 2017, the President of the United States declared the opioid crisis a national
20
21   public health emergency.
22         247. PPI’s directors knew or should have known about these warnings and many
23
     others.
24
25         248. The directors knew about, allowed, and directed Purdue’s deception. They

26   oversaw Purdue’s scheme to send sales representatives to visit doctors thousands of times.
27
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                                              -76-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 80 of 366 Page ID #:80




1    They oversaw Purdue’s scheme to hire top prescribers to promote its opioids. They

2    oversaw Purdue’s effort to get more patients on higher doses of opioids for longer periods.
3
     They were aware of, allowed and directed the content of the messages conveyed in
4
5    Purdue’s marketing.

6          249. The directors of PPI controlled PPLP. The quarterly reports distributed to the
7
     directors of PPI demonstrate that the directors in fact controlled both PPI and PPLP. The
8
9    reports and minutes make clear that the directors of PPI were kept fully informed of the
10   activities of Purdue in the areas “Finance,” “Sales & Marketing,” “Manufacturing &
11
     Supply Chain,” “Quality,” “Research & Development,” “Discovery Research,”
12
13   “Licensing & Business Development,” “Corporate Compliance,” “External Affairs,”
14   “Health Policy,” “Human Resources,” and “Information Technology” — all of which
15
     were overseen by the directors.
16
17         250. The directors oversaw Purdue’s sales representatives. Richard Sackler

18   testified that the sales representatives were the main way that Purdue promoted its
19
     opioids. He testified that the key to getting doctors to prescribe and keep prescribing
20
21   Purdue opioids was regular visits from the sales force. The board tracked the exact
22   number of sales representatives and the exact number of visits they made to urge doctors
23
     to prescribe Purdue opioids. The board knew which drugs were promoted; how many
24
25   visits sales representatives averaged per workday; how much each visit cost Purdue; and
26   the company’s plan for sales visits in each upcoming quarter. The Board approved
27
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                                              -77-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 81 of 366 Page ID #:81




1    specific plans to hire new sales representatives, hire and promote new District and

2    Regional managers, and create sales “territories” in which representatives would target
3
     doctors.
4
5          251. The directors oversaw the tactics that sales representatives used to push

6    opioids. A board report analyzed a Purdue initiative to use iPads during sales visits, which
7
     increased the average length of the sales meeting with the doctor to “16.7 minutes in front
8
9    of the customer.”
10         252. The directors oversaw promotional claims that representatives presented to
11
     doctors during sales visits. They received reports, for example, that a “review of call
12
13   notes” recorded by Purdue sales representatives “suggested potential comparative claims
14   of superiority of Purdue products relative to competitors,” and deceptive promotion of
15
     opioids as treatment for “minor pain,” including hundreds of examples of deceptive
16
17   marketing that required “extensive remedial actions.”
18         253. The directors oversaw Purdue’s research, including research that contradicted
19
     its marketing. The board received reports about studies of Purdue opioids in “opioid-
20
21   naïve” patients and patients with osteoarthritis, down to the details of the strategy behind
22   the studies and the enrollment of the first patients.
23
           254. The directors oversaw Purdue’s improper response to signs of “abuse and
24
25   diversion” by high-prescribing doctors. The board was told exactly how many “Reports
26   Of Concern” Purdue sales representatives submitted to the company about doctors they
27
28
                                               -78-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 82 of 366 Page ID #:82




1    visited to promote opioids (572 Reports Of Concern in the July 2007 board report); how

2    many “field inquiries” Purdue had decided to conduct in response to the reports (21
3
     inquiries in response to 572 Reports Of Concern); and even that six Reports Of Concern
4
5    were submitted in Massachusetts.

6          255. The directors even monitored sales representatives’ emails.         Purdue held
7
     thousands of face-to-face sales meetings with doctors, but the company prohibited its
8
9    sales representatives from writing emails to doctors, which could create evidence of
10   Purdue’s misconduct. When Purdue found that some sales representatives had emailed
11
     doctors, the company conducted an “investigation” and reported to the board that sales
12
13   representatives had been disciplined and that their emails would be discussed at the board
14   meeting.
15
           256. The directors also oversaw Purdue’s strategy to pay high prescribers to
16
17   promote Purdue opioids. A report for the board listed the exact number of conferences
18   and dinner meetings, with attendance figures, and assured the directors: “We are tracking
19
     the prescribing trends of these attendees following the programs and will report the results
20
21   in future reports.” The board was told the amounts paid to certain doctors, and they
22   received detailed reports on the Return on Investment that Purdue gained from paying
23
     doctors to promote its drugs. The board was told that Purdue would allow a “spending
24
25   limit for gifts” of $750 per doctor per year; and that the directors should personally report
26   when they gave money, meals, or gifts to doctors to promote Purdue drugs. The board
27
28
                                               -79-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 83 of 366 Page ID #:83




1    was told explicitly that paying doctors to promote opioids was “a high risk activity, in

2    view of the potential for off-label or other improper promotional conduct by third parties
3
     during such activities.” When Congress required disclosure of drug company payments
4
5    to doctors, the board was told there were “significant compliance implications” for

6    Purdue.
7
           257. The directors also oversaw Purdue’s strategy to push patients to higher doses
8
9    of opioids — which are more dangerous, more addictive, and more profitable. The board
10   routinely received reports on Purdue’s efforts to push patients to higher doses. A report
11
     alerted the board that “Net sales of the 40 and 80 mg strengths of OxyContin” had fallen
12
13   below Purdue’s targets in the fall of 2010 and were $85 million below budget.           By
14   summer, the board learned that income was $500 million below budget “mainly due to
15
     declining sales in 40 mg and 80 mg strengths. By fall, the board reviewed an assessment
16
17   that Purdue had lost more than $800 million in revenue because patients weren’t taking
18   enough 40 mg and 80 mg doses. The board dug into the issue. Multiple reports to the
19
     board identified as a “threat” an initiative by public health authorities to save lives by
20
21   requiring doctors to consult with pain specialists before prescribing opioid doses higher
22   than 80mg/day. The CEO and directors oversaw Purdue’s effort to push back against that
23
     public health “threat.” Executives were pleased to report to the directors in 2013 that
24
25   “initiatives to validate increased total daily doses are having impact in the field.”
26
27
28
                                               -80-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 84 of 366 Page ID #:84




1          258. The directors also oversaw Purdue’s scheme to use higher doses of opioids

2    to keep patients on drugs for longer periods of time. The board received detailed reports
3
     of how many patients stayed on Purdue’s opioids for long periods (for example, longer
4
5    than 35 days), along with Purdue’s internal research showing that getting patients on

6    higher doses keeps them on the drugs longer — all of which puts patients at greater risk
7
     of addiction and death. The board received the confidential results of a study of 57,000
8
9    patients that Purdue performed explicitly to determine how opioid dose “influences
10   patient length of therapy.” The results showed that patients on the highest doses “are the
11
     most persistent.” The “Recommended Actions” presented to the board included
12
13   “additional workshops for the sales force” and “specific direction” to the sales
14   representatives about using higher doses to keep patients on drugs longer.
15
           259. The board was told in writing that encouraging higher doses “is a focal point
16
17   of our promotion,” and that sales representatives would “emphasize the importance” of
18   increasing patients’ opioid doses, as soon as 3 days after starting treatment. The board
19
     even tracked specific sales materials, such as “two new patient profiles designed to
20
21   improve patient identification and titration” – to get more opioid-naïve and elderly
22   patients on higher doses of opioids for longer periods of time. The board was told the
23
     exact research behind the sales strategy: higher doses would keep patients on drugs longer
24
25   because Purdue had found that “83% of patients who discontinued were never titrated to
26   higher doses.” The directors knew or should have known that Purdue’s sales strategy was
27
28
                                              -81-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 85 of 366 Page ID #:85




1    deceptive and that putting patients on opioids at higher doses and for longer periods

2    increased the risk of addiction, overdose, and death.
3
           260. The directors also oversaw Purdue’s strategy of using “savings cards” to get
4
5    patients on Purdue opioids for longer periods. The board knew how many thousands of

6    cards were used each quarter, how the company calculated the Return On Investment,
7
     and that the explicit goal of the program was to hook patients to “remain on therapy
8
9    longer.”
10         261. The directors also oversaw Purdue’s strategy to target prescribers who did
11
     not have special training in opioids (primary care doctors, nurse practitioners, and
12
13   physician assistants) because they “show the highest responsiveness” to Purdue’s sales
14   push. Purdue continued that strategy even though the DEA had expressed concern that
15
     Purdue was promoting opioids to clinicians who were not adequately trained in pain
16
17   management. The directors also oversaw Purdue’s strategy to target elderly patients by
18   promotion “targeted to HCPs that practice in the long term care setting,” even down to
19
     the details of advertising that “leverages images of older patients.” The directors knew or
20
21   should have known that Purdue’s sales strategy was deceptive and that targeting primary
22   care doctors and elderly patients increased the risk of addiction, overdose, and death.
23
           262. The directors also oversaw Purdue’s push to steer patients away from safer
24
25   alternatives. They tracked the company’s effort to emphasize “the true risk and cost
26   consequence of acetaminophen-related liver toxicity.” The board even oversaw Purdue’s
27
28
                                              -82-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 86 of 366 Page ID #:86




1    deceptive websites, and received reports about the specific section that was found to be

2    deceptive by the New York Attorney General.
3
           263. The directors also oversaw Purdue’s response to signs that patients were
4
5    being harmed. Reports of harm came in by the hundreds and even thousands. One board

6    report explained that “in excess of 5,000 cases with alleged adverse events have already
7
     been received and processed by Drug Safety and the Litigation Support group” during a
8
9    single quarter.
10         264. Each of the reports described above was sent to every Sackler Defendant on
11
     the board at the time they were prepared.
12
13         265. Stuart Baker also received all of the reports described above.

14         7.    Other Marketing Defendants Leapt at the Opioid Opportunity
15
           266. Purdue created a market for the use of opioids for a range of common aches
16
17   and pains by misrepresenting the risks and benefits of its opioids, but it was not alone.

18   The other Marketing Defendants—already manufacturers of prescription opioids—
19
     positioned themselves to take advantage of the opportunity Purdue created, developing
20
21   both branded and generic opioids to compete with OxyContin, while, together with

22   Purdue and each other, misrepresenting the safety and efficacy of their products. These
23
     misrepresentations are described in greater detail below.
24
25         267. Endo, which already sold Percocet and Percodan, was the first to submit an

26   application for a generic extended-release oxycodone to compete with OxyContin. At
27
28
                                              -83-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 87 of 366 Page ID #:87




1     the same time, Endo sought FDA approval for another potent opioid, immediate-release

2     and extended-release oxymorphone, branded as Opana and Opana ER. Oxymorphone,
3
      like OxyContin’s active ingredient oxycodone, is not a new drug; it was first synthesized
4
5     in Germany in 1914 and sold in the U.S. by Endo beginning in 1959 under the trade name

6     Numorphan. But Numorphan tablets proved highly susceptible to abuse. Called “blues”
7
      after the light blue color of the 10 mg pills, Numorphan provoked, according to some
8
9     users, a more euphoric high than heroin. As the National Institute on Drug Abuse
10    observed in its 1974 report, “Drugs and Addict Lifestyle,” Numorphan was extremely
11
      popular among addicts for its quick and sustained effect.19                                            Endo withdrew oral
12
13    Numorphan from the market in 1979.
14              268. Two decades later, however, as communities around the U.S. were first
15
      sounding the alarm about prescription opioids and Purdue executives were being called
16
17    to testify before Congress about the risks of OxyContin, Endo essentially reached back
18    into its inventory, dusted off a product it had previously shelved after widespread abuse,
19
      and pushed it into the marketplace with a new trade name, Opana.
20
21              269. The clinical trials submitted with Endo’s first application for approval of

22    Opana were insufficient to demonstrate efficacy, and some subjects in the trials
23
      overdosed and had to be revived with naloxone. Endo then submitted new “enriched
24
25    enrollment” clinical trials, in which trial subjects who do not respond to the drug are
26
     19 John Fauber & Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today (May 10, 2015),
27        https://www.medpagetoday.com/psychiatry/addictions/51448.

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                                                                     -84-
                                                                  COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 88 of 366 Page ID #:88




1     excluded from the trial, and obtained approval. Endo began marketing Opana and Opana

2     ER in 2006.
3
                 270. Like Numorphan, Opana ER was highly susceptible to abuse. On June 8,
4
5     2017, the FDA sought removal of Opana ER. In its press release, the FDA indicated that

6     “[t]his is the first time the agency has taken steps to remove a currently marketed opioid
7
      pain medication from sale due to the public health consequences of abuse.”20 On July 6,
8
9     2017, Endo agreed to withdraw Opana ER from the market.
10               271. Janssen, which already marketed the Duragesic (fentanyl) patch for severe
11
      pain, also joined Purdue in pursuit of the broader chronic pain market. It sought to expand
12
13    the use of Duragesic through, for example, advertisements proclaiming, “It’s not just for
14
      end stage cancer anymore!”21 This claim earned Janssen a warning letter from the FDA,
15
      for representing that Duragesic was “more useful in a broader range of conditions or
16
17    patients than has been demonstrated by substantial evidence.”22
18
                 272. Janssen also developed a new opioid compound called tapentadol in 2009,
19
20    marketed as Nucynta for the treatment of moderate to severe pain. Janssen launched the

21    extended-release version, Nucynta ER, for treatment of chronic pain in 2011.
22
                 273. By adding additional opioids or expanding the use of their existing opioid
23
24    products, the other Marketing Defendants took advantage of the market created by
25
     20 Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks Related to Abuse (June 8, 2017),
26        https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
     21 Letter from U.S. Food & Drug Admin. to Janssen (Mar. 30, 2000) at 2.
27   22 Id.

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                                                                       -85-
                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 89 of 366 Page ID #:89




1    Purdue’s aggressive promotion of OxyContin and reaped enormous profits. For example,

2    Opana ER alone generated more than $1 billion in revenue for Endo in 2010 and again in
3
     2013. Janssen also passed the $1 billion mark in sales of Duragesic in 2009.
4
5    D. The Marketing Defendants’ Multi-Pronged Scheme to Change Prescriber
     Habits and Public Perception and Increase Demand for Opioids
6
           274. In order to accomplish the fundamental shift in perception that was key to
7
8    successfully marketing their opioids, the Marketing Defendants designed and
9
     implemented a sophisticated and deceptive marketing strategy. Lacking legitimate
10
     scientific research to support their claims, the Marketing Defendants turned to the
11
12   marketing techniques first pioneered by Arthur Sackler to create a series of
13
     misperceptions in the medical community and ultimately reverse the long-settled
14
15   understanding of the relative risks and benefits of opioids.

16         275. The     Marketing    Defendants     promoted,       and   profited   from,   their
17
     misrepresentations about the risks and benefits of opioids for chronic pain even though
18
19   they knew that their marketing was false and misleading. The history of opioids, as well

20   as research and clinical experience over the last 20 years, established that opioids were
21
     highly addictive and responsible for a long list of very serious adverse outcomes. The
22
23   FDA and other regulators warned Marketing Defendants of these risks. The Marketing

24   Defendants had access to scientific studies, detailed prescription data, and reports of
25
     adverse events, including reports of addiction, hospitalization, and deaths—all of which
26
27   made clear the harms from long-term opioid use and that patients are suffering from

28
                                              -86-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 90 of 366 Page ID #:90




1    addiction, overdoses, and death in alarming numbers. More recently, the FDA and CDC

2    issued pronouncements based on existing medical evidence that conclusively expose the
3
     known falsity of these Defendants’ misrepresentations.
4
5          276. The marketing scheme to increase opioid prescriptions centered around nine

6    categories of misrepresentations, which are discussed in detail below. The Marketing
7
     Defendants disseminated these misrepresentations through various channels, including
8
9    through advertising, sales representatives, purportedly independent organizations these
10   defendants funded and controlled, “Front Groups,” so-called industry “Key Opinion
11
     Leaders,” and Continuing Medical Education (“CME”) programs discussed subsequently
12
13   below.
14         1.       The Marketing Defendants Promoted Multiple Falsehoods About
15                  Opioids
16         277. The Marketing Defendants’ misrepresentations fall into the following nine
17
     categories:
18
19                 a.   The risk of addiction from chronic opioid therapy is low

20                 b.   To the extent there is a risk of addiction, it can be easily identified
21
          and managed
22
23                 c.   Signs of addictive behavior are “pseudoaddiction,” requiring more

24        opioids
25
                   d.   Opioid withdrawal can be avoided by tapering
26
27                 e.   Opioid doses can be increased without limit or greater risks

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                                               -87-
                                            COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 91 of 366 Page ID #:91




1               f.      Long-term opioid use improves functioning

2               g.      Alternative forms of pain relief pose greater risks than opioids
3
                h.      OxyContin provides twelve hours of pain relief
4
5               i.      New formulations of certain opioids successfully deter abuse

6          278. Each of these propositions was false. The Marketing Defendants knew this,
7
     but they nonetheless set out to convince physicians, patients, and the public at large of
8
9    the truth of each of these propositions in order to expand the market for their opioids.
10         279. The categories of misrepresentations are offered to organize the numerous
11
     statements the Marketing Defendants made and to explain their role in the overall
12
13   marketing effort, not as a checklist for assessing each Marketing Defendant’s
14   liability. While each Marketing Defendant deceptively promoted their opioids
15
     specifically, and, together with other Marketing Defendants, opioids generally, not every
16
17   Marketing Defendant propagated (or needed to propagate) each misrepresentation. Each
18   Marketing Defendant’s conduct, and each misrepresentation, contributed to an overall
19
     narrative that aimed to—and did—mislead doctors, patients, and payors about the risk
20
21   and benefits of opioids. While this Complaint endeavors to document examples of each
22   Marketing Defendant’s misrepresentations and the manner in which they were
23
     disseminated, they are just that—examples. The Complaint is not, especially prior to
24
25   discovery, an exhaustive catalog of the nature and manner of each deceptive statement
26   by each Marketing Defendant.
27
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                                              -88-
                                           COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 92 of 366 Page ID #:92




1     a.            Falsehood #1: The risk of addiction from chronic opioid therapy is low

2                   280. Central to the Marketing Defendants’ promotional scheme was the

3
      misrepresentation that opioids are rarely addictive when taken for chronic pain. Through
4
      their marketing efforts, the Marketing Defendants advanced the idea that the risk of
5
6     addiction is low when opioids are taken as prescribed by “legitimate” pain patients. That,
7
      in turn, directly led to the expected and intended result that doctors prescribed more
8
      opioids to more patients—thereby enriching the Marketing Defendants and substantially
9
10    contributing to the opioid epidemic.
11
                    281. Each of the Marketing Defendants claimed that the potential for addiction
12
      from its opioids was relatively small or non-existent, even though there was no scientific
13
14    evidence to support those claims. None of them have acknowledged, retracted, or
15
      corrected their false statements.
16
                    282. In fact, studies have shown that a substantial percentage of long-term users
17
18    of opioids experience addiction. Addiction can result from the use of any opioid, “even
19
      at recommended dose,”23 and the risk substantially increases with more than three months
20
21    of use. 24 As the CDC Guideline states, “[o]pioid pain medication use presents serious

22    risks, including overdose and opioid use disorder” (a diagnostic term for addiction).25
23
24   23 FDA Announces Safety Labeling Changes and Postmarket Study Requirements for Extended-Release and Long-Acting Opioid Analgesics, MagMutual
           (Aug. 18, 2016), https://www.magmutual.com/learning/article/fda-announces-safety-laveling-changes-and-postmarket-study-requirements-opioids;
25         see also Press Release, U.S. Food & Drug Admin., FDA Announces Enhanced Warnings for Immediate-Release Opioid Pain Medications Related to
           Risks of Misuse, Abuse, Addiction, Overdose and Death, (Mar. 22, 2016),
           https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm491739.htm.
26   24 Deborah Dowell, M.D., et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States 2016, 65(1) Morbidity & Mortality Wkly. Rep.
           1, 21 (Mar. 18, 2016) (hereinafter, “CDC Guideline”).
27   25 Id. at 2.

28
                                                                       -89-
                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 93 of 366 Page ID #:93




1                        i.     Purdue’s misrepresentations regarding addiction risk

2                283. When it launched OxyContin, Purdue knew it would need data to overcome

3
      decades of wariness regarding opioid use. It needed some sort of research to back up its
4
      messaging. But Purdue had not conducted any studies about abuse potential or addiction
5
6     risk as part of its application for FDA approval for OxyContin. Purdue (and, later, the
7
      other Defendants) found this “research” in the form of a one-paragraph letter to the editor
8
      published in the New England Journal of Medicine (NEJM) in 1980.
9
10               284. This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of
11
      addiction “rare” for patients treated with opioids.26 They had analyzed a database of
12
      hospitalized patients who were given opioids in a controlled setting to ease suffering from
13
14    acute pain. Porter and Jick considered a patient not addicted if there was no sign of
15
      addiction noted in patients’ records.
16
17
18
19
20
21
22
23
24
25
26
     26 Jane Porter & Herschel Jick, M.D., Addiction Rare in Patients Treated with Narcotics, 302(2) New Engl. J. Med. 123 (Jan. 10, 1980),
27        http://www.nejm.org/doi/pdf/10.1056/NEJM198001103020221.

28
                                                                         -90-
                                                                      COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 94 of 366 Page ID #:94




1                285. As Dr. Jick explained to a journalist years later, he submitted the statistics to

2     NEJM as a letter because the data were not robust enough to be published as a study.27
3
4
5
6
7
8
9
10
11
12
13               286. Purdue nonetheless began repeatedly citing this letter in promotional and
14
      educational materials as evidence of the low risk of addiction, while failing to disclose
15
16    that its source was a letter to the editor, not a peer-reviewed paper.28 Citation of the letter,

17    which was largely ignored for more than a decade, significantly increased after the
18
      introduction of OxyContin. While first Purdue and then other Marketing Defendants used
19
20    it to assert that their opioids were not addictive, “that’s not in any shape or form what we

21    suggested in our letter,” according to Dr. Jick.
22
                 287. Purdue specifically used the Porter and Jick letter in its 1998 promotional
23
24    video, “I got my life back,” in which Dr. Alan Spanos says, “In fact, the rate of addiction

25
26
     27 Meier, supra note 1213, at 174.
27   28 Porter & Jick, supra note 28.

28
                                                    -91-
                                                 COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 95 of 366 Page ID #:95




1     amongst pain patients who are treated by doctors is much less than 1%.”29 Purdue trained

2     its sales representatives to tell prescribers that fewer than 1% of patients who took
3
      OxyContin became addicted. (In 1999, a Purdue-funded study of patients who used
4
5     OxyContin for headaches found that the addiction rate was thirteen percent.)30

6                288. Other Defendants relied on and disseminated the same distorted messaging.
7
      The enormous impact of Defendants’ misleading amplification of this letter was well
8
9     documented in another letter published in the NEJM on June 1, 2017, describing the way
10    the one-paragraph 1980 letter had been irresponsibly cited and in some cases “grossly
11
      misrepresented.” In particular, the authors of this letter explained:
12
13    [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
      and uncritically cited as evidence that addiction was rare with long-term opioid
14    therapy. We believe that this citation pattern contributed to the North American
15    opioid crisis by helping to shape a narrative that allayed prescribers’ concerns
      about the risk of addiction associated with long-term opioid therapy . . .31
16
                 289. “It’s difficult to overstate the role of this letter,” said Dr. David Juurlink of
17
18    the University of Toronto, who led the analysis. “It was the key bit of literature that
19
      helped the opiate manufacturers convince front-line doctors that addiction is not a
20
21    concern.”32

22
23
24
     29 Our Amazing World, Purdue Pharma OxyContin Commercial, YouTube (Sept. 22, 2016), https://www.youtube.com/watch?v=Er78Dj5hyeI.
25   30 Patrick R. Keefe, The Family That Built an Empire of Pain, New Yorker (Oct. 30, 2017) (hereinafter, “Keefe, Empire of Pain”).
     31 Pamela T.M. Leung, B.Sc. Pharm., et al., A 1980 Letter on the Risk of Opioid Addiction, 376 New Engl. J. Med. 2194, 2194-95 (June 1, 2017),
26        http://www.nejm.org/doi/full/10.1056/NEJMc1700150.
     32Marilynn Marchione, Assoc. Press, Painful Words: How a 1980 Letter Fueled the Opioid Epidemic, STAT News (May 31, 2017),
27        https://www.statnews.com/2017/05/31/opioid-epidemic-nejm-letter/.

28
                                                                         -92-
                                                                      COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 96 of 366 Page ID #:96




1               290. Alongside its use of the Porter and Jick letter, Purdue also crafted its own

2     materials and spread its deceptive message through numerous additional channels. In its
3
      1996 press release announcing the release of OxyContin, for example, Purdue declared,
4
5     “The fear of addiction is exaggerated.”33

6               291. At a hearing before the House of Representatives’ Subcommittee on
7
      Oversight and Investigations of the Committee on Energy and Commerce in August
8
9     2001, Purdue emphasized “legitimate” treatment, dismissing cases of overdose and death
10    as something that would not befall “legitimate” patients: “Virtually all of these reports
11
      involve people who are abusing the medication, not patients with legitimate medical
12
13    needs under the treatment of a healthcare professional.”34
14              292. Purdue spun this baseless “legitimate use” distinction out even further in a
15
      patient brochure about OxyContin, called “A Guide to Your New Pain Medicine and How
16
17    to Become a Partner Against Pain.” In response to the question “Aren’t opioid pain
18    medications like OxyContin Tablets ‘addicting’?,” Purdue claimed that there was no need
19
      to worry about addiction if taking opioids for legitimate, “medical” purposes:
20
21    Drug addiction means using a drug to get “high” rather than to relieve pain. You
      are taking opioid pain medication for medical purposes. The medical purposes are
22    clear and the effects are beneficial, not harmful.
23
24
25
     33 Press Release, Purdue Pharma, L.P., New Hope for Millions of Americans Suffering from Persistent Pain: Long-Acting OxyContin Tablets Now
26        Available to Relieve Pain (May 31, 1996, 3:47pm), http://documents.latimes.com/oxycontin-press-release-1996/.
     34 OxyContin: Its Use and Abuse: Hearing Before the H. Subcomm. on Oversight and Investigations of the Comm. on Energy and Com., 107th Cong. 1
          (Aug. 28, 2001) (Statement of Michael Friedman, Executive Vice President, Chief Operating Officer, Purdue Pharma, L.P.),
27        https://www.gpo.gov/fdsys/pkg/CHRG-107hhrg75754/html/CHRG-107hhrg75754.htm.

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                                                                        -93-
                                                                     COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 97 of 366 Page ID #:97




1                293. Sales representatives marketed OxyContin as a product “to start with and to

2     stay with.” 35 Sales representatives also received training in overcoming doctors’
3
      concerns about addiction with talking points they knew to be untrue about the drug’s
4
5     abuse potential. One of Purdue’s early training memos compared doctor visits to “firing
6     at a target,” declaring that “[a]s you prepare to fire your ‘message,’ you need to know
7
8     where to aim and what you want to hit!” 36 According to the memo, the target is

9     physician resistance based on concern about addiction: “The physician wants pain relief
10
      for these patients without addicting them to an opioid.” 37
11
12               294. Purdue, through its unbranded website Partners Against Pain, 38 stated the

13    following: “Current Myth: Opioid addiction (psychological dependence) is an important
14
      clinical problem in patients with moderate to severe pain treated with opioids. Fact:
15
16    Fears about psychological dependence are exaggerated when treating appropriate pain
17    patients with opioids.” “Addiction risk also appears to be low when opioids are dosed
18
      properly for chronic, noncancer pain.”
19
20               295. Former sales representative Steven May, who worked for Purdue from 1999

21
      to 2005, explained to a journalist how he and his coworkers were trained to overcome
22
23
24   35 Keefe, Empire of Pain, supra note 32.
     36 Meier, supra note 14 at 102.
25   37 Id.
     38 Partners Against Pain consists of both a website, styled as an “advocacy community” for better pain care, and a set of medical education resources
26        distributed to prescribers by sales representatives. It has existed since at least the early 2000s and has been a vehicle for Purdue to downplay the risks
          of addiction from long-term opioid use. One early pamphlet, for example, answered concerns about OxyContin’s addictiveness by claiming: “Drug
          addiction means using a drug to get ‘high’ rather than to relieve pain. You are taking opioid pain medication for medical purposes. The medical
27        purposes are clear and the effects are beneficial, not harmful.”

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                                                                            -94-
                                                                         COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 98 of 366 Page ID #:98




1     doctors’ objections to prescribing opioids. The most common objection he heard about

2     prescribing OxyContin was that “it’s just too addictive.”39 May and his coworkers were
3
      trained to “refocus” doctors on “legitimate” pain patients, and to represent that
4
5     “legitimate” patients would not become addicted. In addition, they were trained to say

6     that the 12-hour dosing made the extended-release opioids less “habit-forming” than
7
      painkillers that need to be taken every four hours.
8
9               296. According to interviews with prescribers and former Purdue sales

10    representatives, Purdue has continued to distort or omit the risk of addiction while failing
11
      to correct its earlier misrepresentations, leaving many doctors with the false impression
12
13    that pain patients will only rarely become addicted to opioids.
14              297. With regard to addiction, Purdue’s label for OxyContin has not sufficiently
15
      disclosed the true risks to, and experiences of, its patients. Until 2014, the OxyContin
16
17    label stated in a black-box warning that opioids have “abuse potential” and that the “risk
18    of abuse is increased in patients with a personal or family history of substance abuse.”
19
                298. However, the FDA made clear to Purdue as early as 2001 that the disclosures
20
21    in its OxyContin label were insufficient.
22              299. In 2001, Purdue revised the indication and warnings for OxyContin. In the
23
      United States, Purdue ceased distributing the 160 mg tablet of OxyContin.
24
25
26
     39 Interview by Patrick Keefe with Steven Mays, former sales representative for Purdue Pharma, L.P., How OxyContin Was Sold to the Masses, The New
27        Yorker (Oct. 27, 2017), https://www.newyorker.com/podcast/the-new-yorker-radio-hour/how-oxycontin-was-sold-to-the-masses.

28
                                                                       -95-
                                                                    COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 99 of 366 Page ID #:99




1          300. In the end, Purdue narrowed the recommended use of OxyContin to situations

2    when “a continuous, around-the-clock analgesic is needed for an extended period of time”
3
     and added a warning that “[t]aking broken, chewed, or crushed OxyContin tablets” could
4
5    lead to a “potentially fatal dose.” However, Purdue did not, until 2014, change the label,

6    to indicate that OxyContin should not be the first therapy, or even the first opioid, used,
7
     and did not disclose the incidence or risk of overdose and death even when OxyContin
8
9    was not abused. Purdue announced the label changes in a letter to health care providers.
10              ii.   Endo’s misrepresentations regarding addiction risk
11
           301. Endo also falsely represented that addiction is rare in patients who are
12
     prescribed opioids.
13
14         302. Until April 2012, Endo’s website for Opana, www.Opana.com, stated that
15
     “[m]ost healthcare providers who treat patients with pain agree that patients treated with
16
17   prolonged opioid medicines usually do not become addicted.”

18         303. Upon information and belief, Endo improperly instructed its sales
19
     representatives to diminish and distort the risk of addiction associated with Opana ER.
20
21   Endo’s training materials for its sales representatives in 2011 also prompted sales

22   representatives to answer “true” to the statement that addiction to opioids is not common.
23
           304. One of the Front Groups with which Endo worked most closely was the
24
25   American Pain Foundation (“APF”), described more fully below.              Endo provided

26   substantial assistance to, and exercised editorial control, over the deceptive and
27
28
                                              -96-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 100 of 366 Page ID #:100




1     misleading messages that APF conveyed through its National Initiative on Pain Control

2     (“NIPC”)40 and its website www.PainKnowledge.com, which claimed that “[p]eople
3
      who take opioids as prescribed usually do not become addicted.”
4
5                305. Another Endo website, www.PainAction.com, stated: “Did you know? Most

6     chronic pain patients do not become addicted to the opioid medications that are prescribed
7
      for them.”
8
9                306. In a brochure available on www.PainKnowledge.com titled “Pain: Opioid

10
      Facts,” Endo-sponsored NIPC stated that “people who have no history of drug abuse,
11
      including tobacco, and use their opioid medication as directed will probably not become
12
13    addicted.” In numerous patient education pamphlets, Endo repeated this deceptive
14
      message.
15
                 307. In a patient education pamphlet titled “Understanding Your Pain: Taking
16
17    Oral Opioid Analgesics,” Endo answers the hypothetical patient question—“What should
18
      I know about opioids and addiction?”—by focusing on explaining what addiction is (“a
19
      chronic brain disease”) and is not (“Taking opioids for pain relief”). It goes on to explain
20
21    that “[a]ddicts take opioids for other reasons, such as unbearable emotional problems.
22
      Taking opioids as prescribed for pain relief is not addiction.” This publication is still
23
24    available online.

25
     40 Endo was one of the APF’s biggest financial supporters, providing more than half of the $10 million APF received from opioid manufacturers during its
26        lifespan. Endo was the sole funder of NIPC and selected APF to manage NIPC. Internal Endo documents indicate that Endo was responsible for
          NIPC curriculum development, web posting, and workshops, developed and reviewed NIPC content, and took a substantial role in distributing NIPC
          and APF materials. Endo projected that it would be able to reach tens of thousands of prescribers nationwide through the distribution of NIPC
27        materials.

28
                                                                         -97-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 101 of 366 Page ID #:101




1          308. An Endo publication, Living with Someone with Chronic Pain, stated, “Most

2    health care providers who treat people with pain agree that most people do not develop
3
     an addiction problem.” A similar statement appeared on the Endo website,
4
5    www.Opana.com, until at least April 2012.

6          309. In addition, a 2009 patient education publication, Pain: Opioid Therapy,
7
     funded by Endo and posted on www.PainKnowledge.com, omitted addiction from the
8
9    “common risks” of opioids, as shown below:
10
11
12
13
14
15
16
17
              iii.   Janssen’s misrepresentations regarding addiction risk
18
19         310. Janssen likewise misrepresented the addiction risk of opioids on its websites

20   and print materials. One website, Let’s Talk Pain, states, among other things, that “the
21
     stigma of drug addiction and abuse” associated with the use of opioids stemmed from a
22
23   “lack of understanding about addiction.” (Although Janssen described the website
24   internally as an unbranded third-party program, it carried Janssen’s trademark and copy
25
     approved by Janssen.)
26
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                                             -98-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 102 of 366 Page ID #:102




1                311. The Let’s Talk Pain website also perpetuated the concept of pseudoaddiction,

2     associating patient behaviors such as “drug seeking,” “clock watching,” and “even illicit
3
      drug use or deception” with undertreated pain, which can be resolved with “effective pain
4
5     management.”

6                312. A Janssen unbranded website, www.PrescribeResponsibly.com, states that
7
      concerns about opioid addiction are “overestimated” and that “true addiction occurs only
8
9     in a small percentage of patients.”41
10               313. Janssen reviewed, edited, approved, and distributed a patient education guide
11
      entitled Finding Relief: Pain Management for Older Adults, which, as seen below,
12
13    described as “myth” the claim that opioids are addictive, and asserted as fact that “[m]any
14    studies show that opioids are rarely addictive when used properly for the management of
15
      chronic pain.” Until recently, this guide was still available online.
16
17
18
19
20
21
22
23
24
25
26
     41 Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Mgmt., Prescribe Responsibly, http://www.prescriberesponsibly.com/articles/opioid-pain-
27        management (last updated July 2, 2015).

28
                                                                         -99-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 103 of 366 Page ID #:103




1          314. Janssen’s website for Duragesic included a section addressing “Your Right

2    to Pain Relief” and a hypothetical patient’s fear that “I’m afraid I’ll become a drug
3
     addict.” The website’s response: “Addiction is relatively rare when patients take opioids
4
5    appropriately.”

6            iv.   Cephalon’s misrepresentations regarding addiction risk
7
           315. Cephalon sponsored and facilitated the development of a guidebook, Opioid
8
     Medications and REMS: A Patient’s Guide, which included claims that “patients without
9
10   a history of abuse or a family history of abuse do not commonly become addicted to
11
     opioids.” Similarly, Cephalon sponsored APF’s Treatment Options: A Guide for People
12
     Living with Pain (2007), which taught that addiction is rare and limited to extreme cases
13
14   of unauthorized dose escalations, obtaining opioids from multiple sources, or theft.
15
           316. For example, a 2003 Cephalon-sponsored CME presentation titled
16
17   Pharmacologic Management of Breakthrough or Incident Pain, posted on Medscape in

18   February 2003, teaches:
19
     [C]hronic pain is often undertreated, particularly in the noncancer patient
20   population. . . . The continued stigmatization of opioids and their prescription,
21   coupled with often unfounded and self-imposed physician fear of dealing with the
     highly regulated distribution system for opioid analgesics, remains a barrier to
22   effective pain management and must be addressed. Clinicians intimately involved
23   with the treatment of patients with chronic pain recognize that the majority of
     suffering patients lack interest in substance abuse. In fact, patient fears of
24   developing substance abuse behaviors such as addiction often lead to
25   undertreatment of pain. The concern about patients with chronic pain becoming
     addicted to opioids during long-term opioid therapy may stem from confusion
26
27
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                                              -100-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 104 of 366 Page ID #:104




1     between physical dependence (tolerance) and psychological dependence
      (addiction) that manifests as drug abuse.42
2
                       v.      Actavis’s misrepresentations regarding addiction risk
3
4               317. Through its “Learn More about customized pain control with Kadian”

5     material, Actavis claimed that it is possible to become addicted to morphine-based drugs
6
      like Kadian, but that it is “less likely” to happen in those who “have never had an
7
8     addiction problem.” The piece goes on to advise that a need for a “dose adjustment” is
9     the result of tolerance, and “not addiction.”
10
                318. Training for Actavis sales representatives deceptively minimizes the risk of
11
12    addiction by: (i) attributing addiction to “predisposing factors” like family history of
13    addiction or psychiatric disorders; (ii) repeatedly emphasizing the difference between
14
      substance dependence and substance abuse; and (iii) using the term pseudoaddiction,
15
16    which, as described below, dismisses evidence of addiction as the undertreatment of pain
17    and, dangerously, counsels doctors to respond to its signs with more opioids.
18
                319. Actavis conducted a market study on takeaways from prescribers’
19
20    interactions with Kadian sales representatives. The doctors had a strong recollection of
21    the sales representatives’ discussion of the low-abuse potential.                                                       Actavis’ sales
22
      representatives’ misstatements on the low-abuse potential was considered an important
23
24    factor to doctors, and was most likely repeated and reinforced to their patients.
25
26
     42 Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain, Medscape, http://www.medscape.org/viewarticle/449803
27        (behind paywall).

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                                                                      -101-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 105 of 366 Page ID #:105




1    Additionally, doctors reviewed visual aids that the Kadian sales representatives use

2    during the visits, and Actavis noted that doctors associate Kadian with less abuse and no
3
     highs, in comparison to other opioids. Numerous marketing surveys of doctors in 2010
4
5    and 2012, for example, confirmed Actavis’s messaging about Kadian’s purported low

6    addiction potential, and that it had less abuse potential than other similar opioids.
7
           320. A guide for prescribers under Actavis’s copyright deceptively represents that
8
9    Kadian is more difficult to abuse and less addictive than other opioids. The guide
10   includes the following statements: 1) “unique pharmaceutical formulation of KADIAN
11
     may offer some protection from extraction of morphine sulfate for intravenous use by
12
13   illicit users,” and 2) “KADIAN may be less likely to be abused by health care providers
14   and illicit users” because of “Slow onset of action,” “Lower peak plasma morphine levels
15
     than equivalent doses of other formulations of morphine,” “Long duration of action,” and
16
17   “Minimal fluctuations in peak to trough plasma levels of morphine at steady state.” The
18   guide is copyrighted by Actavis in 2007, before Actavis officially purchased Kadian from
19
     Alpharma. These statements convey both that (a) Kadian does not cause euphoria and
20
21   therefore is less addictive and that (b) Kadian is less prone to tampering and abuse, even
22   though Kadian was not approved by the FDA as abuse deterrent, and, upon information
23
     and belief, Actavis had no studies to suggest it was.
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                                               -102-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 106 of 366 Page ID #:106




1          vi.    Mallinckrodt’s misrepresentations regarding addiction risk

2          321. As described below, Mallinckrodt promoted its branded opioids Exalgo and

3
     Xartemis XR, and opioids generally, in a campaign that consistently mischaracterized the
4
     risk of addiction. Mallinckrodt did so through its website and sales force, as well as
5
6    through unbranded communications distributed through the “C.A.R.E.S. Alliance” it
7
     created and led.
8
           322. Mallinckrodt in 2010 created the C.A.R.E.S. (Collaborating and Acting
9
10   Responsibly to Ensure Safety) Alliance, which it describes as “a coalition of national
11
     patient safety, provider and drug diversion organizations that are focused on reducing
12
     opioid pain medication abuse and increasing responsible prescribing habits.”           The
13
14   “C.A.R.E.S. Alliance” itself is a service mark of Mallinckrodt LLC (and was previously
15
     a service mark of Mallinckrodt, Inc.) copyrighted and registered as a trademark by
16
17   Covidien, its former parent company. Materials distributed by the C.A.R.E.S. Alliance,

18   however, include unbranded publications that do not disclose a link to Mallinckrodt.
19
           323.    By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a
20
21   book titled Defeat Chronic Pain Now! This book is still available online. The false

22   claims and misrepresentations in this book include the following statements:
23
                  •     “Only rarely does opioid medication cause a true
24                addiction when prescribed appropriately to a chronic pain
25                patient who does not have a prior history of addiction.”

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28
                                              -103-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 107 of 366 Page ID #:107




1                •     “It is currently recommended that every chronic pain
                 patient suffering from moderate to severe pain be viewed as a
2                potential candidate for opioid therapy.”
3
                 •      “When chronic pain patients take opioids to treat their
4                pain, they rarely develop a true addiction and drug craving.”
5                •     “Only a minority of chronic pain patients who are taking
6                long-term opioids develop tolerance.”

7                •     “The bottom line: Only rarely does opioid medication
                 cause a true addiction when prescribed appropriately to a
8
                 chronic pain patient who does not have a prior history of
9                addiction.”
10               •      “Here are the facts. It is very uncommon for a person
11               with chronic pain to become ‘addicted’ to narcotics IF (1) he
                 doesn’t have a prior history of any addiction and (2) he only
12               takes the medication to treat pain.”
13
                 •     “Studies have shown that many chronic pain patients
14               can experience significant pain relief with tolerable side effects
                 from opioid narcotic medication when taken daily and no
15
                 addiction.”
16
           324. In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the
17
18   Treatment of Pain and Control of Opioid Abuse, which is still available online,
19   Mallinckrodt stated that, “[s]adly, even today, pain frequently remains undiagnosed and
20
     either untreated or undertreated” and cites to a report that concludes that “the majority of
21
22   people with pain use their prescription drugs properly, are not a source of misuse, and
23   should not be stigmatized or denied access because of the misdeeds or carelessness of
24
     others.”
25
26
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                                               -104-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 108 of 366 Page ID #:108




1          325. Marketing Defendants’ suggestions that the opioid epidemic is the result of

2    bad patients who manipulate doctors to obtain opioids illicitly helped further their
3
     marketing scheme, but is at odds with the facts. While there are certainly patients who
4
5    unlawfully obtain opioids, they are a small minority. For example, patients who “doctor-

6    shop”—i.e., visit multiple prescribers to obtain opioid prescriptions—are responsible for
7
     roughly 2% of opioid prescriptions. The epidemic of opioid addiction and abuse is
8
9    overwhelmingly a problem of false marketing (and unconstrained distribution) of the
10   drugs, not problem patients.
11
           b. Falsehood #2: To the extent there is a risk of addiction, it can be easily
12            identified and managed
13
           326. While continuing to maintain that most patients can safely take opioids long-
14
15   term for chronic pain without becoming addicted, the Marketing Defendants assert that

16   to the extent that some patients are at risk of opioid addiction, doctors can effectively
17
     identify and manage that risk by using screening tools or questionnaires. In materials they
18
19   produced, sponsored, or controlled, Defendants instructed patients and prescribers that

20   screening tools can identify patients predisposed to addiction, thus making doctors feel
21
     more comfortable prescribing opioids to their patients and patients more comfortable
22
23   starting opioid therapy for chronic pain. These tools, they say, identify those with higher

24   addiction risks (stemming from personal or family histories of substance use, mental
25
     illness, trauma, or abuse) so that doctors can then more closely monitor those patients.
26
27
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                                              -105-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 109 of 366 Page ID #:109




1                327. Purdue shared its Partners Against Pain “Pain Management Kit,” which

2     contains several screening tools and catalogues of Purdue materials, which included these
3
      tools, with prescribers. Janssen, on its website www.PrescribeResponsibly.com, states
4
5     that the risk of opioid addiction “can usually be managed” through tools such as opioid

6     agreements between patients and doctors.43                                         The website, which directly provides
7
      screening tools to prescribers for risk assessments, includes a “[f]our question screener”
8
9     to purportedly help physicians identify and address possible opioid misuse.44
10               328. Purdue and Cephalon sponsored the APF’s Treatment Options: A Guide for
11
      People Living with Pain (2007), which also falsely reassured patients that opioid
12
13    agreements between doctors and patients can “ensure that you take the opioid as
14    prescribed.”
15
                 329. Purdue sponsored a 2011 webinar taught by Dr. Webster, entitled Managing
16
17    Patient’s Opioid Use: Balancing the Need and Risk. This publication misleadingly taught
18    prescribers that screening tools, urine tests, and patient agreements have the effect of
19
      preventing “overuse of prescriptions” and “overdose deaths.”
20
21               330. Purdue sponsored a 2011 CME program titled Managing Patient’s Opioid

22    Use: Balancing the Need and Risk. This presentation deceptively instructed prescribers
23
24
25
     43 Howard A. Heit, M.D., FACP, FASAM & Douglas L. Gourlay, M.D., M.Sc., FRCPC, FASAM, What a Prescriber Should Know Before Writing the
26        First Prescription, Prescribe Responsibly, http://www.prescriberesponsibly.com/articles/before-prescribing-opioids#pseudoaddiction (last modified
          July 2, 2015).
27   44 Risk Assessment Resources, Prescribe Responsibly, http://www.prescriberesponsibly.com/risk-assessment-resources (last modified July 2, 2015).

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                                                                         -106-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 110 of 366 Page ID #:110




1    that screening tools, patient agreements, and urine tests prevented “overuse of

2    prescriptions” and “overdose deaths.”
3
           331. Purdue also funded a 2012 CME program called Chronic Pain Management
4
5    and Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes.                 The

6    presentation deceptively instructed doctors that, through the use of screening tools, more
7
     frequent refills, and other techniques, even high-risk patients showing signs of addiction
8
9    could be treated with opioids.
10         332. Endo paid for a 2007 supplement available for continuing education credit in
11
     the Journal of Family Practice written by a doctor who became a member of Endo’s
12
13   speakers’ bureau in 2010. This publication, entitled Pain Management Dilemmas in
14   Primary Care: Use of Opioids, (i) recommended screening patients using tools like (a)
15
     the Opioid Risk Tool (“ORT”) created by Dr. Webster and linked to Janssen or (b) the
16
17   Screener and Opioid Assessment for Patients with Pain, and (ii) taught that patients at
18   high risk of addiction could safely receive chronic opioid therapy using a “maximally
19
     structured approach” involving toxicology screens and pill counts. The ORT was linked
20
21   to by Endo-supported websites, as well.
22         333. There are three fundamental flaws in the Marketing Defendants’
23
     representations that doctors can consistently identify and manage the risk of addiction.
24
25   First, there is no reliable scientific evidence that doctors can depend on the screening
26   tools currently available to materially limit the risk of addiction. Second, there is no
27
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                                              -107-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 111 of 366 Page ID #:111




1     reliable scientific evidence that high-risk patients identified through screening can take

2     opioids long-term without triggering addiction, even with enhanced monitoring. Third,
3
      there is no reliable scientific evidence that patients who are not identified through such
4
5     screening can take opioids long-term without significant danger of addiction.

6               c.         Falsehood #3: Signs of addictive behavior are “pseudoaddiction,”
7                          requiring more opioids
8               334. The Marketing Defendants instructed patients and prescribers that signs of
9
      addiction are actually indications of untreated pain, such that the appropriate response is
10
      to prescribe even more opioids. Dr. David Haddox, who later became a Senior Medical
11
12    Director for Purdue, published a study in 1989 coining the term “pseudoaddiction,” which
13
      he characterized as “the iatrogenic syndrome of abnormal behavior developing as a direct
14
15    consequence of inadequate pain management.”45 In other words, people on prescription

16    opioids who exhibited classic signs of addiction—for example, asking for more and
17
      higher doses of opioids, self-escalating their doses, or claiming to have lost prescriptions
18
19    in order to get more opioids—were not addicted, but rather simply suffering from

20    undertreatment of their pain.
21
                335. In the materials and outreach they produced, sponsored, or controlled,
22
23    Defendants made each of these misrepresentations and omissions, and have never

24    acknowledged, retracted, or corrected them.
25
26
     45 David E. Weissman & J. David Haddox, Opioid Pseudoaddiction—An Iatrogenic Syndrome, 36(3) Pain 363, 363-66 (Mar. 1989),
27        https://www.ncbi.nlm.nih.gov/pubmed/2710565 (“Iatrogenic” describes a condition induced by medical treatment).

28
                                                                       -108-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 112 of 366 Page ID #:112




1          336. Cephalon, Endo, and Purdue sponsored the Federation of State Medical

2    Boards’ (“FSMB”) Responsible Opioid Prescribing (2007) written by Dr. Fishman and
3
     discussed in more detail below, which taught that behaviors such as “requesting drugs by
4
5    name,” “demanding or manipulative behavior,” seeing more than one doctor to obtain

6    opioids, and hoarding, which are signs of genuine addiction, are all really signs of
7
     “pseudoaddiction.”
8
9          337. Purdue posted an unbranded pamphlet entitled Clinical Issues in Opioid

10   Prescribing on its unbranded website, www.PartnersAgainstPain.com, in 2005, and
11
     circulated this pamphlet through at least 2007 and on its website through at least 2013.
12
13   The pamphlet listed conduct including “illicit drug use and deception” that it claimed was
14   not evidence of true addiction but “pseudoaddiction” caused by untreated pain.
15
           338. According to documents provided by a former Purdue detailer, sales
16
17   representatives were trained and tested on the meaning of pseudoaddiction, from which
18   it can be inferred that sales representatives were directed to, and did, describe
19
     pseudoaddiction to prescribers. Purdue’s Pain Management Kit is another example of
20
21   publication used by Purdue’s sales force that endorses pseudoaddiction by claiming that
22   “pain-relief seeking behavior can be mistaken for drug-seeking behavior.”           Upon
23
     information and belief, the kit was in use from roughly 2011 through at least June 2016.
24
25         339. Similarly, internal documents show that Endo trained its sales representatives

26   to promote the concept of pseudoaddiction.           A training module taught sales
27
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                                              -109-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 113 of 366 Page ID #:113




1     representatives that addiction and pseudoaddiction were commonly confused.                                                                    The

2     module went on to state that:                                “The physician can differentiate addiction from
3
      pseudoaddiction by speaking to the patient about his/her pain and increasing the patient’s
4
5     opioid dose to increase pain relief.”

6                340. Endo also sponsored a NIPC CME program in 2009 titled Chronic Opioid
7
      Therapy: Understanding Risk While Maximizing Analgesia, which promoted
8
9     pseudoaddiction and listed “[d]ifferentiation among states of physical dependence,
10    tolerance, pseudoaddiction, and addiction” as an element to be considered in awarding
11
      grants to CME providers.
12
13               341. Upon information and belief, Endo itself has repudiated the concept of

14    pseudoaddiction.                 In finding that “[t]he pseudoaddiction concept has never been
15
      empirically validated and in fact has been abandoned by some of its proponents,” the
16
17    New York Attorney General, in a 2016 settlement with Endo, reported that “Endo’s Vice
18    President for Pharmacovigilance and Risk Management testified to [the NY AG] that he
19
      was not aware of any research validating the ‘pseudoaddiction’ concept” and
20
21    acknowledged                  the       difficulty           in       distinguishing               “between              addiction            and
22    ‘pseudoaddiction.’”46 Endo thereafter agreed not to “use the term ‘pseudoaddiction’ in
23
      any training or marketing” in New York.
24
25
26
     46 Attorney General of the State of New York, In the Matter of Endo Health Solutions Inc. & Endo Pharmaceuticals Inc., Assurance No.:15-228,
27        Assurance of Discontinuance Under Executive Law Section 63. Subdivision 15 at 7.

28
                                                                        -110-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 114 of 366 Page ID #:114




1                342. Janssen sponsored, funded, and edited a website called Let’s Talk Pain,

2     which in 2009 stated “pseudoaddiction . . . refers to patient behaviors that may occur
3
      when pain is undertreated . . . . Pseudoaddiction is different from true addiction because
4
5     such behaviors can be resolved with effective pain management.” This website was

6     accessible online until at least May 2012.
7
                 343. Janssen also currently runs a website, www.PrescribeResponsibly.com,
8
9     which claims that concerns about opioid addiction are “overestimated,” and describes
10    pseudoaddiction as “a syndrome that causes patients to seek additional medications due
11
      to inadequate pharmacotherapy being prescribed. Typically when the pain is treated
12
13    appropriately the inappropriate behavior ceases.”47
14               344. The CDC Guideline nowhere recommends attempting to provide more
15
      opioids to patients exhibiting symptoms of addiction.         Dr. Lynn Webster, a KOL
16
17    discussed below, admitted that pseudoaddiction “is already something we are debunking
18    as a concept” and became “too much of an excuse to give patients more medication. It
19
      led us down a path that caused harm.”
20
21               d.       Falsehood #4: Opioid withdrawal can be avoided by tapering
22               345. In an effort to underplay the risk and impact of addiction, the Marketing
23
      Defendants falsely claimed that, while patients become physically dependent on opioids,
24
25    physical dependence is not the same as addiction and can be easily addressed, if and when

26
27   47 Heit & Gourlay, supra note 45.

28
                                                   -111-
                                                COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 115 of 366 Page ID #:115




1    pain relief is no longer desired, by gradually tapering patients’ dose to avoid the adverse

2    effects of withdrawal. Defendants failed to disclose the extremely difficult and painful
3
     effects that patients can experience when they are removed from opioids—adverse effects
4
5    that also make it less likely that patients will be able to stop using the drugs. Defendants

6    also failed to disclose how difficult it is for patients to stop using opioids after they have
7
     used them for prolonged periods.
8
9          346. A non-credit educational program sponsored by Endo, Persistent Pain in the

10   Older Adult, claimed that withdrawal symptoms, which make it difficult for patients to
11
     stop using opioids, could be avoided by simply tapering a patient’s opioid dose over ten
12
13   days. However, this claim is at odds with the experience of patients addicted to opioids.
14   Most patients who have been taking opioids regularly will, upon stopping treatment,
15
     experience withdrawal, characterized by intense physical and psychological effects,
16
17   including anxiety, nausea, headaches, and delirium, among others. This painful and
18   arduous struggle to terminate use can leave many patients unwilling or unable to give up
19
     opioids and heightens the risk of addiction.
20
21         347. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &

22   Its Management, which taught that “[s]ymptoms of physical dependence can often be
23
     ameliorated by gradually decreasing the dose of medication during discontinuation,” but
24
25   the guide did not disclose the significant hardships that often accompany cessation of use.
26
27
28
                                               -112-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 116 of 366 Page ID #:116




1                348. To this day, the Marketing Defendants have not corrected or retracted their

2     misrepresentations regarding tapering as a solution to opioid withdrawal.
3
                 e.        Falsehood #5: Opioid doses can be increased without limit or greater
4                          risks
5
                 349. In materials they produced, sponsored or controlled, Marketing Defendants
6
      instructed prescribers that they could safely increase a patient’s dose to achieve pain
7
8     relief. Each of the Marketing Defendants’ claims was deceptive in that it omitted
9
      warnings of increased adverse effects that occur at higher doses, effects confirmed by
10
      scientific evidence.
11
12               350. These misrepresentations were integral to the Marketing Defendants’
13
      promotion of prescription opioids. As discussed above, patients develop a tolerance to
14
15    opioids’ analgesic effects, so that achieving long-term pain relief requires constantly

16    increasing the dose.
17
                 351. In a 1996 sales memo regarding OxyContin, for example, a regional manager
18
19    for Purdue instructed sales representatives to inform physicians that there is “no[] upward

20    limit” for dosing and ask “if there are any reservations in using a dose of 240mg-320mg
21
      of OxyContin.”48
22
23
24
25
26
     48 Letter from Windell Fisher, Purdue Regional Manager, to B. Gergely, Purdue Employee (Nov. 7, 1996), http://documents.latimes.com/sales-manager-
27        on12-hour-dosing-1996/ (last updated May 5, 2016) (hereinafter, “Letter from Fisher”).

28
                                                                         -113-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 117 of 366 Page ID #:117




1          352. In addition, sales representatives aggressively pushed doctors to prescribe

2    stronger doses of opioids. For example, one Purdue sales representative wrote about how
3
     his regional manager would drill the sales team on their upselling tactics:
4
5    It went something like this. “Doctor, what is the highest dose of OxyContin you
     have ever prescribed?” “20mg Q12h.” “Doctor, if the patient tells you their pain
6    score is still high you can increase the dose 100% to 40mg Q12h, will you do that?”
7    “Okay.” “Doctor, what if that patient them came back and said their pain score
     was still high, did you know that you could increase the OxyContin dose to 80mg
8    Q12h, would you do that?” “I don’t know, maybe.” “Doctor, but you do agree
9    that you would at least Rx the 40mg dose, right?” “Yes.”
10   The next week the rep would see that same doctor and go through the same
     discussion with the goal of selling higher and higher doses of OxyContin.
11
12         353. These misrepresentations were particularly dangerous.        As noted above,
13   opioid doses at or above 50 MME/day double the risk of overdose compared to 20
14
     MME/day, and 50 MME is equal to just 33 mg of oxycodone. The recommendation of
15
16   320 mg every twelve hours is ten times that.
17         354. In its 2010 Risk Evaluation and Mitigation Strategy (“REMS”) for
18
     OxyContin, however, Purdue does not address the increased risk of respiratory depression
19
20   and death from increasing dose, and instead advises prescribers that “dose adjustments
21   may be made every 1-2 days”; “it is most appropriate to increase the q12h dose”; the
22
     “total daily dose can usually be increased by 25% to 50%”; and if “significant adverse
23
24
25
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28
                                              -114-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 118 of 366 Page ID #:118




1     reactions occur, treat them aggressively until they are under control, then resume upward

2     titration.”49
3
                 355. Endo sponsored a website, www.PainKnowledge.com, which claimed that
4
5     opioids may be increased until “you are on the right dose of medication for your pain,”

6     at which point further dose increases would not be required.
7
                 356. Endo also published on its website a patient education pamphlet entitled
8
9     Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format, it asked,
10    “If I take the opioid now, will it work later when I really need it?” The response is, “The
11
      dose can be increased . . . You won’t ‘run out’ of pain relief.”
12
13               357. Purdue and Cephalon sponsored APF’s Treatment Options: A Guide for

14    People Living with Pain (2007), which taught patients that opioids have “no ceiling dose”
15
      and therefore are safer than NSAIDs.
16
17               358. In 2013, the FDA acknowledged “that the available data do suggest a

18    relationship between increasing opioid dose and risk of certain adverse events” and that
19
      studies “appear to credibly suggest a positive association between high-dose opioid use
20
21    and the risk of overdose and/or overdose mortality.” A study of the Veterans Health
22    Administration from 2004 to 2008 found the rate of overdose deaths is directly related to
23
      maximum daily dose.
24
25
26   49 Purdue Pharma, L.P., OxyContin Risk Evaluation and Mitigation Strategy,
          https://web.archive.org/web/20170215190303/https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandPr
27        oviders/UCM220990.pdf (last modified Nov. 2010).

28
                                                                       -115-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 119 of 366 Page ID #:119




1                f.         Falsehood #6: Long-term opioid use improves functioning

2                359. Despite the lack of evidence of improved function and the existence of

3
      evidence to the contrary, the Marketing Defendants consistently promoted opioids as
4
      capable of improving patients’ function and quality of life because they viewed these
5
6     claims as a critical part of their marketing strategies. In recalibrating the risk-benefit
7
      analysis for opioids, increasing the perceived benefits of treatment was necessary to
8
      overcome its risks.
9
10               360. Janssen,          for example, promoted Duragesic as improving patients’
11
      functioning and work productivity through an ad campaign that included the following
12
      statements: “[w]ork, uninterrupted,” “[l]ife, uninterrupted,” “[g]ame, uninterrupted,”
13
14    “[c]hronic pain relief that supports functionality,” and “[i]mprove[s] . . . physical and
15
      social functioning.”
16
                 361. Purdue noted the need to compete with this messaging, despite the lack of
17
18    data supporting improvement in quality of life with OxyContin treatment:
19
      Janssen has been stressing decreased side effects, especially constipation, as well
20    as patient quality of life, as supported by patient rating compared to sustained
21    release morphine . . . We do not have such data to support OxyContin promotion.
      . . . In addition, Janssen has been using the “life uninterrupted” message in
22    promotion of Duragesic for non-cancer pain, stressing that Duragesic “helps
23    patients think less about their pain.” This is a competitive advantage based on our
      inability to make any quality of life claims.50
24
25
26
27   50 Meier, supra note 14, at 281.

28
                                                       -116-
                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 120 of 366 Page ID #:120




1               362. Despite its acknowledgment that “[w]e do not have such data to support

2     OxyContin promotion,” Purdue ran a full-page ad for OxyContin in the Journal of the
3
      American Medical Association, proclaiming, “There Can Be Life With Relief,” and
4
5     showing a man happily fly-fishing alongside his grandson, implying that OxyContin

6     would help users’ function. This ad earned a warning letter from the FDA, which
7
      admonished, “It is particularly disturbing that your November ad would tout ‘Life With
8
9     Relief’ yet fail to warn that patients can die from taking OxyContin.”51
10              363. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
11
      Its Management, which claimed that “multiple clinical studies” have shown that opioids
12
13    are effective in improving daily function, psychological health, and health-related quality
14    of life for chronic pain patients. But the article cited as support for this in fact stated the
15
      contrary, noting the absence of long-term studies and concluding, “[f]or functional
16
17    outcomes, the other analgesics were significantly more effective than were opioids.”
18              364. A series of medical journal advertisements for OxyContin in 2012 presented
19
      “Pain Vignettes”—case studies featuring patients with pain conditions persisting over
20
21    several months—that implied functional improvement. For example, one advertisement
22    described a “writer with osteoarthritis of the hands” and implied that OxyContin would
23
      help him work more effectively.
24
25
26
     51 Chris Adams, FDA Orders Purdue Pharma to Pull Its OxyContin Ads, Wall St. J. (Jan. 23, 2003, 12:01am),
27        https://www.wsj.com/articles/SB1043259665976915824.

28
                                                                       -117-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 121 of 366 Page ID #:121




1          365. Similarly, since at least May of 2011, Endo has distributed and made

2    available on its website, www.Opana.com, a pamphlet promoting Opana ER with
3
     photographs depicting patients with physically demanding jobs like those of a
4
5    construction worker or chef, misleadingly implying that the drug would provide long-

6    term pain relief and functional improvement.
7
           366. As noted above, Janssen sponsored and edited a patient education guide
8
9    entitled Finding Relief: Pain Management for Older Adults (2009), which states as “a
10   fact” that “opioids may make it easier for people to live normally.” This guide features a
11
     man playing golf on the cover and lists examples of expected functional improvement
12
13   from opioids, like sleeping through the night, returning to work, recreation, sex, walking,
14   and climbing stairs. It assures patients that, “[u]sed properly, opioid medications can
15
     make it possible for people with chronic pain to ‘return to normal.’”           Similarly,
16
17   Responsible Opioid Prescribing (2007), sponsored and distributed by Teva, Endo, and
18   Purdue, taught that relief of pain by opioids, by itself, improved patients’ function. The
19
     book remains for sale online.
20
21         367. In addition, Janssen’s Let’s Talk Pain, website featured a video interview,

22   which was edited by Janssen personnel, claiming that opioids were what allowed a patient
23
     to “continue to function,” falsely implying that her experience would be representative.
24
25         368. The APF’s Treatment Options: A Guide for People Living with Pain (2007),

26   sponsored by Purdue and Cephalon, counseled patients that opioids “give [pain patients]
27
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                                              -118-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 122 of 366 Page ID #:122




1     a quality of life we deserve.” The guide was available online until APF shut its doors in

2     May 2012.
3
                 369. Endo’s NIPC website www.PainKnowledge.com claimed that with opioids,
4
5     “your level of function should improve; you may find you are now able to participate in

6     activities of daily living, such as work and hobbies, that you were not able to enjoy when
7
      your pain was worse.” In addition to “improved function,” the website touted improved
8
9     quality of life as a benefit of opioid therapy. The grant request that Endo approved for
10    this project specifically indicated NIPC’s intent to make claims of functional
11
      improvement.
12
13               370. Endo was the sole sponsor, through NIPC, of a series of CMEs titled

14    Persistent Pain in the Older Patient, which claimed that chronic opioid therapy has been
15
      “shown to reduce pain and improve depressive symptoms and cognitive functioning.”
16
17    The CME was disseminated via webcast.
18               371. Mallinckrodt’s website, in a section on responsible use of opioids, claims that
19
      “[t]he effective pain management offered by our medicines helps enable patients to stay
20
21    in the workplace, enjoy interactions with family and friends, and remain an active
22    member of society.”52
23
                 372. The Marketing Defendants’ claims that long-term use of opioids improves
24
25    patient function and quality of life are unsupported by clinical evidence. There are no
26
27   52 Mallinckrodt Pharmaceuticals, Responsible Use, http://www.mallinckrodt.com/corporate-responsibility/responsible-use.

28
                                                                        -119-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 123 of 366 Page ID #:123




1     controlled studies of the use of opioids beyond 16 weeks, and there is no evidence that

2     opioids improve patients’ pain and function long term. The FDA, for years, has made
3
      clear through warning letters to manufacturers the lack of evidence for claims that the use
4
5     of opioids for chronic pain improves patients’ function and quality of life.53 Based upon

6     a review of the existing scientific evidence, the CDC Guideline concluded that “there is
7
      no good evidence that opioids improve pain or function with long-term use.”54
8
9                  373. Consistent                with the CDC’s findings, substantial evidence exists
10    demonstrating that opioid drugs are ineffective for the treatment of chronic pain and
11
      worsen patients’ health. For example, a 2006 study-of-studies found that opioids as a
12
13    class did not demonstrate improvement in functional outcomes over other non-addicting
14    treatments. The few longer-term studies of opioid use had “consistently poor results,”
15
      and “several studies have showed that [using] opioids for chronic pain may actually
16
17    worsen pain and functioning,”55 along with general health, mental health, and social
18    function. Over time, even high doses of potent opioids often fail to control pain, and
19
      patients exposed to such doses are unable to function normally.
20
21
22
23   53 The FDA has warned other drugmakers that claims of improved function and quality of life were misleading. See Warning Letter from Thomas
          Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), (rejecting claims that
24        Actavis’ opioid, Kadian, had an “overall positive impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment of life.”);
          Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Brian A. Markison, Chairman, President and Chief
25        Executive Officer, King Pharmaceuticals, Inc. (March 24, 2008), (finding the claim that “patients who are treated with [Avinza (morphine sulfate
          ER)] experience an improvement in their overall function, social function, and ability to perform daily activities . . . has not been demonstrated by
          substantial evidence or substantial clinical experience.”). The FDA’s warning letters were available to Defendants on the FDA website.
26   54 CDC Guideline, supra note 26, at 20.
     55 Thomas R. Frieden and Debra Houry, Reducing the Risks of Relief—The CDC Opioid-Prescribing Guideline, New Eng. J. of Med., at 1503 (Apr. 21,
27        2016).

28
                                                                           -120-
                                                                        COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 124 of 366 Page ID #:124




1                374. The available evidence indicates opioids may worsen patients’ health and

2     pain. Increased duration of opioid use is strongly associated with increased prevalence
3
      of mental health disorders (depression, anxiety, post-traumatic stress disorder, and
4
5     substance abuse), increased psychological distress, and greater health care utilization.

6     The CDC Guideline concluded that “[w]hile benefits for pain relief, function and quality
7
      of life with long-term opioid use for chronic pain are uncertain, risks associated with
8
9     long-term opioid use are clearer and significant.”56 According to the CDC, “for the vast
10    majority of patients, the known, serious, and too-often-fatal risks far outweigh the
11
      unproven and transient benefits [of opioids for chronic pain].”57
12
13               375. As one pain specialist observed, “opioids may work acceptably well for a

14    while, but over the long term, function generally declines, as does general health, mental
15
      health, and social functioning. Over time, even high doses of potent opioids often fail to
16
17    control pain, and these patients are unable to function normally.”58 In fact, research such
18    as a 2008 study in the journal Spine has shown that pain sufferers prescribed opioids long-
19
      term suffered addiction that made them more likely to be disabled and unable to work.59
20
21    Another study demonstrated that injured workers who received a prescription opioid for
22    more than seven days during the first six weeks after the injury were 2.2 times more likely
23
24
     56 CDC Guideline, supra note 26, at 2, 18.
25   57 Frieden & Houry, Reducing the Risks of Relief, supra note 57, at 1503.
     58 Andrea Rubinstein, Are We Making Pain Patients Worse?, Sonoma Med. (Fall 2009), http://www.nbcms.org/about-us/sonoma-county-medical-
26        association/magazine/sonoma-medicine-are-we-making-pain-patients-worse.aspx?pageid=144&tabid=747.
     59 Jeffrey Dersh, et al., Prescription Opioid Dependence is Associated With Poorer Outcomes in Disabling Spinal Disorders, 33(20) Spine 2219-27 (Sept.
27        15, 2008).

28
                                                                        -121-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 125 of 366 Page ID #:125




1     to remain on work disability a year later than workers with similar injuries who received

2     no opioids at all.60
3
                 g.       Falsehood #7: Alternative forms of pain relief pose greater risks than
4                         opioids
5
                 376. In materials they produced, sponsored or controlled, the Marketing
6
7     Defendants omitted known risks of chronic opioid therapy and emphasized or
8     exaggerated risks of competing products so that prescribers and patients would favor
9
      opioids over other therapies such as over-the-counter acetaminophen or over-the-counter
10
11    or prescription NSAIDs.
12               377. For example, in addition to failing to disclose in promotional materials the
13
      risks of addiction, overdose, and death, the Marketing Defendants routinely ignored the
14
15    risks of hyperalgesia, a “known serious risk associated with chronic opioid analgesic
16    therapy in which the patient becomes more sensitive to certain painful stimuli over
17
      time;”61 hormonal dysfunction;62 decline in immune function; mental clouding,
18
19    confusion, and dizziness; increased falls and fractures in the elderly;63 neonatal
20    abstinence syndrome (when an infant exposed to opioids prenatally suffers withdrawal
21
      after birth), and potentially fatal interactions with alcohol or with benzodiazepines, which
22
23
24   60 GM Franklin, BD Stover, JA Turner, D Fulton-Kehoe, TM Wickizer, Early Opioid Prescription and Subsequent Disability Among Workers With Back
          Injuries: The Disability Risk Identification Study Cohort, 33(2) Spine 199, 201-202 (Jan. 15, 2008).
25   61 Letter from Janet Woodcock, M.D., Dir. of Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. of Physicians for Responsible Opioid
          Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).
26   62 H.W. Daniell, Hypogonadism in Men Consuming Sustained-Action Oral Opioids, 3(5) J. Pain 377, 377-84 (2001).
     63 Bernhard M. Kuschel, The Risk of Fall Injury in Relation to Commonly Prescribed Medications Among Older People—A Swedish Case-Control Study,
27        25(3) Eur. J. Pub. H. 527, 527-32 (July 31, 2014).

28
                                                                          -122-
                                                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 126 of 366 Page ID #:126




1     are used to treat anxiety and may be co-prescribed with opioids, particularly to veterans

2     suffering from pain.64
3
                 378. The APF’s Treatment Options:                                    A Guide for People Living with Pain,
4
5     sponsored by Purdue and Cephalon, warned that risks of NSAIDs increase if “taken for

6     more than a period of months,” with no corresponding warning about opioids. The
7
      publication falsely attributed 10,000 to 20,000 deaths annually to NSAID overdoses,
8
9     when the figure is closer to 3,200.
10               379. Janssen sponsored Finding Relief:                                    Pain Management for Older Adults
11
      (2009), which listed dose limitations as “disadvantages” of other pain medicines but
12
13    omitted any discussion of risks of increased doses from opioids. Finding Relief described
14    the advantages and disadvantages of NSAIDs on one page, and the “myths/facts” of
15
      opioids on the facing page. The disadvantages of NSAIDs are described as involving
16
17    “stomach upset or bleeding,” “kidney or liver damage if taken at high doses or for a long
18    time,” “adverse reactions in people with asthma,” and “can increase the risk of heart
19
      attack and stroke.” The only adverse effects of opioids listed are “upset stomach or
20
21    sleepiness,” which the brochure claims will go away, and constipation.
22               380. Endo’s NIPC website, Painknowledge.com, which contained a flyer called
23
      “Pain: Opioid Therapy.” This publication listed opioids’ adverse effects but with
24
25
26
     64 Karen H. Seal et al., Association of Mental Health Disorders With Prescription Opioids and High-Risk Opioids in US Veterans of Iraq and Afghanistan,
27        307(9) J. of Am. Med. Assoc. 940, 940-47 (2012).

28
                                                                        -123-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 127 of 366 Page ID #:127




1     significant omissions, including hyperalgesia, immune and hormone dysfunction,

2     cognitive impairment, tolerance, dependence, addiction, and death.
3
                    381. As another example, the Endo-sponsored CME put on by NIPC, Persistent
4
5     Pain in the Older Adult, discussed above, counseled that acetaminophen should be used

6     only short-term and includes five slides on the FDA’s restrictions on acetaminophen and
7
      its adverse effects, including severe liver injury and anaphylaxis (shock). In contrast, the
8
9     CME downplays the risk of opioids, claiming opioids have “possibly less potential for
10    abuse than in younger patients,” and does not list overdose among the adverse effects.
11
      Some of those misrepresentations are described above; others are laid out below.
12
13                  382. In April 2007, Endo sponsored an article aimed at prescribers, published in

14    Pain Medicine News, titled “Case Challenges in Pain Management: Opioid Therapy for
15
      Chronic Pain.”65 The article asserted:
16
17    Opioids represent a highly effective but controversial and often misunderstood
      class of analgesic medications for controlling both chronic and acute pain. The
18    phenomenon of tolerance to opioids—the gradual waning of relief at a given
19    dose—and fears of abuse, diversion, and misuse of these medications by patients
      have led many clinicians to be wary of prescribing these drugs, and/or to restrict
20    dosages to levels that may be insufficient to provide meaningful relief.66
21
                    383. To help allay these concerns, Endo emphasized the risks of NSAIDs as an
22
23    alternative to opioids. The article included a case study that focused on the danger of

24    extended use of NSAIDs, including that the subject was hospitalized with a massive upper
25
26   65 Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med. News,
           http://www.painmedicinenews.com/download/ BtoB_Opana_WM.pdf.
27   66 Id. at 1.

28
                                                                     -124-
                                                                  COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 128 of 366 Page ID #:128




1    gastrointestinal bleed believed to have resulted from his protracted NSAID use. In

2    contrast, the article did not provide the same detail concerning the serious side effects
3
     associated with opioids.
4
5          384. Additionally, Purdue acting with Endo sponsored Overview of Management

6    Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version
7
     remains available for CME credit. The CME taught that NSAIDs and other drugs, but
8
9    not opioids, are unsafe at high doses.
10         385. As a result of the Marketing Defendants’ deceptive promotion of opioids over
11
     safer and more effective drugs, opioid prescriptions increased even as the percentage of
12
13   patients visiting a doctor for pain remained constant. A study of 7.8 million doctor visits
14   between 2000 and 2010 found that opioid prescriptions increased from 11.3% to 19.6%
15
     of visits, as NSAID and acetaminophen prescriptions fell from 38% to 29%, driven
16
17   primarily by the decline in NSAID prescribing.
18         h.    Falsehood #8: OxyContin provides twelve hours of pain relief
19
           386. Purdue also dangerously misled doctors and patients about OxyContin’s
20
21   duration and onset of action, making the knowingly false claim that OxyContin would

22   provide 12 hours of pain relief for most patients. As laid out below, Purdue made this
23
     claim for two reasons. First, it provides the basis for both Purdue’s patent and its market
24
25   niche, allowing it to both protect and differentiate itself from competitors. Second, it

26   allowed Purdue to imply or state outright that OxyContin had a more even, stable release
27
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                                                 -125-
                                              COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 129 of 366 Page ID #:129




1    mechanism that avoided peaks and valleys and therefore the rush that fostered addiction

2    and attracted abusers.
3
           387. Purdue promotes OxyContin as an extended-release opioid, but the
4
5    oxycodone does not enter the body at a linear rate. OxyContin works by releasing a

6    greater proportion of oxycodone into the body upon administration, and the release
7
     gradually tapers, as illustrated in the following chart, which was apparently adapted from
8
9    Purdue’s own sales materials:
10
11
12
13
14
15
16
17
18
19
20
21
22
23         388. The reduced release of the drug over time means that the oxycodone no
24
     longer provides the same level of pain relief; as a result, in many patients, OxyContin
25
26
27
28
                                              -126-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 130 of 366 Page ID #:130




1     does not last for the twelve hours for which Purdue promotes it—a fact that Purdue has

2     known at all times relevant to this action.
3
                 389. OxyContin tablets provide an initial absorption of approximately 40% of the
4
5     active medicine. This has a two-fold effect. First, the initial rush of nearly half of the

6     powerful opioid triggers a powerful psychological response. OxyContin thus behaves
7
      more like an immediate-release opioid, which Purdue itself once claimed was more
8
9     addicting in its original 1995 FDA-approved drug label. Second, the initial burst of
10    oxycodone means that there is less of the drug at the end of the dosing period, which
11
      results in the drug not lasting for a full twelve hours and precipitates withdrawal
12
13    symptoms in patients, a phenomenon known as “end of dose” failure. (The FDA found
14    in 2008 that a “substantial number” of chronic pain patients will experience end-of-dose
15
      failure with OxyContin.)
16
17               390. End-of-dose failure renders OxyContin even more dangerous because

18    patients begin to experience withdrawal symptoms, followed by a euphoric rush with
19
      their next dose—a cycle that fuels a craving for OxyContin. For this reason, Dr.
20
21    Theodore Cicero, a neuropharmacologist at the Washington University School of
22    Medicine in St. Louis, has called OxyContin’s 12-hour dosing “the perfect recipe for
23
24    addiction.”67 Many patients will exacerbate this cycle by taking their next dose ahead

25
26
     67 Harriet Ryan, et al., “‘‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” L.A. Times, May 5, 2016,
27        http://www.latimes.com/projects/oxycontin-part1/ (hereinafter, “You Want a Description of Hell?”).

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                                                                        -127-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 131 of 366 Page ID #:131




1    of schedule or resorting to a rescue dose of another opioid, increasing the overall amount

2    of opioids they are taking.
3
           391. It was Purdue’s decision to submit OxyContin for approval with 12-hour
4
5    dosing. While the OxyContin label indicates that “[t]here are no well-controlled clinical

6    studies evaluating the safety and efficacy with dosing more frequently than every 12
7
     hours,” that is because Purdue has conducted no such studies.
8
9          392. Purdue nevertheless has falsely promoted OxyContin as if it were effective

10   for a full twelve hours. Its advertising in 2000 included claims that OxyContin provides
11
     “Consistent Plasma Levels Over 12 Hours.” That claim was accompanied by a chart,
12
13   mirroring the chart on the previous page. However, this version of the chart deceptively
14   minimized the rate of end-of-dose failure by depicting 10 mg in a way that it appeared to
15
     be half of 100 mg in the table’s y-axis. That chart, shown below, depicts the same
16
17   information as the chart above, but does so in a way that makes the absorption rate appear
18   more consistent:
19
20
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                                              -128-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 132 of 366 Page ID #:132




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11
12
13              393. Purdue’s 12-hour messaging was key to its competitive advantage over short-
14
      acting opioids that required patients to wake in the middle of the night to take their pills.
15
16    Purdue advertisements also emphasized “Q12h” dosing. These include an advertisement
17    in the February 2005 Journal of Pain and 2006 Clinical Journal of Pain featuring an
18
      OxyContin logo with two pill cups, reinforcing the twice-a-day message. A Purdue
19
20    memo to the OxyContin launch team stated that “OxyContin’s positioning statement is
21    ‘all of the analgesic efficacy of immediate-release oxycodone, with convenient q12h
22
      dosing,’” and further that “[t]he convenience of q12h dosing was emphasized as the most
23
24    important benefit.”68
25
26
     68 Memorandum from Lydia Johnson, Marketing Executive at Purdue, to members of OxyContin Launch Team (Apr. 4, 1995),
27        http://documents.latimes.com/oxycontin-launch-1995/ (last updated May 5, 2016).

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                                                                       -129-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 133 of 366 Page ID #:133




1                394. In keeping with this positioning statement, a Purdue regional manager

2     emphasized in a 1996 sales strategy memo that representatives should “convince[e] the
3
      physician that there is no need” for prescribing OxyContin in shorter intervals than the
4
5     recommended 12-hour interval, and instead the solution is prescribing higher doses.69
6     One sales manager instructed her team that anything shorter than 12-hour dosing “needs
7
8     to be nipped in the bud, NOW!!”70

9                395. Purdue executives therefore maintained the messaging of twelve-hour dosing
10
      even when many reports surfaced that OxyContin did not last twelve hours. Instead of
11
12    acknowledging a need for more frequent dosing, Purdue instructed its representatives to

13    push higher-strength pills, even though higher dosing carries its own risks, as noted
14
      above. It also means that patients will experience higher highs and lower lows, increasing
15
16    their craving for their next pill. (Urging higher doses to avoid end-of-dose failure is like

17    advising a pilot to avoid a crash by flying higher.) Nationwide, based on an analysis by
18
      the Los Angeles Times, more than 52% of patients taking OxyContin longer than three
19
20    months are on doses greater than 60 milligrams per day—which converts to the 90 MED

21
      that the CDC Guideline urges prescribers to “avoid” or “carefully justify.”71
22
                 396. That OxyContin did not provide pain relief for a full twelve hours was known
23
24    to Purdue, and Purdue’s competitors, but was not disclosed to prescribers. Purdue’s
25
26   69 Letter from Fisher, supra note 50.
     70 You Want a Description of Hell?, supra note 70.
27   71 CDC Guideline, supra note 26, at 16.

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                                                             -130-
                                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 134 of 366 Page ID #:134




1    knowledge of some pain specialists’ tendency to prescribe OxyContin three times per day

2    instead of two was set out in Purdue’s internal documents as early as 1999 and is apparent
3
     from MedWatch Adverse Event reports for OxyContin.
4
5          397. Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted

6    to position its Opana ER drug as offering “durable” pain relief, which Endo understood
7
     to suggest a contrast to OxyContin. Opana ER advisory board meetings featured pain
8
9    specialists citing lack of 12-hour dosing as a disadvantage of OxyContin. Endo even ran
10   advertisements for Opana ER referring to “real” 12-hour dosing.
11
           398. Purdue’s failure to disclose the prevalence of end-of-dose failure meant that
12
13   prescribers were misinformed about the advantages of OxyContin in a manner that
14   preserved Purdue’s competitive advantage and profits, at the expense of patients, who
15
     were placed at greater risk of overdose, addiction, and other adverse effects.
16
17         i.    Falsehood #9: New formulations of certain opioids successfully deter
                 abuse
18
           399. Rather than take the widespread opioid abuse of and addiction to opioids as
19
20   reason to cease their untruthful marketing efforts, Marketing Defendants Purdue and
21
     Endo seized them as a competitive opportunity.          These companies developed and
22
23   oversold “abuse-deterrent formulation” (“ADF”) opioids as a solution to opioid abuse

24   and as a reason that doctors could continue to safely prescribe their opioids, as well as an
25
     advantage of these expensive branded drugs over other opioids. These Defendants’ false
26
27   and misleading marketing of the benefits of their ADF opioids preserved and expanded

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                                               -131-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 135 of 366 Page ID #:135




1    their sales and falsely reassured prescribers thereby prolonging the opioid epidemic.

2    Other Marketing Defendants, including Actavis and Mallinckrodt, also promoted their
3
     branded opioids as formulated to be less addictive or less subject to abuse than other
4
5    opioids.

6          400. The CDC Guideline confirms that “[n]o studies” support the notion that
7
     “abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing
8
9    abuse,” noting that the technologies “do not prevent opioid abuse through oral intake, the
10   most common route of opioid abuse, and can still be abused by non-oral routes.” Tom
11
     Frieden, the former Director of the CDC, reported that his staff could not find “any
12
13   evidence showing the updated opioids [ADF opioids] actually reduce rates of addiction,
14   overdoses, or deaths.”
15
      i.   Purdue’s deceptive marketing of reformulated OxyContin and Hysingla ER
16
           401. Reformulated ADF OxyContin was approved by the FDA in April 2010. It
17
18   was not until 2013 that the FDA, in response to a citizen petition filed by Purdue,
19
     permitted reference to the abuse-deterrent properties in its label. When Hysingla ER
20
21   (extended-release hydrocodone) launched in 2014, the product included similar abuse-

22   deterrent properties and limitations. But in the beginning, the FDA made clear the limited
23
     claims that could be made about ADF, noting that no evidence supported claims that ADF
24
25   prevented tampering, oral abuse, or overall rates of abuse.

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                                              -132-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 136 of 366 Page ID #:136




1          402. It is unlikely a coincidence that reformulated OxyContin was introduced

2    shortly before generic versions of OxyContin were to become available, threatening to
3
     erode Purdue’s market share and the price it could charge. Purdue nonetheless touted its
4
5    introduction of ADF opioids as evidence of its good corporate citizenship and

6    commitment to address the opioid crisis.
7
           403. Despite its self-proclaimed good intention, Purdue merely incorporated its
8
9    generally deceptive tactics with respect to ADF. Purdue sales representatives regularly
10   overstated and misstated the evidence for and impact of the abuse-deterrent features of
11
     these opioids. Specifically, Purdue sales representatives:
12
13         a.    claimed that Purdue’s ADF opioids prevent tampering and that its ADFs
                 could not be crushed or snorted;
14
15         b.    claimed that Purdue’s ADF opioids reduce opioid abuse and diversion;

16         c.    asserted or suggested that its ADF opioids are non-addictive or less
                 addictive;
17
18         d.    asserted or suggested that Purdue’s ADF opioids are safer than other
                 opioids, could not be abused or tampered with, and were not sought out for
19               diversion; and
20         e.    failed to disclose that Purdue’s ADF opioids do not impact oral abuse or
21               misuse.
22         404. If pressed, Purdue acknowledged that perhaps some “extreme” patients might
23
     still abuse the drug, but claimed the ADF features protect the majority of patients. These
24
25   misrepresentations and omissions are misleading and contrary to Purdue’s ADF labels,

26   Purdue’s own information, and publicly available data.
27
28
                                              -133-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 137 of 366 Page ID #:137




1            405. Purdue knew or should have known that reformulated OxyContin is not more

2    tamper-resistant than the original OxyContin and is still regularly tampered with and
3
     abused.
4
5            406. In 2009, the FDA noted in permitting ADF labeling that “the tamper-resistant

6    properties will have no effect on abuse by the oral route (the most common mode of
7
     abuse)”. In the 2012 medical office review of Purdue’s application to include an abuse-
8
9    deterrence claim in its label for OxyContin, the FDA noted that the overwhelming
10   majority of deaths linked to OxyContin were associated with oral consumption, and that
11
     only 2% of deaths were associated with recent injection and only 0.2% with snorting the
12
13   drug.
14           407. The FDA’s Director of the Division of Epidemiology stated in September
15
     2015 that no data that she had seen suggested the reformulation of OxyContin “actually
16
17   made a reduction in abuse,” between continued oral abuse, shifts to injection of other
18   drugs (including heroin), and defeat of the ADF mechanism. Even Purdue’s own funded
19
     research shows that half of OxyContin abusers continued to abuse OxyContin orally after
20
21   the reformulation rather than shift to other drugs.
22           408. A 2013 article presented by Purdue employees based on review of data from
23
     poison control centers, concluded that ADF OxyContin can reduce abuse, but it ignored
24
25   important negative findings. The study revealed that abuse merely shifted to other drugs
26   and that, when the actual incidence of harmful exposures was calculated, there were more
27
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                                               -134-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 138 of 366 Page ID #:138




1     harmful exposures to opioids after the reformulation of OxyContin. In short, the article

2     deceptively emphasized the advantages and ignored the disadvantages of ADF
3
      OxyContin.
4
5               409. Websites and message boards used by drug abusers, such as bluelight.org and

6     reddit.com, report a variety of ways to tamper with OxyContin and Hysingla ER,
7
      including through grinding, microwaving then freezing, or drinking soda or fruit juice in
8
9     which a tablet is dissolved. Purdue has been aware of these methods of abuse for more
10    than a decade.
11
                410. One-third of the patients in a 2015 study defeated the ADF mechanism and
12
13    were able to continue inhaling or injecting the drug. To the extent that the abuse of
14    Purdue’s ADF opioids was reduced, there was no meaningful reduction in opioid abuse
15
      overall, as many users simply shifted to other opioids such as heroin.
16
17              411. In 2015, claiming a need to further assess its data, Purdue abruptly withdrew

18    a supplemental new drug application related to reformulated OxyContin one day before
19
      FDA staff was to release its assessment of the application. The staff review preceded an
20
21    FDA advisory committee meeting related to new studies by Purdue “evaluating the
22    misuse and/or abuse of reformulated OxyContin” and whether those studies “have
23
      demonstrated that the reformulated OxyContin product has had a meaningful impact on
24
25    abuse.”72 Upon information and belief, Purdue never presented the data to the FDA
26
     72 Jill Hartzler Warner, Assoc. Comm’r for Special Med. Programs, Joint Meeting of the Drug Safety and Risk Management Advisory Committee and the
27        Anesthetic and Analgesic Drug Products Advisory Committee; Notice of Meeting, 80(103) Fed. Reg. 30686, 30686 (May 29, 2015).

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                                                                       -135-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 139 of 366 Page ID #:139




1    because the data would not have supported claims that OxyContin’s ADF properties

2    reduced abuse or misuse.
3
           412. Despite its own evidence of abuse, and the lack of evidence regarding the
4
5    benefit of Purdue’s ADF opioids in reducing abuse, Dr. J. David Haddox, the Vice

6    President of Health Policy for Purdue, falsely claimed in 2016 that the evidence does not
7
     show that Purdue’s ADF opioids are being abused in large numbers. Purdue’s recent
8
9    advertisements in national newspapers also continues to claim its ADF opioids as
10   evidence of its efforts to reduce opioid abuse, continuing to mislead prescribers, patients,
11
     payors, and the public about the efficacy of its actions.
12
13           ii.    Endo’s deceptive marketing of reformulated Opana ER
14         413. As the expiration of its patent exclusivity for Opana ER neared, Endo also
15
     made abuse-deterrence a key to its marketing strategy.
16
           414. Opana ER was particularly likely to be tampered with and abused. That is
17
18   because Opana ER has lower “bioavailability” than other opioids, meaning that the active
19
     pharmaceutical ingredient (the “API” or opioid) does not absorb into the bloodstream as
20
21   rapidly as other opioids when taken orally. Additionally, when swallowed whole, the

22   extended-release mechanism remains intact, so that only 10% of Opana ER’s API is
23
     released into the patient’s bloodstream relative to injection; when it is taken intranasally,
24
25   that rate increases to 43%. The larger gap between bioavailability when consumed orally

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                                               -136-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 140 of 366 Page ID #:140




1    versus snorting or injection, the greater the incentive for users to manipulate the drug’s

2    means of administration.
3
           415. Endo knew by July 2011 that “some newer statistics around abuse and
4
5    diversion are not favorable to our product.”

6          416. In December 2011, Endo obtained approval for a new formulation of Opana
7
     ER that added a hard coating that the company claimed made it crush-resistant.
8
9          417. Even prior to its approval, the FDA had advised Endo that it could not market

10   the new Opana ER as abuse-deterrent. The FDA found that such promotional claims
11
     “may provide a false sense of security since the product may be chewed and ground for
12
13   subsequent abuse.” In other words, Opana ER was still crushable. Indeed, Endo’s own
14   studies dating from 2009 and 2010 showed that Opana ER could be crushed and ground,
15
     and, in its correspondence with the FDA, Endo admitted that “[i]t has not been established
16
17   that this new formulation of Opana ER is less subject to misuse, abuse, diversion,
18   overdose, or addiction.”
19
           418. Further, a January 4, 2011 FDA Discipline Review letter made clear to Endo
20
21   that “[t]he totality of these claims and presentations suggest that, as a result of its new
22   formulation, Opana ER offers a therapeutic advantage over the original formulation when
23
     this has not been demonstrated by substantial evidence or substantial clinical
24
25   experience. In addition these claims misleadingly minimize the risks associated with
26   Opana ER by suggesting that the new formulation’s “INTAC” technology confers some
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                                              -137-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 141 of 366 Page ID #:141




1    form of abuse-deterrence properties when this has not been demonstrated by substantial

2    evidence.” The FDA acknowledged that while there is “evidence to support some
3
     limited improvement” provided by the new coating, but would not let Endo promote any
4
5    benefit because “there are several limitations to this data.” Also, Endo was required to

6    add language to its label specifically indicating that “Opana ER tablets may be abused by
7
     crushing, chewing, snorting, or injecting the product. These practices will result in less
8
9    controlled delivery of the opioid and pose a significant risk to the abuser that could result
10   in overdose and death.”
11
           419. The FDA expressed similar concerns in nearly identical language in a May
12
13   7, 2012 letter to Endo responding to a February 2, 2012 “request . . . for comments on a
14   launch Draft Professional Detail Aid . . . for Opana ER.” The FDA’s May 2012 letter
15
     also includes a full two pages of comments regarding “[]missions of material facts” from
16
17   Endo’s promotional materials.
18         420. Endo consciously chose not to do any post-approval studies that might satisfy
19
     the FDA. According to internal documents, the company decided, by the time its studies
20
21   would be done, generics would be on the market and “any advantages for commercials
22   will have disappeared.” However, this lack of evidence did not deter Endo from
23
     marketing Opana ER as ADF while its commercial window remained open.
24
25         421. Nonetheless, in August of 2012, Endo submitted a citizen petition asking the

26   FDA for permission to change its label to indicate that Opana ER was abuse-resistant,
27
28
                                               -138-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 142 of 366 Page ID #:142




1     both in that it was less able to be crushed and snorted and that it was resistant injection

2     by syringe. Borrowing a page from Purdue’s playbook, Endo announced it would
3
      withdraw original Opana ER from the market and sought a determination that its decision
4
5     was made for safety reasons (its lack of abuse deterrence), which would prevent generic

6     copies of original Opana ER.
7
                 422. Endo then sued the FDA, seeking to force expedited consideration of its
8
9     citizen petition. The court filings confirmed Endo’s true motives: in a declaration
10    submitted with its lawsuit, Endo’s chief operating officer indicated that a generic version
11
      of Opana ER would decrease the company’s revenue by up to $135 million per year.
12
13    Endo also claimed that if the FDA did not block generic competition, $125 million, which
14    Endo spent on developing the reformulated drug to “promote the public welfare” would
15
      be lost.73 The FDA responded that: “Endo's true interest in expedited FDA consideration
16
17    stems from business concerns rather than protection of the public health.”74
18               423. Despite Endo’s purported concern with public safety, not only did Endo
19
      continue to distribute original, admittedly unsafe Opana ER for nine months after the
20
21    reformulated version became available, it declined to recall original Opana ER despite its
22
23
24
25
     73 Plf.’s Opp. To Defs.’ and Intervenor’s Motions to Dismiss and Plf.’s Reply in Supp. of Motion for Prelim. Inj. [ECF No. 23], Endo Pharms. Inc. v. U.S.
26        Food and Drug Admin., et al., No. 1:12-cv-01936, at 20 (D.D.C. Dec. 14, 2012).
     74 Defs.’ Resp. to the Court’s Nov. 30, 2012 Order [ECF No. 9], Endo Pharms. Inc. v. U.S. Food and Drug Administration, et al.., No. 1:12-cv-01936, at 6
27        (D.D.C. Dec. 3, 2012).

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                                                                          -139-
                                                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 143 of 366 Page ID #:143




1     dangers. In fact, Endo claimed in September 2012 to be “proud” that “almost all

2     remaining inventory” of the original Opana ER had “been utilized.”75
3
                 424. In its citizen petition, Endo asserted that redesigned Opana ER had “safety
4
5     advantages.” Endo even relied on its rejected assertion that Opana was less crushable to

6     argue that it developed Opana ER for patient safety reasons and that the new formulation
7
      would help, for example, “where children unintentionally chew the tablets prior to an
8
9     accidental ingestion.”76
10
                 425. However, in rejecting the petition in a 2013 decision, the FDA found that
11
      “study data show that the reformulated version's extended-release features can be
12
13    compromised when subjected to . . . cutting, grinding, or chewing.” The FDA also
14
      determined that “reformulated Opana ER” could also be “readily prepared for injections
15
      and more easily injected[.]” In fact, the FDA warned that preliminary data—including
16
17    in Endo’s own studies—suggested that a higher percentage of reformulated Opana ER
18
      abuse is via injection than was the case with the original formulation.
19
                 426. Meanwhile, in 2012, an internal memorandum to Endo account executives
20
21    noted that abuse of Opana ER had “increased significantly” in the wake of the purportedly
22
      abuse-deterrent formulation. In February 2013, Endo received abuse data regarding
23
24    Opana ER from Inflexxion, Inc., which gathers information from substance abusers

25
26   75 Id.; Endo News Release (Sept. 6, 2012) [ECF No. 18-4], Endo Pharms. Inc. v. U.S. Food and Drug Admin., et al., No. 1:12-cv-01936 (D.D.C. Dec. 9,
          2012) at 81.
27   76 Citizen Petition, FDA Docket 2012-8-0895, at 5.

28
                                                                        -140-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 144 of 366 Page ID #:144




1     entering treatment and reviews abuse-focused internet discussions, that confirmed

2     continued abuse, particularly by injection.
3
                427. In 2009, only 3% of Opana ER abuse was by intravenous means. After the
4
5     reformulation, injection of Opana ER increased by more than 500%. Endo’s own data,

6     presented in 2014, found between October 2012 and March 2014, 64% of abusers of
7
      Opana ER did so by injection, compared with 36% for the old formulation.77 The
8
9     transition into injection of Opana ER made the drug even less safe than the original
10    formulation. Injection carries risks of HIV, Hepatitis C, and, in reformulated Opana ER’s
11
      specific case, the blood-clotting disorder thrombotic thrombocytopenic purpura (TTP),
12
13    which can cause kidney failure.
14              428. Publicly, Endo sought to marginalize the problem. On a 2013 call with
15
      investors, when asked about an outbreak of TTP in Tennessee from injecting Opana ER,
16
17    Endo sought to limit its import by assigning it to “a very, very distinct area of the
18    country.”
19
                429. Despite its knowledge that Opana ER was widely abused and injected, Endo
20
21    marketed the drug as tamper-resistant and abuse-deterrent. Upon information and belief,
22    based on the company’s detailing elsewhere, Endo sales representatives informed doctors
23
      that Opana ER was abuse-deterrent, could not be tampered with, and was safe. In
24
25
26   77 Theresa Cassidy et al., The Changing Abuse Ecology: Implications for Evaluating the Abuse Pattern of Extended-Release Oxymorphone and Abuse-
          Deterrent Opioid Formulations, Pain Week Abstract 2014, https://www.painweek.org/assets/documents/general/724-
27        painweek2014acceptedabstracts.pdf.

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                                                                       -141-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 145 of 366 Page ID #:145




1    addition, sales representatives did not disclose evidence that Opana was easier to abuse

2    intravenously and, if pressed by prescribers, claimed that while outlier patients might find
3
     a way to abuse the drug, most would be protected.
4
5          430. A review of national surveys of prescribers regarding their “take-aways”

6    from pharmaceutical detailing confirms that prescribers remember being told Opana ER
7
     was tamper-resistant. Endo also tracked messages that doctors took from its in-person
8
9    marketing. Among the advantages of Opana ER, according to participating doctors, was
10   its “low abuse potential.” An internal Endo document also notes that market research
11
     showed that, “[l]ow abuse potential continues as the primary factor influencing
12
13   physicians’ anticipated increase in use of Opana ER over the next 6 months.”
14         431. In its written materials, Endo marketed Opana ER as having been designed
15
     to be crush-resistant, knowing that this would (falsely) imply that Opana ER actually was
16
17   crush-resistant and that this crush-resistant quality would make Opana ER less likely to
18   be abused. For example, a June 14, 2012 Endo press release announced “the completion
19
     of the company’s transition of its Opana ER franchise to the new formulation designed
20
21   to be crush resistant.”
22         432. The press release further stated that:      “We firmly believe that the new
23
     formulation of Opana ER, coupled with our long-term commitment to awareness and
24
25   education around appropriate use of opioids will benefit patients, physicians and payers.
26   The press release described the old formulation of Opana as subject to abuse and misuse,
27
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                                               -142-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 146 of 366 Page ID #:146




1    but failed to disclose the absence of evidence that reformulated Opana was any better. In

2    September 2012, another Endo press release stressed that reformulated Opana ER
3
     employed “INTAC Technology” and continued to describe the drug as “designed to be
4
5    crush-resistant.”

6          433. Similarly, journal advertisements that appeared in April 2013 stated Opana
7
     ER was “designed to be crush resistant.” A January 2013 article in Pain Medicine News,
8
9    based in part on an Endo press release, described Opana ER as “crush-resistant.” This
10   article was posted on the Pain Medicine News website, which was accessible to patients
11
     and prescribers.
12
13         434. Endo, upon information and belief, targeted particular geographies for the

14   redesigned Opana ER where abuse was most rampant.
15
             435. In March 2017, because Opana ER could be “readily prepared for injection”
16
17    and was linked to outbreaks of HIV and TTP, an FDA advisory committee
18    recommended that Opana be withdrawn from the market. The FDA adopted this
19
      recommendation on June 8, 2017. Endo announced on July 6, 2017 that it would agree
20
21    to stop marketing and selling Opana ER. However, by this point the damage had been
22    done. Even then, Endo continued to insist, falsely, that it “has taken significant steps
23
      over the years to combat misuse and abuse.”
24
25
26
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                                             -143-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 147 of 366 Page ID #:147




1      iii.    Other Marketing Defendants’ misrepresentations regarding abuse deterrence

2               436. A guide for prescribers under Actavis’s copyright deceptively represents that

3
      Kadian is more difficult to abuse and less addictive than other opioids. The guide declares
4
      that “unique pharmaceutical formulation of KADIAN may offer some protection from
5
6     extraction of morphine sulfate for intravenous use by illicit users,” and “KADIAN may
7
      be less likely to be abused by health care providers and illicit users” because of its “[s]low
8
      onset of action.” Kadian, however, was not approved by the FDA as abuse deterrent,
9
10    and, upon information and belief, Actavis had no studies to suggest it was.
11
                437. Mallinckrodt promoted both Exalgo (extended-release hydromorphone) and
12
      Xartemis XR (oxycodone and acetaminophen) as specifically formulated to reduce abuse.
13
14    For example, Mallinckrodt’s promotional materials stated that “the physical properties of
15
      EXALGO may make it difficult to extract the active ingredient using common forms of
16
17    physical and chemical tampering, including chewing, crushing and dissolving.”78 One
18    member of the FDA’s Controlled Substance Staff, however, noted in 2010 that
19
      hydromorphone has “a high abuse potential comparable to oxycodone” and further stated
20
21    that “we predict that Exalgo will have high levels of abuse and diversion.”79
22
23
24
25   78 Press Release, Covidien, FDA Approves Mallinckrodt’s EXALGO® (hydromorphone HCl) Extended-Release Tablets 32 mg (CII) for Opioid-Tolerant
          Patients with Moderate-to-Severe Chronic Pain (Aug. 27, 2012), http://newsroom.medtronic.com/phoenix.zhtml?c=251324&p=irol-
26        newsArticle&ID=2004159.
     79 2010 Meeting Materials, Anesthetic and Analgesic Drug Products Advisory Committee, at 157-58, FDA, https://wayback.archive-
          it.org/7993/20170403223634/https://www.fda.gov/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/AnestheticAndAnalgesicDrugProducts
27        AdvisoryCommittee/ucm/193298.htm.

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                                                                       -144-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 148 of 366 Page ID #:148




1                438. With respect to Xartemis XR, Mallinckrodt’s promotional materials stated

2     that “XARTEMIS XR has technology that requires abusers to exert additional effort to
3
      extract the active ingredient from the large quantity of inactive and deterrent
4
5     ingredients.”80 In anticipation of Xartemis XR’s approval, Mallinckrodt added 150-200
6     sales representatives to promote it, and CEO Mark Trudeau said the drug could generate
7
8     “hundreds of millions in revenue.”81

9                439. While Marketing Defendants promote patented technology as the solution to
10
      opioid abuse and addiction, none of their “technology” addresses the most common form
11
12    of abuse—oral ingestion—and their statements regarding abuse-deterrent formulations

13    give the misleading impression that these reformulated opioids can be prescribed safely.
14
                 440. In sum, each of the nine categories of misrepresentations discussed above
15
16    regarding the use of opioids to treat chronic pain was not supported by, or was contrary

17    to, the scientific evidence. In addition, the misrepresentations and omissions set forth
18
      above and elsewhere in this Complaint are misleading and contrary to the Marketing
19
20    Defendants’ products’ labels.

21
22
23
24
25
26   80 Mallinckrodt, Responsible Use of Opioid Pain Medications (Mar. 7, 2014).
     81 Samantha Liss, Mallinckrodt Banks on New Painkillers for Sales, St. Louis Bus. J. (Dec. 30, 2013), http://argentcapital.com/mallinckrodt-banks-on-
27        new-painkillers-for-sales/.

28
                                                                         -145-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 149 of 366 Page ID #:149




1          2.       The Marketing Defendants Disseminated Their Misleading Messages
                    About Opioids Through Multiple Channels
2
           441. The Marketing Defendants’ false marketing campaign not only targeted the
3
4    medical community who had to treat chronic pain, but also patients who experience
5
     chronic pain.
6
           442. The Marketing Defendants utilized various channels to carry out their
7
8    marketing scheme of targeting the medical community and patients with deceptive
9
     information about opioids: (1) “Front Groups” with the appearance of independence
10
     from the Marketing Defendants; (2) so-called “key opinion leaders” (“KOLs”), that is,
11
12   doctors who were paid by the Marketing Defendants to promote their pro-opioid message;
13
     (3) CME programs controlled and/or funded by the Marketing Defendants; (4) branded
14
15   advertising;        (5) unbranded   advertising;   (6) publications;   (7) direct,   targeted

16   communications with prescribers by sales representatives or “detailers”; and (8) speakers
17
     bureaus and programs.
18
19                  a.    The Marketing Defendants Directed Front Groups to Deceptively
                          Promote Opioid Use
20
           443. Patient advocacy groups and professional associations also became vehicles
21
22   to reach prescribers, patients, and policymakers. Marketing Defendants exerted influence
23   and effective control over the messaging by these groups by providing major funding
24
     directly to them, as well as through KOLs who served on their boards. These “Front
25
26   Groups” put out patient education materials, treatment guidelines and CMEs that
27
28
                                                 -146-
                                              COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 150 of 366 Page ID #:150




1     supported the use of opioids for chronic pain, overstated their benefits, and understated

2     their risks.82 Defendants funded these Front Groups in order to ensure supportive
3
      messages from these seemingly neutral and credible third parties, and their funding did,
4
5     in fact, ensure such supportive messages—often at the expense of their own

6     constituencies.
7
                    444. “Patient advocacy organizations and professional societies like the Front
8
9     Groups ‘play a significant role in shaping health policy debates, setting national
10    guidelines for patient treatment, raising disease awareness, and educating the public.’”83
11
      “Even small organizations—with ‘their large numbers and credibility with policymakers
12
13    and the public’—have ‘extensive influence in specific disease areas.’                                             Larger
14    organizations with extensive funding and outreach capabilities ‘likely have a substantial
15
      effect on policies relevant to their industry sponsors.’”84 Indeed, the U.S. Senate’s report,
16
17    Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and
18    Third Party Advocacy Groups,85 which arose out of a 2017 Senate investigation and,
19
      drawing on disclosures from Purdue, Janssen, Insys, and other opioid manufacturers,
20
21    “provides the first comprehensive snapshot of the financial connections between opioid
22    manufacturers and advocacy groups and professional societies operating in the area of
23
24
25   82 U.S. S. Homeland Sec. & Governmental Aff. Comm., Ranking Members’ Office, Fueling an Epidemic, Feb. 12, 2018,
           https://www.hsdl.org/?abstract&did=808171 at 3 (hereinafter, “Fueling an Epidemic”).
26   83 Id. at 2.
     84 Id.
27   85 Id. at 3.

28
                                                                         -147-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 151 of 366 Page ID #:151




1     opioids policy,”86 found that the Marketing Defendants made millions of dollars of

2     contributions to various Front Groups.
3
                 445. The Marketing Defendants also “made substantial payments to individual
4
5     group executives, staff members, board members, and advisory board members”

6     affiliated with the Front Groups subject to the Senate Committee’s study.87
7
                 446. As the Senate Fueling an Epidemic Report found, the Front Groups
8
9     “amplified or issued messages that reinforce industry efforts to promote opioid
10    prescription and use, including guidelines and policies minimizing the risk of addiction
11
      and promoting opioids for chronic pain.”88 They also “lobbied to change laws directed
12
13    at curbing opioid use, strongly criticized landmark CDC Guideline on opioid prescribing,
14    and challenged legal efforts to hold physicians and industry executives responsible for
15
      overprescription and misbranding.”89
16
17               447. The Marketing Defendants took an active role in guiding, reviewing, and

18    approving many of the false and misleading statements issued by the Front Groups,
19
      ensuring that Defendants were consistently in control of their content. By funding,
20
21    directing, editing, approving, and distributing these materials, Defendants exercised
22    control over and adopted their false and deceptive messages and acted in concert with the
23
24
25
     86 Id. at 3.
26   87 Id. at 10.
     88 Id. at 12-15.
27   89 Id. at 12.

28
                                                -148-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 152 of 366 Page ID #:152




1    Front Groups and through the Front groups, with each other to deceptively promote the

2    use of opioids for the treatment of chronic pain.
3
                             iv.   American Pain Foundation
4
             448. The most prominent of the Front Groups was the American Pain Foundation
5
6    (“APF”). While APF held itself out as an independent patient advocacy organization, in
7
     reality it received 90% of its funding in 2010 from the drug and medical-device industry,
8
     including from defendants Purdue, Endo, Janssen and Cephalon. APF received more
9
10   than $10 million in funding from opioid manufacturers from 2007 until it closed its doors
11
     in May 2012. By 2011, APF was entirely dependent on incoming grants from Defendants
12
     Purdue, Cephalon, Endo, and others to avoid using its line of credit. Endo was APF’s
13
14   largest donor and provided more than half of its $10 million in funding from 2007 to
15
     2012.
16
             449. For example, APF published a guide sponsored by Cephalon and Purdue
17
18   titled Treatment Options: A Guide for People Living with Pain, and distributed 17,200
19
     copies of this guide in one year alone, according to its 2007 annual report. This guide
20
21   contains multiple misrepresentations regarding opioid use, which are discussed below.

22           450. APF also developed the National Initiative on Pain Control (“NIPC”), which
23
     ran a facially unaffiliated website, www.PainKnowledge.com. NIPC promoted itself as
24
25   an education initiative led by its expert leadership team, including purported experts in

26   the pain management field. NIPC published unaccredited prescriber education programs
27
28
                                              -149-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 153 of 366 Page ID #:153




1    (accredited programs are reviewed by a third party and must meet certain requirements

2    of independence from pharmaceutical companies), including a series of “dinner
3
     dialogues.” But it was Endo that substantially controlled NIPC, by funding NIPC
4
5    projects, developing, specifying, and reviewing its content, and distributing NIPC

6    materials. Endo’s control of NIPC was such that Endo listed it as one of its “professional
7
     education initiative[s]” in a plan Endo submitted to the FDA. Yet, Endo’s involvement
8
9    in NIPC was nowhere disclosed on the website pages describing NIPC or
10   www.PainKnowledge.com. Endo estimated it would reach 60,000 prescribers through
11
     NIPC.
12
13           451. APF was often called upon to provide “patient representatives” for the

14   Marketing Defendants’ promotional activities, including for Purdue’s “Partners Against
15
     Pain” and Janssen’s “Let’s Talk Pain.” Although APF presented itself as a patient
16
17   advocacy organization, it functioned largely as an advocate for the interests of the
18   Marketing Defendants, not patients. As Purdue told APF in 2001, the basis of a grant to
19
     the organization was Purdue’s desire to strategically align its investments in nonprofit
20
21   organizations that share [its] business interests.
22           452. In practice, APF operated in close collaboration with Defendants, submitting
23
     grant proposals seeking to fund activities and publications suggested by Defendants and
24
25   assisting in marketing projects for Defendants.
26
27
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                                               -150-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 154 of 366 Page ID #:154




1            453. This alignment of interests was expressed most forcefully in the fact that

2    Purdue hired APF to provide consulting services on its marketing initiatives. Purdue and
3
     APF entered into a “Master Consulting Services” Agreement on September 14, 2011.
4
5    That agreement gave Purdue substantial rights to control APF’s work related to a specific

6    promotional project. Moreover, based on the assignment of particular Purdue “contacts”
7
     for each project and APF’s periodic reporting on their progress, the agreement enabled
8
9    Purdue to be regularly aware of the misrepresentations APF was disseminating regarding
10   the use of opioids to treat chronic pain in connection with that project. The agreement
11
     gave Purdue—but not APF—the right to end the project (and, thus, APF’s funding) for
12
13   any reason. Even for projects not produced during the terms of this Agreement, the
14   Agreement demonstrates APF’s lack of independence and willingness to harness itself to
15
     Purdue’s control and commercial interests, which would have carried across all of APF’s
16
17   work.
18           454. APF’s Board of Directors was largely comprised of doctors who were on the
19
     Marketing Defendants’ payrolls, either as consultants or speakers at medical events. The
20
21   close relationship between APF and the Marketing Defendants demonstrates APF’s clear
22   lack of independence, in its finances, management, and mission, and its willingness to
23
     allow Marketing Defendants to control its activities and messages supports an inference
24
25   that each Defendant that worked with it was able to exercise editorial control over its
26   publications—even      when   Defendants’    messages    contradicted   APF’s    internal
27
28
                                             -151-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 155 of 366 Page ID #:155




1     conclusions. For example, a roundtable convened by APF and funded by Endo also

2     acknowledged the lack of evidence to support chronic opioid therapy. APF’s formal
3
      summary of the meeting notes concluded that: “[An] important barrier[] to appropriate
4
5     opioid management [is] the lack of confirmatory data about the long-term safety and

6     efficacy of opioids in non-cancer chronic pain, amid cumulative clinical evidence.”
7
                455. In May 2012, the U.S. Senate Finance Committee began looking into APF to
8
9     determine the links, financial and otherwise, between the organization and the
10    manufacturers of opioid painkillers.                            Within days of being targeted by the Senate
11
      investigation, APF’s board voted to dissolve the organization “due to irreparable
12
13    economic circumstances.” APF then “cease[d] to exist, effective immediately.” Without
14    support from Marketing Defendants, to whom APF could no longer be helpful, APF was
15
      no longer financially viable.
16
17      v.        American Academy of Pain Medicine and the American Pain Society
18              456. The American Academy of Pain Medicine (“AAPM”) and the American Pain
19
      Society (“APS”) are professional medical societies, each of which received substantial
20
21    funding from Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus”

22    statement that endorsed opioids to treat chronic pain and claimed that the risk that patients
23
      would become addicted to opioids was low.90 The Chair of the committee that issued the
24
25    statement, Dr. J. David Haddox, was at the time a paid speaker for Purdue. The sole

26
     90 The Use of Opioids for the Treatment of Chronic Pain, APS & AAPM (1997), http://www.stgeorgeutah.com/wp-
27        content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf (as viewed August 18, 2017).

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                                                                     -152-
                                                                  COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 156 of 366 Page ID #:156




1     consultant to the committee was Dr. Russell Portenoy, who was also a spokesperson for

2     Purdue.          The consensus statement, which also formed the foundation of the 1998
3
      Guidelines, was published on the AAPM’s website.
4
5                457. AAPM’s corporate council includes Purdue, Depomed, Teva and other

6     pharmaceutical companies. AAPM’s past presidents include Haddox (1998), Dr. Scott
7
      Fishman (“Fishman”) (2005), Dr. Perry G. Fine (“Fine”) (2011) and Dr. Lynn R. Webster
8
9     (“Webster”) (2013), all of whose connections to the opioid manufacturers are well-
10    documented as set forth below.
11
                 458. Fishman, who also served as a KOL for Marketing Defendants, stated that he
12
13    would place the organization “at the forefront” of teaching that “the risks of addiction are
14    . . . small and can be managed.”91
15
                 459. AAPM received over $2.2 million in funding since 2009 from opioid
16
17    manufacturers. AAPM maintained a corporate relations council, whose members paid
18    $25,000 per year (on top of other funding) to participate. The benefits included allowing
19
      members to present educational programs at off-site dinner symposia in connection with
20
21    AAPM’s marquee event—its annual meeting held in Palm Springs, California, or other
22    resort locations.
23
                 460. AAPM describes the annual event as an “exclusive venue” for offering CMEs
24
25    to doctors. Membership in the corporate relations council also allows drug company
26
     91 Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Med., Chief of the Div. of Pain Med., Univ. of Cal.,
27        Davis (2005), http://www.medscape.org/viewarticle/500829.

28
                                                                         -153-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 157 of 366 Page ID #:157




1    executives and marketing staff to meet with AAPM executive committee members in

2    small settings. Defendants Endo, Purdue, and Cephalon were members of the council
3
     and presented deceptive programs to doctors who attended this annual event. The
4
5    conferences sponsored by AAPM heavily emphasized CME sessions on opioids—37 out

6    of roughly 40 at one conference alone.
7
           461. AAPM’s staff understood that they and their industry funders were engaged
8
9    in a common task.     Defendants were able to influence AAPM through both their
10   significant and regular funding and the leadership of pro-opioid KOLs within the
11
     organization.
12
13         462. AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”).

14   AAPM, with the assistance, prompting, involvement, and funding of Defendants, issued
15
     the treatment guidelines discussed herein, and continued to recommend the use of opioids
16
17   to treat chronic pain. Fourteen of the 21 panel members who drafted the 2009 Guidelines,
18   including KOL Dr. Fine, received support from Defendants Janssen, Cephalon, Endo,
19
     and Purdue. Of these individuals, six received support from Purdue, eight from Teva,
20
21   nine from Janssen, and nine from Endo.
22         463. One panel member, Dr. Joel Saper, Clinical Professor of Neurology at
23
     Michigan State University and founder of the Michigan Headache & Neurological
24
25   Institute, resigned from the panel because of his concerns that the Guidelines were
26
27
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                                             -154-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 158 of 366 Page ID #:158




1     influenced by contributions that drug companies, including Purdue, Endo, Janssen, and

2     Teva, made to the sponsoring organizations and committee members.
3
                 464. Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College’s
4
5     Geisel School of Medicine, who also served on the AAPM/APS Guidelines panel, has

6     since described them as “skewed” by drug companies and “biased in many important
7
      respects,” including the high presumptive maximum dose, lack of suggested mandatory
8
9     urine toxicology testing, and claims of a low risk of addiction.
10               465. The 2009 Guidelines have been a particularly effective channel of deception.
11
      They have influenced not only treating physicians, but also the scientific literature on
12
13    opioids; they were reprinted in the Journal of Pain, have been cited hundreds of times in
14    academic literature, were disseminated during the relevant period, and were and are
15
      available online. Treatment guidelines are especially influential with primary care
16
17    physicians and family doctors to whom Marketing Defendants promoted opioids, whose
18    lack of specialized training in pain management and opioids makes them more reliant on,
19
      and less able to evaluate, these guidelines. For that reason, the CDC has recognized that
20
21    treatment guidelines can “change prescribing practices.”92
22               466. The 2009 Guidelines are relied upon by doctors, especially general
23
      practitioners and family doctors who have no specific training in treating chronic pain.
24
25
26
27   92 CDC Guideline, supra note 26, at 2.

28
                                                  -155-
                                               COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 159 of 366 Page ID #:159




1          467. The Marketing Defendants widely cited and promoted the 2009 Guidelines

2    without disclosing the lack of evidence to support their conclusions, their involvement in
3
     the development of the Guidelines or their financial backing of the authors of these
4
5    Guidelines. For example, a speaker presentation prepared by Endo in 2009 titled The

6    Role of Opana ER in the Management of Moderate to Severe Chronic Pain relies on the
7
     AAPM/APS Guidelines while omitting their disclaimer regarding the lack of evidence
8
9    for recommending the use of opioids for chronic pain.
10                      vi.   Federation of State Medical Boards
11
           468. The Federation of State Medical Boards (“FSMB”) is a trade organization
12
     representing the various state medical boards in the United States. The state boards that
13
14   comprise the FSMB membership have the power to license doctors, investigate
15
     complaints, and discipline physicians.
16
           469. The FSMB finances opioid- and pain-specific programs through grants from
17
18   Defendants.
19
           470. Since 1998, the FSMB has been developing treatment guidelines for the use
20
21   of opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of

22   Controlled Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in
23
     collaboration with pharmaceutical companies.”           The 1998 Guidelines that the
24
25   pharmaceutical companies helped author taught not that opioids could be appropriate in

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27
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                                              -156-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 160 of 366 Page ID #:160




1    only limited cases after other treatments had failed, but that opioids were “essential” for

2    treatment of chronic pain, including as a first prescription option.
3
           471. A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible
4
5    Opioid Prescribing, also made the same claims as the 1998 Guidelines. These guidelines

6    were posted online and were available to and intended to reach physicians nationwide,
7
     including in Plaintiff’s community.
8
9          472. FSMB’s 2007 publication Responsible Opioid Prescribing was backed

10   largely by drug manufacturers, including Purdue, Endo and Cephalon. The publication
11
     also received support from the American Pain Foundation and the American Academy of
12
13   Pain Medicine. The publication was written by Dr. Fishman, and Dr. Fine served on the
14   Board of Advisors. In all, 163,131 copies of Responsible Opioid Prescribing were
15
     distributed by state medical boards (and through the boards, to practicing doctors). The
16
17   FSMB website describes the book as “the leading continuing medical education (CME)
18   activity for prescribers of opioid medications.” This publication asserted that opioid
19
     therapy to relieve pain and improve function is a legitimate medical practice for acute
20
21   and chronic pain of both cancer and non-cancer origins; that pain is under-treated, and
22   that patients should not be denied opioid medications except in light of clear evidence
23
     that such medications are harmful to the patient..
24
25         473. The Marketing Defendants relied on the 1998 Guidelines to convey the

26   alarming message that “under-treatment of pain” would result in official discipline, but
27
28
                                               -157-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 161 of 366 Page ID #:161




1     no discipline would result if opioids were prescribed as part of an ongoing patient

2     relationship and prescription decisions were documented. FSMB turned doctors’ fear of
3
      discipline on its head: doctors, who used to believe that they would be disciplined if their
4
5     patients became addicted to opioids, were taught instead that they would be punished if

6     they failed to prescribe opioids to their patients with chronic pain.
7
                                           vii.          The Alliance for Patient Access
8
                 474. Founded in 2006, the Alliance for Patient Access (“APA”) is a self-described
9
10    patient advocacy and health professional organization that styles itself as “a national
11
      network of physicians dedicated to ensuring patient access to approved therapies and
12
      appropriate clinical care.”93 It is run by Woodberry Associates LLC, a lobbying firm that
13
14    was also established in 2006.94 As of June 2017, the APA listed 30 “Associate Members
15
      and Financial Supporters.” The list includes J&J, Endo, Mallinckrodt, Purdue and
16
17    Cephalon.

18               475. APA’s board members have also directly received substantial funding from
19
      pharmaceutical companies.95 For instance, board vice president Dr. Srinivas Nalamachu
20
21    (“Nalamachu”), who practices in Kansas, received more than $800,000 from 2013

22    through 2015 from pharmaceutical companies—nearly all of it from manufacturers of
23
24
     93 About AfPA, The All. for Patient Access, http://allianceforpatientaccess.org/about-afpa (last visited Apr. 25, 2018). References herein to APA include
25        two affiliated groups: the Global Alliance for Patient Access and the Institute for Patient Access.
     94 Mary Chris Jaklevic, Non-Profit Alliance for Patient Access Uses Journalists and Politicians to Push Big Pharma’s Agenda, Health News Rev. (Oct. 2,
26        2017), https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-politicians-push-big-pharmas-agenda/.
     95 All information concerning pharmaceutical company payments to doctors in this paragraph is from ProPublica’s Dollars for Docs database,
27        https://projects.propublica.org/docdollars/.

28
                                                                           -158-
                                                                        COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 162 of 366 Page ID #:162




1     opioids or drugs that treat opioids’ side effects, including from defendants Endo, Insys,

2     Purdue and Cephalon. Nalamachu’s clinic was raided by FBI agents in connection with
3
      an investigation of Insys and its payment of kickbacks to physicians who prescribed
4
5     Subsys. Other board members include Dr. Robert A. Yapundich from North Carolina,

6     who received $215,000 from 2013 through 2015 from pharmaceutical companies,
7
      including payments by defendants Cephalon and Mallinckrodt; Dr. Jack D. Schim from
8
9     California, who received more than $240,000 between 2013 and 2015 from
10    pharmaceutical companies, including defendants Endo, Mallinckrodt and Cephalon;
11
      Dr. Howard Hoffberg from Maryland, who received $153,000 between 2013 and 2015
12
13    from pharmaceutical companies, including defendants Endo, Purdue, Insys, Mallinckrodt
14    and Cephalon; and Dr. Robin K. Dore from California, who received $700,000 between
15
      2013 and 2015 from pharmaceutical companies.
16
17              476. Among its activities, APA issued a “white paper” titled “Prescription Pain

18    Medication: Preserving Patient Access While Curbing Abuse.”96 Among other things,
19
      the white paper criticizes prescription monitoring programs, purporting to express
20
21    concern that they are burdensome, not user friendly, and of questionable efficacy:
22    Prescription monitoring programs that are difficult to use and cumbersome can
23    place substantial burdens on physicians and their staff, ultimately leading many to
      stop prescribing pain medications altogether. This forces patients to seek pain
24    relief medications elsewhere, which may be much less convenient and familiar and
25    may even be dangerous or illegal.
26
     96 Pain Therapy Access Physicians Working Group, Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, (Dec. 2013),
27        http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-cdn.com/wp-content/uploads/2013/12/PT_White-Paper_Finala.pdf.

28
                                                                      -159-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 163 of 366 Page ID #:163




1     *         *      *

2     In some states, physicians who fail to consult prescription monitoring databases
      before prescribing pain medications for their patients are subject to fines; those
3
      who repeatedly fail to consult the databases face loss of their professional
4     licensure. Such penalties seem excessive and may inadvertently target older
      physicians in rural areas who may not be facile with computers and may not have
5
      the requisite office staff. Moreover, threatening and fining physicians in an attempt
6     to induce compliance with prescription monitoring programs represents a system
      based on punishment as opposed to incentives. . . .
7
8     We cannot merely assume that these programs will reduce prescription pain
      medication use and abuse.97
9
                  477. The white paper also purports to express concern about policies that have
10
11    been enacted in response to the prevalence of pill mills:
12
      Although well intentioned, many of the policies designed to address this problem
13    have made it difficult for legitimate pain management centers to operate. For
      instance, in some states, [pain management centers] must be owned by physicians
14
      or professional corporations, must have a Board certified medical director, may
15    need to pay for annual inspections, and are subject to increased record keeping and
16    reporting requirements. . . . [I]t is not even certain that the regulations are helping
      prevent abuses.98
17
                  478. In addition, in an echo of earlier industry efforts to push back against what
18
19    they termed “opiophobia,” the white paper laments the stigma associated with prescribing
20    and taking pain medication:
21
      Both pain patients and physicians can face negative perceptions and outright
22    stigma. When patients with chronic pain can’t get their prescriptions for pain
23    medication filled at a pharmacy, they may feel like they are doing something
      wrong—or even criminal. . . . Physicians can face similar stigma from peers.
24    Physicians in non-pain specialty areas often look down on those who specialize in
25
26
     97 Id. at 4-5.
27   98 Id. at 5-6.

28
                                                    -160-
                                                 COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 164 of 366 Page ID #:164




1     pain management—a situation fueled by the numerous regulations and fines that
      surround prescription pain medications.99
2
                     479. In conclusion, the white paper states that “[p]rescription pain medications,
3
4     and specifically the opioids, can provide substantial relief for people who are recovering
5
      from surgery, afflicted by chronic painful diseases, or experiencing pain associated with
6
      other conditions that does not adequately respond to over-the-counter drugs.”100
7
8                    480. The APA also issues “Patient Access Champion” financial awards to
9
      members of Congress, including 50 such awards in 2015. The awards were funded by a
10
      $7.8 million donation from unnamed donors. While the awards are ostensibly given for
11
12    protecting patients’ access to Medicare, and are thus touted by their recipients as
13
      demonstrating a commitment to protecting the rights of senior citizens and the middle
14
15    class, they appear to be given to provide cover to and reward members of Congress who

16    have supported the APA’s agenda.
17
                     481. The APA also lobbies Congress directly. In 2015, the APA signed onto a
18
19    letter supporting legislation proposed to limit the ability of the DEA to police pill mills

20    by enforcing the “suspicious orders” provision of the Comprehensive Drug Abuse
21
      Prevention and Control Act of 1970, 21 U.S.C. §801 et seq. (“CSA” or “Controlled
22
23    Substances Act”). The AAPM is also a signatory to this letter. An internal U.S.

24    Department of Justice (“DOJ”) memo stated that the proposed bill “could actually result
25
26
     99 Id. at 6.
27   100 Id. at 7.

28
                                                      -161-
                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 165 of 366 Page ID #:165




1     in increased diversion, abuse, and public health and safety consequences”101 and,
2     according to DEA chief administrative law judge John J. Mulrooney (“Mulrooney”), the
3
      law would make it “all but logically impossible” to prosecute manufacturers and
4
5     distributors, like the defendants here, in the federal courts.102 The bill passed both
6
      houses of Congress and was signed into law in 2016.
7
8                                               viii.      The U.S. Pain Foundation

9                  482. The U.S. Pain Foundation (“USPF”) was another Front Group with

10    systematic connections and interpersonal relationships with the Marketing Defendants.
11
      The USPF was one of the largest recipients of contributions from the Marketing
12
13    Defendants, collecting nearly $3 million in payments between 2012 and 2015 alone. The
14
      USPF was also a critical component of the Marketing Defendants’ lobbying efforts to
15
      reduce the limits on over-prescription. The U.S. Pain Foundation advertises its ties to the
16
17    Marketing Defendants, listing opioid manufacturers like Pfizer, Teva, Depomed, Endo,
18
      Purdue, McNeil (i.e., Janssen), and Mallinckrodt as “Platinum,” “Gold,” and “Basic”
19
      corporate members.103 Industry Front Groups like the American Academy of Pain
20
21    Management, the American Academy of Pain Medicine, the American Pain Society, and
22
      PhRMA are also members of varying levels in the USPF.
23
24
     101 Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS News (Oct. 17, 2017), https://www.cbsnews.com/news/ ex-
25        dea-agent-opioid-crisis-fueled-by-drug-industry-and-congress/.
     102 John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug Diversion Law: Hidden Rocks in Shallow, Murky, Drug-Infested
26        Waters, 101 Marquette L. Rev., 333, 346 (2017).
     103 Fueling an Epidemic, supra note 85, at 12; see also Transparency, U.S. Pain Found., https://uspainfoundation.org/transparency/ (last visited Mar. 9,
27        2018).

28
                                                                          -162-
                                                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 166 of 366 Page ID #:166




1                                           ix.       American Geriatrics Society

2                483. The American Geriatrics Society (“AGS”) was another Front Group with

3
      systematic connections and interpersonal relationships with the Marketing Defendants.
4
      AGS was a large recipient of contributions from the Marketing Defendants, including
5
6     Endo, Purdue and Janssen.                             AGS contracted with Purdue, Endo and Janssen to
7
      disseminate guidelines regarding the use of opioids for chronic pain in 2002 (The
8
      Management of Persistent Pain in Older Persons, hereinafter “2002 AGS Guidelines”)
9
10    and 2009 (Pharmacological Management of Persistent Pain in Older Persons,104
11
      hereinafter “2009 AGS Guidelines”). According to news reports, AGS has received at
12
      least $344,000 in funding from opioid manufacturers since 2009.105 AGS’s complicity
13
14    in the common purpose with the Marketing Defendants is evidenced by the fact that AGS
15
      internal discussions in August 2009 reveal that it did not want to receive-up front funding
16
17    from drug companies, which would suggest drug company influence, but would instead

18    accept commercial support to disseminate pro-opioid publications.
19
                 484. The 2009 AGS Guidelines recommended that “[a]ll patients with moderate
20
21    to severe pain . . . should be considered for opioid therapy.” The panel made “strong

22    recommendations” in this regard despite “low quality of evidence” and concluded that
23
      the risk of addiction is manageable for patients, even with a prior history of drug
24
25
     104 Pharmacological Mgmt. of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342 (2009),
26        https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf (last accessed on Apr. 25, 2018).
     105 John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, Milwaukee J. Sentinel (May 30, 2012)
27        https://www.medpagetoday.com/geriatrics/painmanagement/32967.

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                                                                        -163-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 167 of 366 Page ID #:167




1     abuse.106 These Guidelines further recommended that “the risks [of addiction] are
2     exceedingly low in older patients with no current or past history of substance abuse.”
3
      These recommendations are not supported by any study or other reliable scientific
4
5     evidence. Nevertheless, they have been cited over 1,833 times in Google Scholar (which
6     allows users to search scholarly publications that would have been relied on by
7
      researchers and prescribers) since their 2009 publication and as recently as this year.
8
9               485. Representatives of the Marketing Defendants, often at informal meetings at

10
      conferences, suggested activities, lobbying efforts and publications for AGS to pursue.
11
      AGS then submitted grant proposals seeking to fund these activities and publications,
12
13    knowing that drug companies would support projects conceived as a result of these
14
      communications.
15
                486. Members of AGS Board of Directors were doctors who were on the
16
17    Marketing Defendants’ payrolls, either as consultants or speakers at medical events. As
18
      described below, many of the KOLs also served in leadership positions within the AGS.
19
                          b.     The Marketing Defendants Paid Key Opinion Leaders to
20
                                 Deceptively Promote Opioid Use
21
                487. To falsely promote their opioids, the Marketing Defendants paid and
22
23    cultivated a select circle of doctors who were chosen and sponsored by the Marketing
24    Defendants for their supportive messages. As set forth below, pro-opioid doctors have
25
26
27   106 2009 AGS Guidelines, supra note 104, at 1342.

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                                                            -164-
                                                         COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 168 of 366 Page ID #:168




1    been at the hub of the Marketing Defendants’ well-funded, pervasive marketing scheme

2    since its inception and were used to create the grave misperception science and legitimate
3
     medical professionals favored the wider and broader use of opioids. These doctors
4
5    include Dr. Russell Portenoy and Dr. Lynn Webster, as set forth in this section, as well

6    as Dr. Perry Fine and Dr. Scott Fishman, as set forth in further below.
7
           488. Although these KOLs were funded by the Marketing Defendants, the KOLs
8
9    were used extensively to present the appearance that unbiased and reliable medical
10   research supporting the broad use of opioid therapy for chronic pain had been conducted
11
     and was being reported on by independent medical professionals.
12
13         489. As the Marketing Defendants’ false marketing scheme picked up steam, these

14   pro-opioid KOLs wrote, consulted on, edited, and lent their names to books and articles,
15
     and gave speeches and CMEs supportive of opioid therapy for chronic pain. They served
16
17   on committees that developed treatment guidelines that strongly encouraged the use of
18   opioids to treat chronic pain and they were placed on boards of pro-opioid advocacy
19
     groups and professional societies that develop, select, and present CMEs.
20
21         490. Through use of their KOLs and strategic placement of these KOLs

22   throughout every critical distribution channel of information within the medical
23
     community, the Marketing Defendants were able to exert control of each of these
24
25   modalities through which doctors receive their information.
26
27
28
                                              -165-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 169 of 366 Page ID #:169




1          491. In return for their pro-opioid advocacy, the Marketing Defendants’ KOLs

2    received money, prestige, recognition, research funding, and avenues to publish. For
3
     example, Dr. Webster has received funding from Endo, Purdue, and Cephalon. Dr. Fine
4
5    has received funding from Janssen, Cephalon, Endo, and Purdue.

6          492. The Marketing Defendants carefully vetted their KOLs to ensure that they
7
     were likely to remain on-message and supportive of the Marketing Defendants’ agenda.
8
9    The Marketing Defendants also kept close tabs on the content of the materials published
10   by these KOLs. And, of course, the Marketing Defendants kept these KOLs well-funded
11
     to enable them to push the Marketing Defendants’ deceptive message out to the medical
12
13   community.
14         493. Once the Marketing Defendants identified and funded KOLs and those KOLs
15
     began to publish “scientific” papers supporting the Marketing Defendants’ false position
16
17   that opioids were safe and effective for treatment of chronic pain, the Marketing
18   Defendants poured significant funds and resources into a marketing machine that widely
19
     cited and promoted their KOLs and studies or articles by their KOLs to drive prescription
20
21   of opioids for chronic pain. The Marketing Defendants cited to, distributed, and marketed
22   these studies and articles by their KOLs as if they were independent medical literature so
23
     that it would be well-received by the medical community. By contrast, the Marketing
24
25   Defendants did not support, acknowledge, or disseminate the truly independent
26   publications of doctors critical of the use of chronic opioid therapy.
27
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                                              -166-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 170 of 366 Page ID #:170




1                494. In their promotion of the use of opioids to treat chronic pain, the Marketing

2     Defendants’ KOLs knew that their statements were false and misleading, or they
3
      recklessly disregarded the truth in doing so, but they continued to publish their
4
5     misstatements to benefit themselves and the Marketing Defendants.

6                                                  x.        Dr. Russell Portenoy
7
                 495. In 1986, Dr. Russell Portenoy, who later became Chairman of the
8
      Department of Pain Medicine and Palliative Care at Beth Israel Medical Center in New
9
10    York while at the same time serving as a top spokesperson for drug companies, published
11
      an article reporting that “[f]ew substantial gains in employment or social function could
12
      be attributed to the institution of opioid therapy.”107
13
14               496. Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding
15
      the dangers of long-term use of opioids:
16
17    The traditional approach to chronic non-malignant pain does not accept the
      long-term administration of opioid drugs. This perspective has been justified by
18    the perceived likelihood of tolerance, which would attenuate any beneficial
19    effects over time, and the potential for side effects, worsening disability, and
      addiction. According to conventional thinking, the initial response to an opioid
20    drug may appear favorable, with partial analgesia and salutary mood changes, but
21    adverse effects inevitably occur thereafter. It is assumed that the motivation to
      improve function will cease as mental clouding occurs and the belief takes hold
22    that the drug can, by itself, return the patient to a normal life. Serious
23    management problems are anticipated, including difficulty in discontinuing a
      problematic therapy and the development of drug seeking behavior induced by
24    the desire to maintain analgesic effects, avoid withdrawal, and perpetuate
25
26
27   107 R. Portenoy & K. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of 38 Cases, 25(2) Pain 171 (1986).

28
                                                                        -167-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 171 of 366 Page ID #:171




1     reinforcing psychic effects. There is an implicit assumption that little separates
      these outcomes from the highly aberrant behaviors associated with addiction.108
2
      According to Dr. Portenoy, the foregoing problems could constitute “compelling
3
4     reasons to reject long-term opioid administration as a therapeutic strategy in all but the
5
      most desperate cases of chronic nonmalignant pain.”109
6
                    497. Despite having taken this position on long-term opioid treatment,
7
8     Dr. Portenoy ended up becoming a spokesperson for Purdue and other Marketing
9
      Defendants, promoting the use of prescription opioids and minimizing their risks. A
10
      respected leader in the field of pain treatment, Dr. Portenoy was highly influential.
11
12    Dr. Andrew Kolodny, cofounder of Physicians for Responsible Opioid Prescribing,
13
      described him “lecturing around the country as a religious-like figure. The megaphone
14
15    for Portenoy is Purdue, which flies in people to resorts to hear him speak. It was a

16    compelling message:                         ‘Docs have been letting patients suffer; nobody really gets
17
      addicted; it’s been studied.’”110
18
                    498. As one organizer of CME seminars who worked with Portenoy and Purdue
19
20    pointed out, “had Portenoy not had Purdue’s money behind him, he would have published
21
      some papers, made some speeches, and his influence would have been minor. With
22
23
24
25
     108
           Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in Pain Res. & Mgmt., 247-287 (H.L. Fields & J.C.
26           Liebeskind eds., 1994) (emphasis added).
     109 Id.
27   110 Sam Quiñones, Dreamland: The True Tale of America’s Opiate Epidemic 314 (Bloomsbury Press 2015).

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                                                                           -168-
                                                                        COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 172 of 366 Page ID #:172




1     Purdue’s millions behind him, his message, which dovetailed with their marketing plans,

2     was hugely magnified.”111
3
                 499. Dr. Portenoy was also a critical component of the Marketing Defendants’
4
5     control over their Front Groups. Specifically, Dr. Portenoy sat as a Director on the board

6     of the APF. He was also the President of the APS.
7
                 500. In recent years, some of the Marketing Defendants’ KOLs have conceded
8
9     that many of their past claims in support of opioid use lacked evidence or support in the
10    scientific literature.112 Dr. Portenoy has now admitted that he minimized the risks of
11
      opioids, and that he “gave innumerable lectures in the late 1980s and ‘90s about addiction
12
13    that weren’t true.”113 He mused, “Did I teach about pain management, specifically about
14    opioid therapy, in a way that reflects misinformation? Well, against the standards of
15
      2012, I guess I did . . .”114
16
17               501. In a 2011 interview released by Physicians for Responsible Opioid

18    Prescribing, Portenoy stated that his earlier work purposefully relied on evidence that was
19
      not “real” and left real evidence behind:
20
21    I gave so many lectures to primary care audiences in which the Porter and Jick
      article was just one piece of data that I would then cite, and I would cite six,
22    seven, maybe ten different avenues of thought or avenues of evidence, none of
23    which represented real evidence, and yet what I was trying to do was to create a
24   111 Id. at 136.
     112 See, e.g., John Fauber, Painkiller Boom Fueled by Networking, J. Sentinel (Feb. 18, 2012),
25        http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-139609053.html/ (reporting that a key Endo
          KOL acknowledged that opioid marketing went too far).
26   113 Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall St. J.,
          https://www.wsj.com/articles/SB10001424127887324478304578173342657044604 (last updated Dec. 17, 2012, 11:36 AM).
27   114 Id.

28
                                                                         -169-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 173 of 366 Page ID #:173




1     narrative so that the primary care audience would look at this information in
      [total] and feel more comfortable about opioids in a way they hadn’t before. In
2     essence this was education to destigmatize [opioids], and because the primary
3     goal was to destigmatize, we often left evidence behind.115

4                502. Several years earlier, when interviewed by journalist Barry Meier for his

5
      2003 book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess
6
      I’m going to have always to live with that one.”116
7
8                                                  xi.        Dr. Lynn Webster
9                503. Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical
10
      Director of the Lifetree Clinical Research & Pain Clinic in Salt Lake City, Utah.
11
12    Dr. Webster was President in 2013 and is a current board member of AAPM, a Front
13    Group that ardently supports chronic opioid therapy. He is a Senior Editor of Pain
14
      Medicine, the same journal that published Endo’s special advertising supplements touting
15
16    Opana ER. Dr. Webster was the author of numerous CMEs sponsored by Cephalon,
17    Endo, and Purdue. At the same time, Dr. Webster was receiving significant funding from
18
      Defendants (including nearly $2 million from Cephalon).
19
20               504. Dr. Webster created and promoted the Opioid Risk Tool (“ORT”), a five

21    question, one-minute screening tool relying on patient self-reports that purportedly allows
22
      doctors to manage the risk that their patients will become addicted to or abuse opioids.
23
24    The claimed ability to pre-sort patients likely to become addicted is an important tool in
25
     115 Harrison Jacobs, This 1-Paragraph Letter May Have Launched the Opioid Epidemic, AOL (May 26, 2016, 1:39 PM),
26        https://www.aol.com/article/2016/05/26/letter-may-have-launched-opioid-epidemic/21384408/. Andrew Kolodny, Opioids for Chronic Pain:
          Addiction is NOT Rare, YouTube (Oct. 30, 2011), https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.
27   116 Meier, supra note 14, at 277.

28
                                                                      -170-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 174 of 366 Page ID #:174




1    giving doctors confidence to prescribe opioids long-term, and for this reason, references

2    to screening appear in various industry-supported guidelines. Versions of Dr. Webster’s
3
     ORT appear on, or are linked to, websites run by Endo, Janssen, and Purdue. In 2011,
4
5    Dr. Webster presented, via webinar, a program sponsored by Purdue titled, Managing

6    Patient’s Opioid Use: Balancing the Need and the Risk. Dr. Webster recommended use
7
     of risk screening tools, urine testing, and patient agreements to prevent “overuse of
8
9    prescriptions” and “overdose deaths.” This webinar was available to and was intended
10   to reach doctors in Plaintiff’s community.
11
           505. Dr. Webster was himself tied to numerous overdose deaths. He and the
12
13   Lifetree Clinic were investigated by the DEA for overprescribing opioids after twenty
14   patients died from overdoses. In keeping with the Marketing Defendants’ promotional
15
     messages, Dr. Webster apparently believed the solution to patients’ tolerance or addictive
16
17   behaviors was more opioids: he prescribed staggering quantities of pills.
18         506. At an AAPM annual meeting held February 22 through 25, 2006, Cephalon
19
     sponsored a presentation by Webster and others titled, “Open-label study of fentanyl
20
21   effervescent buccal tablets in patients with chronic pain and breakthrough pain: Interim
22   safety results.” The presentation’s agenda description states: “Most patients with chronic
23
     pain experience episodes of breakthrough pain, yet no currently available pharmacologic
24
25   agent is ideal for its treatment.” The presentation purports to cover a study analyzing the
26   safety of a new form of fentanyl buccal tablets in the chronic pain setting and promises
27
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                                              -171-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 175 of 366 Page ID #:175




1    to show the “[i]nterim results of this study suggest that FEBT is safe and well-tolerated

2    in patients with chronic pain and BTP.” This CME effectively amounted to off-label
3
     promotion of Cephalon’s opioids—the only drugs in this category—for chronic pain,
4
5    even though they were approved only for cancer pain.

6          507. Cephalon sponsored a CME written by Dr. Webster, Optimizing Opioid
7
     Treatment for Breakthrough Pain, offered by Medscape, LLC from September 28, 2007
8
9    through December 15, 2008.           The CME taught that non-opioid analgesics and
10   combination opioids containing non-opioids such as aspirin and acetaminophen are less
11
     effective at treating breakthrough pain because of dose limitations on the non-opioid
12
13   component.
14                                 xii.    Dr. Perry Fine
15
           508. Dr. Perry Fine’s ties to the Marketing Defendants are well documented. He
16
17   has authored articles and testified in court cases and before state and federal committees,

18   and he, too, has argued against legislation restricting high-dose opioid prescription for
19
     non-cancer patients. He has served on Purdue’s advisory board, provided medical legal
20
21   consulting for Janssen, and participated in CME activities for Endo, along with serving

22   in these capacities for several other drug companies. He co-chaired the APS/AAPM
23
     Opioid Guideline Panel, served as treasurer of the AAPM from 2007 to 2010 and as
24
25   president of that group from 2011 to 2013, and was on the board of directors of APF.

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28
                                               -172-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 176 of 366 Page ID #:176




1               509. Multiple videos feature Fine delivering educational talks about prescription

2     opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna
3
      Nicole Smith for pain did not make her an addict before her death.
4
5               510. He has also acknowledged having failed to disclose numerous conflicts of

6     interest. For example, Dr. Fine failed to fully disclose payments received as required by
7
      his employer, the University of Utah—telling the university that he had received under
8
9     $5,000 in 2010 from J&J for providing “educational” services, but J&J’s website states
10    that the company paid him $32,017 for consulting, promotional talks, meals and travel
11
      that year.
12
13              511. Dr. Fine and Dr. Portenoy co-wrote A Clinical Guide to Opioid Analgesia, in

14    which they downplayed the risks of opioid treatment, such as respiratory depression and
15
      addiction:
16
17    At clinically appropriate doses, . . . respiratory rate typically does not decline.
      Tolerance to the respiratory effects usually develops quickly, and doses can be
18    steadily increased without risk.
19
      Overall, the literature provides evidence that the outcomes of drug abuse and
20    addiction are rare among patients who receive opioids for a short period (ie, for
21    acute pain) and among those with no history of abuse who receive long-term
      therapy for medical indications.117
22
                512. In November 2010, Dr. Fine and others published an article presenting the
23
24    results of another Cephalon-sponsored study titled “Long-Term Safety and Tolerability
25
26
     117 Perry G. Fine, MD & Russell K. Portenoy, MD, A Clinical Guide to Opioid Analgesia, McGraw- Hill Companies, 2004, at 20,34,
27        http://www.thblack.com/links/RSD/OpioidHandbook.pdf.

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                                                                      -173-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 177 of 366 Page ID #:177




1     of Fentanyl Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant

2     Patients with Chronic Pain: An 18-Month Study.”118 In that article, Dr. Fine explained
3
      that the 18-month “open-label” study “assessed the safety and tolerability of FBT
4
5     [Fentora] for the [long-term] treatment of BTP in a large cohort . . . of opioid-tolerant

6     patients receiving around-the-clock . . . opioids for noncancer pain.”                                                             The article
7
      acknowledged that: (a) “[t]here has been a steady increase in the use of opioids for the
8
9     management of chronic noncancer pain over the past two decades”; (b) the “widespread
10    acceptance” had led to the publishing of practice guidelines “to provide evidence- and
11
      consensus-based recommendations for the optimal use of opioids in the management of
12
13    chronic pain”; and (c) those guidelines lacked “data assessing the long-term benefits and
14    harms of opioid therapy for chronic pain.”119
15
                 513. The article concluded: “[T]he safety and tolerability profile of FBT in this
16
17    study was generally typical of a potent opioid. The [adverse events] observed were, in
18    most cases, predictable, manageable, and tolerable.” They also conclude that the number
19
      of abuse-related events was “small.”120
20
21               514. Multiple videos feature Dr. Fine delivering educational talks about the drugs.

22    In one video from 2011 titled “Optimizing Opioid Therapy,” he sets forth a “Guideline
23
      for Chronic Opioid Therapy” discussing “opioid rotation” (switching from one opioid to
24
25
     118 Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant
26        Patients with Chronic Pain: An 18-Month Study, 40(5) J. Pain & Symptom Mgmt. 747-60 (Nov. 2010).
     119 Id. at 748.
27   120 Id. at 759.

28
                                                                         -174-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 178 of 366 Page ID #:178




1     another) not only for cancer patients, but for non-cancer patients, and suggests it may

2     take four or five switches over a person’s “lifetime” to manage pain.121 He states the
3
      “goal is to improve effectiveness which is different from efficacy and safety.” Rather, for
4
5     chronic pain patients, effectiveness “is a balance of therapeutic good and adverse events

6     over the course of years.” The entire program assumes that opioids are appropriate
7
      treatment over a “protracted period of time” and even over a patient’s entire “lifetime.”
8
9     He even suggests that opioids can be used to treat sleep apnea. He further states that the
10    associated risks of addiction and abuse can be managed by doctors and evaluated with
11
      “tools,” but leaves that for “a whole other lecture.”122
12
13                                                 xiii.      Dr. Scott Fishman
14              515. Dr. Scott Fishman is a physician whose ties to the opioid drug industry are
15
      legion. He has served as an APF board member and as president of the AAPM, and has
16
17    participated yearly in numerous CME activities for which he received “market rate

18    honoraria.” As discussed below, he has authored publications, including the seminal
19
      guides on opioid prescribing, which were funded by the Marketing Defendants. He has
20
21    also worked to oppose legislation requiring doctors and others to consult pain specialists

22    before prescribing high doses of opioids to non-cancer patients.                                                     He has himself
23
      acknowledged his failure to disclose all potential conflicts of interest in a letter in the
24
25
26
     121 Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012), https://www.youtube.com/watch?v=_G3II9yqgXI.
27   122 Id.

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                                                                      -175-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 179 of 366 Page ID #:179




1     Journal of the American Medical Association titled “Incomplete Financial Disclosures in

2     a Letter on Reducing Opioid Abuse and Diversion.”123
3
                 516. In 2007, Dr. Fishman authored a physician’s guide on the use of opioids to
4
5     treat chronic pain titled Responsible Opioid Prescribing, which promoted the notion that

6     long-term opioid treatment was a viable and safe option for treating chronic pain.
7
                 517. In 2012, Dr. Fishman updated the guide and continued emphasizing the
8
9     “catastrophic” “under-treatment” of pain and the “crisis” such under-treatment created:
10    Given the magnitude of the problems related to opioid analgesics, it can be
11    tempting to resort to draconian solutions: clinicians may simply stop prescribing
      opioids, or legislation intended to improve pharmacovigilance may inadvertently
12    curtail patient access to care. As we work to reduce diversion and misuse of
13    prescription opioids, it’s critical to remember that the problem of unrelieved pain
      remains as urgent as ever.124
14
                 518. The updated guide still assures that “[o]pioid therapy to relieve pain and
15
16    improve function is legitimate medical practice for acute and chronic pain of both cancer
17
      and noncancer origins.”125
18
                 519. In another guide by Dr. Fishman, he continues to downplay the risk of
19
20    addiction: “I believe clinicians must be very careful with the label ‘addict.’ I draw a
21
22
23
24
     123 Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion, 306 (13) JAMA 1445 (Sept. 20, 2011),
25        https://jamanetwork.com/journals/jama/article-abstract/1104464?redirect=true; Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment
          Have Long Ties to Drug Industry, ProPublica (Dec. 23, 2011, 9:14 AM), https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-
26        ties-to-drug-industry.
     124 Scott M. Fishman, Responsible Opioid Prescribing: A Guide for Michigan Clinicians, 10-11 (Waterford Life Sciences, 2d ed. 2012).
27   125 Id.

28
                                                                        -176-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 180 of 366 Page ID #:180




1     distinction between a ‘chemical coper’ and an addict.”126 The guide also continues to

2     present symptoms of addiction as symptoms of “pseudoaddiction.”
3
               c.        The Marketing Defendants Disseminated Their Misrepresentations
4                        Through Continuing Medical Education Programs
5
                520. Now that the Marketing Defendants had both a group of physician promoters
6
      and had built a false body of “literature,” Defendants needed to make sure their false
7
8     marketing message was widely distributed.
9
                521. One way the Marketing Defendants aggressively distributed their false
10
      message was through thousands of Continuing Medical Education courses (“CMEs”).
11
12              522. A CME is a professional education program provided to doctors. Doctors
13
      are required to attend a certain number and, often, type of CME programs each year as a
14
15    condition of their licensure. These programs are delivered in person, often in connection

16    with professional organizations’ conferences, and online, or through written publications.
17
      Doctors rely on CMEs not only to satisfy licensing requirements, but also to get
18
19    information on new developments in medicine or to deepen their knowledge in specific

20    areas of practice. Because CMEs typically are taught by KOLs who are highly respected
21
      in their fields, and are thought to reflect these physicians’ medical expertise, they can be
22
23    especially influential with doctors.

24
25
26
     126 Scott M. Fishman, Listening to Pain: A Physician’s Guide to Improving Pain Management Through Better Communication 45 (Oxford University
27        Press 2012).

28
                                                                     -177-
                                                                  COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 181 of 366 Page ID #:181




1          523. The countless doctors and other health care professionals who participate in

2    accredited CMEs constitute an enormously important audience for opioid reeducation.
3
     As one target, Defendants aimed to reach general practitioners, whose broad area of
4
5    practice and lack of expertise and specialized training in pain management made them

6    particularly dependent upon CMEs and, as a result, especially susceptible to the
7
     Marketing Defendants’ deceptions.
8
9          524. The Marketing Defendants sponsored CMEs that were delivered thousands

10   of times, promoting chronic opioid therapy and supporting and disseminating the
11
     deceptive and biased messages described in this Complaint. These CMEs, while often
12
13   generically titled to relate to the treatment of chronic pain, focus on opioids to the
14   exclusion of alternative treatments, inflate the benefits of opioids, and frequently omit or
15
     downplay their risks and adverse effects.
16
17         525. Cephalon sponsored numerous CME programs, which were made widely

18   available through organizations like Medscape, LLC (“Medscape”) and which
19
     disseminated false and misleading information to physicians across the country.
20
21         526. Another Cephalon-sponsored CME presentation titled Breakthrough Pain:

22   Treatment Rationale with Opioids was available on Medscape starting September 16,
23
     2003 and was given by a self-professed pain management doctor who treated “previously
24
25   operated back, complex pain syndromes, the neuropathies, and interstitial cystitis.” He
26   describes the pain process as a non-time-dependent continuum that requires a balanced
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28
                                               -178-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 182 of 366 Page ID #:182




1     analgesia approach using “targeted pharmacotherapeutics to affect multiple points in the

2     pain-signaling pathway.”127 The doctor lists fentanyl as one of the most effective opioids
3
      available for treating breakthrough pain, describing its use as an expected and normal part
4
5     of the pain management process. Nowhere in the CME is cancer or cancer-related pain

6     even mentioned, despite FDA restrictions that fentanyl use be limited to cancer-related
7
      pain.
8
9               527. Teva paid to have a CME it sponsored, Opioid-Based Management of

10    Persistent and Breakthrough Pain, published in a supplement of Pain Medicine News in
11
      2009.         The CME instructed doctors that “clinically, broad classification of pain
12
13    syndromes as either cancer- or noncancer-related has limited utility” and recommended
14    Actiq and Fentora for patients with chronic pain. The CME is still available online.
15
                528. Responsible Opioid Prescribing was sponsored by Purdue, Endo and Teva.
16
17    The FSMB website described it as the “leading continuing medical education (CME)
18    activity for prescribers of opioid medications.” Endo sales representatives distributed
19
      copies of Responsible Opioid Prescribing with a special introductory letter from Dr. Scott
20
21    Fishman.
22              529. In all, more than 163,000 copies of Responsible Opioid Prescribing were
23
      distributed nationally.
24
25
26
27   127 Daniel S. Bennett, Breakthrough Pain: Treatment Rationale with Opioids, Medscape (Sept. 16, 2003), http://www.medscape.org/viewarticle/461612.

28
                                                                       -179-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 183 of 366 Page ID #:183




1               530. The American Medical Association (“AMA”) recognized the impropriety

2     that pharmaceutical company-funded CMEs creates, stating that support from drug
3
      companies with a financial interest in the content being promoted “creates conditions in
4
5     which external interests could influence the availability and/or content” of the programs

6     and urges that “[w]hen possible, CME[s] should be provided without such support or the
7
      participation of individuals who have financial interests in the education subject
8
9     matter.”128
10              531. Physicians attended or reviewed CMEs sponsored by the Marketing
11
      Defendants during the relevant time period and were misled by them.
12
13              532. By sponsoring CME programs put on by Front Groups like APF, AAPM, and

14    others, the Marketing Defendants could expect instructors to deliver messages favorable
15
      to them, as these organizations were dependent on the Marketing Defendants for other
16
17    projects. The sponsoring organizations honored this principle by hiring pro-opioid KOLs
18    to give talks that supported chronic opioid therapy. Marketing Defendant-driven content
19
      in these CMEs had a direct and immediate effect on prescribers’ views on opioids.
20
21    Producers of CMEs and the Marketing Defendants both measured the effects of CMEs
22    on prescribers’ views on opioids and their absorption of specific messages, confirming
23
      the strategic marketing purpose in supporting them.
24
25
26
27   128 Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov. 2011), at 1.

28
                                                                       -180-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 184 of 366 Page ID #:184




1                d.        The Marketing Defendants Used “Branded” Advertising to Promote
                           their Products to Doctors and Consumers
2
                 533. The Marketing Defendants engaged in widespread advertising campaigns
3
4     touting the benefits of their branded drugs. The Marketing Defendants published print
5
      advertisements in a broad array of medical journals, ranging from those aimed at
6
      specialists, such as the Journal of Pain and Clinical Journal of Pain, to journals with
7
8     wider medical audiences, such as the Journal of the American Medical Association. The
9
      Marketing Defendants collectively spent more than $14 million on the medical journal
10
      advertising of opioids in 2011, nearly triple what they spent in 2001. The 2011 total
11
12    includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million by Endo.
13
                 534. The Marketing Defendants also targeted consumers in their advertising.
14
15    They knew that physicians are more likely to prescribe a drug if a patient specifically

16    requests it.129 They also knew that this willingness to acquiesce to such patient requests
17
      holds true even for opioids and for conditions for which they are not approved.130
18
19    Endo’s research, for example, also found that such communications resulted in greater
20
      patient “brand loyalty,” with longer durations of Opana ER therapy and fewer
21
      discontinuations. The Marketing Defendants thus increasingly took their opioid sales
22
23    campaigns directly to consumers, including through patient-focused “education and
24
25
     129 In one study, for example, nearly 20% of sciatica patients requesting oxycodone received a prescription for it, compared with 1% of those making no
26        specific request. J.B. McKinlay et al., Effects of Patient Medication Requests on Physician Prescribing Behavior, 52(2) Med. Care 294-299 (Apr.
          2014).
27   130 Id.

28
                                                                         -181-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 185 of 366 Page ID #:185




1    support” materials in the form of pamphlets, videos, or other publications that patients

2    could view in their physician’s office.
3
          e.     The Marketing Defendants Used “Unbranded” Advertising to Promote
4                Opioid Use for Chronic Pain Without FDA Review
5
           535. The Marketing Defendants also aggressively promoted opioids through
6
     “unbranded advertising” to generally tout the benefits of opioids without specifically
7
8    naming a particular brand-name opioid drug. Instead, unbranded advertising is usually
9
     framed as “disease awareness”—encouraging consumers to “talk to your doctor” about a
10
     certain health condition without promoting a specific product and, therefore, without
11
12   providing balanced disclosures about the product’s limits and risks. In contrast, a
13
     pharmaceutical company’s “branded” advertisement that identifies a specific medication
14
15   and its indication (i.e., the condition which the drug is approved to treat) must also include

16   possible side effects and contraindications—what the FDA Guidance on pharmaceutical
17
     advertising refers to as “fair balance.” Branded advertising is also subject to FDA review
18
19   for consistency with the drug’s FDA-approved label. Through unbranded materials, the

20   Marketing Defendants expanded the overall acceptance of and demand for chronic opioid
21
     therapy without the restrictions imposed by regulations on branded advertising.
22
23         536. Many of the Marketing Defendants utilized unbranded websites to promote

24   opioid use without promoting a specific branded drug, such as Purdue’s pain-
25
     management website, www.InTheFaceOfPain.com. The website contained testimonials
26
27   from several dozen “advocates,” including health care providers, urging more pain

28
                                               -182-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 186 of 366 Page ID #:186




1    treatment. The website presented the advocates as neutral and unbiased, but an

2    investigation by the New York Attorney General later revealed that Purdue paid the
3
     advocates hundreds of thousands of dollars.
4
5          f.    The Marketing Defendants Funded, Edited and Distributed
                 Publications That Supported Their Misrepresentations
6
           537. The Marketing Defendants created a body of false, misleading, and
7
8    unsupported medical and popular literature about opioids that (a) understated the risks
9
     and overstated the benefits of long-term use; (b) appeared to be the result of independent,
10
     objective research; and (c) was likely to shape the perceptions of prescribers, patients,
11
12   and payors. This literature served marketing goals, rather than scientific standards, and
13
     was intended to persuade doctors and consumers that the benefits of long-term opioid use
14
15   outweighed the risks.

16         538. To accomplish their goal, the Marketing Defendants—sometimes through
17
     third-party consultants and/or Front Groups—commissioned, edited, and arranged for the
18
19   placement of favorable articles in academic journals.

20         539. The Marketing Defendants’ plans for these materials did not originate in the
21
     departments with the organizations that were responsible for research, development, or
22
23   any other area that would have specialized knowledge about the drugs and their effects

24   on patients; rather, they originated in the Marketing Defendants’ marketing departments.
25
           540. The Marketing Defendants made sure that favorable articles were
26
27   disseminated and cited widely in the medical literature, even when the Marketing

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                                              -183-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 187 of 366 Page ID #:187




1     Defendants knew that the articles distorted the significance or meaning of the underlying

2     study, as with the Porter & Jick letter. The Marketing Defendants also frequently relied
3
      on unpublished data or posters, neither of which are subject to peer review, but were
4
5     presented as valid scientific evidence.

6                541. The Marketing Defendants published or commissioned deceptive review
7
      articles, letters to the editor, commentaries, case-study reports, and newsletters aimed at
8
9     discrediting or suppressing negative information that contradicted their claims or raised
10    concerns about chronic opioid therapy.
11
                 542. For example, in 2007 Cephalon sponsored the publication of an article titled
12
13    “Impact of Breakthrough Pain on Quality of Life in Patients with Chronic, Noncancer
14    Pain: Patient Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl
15
      Citrate,”131 published in the nationally circulated journal Pain Medicine, to support its
16
17    effort to expand the use of its branded fentanyl products. The article’s authors (including
18    Dr. Lynn Webster, discussed above) stated that the “OTFC [fentanyl] has been shown to
19
      relieve BTP more rapidly than conventional oral, normal-release, or ‘short acting’
20
21    opioids” and that “[t]he purpose of [the] study was to provide a qualitative evaluation of
22    the effect of BTP on the [quality of life] of noncancer pain patients.” The number-one-
23
      diagnosed cause of chronic pain in the patients studied was back pain (44%), followed
24
25
26
     131 Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With Chronic, Noncancer Pain: Patient Perceptions and Effect of
27        Treatment With Oral Transmucosal Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).

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                                                                         -184-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 188 of 366 Page ID #:188




1     by musculoskeletal pain (12%) and head pain (7%). The article cites Portenoy and

2     recommends fentanyl for non-cancer BTP patients:
3
                       In summary, BTP appears to be a clinically important
4                      condition in patients with chronic noncancer pain and is
5                      associated with an adverse impact on QoL. This qualitative
                       study on the negative impact of BTP and the potential benefits
6                      of BTP-specific therapy suggests several domains that may be
7                      helpful in developing BTP-specific, QoL assessment tools.132
8                g.    The Marketing Defendants Used Detailing to Directly Disseminate
                       Their Misrepresentations to Prescribers
9
10               543. The Marketing Defendants’ sales representatives executed carefully crafted

11    marketing tactics, developed at the highest rungs of their corporate ladders, to reach
12
      targeted doctors with centrally orchestrated messages. The Marketing Defendants’ sales
13
14    representatives also distributed third-party marketing material to their target audience that
15    was deceptive.
16
                 544. Each Marketing Defendant promoted opioids through sales representatives
17
18    (also called “detailers”) and, upon information and belief, small group speaker programs
19    to reach out to individual prescribers. By establishing close relationships with doctors,
20
      the Marketing Defendants were able to disseminate their misrepresentations in targeted,
21
22    one-on-one settings that allowed them to promote their opioids and to allay individual
23    prescribers’ concerns about prescribing opioids for chronic pain.
24
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27   132 Id. at 287.

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                                                   -185-
                                                COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 189 of 366 Page ID #:189




1          545. In accordance with common industry practice, the Marketing Defendants

2    purchase and closely analyze prescription sales data from IMS Health (now IQVIA), a
3
     healthcare data collection, management and analytics corporation. This data allows them
4
5    to track precisely the rates of initial and renewal prescribing by individual doctors, which

6    allows them to target and tailor their appeals. Sales representatives visited hundreds of
7
     thousands of doctors and disseminated the misinformation and materials described above.
8
9          546. Marketing Defendants devoted and continue to devote massive resources to

10   direct sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166
11
     million on detailing branded opioids to doctors. This amount is twice as much as
12
13   Marketing Defendants spent on detailing in 2000. The amount includes $108 million
14   spent by Purdue, $34 million by Janssen, $13 million by Teva, and $10 million by Endo.
15
           547. Cephalon’s quarterly spending steadily climbed from below $1 million in
16
17   2000 to more than $3 million in 2014 (and more than $13 million for the year), with a
18   peak, coinciding with the launch of Fentora, of more than $27 million in 2007, as shown
19
     below:
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                                               -186-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 190 of 366 Page ID #:190




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12         548. Endo’s quarterly spending went from the $2 million to $4 million range in
13
     2000-2004 to more than $10 million following the launch of Opana ER in mid-2006 (and
14
15   more than $38 million for the year in 2007) and more than $8 million coinciding with the

16   launch of a reformulated version in 2012 (and nearly $34 million for the year):
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                                             -187-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 191 of 366 Page ID #:191




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12         549. Janssen’s quarterly spending dramatically rose from less than $5 million in
13
     2000 to more than $30 million in 2011, coinciding with the launch of Nucynta ER (with
14
15   yearly spending at $142 million for 2011), as shown below:

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                                            -188-
                                         COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 192 of 366 Page ID #:192




1          550. Purdue’s quarterly spending notably decreased from 2000 to 2007, as Purdue

2    came under investigation by the Department of Justice, but then spiked to above $25
3
     million in 2011 (for a total of $110 million that year), and continues to rise, as shown
4
5    below:

6
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17
           551. For its opioid, Actiq, Cephalon also engaged in direct marketing in direct
18
19   contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal

20   cancer patients and by oncologists and pain management doctors experienced in treating
21
     cancer pain.
22
23         552. Thousands of prescribers attended Cephalon speaking programs.

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                                             -189-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 193 of 366 Page ID #:193




1          h.    Marketing Defendants Used Speakers’ Bureaus and Programs to
                 Spread Their Deceptive Messages
2
           553. In addition to making sales calls, Marketers’ detailers also identified doctors
3
4    to serve, for payment, on their speakers’ bureaus and to attend programs with speakers
5
     and meals paid for by the Marketing Defendants. These speaker programs and associated
6
     speaker trainings serve three purposes: they provide an incentive to doctors to prescribe,
7
8    or increase their prescriptions of, a particular drug; to qualify to be selected a forum in
9
     which to further market to the speaker himself or herself; and an opportunity to market
10
     to the speaker’s peers. The Marketing Defendants grade their speakers, and future
11
12   opportunities are based on speaking performance, post-program sales, and product usage.
13
     Purdue, Janssen, Endo, Cephalon, and Mallinckrodt each made thousands of payments to
14
15   physicians nationwide, for activities including participating on speakers’ bureaus,

16   providing consulting services, and other services.
17
           554. As detailed below, Insys paid prescribers for fake speakers programs in
18
19   exchange for prescribing its product, Subsys. Insys’ schemes resulted in countless

20   speakers programs at which the designated speaker did not speak, and, on many
21
     occasions, speaker programs at which the only attendees at the events were the speaker
22
23   and an Insys sales representative. It was a pay-to-prescribe program.

24         555. Insys used speakers programs as a front to pay for prescriptions, and paid to
25
     push opioids onto patients who did not need them.
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28
                                              -190-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 194 of 366 Page ID #:194




1       3. The Marketing Defendants Targeted Vulnerable Populations

2          556. The Marketing Defendants specifically targeted their marketing at two

3
     vulnerable populations—the elderly and veterans.
4
           557. Elderly patients taking opioids have been found to be exposed to elevated
5
6    fracture risks, a greater risk for hospitalizations, and increased vulnerability to adverse
7
     drug effects and interactions, such as respiratory depression which occurs more
8
     frequently in elderly patients.
9
10         558. The Marketing Defendants promoted the notion—without adequate scientific
11
     foundation—that the elderly are particularly unlikely to become addicted to opioids. The
12
     AGS 2009 Guidelines, for example, which Purdue, Endo, and Janssen publicized,
13
14   described the risk of addiction as “exceedingly low in older patients with no current or
15
     past history of substance abuse.” (emphasis added). As another example, an Endo-
16
17   sponsored CME put on by NIPC, Persistent Pain in the Older Adult, taught that

18   prescribing opioids to older patients carried “possibly less potential for abuse than in
19
     younger patients.” Contrary to these assertions, however, a 2010 study examining
20
21   overdoses among long-term opioid users found that patients 65 or older were among those

22   with the largest number of serious overdoses.
23
           559. Similarly, Endo targeted marketing of Opana ER towards patients over 55
24
25   years old. Such documents show Endo treated Medicare Part D patients among the “most

26   valuable customer segments.”        However, in 2013, one pharmaceutical benefits
27
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                                              -191-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 195 of 366 Page ID #:195




1    management company recommended against the use of Opana ER for elderly patients

2    and unequivocally concluded: “[f]or patients 65 and older these medications are not safe,
3
     so consult your doctor.”
4
5          560. According to a study published in the 2013 Journal of American Medicine,

6    veterans returning from Iraq and Afghanistan who were prescribed opioids have a higher
7
     incidence of adverse clinical outcomes, such as overdoses and self-inflicted and
8
9    accidental injuries. A 2008 survey showed that prescription drug misuse among military
10   personnel doubled from 2002 to 2005, and then nearly tripled again over the next three
11
     years. Veterans are twice as likely as non-veterans to die from an opioid overdose.
12
13         561. Yet the Marketing Defendants deliberately targeted veterans with deceptive

14   marketing. For example, a 2009 publication sponsored by Purdue, Endo, and Janssen,
15
     and distributed by APF with grants from Janssen and Endo, was written as a personal
16
17   narrative of one veteran but was in fact another vehicle for opioid promotion. Called Exit
18   Wounds, the publication describes opioids as “underused” and the “gold standard of pain
19
     medications” while failing to disclose significant risks of opioid use, including the risks
20
21   of fatal interactions with benzodiazepines. According to a VA Office of Inspector
22   General Report, 92.6% of veterans who were prescribed opioid drugs were also
23
     prescribed benzodiazepines, despite the increased danger of respiratory depression from
24
25   the two drugs together.
26
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                                              -192-
                                           COMPLAINT
  Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 196 of 366 Page ID #:196




  1               562. Opioid prescriptions have dramatically increased for veterans and the elderly.

  2     Since 2007, prescriptions for the elderly have grown at twice the rate of prescriptions for
  3
        adults between the ages of 40 and 59. And in 2009, military doctors wrote 3.8 million
  4
  5     prescriptions for narcotic pain pills—four times as many as they did in 2001.

4. 6    Insys Employed Fraudulent, Illegal, and Misleading Marketing Schemes to
  7     Promote Subsys
  8               563. Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management
  9
        of breakthrough pain in adult cancer patients who are already receiving and who are
 10
        tolerant to around-the-clock opioid therapy for their underlying persistent cancer pain.”
 11
 12     Under FDA rules, Insys could only market Subsys for this use. Subsys consists of the
 13
        highly addictive narcotic, fentanyl, administered via a sublingual (under the tongue)
 14
 15     spray, which provides rapid-onset pain relief. It is in the class of drugs described as

 16     Transmucosal Immediate-Release Fentanyl (“TIRF”).
 17
                  564. To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk
 18
 19     Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF products, such

 20     as Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers,
 21
        pharmacists, and patients on the potential for misuse, abuse, addiction, and overdose” for
 22
 23     this type of drug and to “ensure safe use and access to these drugs for patients who need

 24     them.”133 Prescribers must enroll in the TIRF REMS before writing a prescription for
 25
        Subsys.
 26
 27    133 Press Release, U.S. Food & Drug Admin., FDA Approves Shared System REMS for TIRF Products (Dec. 29, 2011).

 28
                                                                      -193-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 197 of 366 Page ID #:197




1               565. Since its launch, Subsys has been an extremely expensive medication, and its

2     price continues to rise each year. Depending on a patient’s dosage and frequency of use,
3
      a month’s supply of Subsys could cost in the thousands of dollars.
4
5               566. Due to its high cost, in most instances prescribers must submit Subsys

6     prescriptions to insurance companies or health benefit payors for prior authorization to
7
      determine whether they will pay for the drug prior to the patient attempting to fill the
8
9     prescription. According to the U.S. Senate Homeland Security and Governmental Affairs
10    Committee Minority Staff Report (“Staff Report”), the prior authorization process
11
      includes “confirmation that the patient had an active cancer diagnosis, was being treated
12
13    by an opioid (and, thus, was opioid tolerant), and was being prescribed Subsys to treat
14    breakthrough pain that the other opioid could not eliminate. If any one of these factors
15
      was not present, the prior authorization would be denied . . . .”134
16
17              567. These prior authorization requirements proved to be daunting.        Subsys
18    received reimbursement approval in only approximately 30% of submitted claims. In
19
      order to increase approvals, Insys created a prior authorization unit, called the Insys
20
21    Reimbursement Center (“IRC”), to obtain approval for Subsys reimbursements. This unit
22    employed a number of fraudulent and misleading tactics to secure reimbursements,
23
      including falsifying medical histories of patients, falsely claiming that patients had
24
25
26
27   134 Fueling an Epidemic, supra note 85.

28
                                                  -194-
                                               COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 198 of 366 Page ID #:198




1    cancer, and providing misleading information to insurers and payors regarding patients’

2    diagnoses and medical conditions.
3
           568. Subsys has proved to be extremely profitable for Insys.           Insys made
4
5    approximately $330 million in net revenue from Subsys last year. Between 2013 and

6    2016, the value of Insys stock rose 296%.
7
           569. Since its launch in 2012, Insys aggressively worked to grow its profits
8
9    through fraudulent, illegal, and misleading tactics, including its reimbursement-related
10   fraud. Through its sales representatives and other marketing efforts, Insys deceptively
11
     promoted Subsys as safe and appropriate for uses such as neck and back pain, without
12
13   disclosing the lack of approval or evidence for such uses, and misrepresented the
14   appropriateness of Subsys for treatment those conditions. It implemented a kickback
15
     scheme wherein it paid prescribers for fake speakers programs in exchange for
16
17   prescribing Subsys. All of these fraudulent and misleading schemes had the effect of
18   pushing Insys’s dangerous opioid onto patients who did not need it.
19
           570. Insys incentivized its sales force to engage in illegal and fraudulent conduct.
20
21   Many of the Insys sales representatives were new to the pharmaceutical industry and their
22   base salaries were low compared to industry standard. The compensation structure was
23
     heavily weighted toward commissions and rewarded reps more for selling higher (and
24
25
26
27
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                                             -195-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 199 of 366 Page ID #:199




1     more expensive) doses of Subsys, a “highly unusual” practice because most companies

2     consider dosing a patient-specific decision that should be made by a doctor.135
3
                 571. The Insys “speakers program” was perhaps its most widespread and
4
5     damaging scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action

6     that the sole purpose of the speakers program was “in the words of his then supervisor
7
      Alec Burlakoff, ‘to get money in the doctor’s pocket.’” Furchak went on to explain that
8
9     “[t]he catch . . . was that doctors who increased the level of Subsys prescriptions, and at
10    higher dosages (such as 400 or 800 micrograms instead of 200 micrograms), would
11
      receive the invitations to the program—and the checks.”136 It was a pay-to-prescribe
12
13    program.
14               572. Insys’s sham speaker program and other fraudulent and illegal tactics have
15
      been outlined in great detail in indictments and guilty pleas of Insys executives,
16
17    employees, and prescribers across the country, as well as in a number of lawsuits against
18    the company itself.
19
                 573. In May of 2015, two Alabama pain specialists were arrested and charged with
20
21    illegal prescription drug distribution, among other charges. The doctors were the top
22    prescribers of Subsys, though neither were oncologists. According to prosecutors, the
23
      doctors received illegal kickbacks from Insys for prescribing Subsys. Both doctors had
24
25
26   135 Id.
     136 Roddy Boyd, Insys Therapeutics and the New ‘Killing It’”, S. Investigative Reporting Found., The Investigator, (Apr. 24, 2015), http://sirf-
27        online.org/2015/04/24/the-new-killing-it/.

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                                                                          -196-
                                                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 200 of 366 Page ID #:200




1    prescribed Subsys to treat neck, back, and joint pain. In February of 2016, a former Insys

2    sales manager pled guilty to conspiracy to commit health care fraud, including engaging
3
     in a kickback scheme in order to induce one of these doctors to prescribe Subsys. The
4
5    plea agreement states that nearly all of the Subsys prescriptions written by the doctor

6    were off-label to non-cancer patients. In May of 2017, one of the doctors was sentenced
7
     to 20 years in prison.
8
9          574. In June of 2015, a nurse practitioner in Connecticut described as the state’s

10   highest Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks
11
     from Insys for prescribing Subsys. Most of her patients were prescribed the drug for
12
13   chronic pain. Insys paid the nurse as a speaker for more than 70 dinner programs at
14   approximately $1,000 per event; however, she did not give any presentations. In her
15
     guilty plea, the nurse admitted receiving the speaker fees in exchange for writing
16
17   prescriptions for Subsys.
18         575. In August of 2015, Insys settled a complaint brought by the Oregon Attorney
19
     General. In its complaint, the Oregon Department of Justice cited Insys for, among other
20
21   things, misrepresenting to doctors that Subsys could be used to treat migraine, neck pain,
22   back pain, and other uses for which Subsys is neither safe nor effective, and using
23
     speaking fees as kickbacks to incentivize doctors to prescribe Subsys.
24
25         576. In August of 2016, the State of Illinois sued Insys for similar deceptive and

26   illegal practices. The Complaint alleged that Insys marketed Subsys to high-volume
27
28
                                              -197-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 201 of 366 Page ID #:201




1     prescribers of opioid drugs instead of to oncologists whose patients experienced the

2     breakthrough cancer pain for which the drug is indicated. The Illinois Complaint also
3
      details how Insys used its speaker program to pay high volume prescribers to prescribe
4
5     Subsys. The speaker events took place at upscale restaurants in the Chicago area, and

6     Illinois speakers received an “honorarium” ranging from $700 to $5,100, and they were
7
      allowed to order as much food and alcohol as they wanted. At most of the events, the
8
9     “speaker” being paid by Insys did not speak, and, on many occasions, the only attendees
10    at the events were the speaker and an Insys sales representative.
11
                 577. In December of 2016, six Insys executives and managers were indicted and
12
13    then, in October 2017, Insys’s founder and owner was arrested and charged with multiple
14    felonies in connection with an alleged conspiracy to bribe practitioners to prescribe
15
      Subsys and defraud insurance companies. A U.S. Department of Justice press release
16
17    explained that, among other things: “Insys executives improperly influenced health care
18    providers to prescribe a powerful opioid for patients who did not need it, and without
19
      complying with FDA requirements, thus putting patients at risk and contributing to the
20
21    current opioid crisis.”137 A Drug Enforcement Administration (“DEA”) Special Agent in
22    Charge further explained that: “Pharmaceutical companies whose products include
23
      controlled medications that can lead to addiction and overdose have a special obligation
24
25
26   137 Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office, Dist. of Mass., Founder and Owner of Pharmaceutical Company Insys Arrested and
          Charged with Racketeering (Oct. 26, 2017), https://www.justice.gov/usao-ma/pr/founder-and-owner-pharmaceutical-company-insys-arrested-and-
27        charged-racketeering.

28
                                                                        -198-
                                                                     COMPLAINT
     Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 202 of 366 Page ID #:202




     1    to operate in a trustworthy, transparent manner, because their customers’ health and

     2    safety and, indeed, very lives depend on it.”138
     3
5.        The Marketing Defendants’ Scheme Succeeded, Creating a Public Health
     4    Epidemic.
     5
a.        Marketing Defendants Dramatically Expanded Opioid Prescribing and Use
     6
                   578. The Marketing Defendants necessarily expected a return on the enormous
     7
     8    investment they made in their deceptive marketing scheme, and worked to measure and
     9    expand their success. Their own documents show that they knew they were influencing
 10
          prescribers and increasing prescriptions. Studies also show that in doing so, they fueled
 11
 12       an epidemic of addiction and abuse.
 13                579. Endo, for example directed the majority of its marketing budget to sales
 14
          representatives—with good results: 84% of its prescriptions were from the doctors they
 15
 16       detailed. Moreover, as of 2008, cancer and post-operative pain accounted for only 10%
 17       of Opana ER’s uses; virtually all of Endo’s opioid sales—and profits—were from a
 18
          market that did not exist ten years earlier. Internal emails from Endo staff attributed
 19
 20       increases in Opana ER sales to the aggressiveness and persistence of sales
 21       representatives.
 22
                   580. Cephalon also recognized the return of its efforts to market Actiq and Fentora
 23
 24       off-label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq
 25       sales had increased by 92%, which Cephalon attributed to “a dedicated sales force for
 26
 27      138 Id.

 28
                                                     -199-
                                                  COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 203 of 366 Page ID #:203




1     ACTIQ” and “ongoing changes to [its] marketing approach including hiring additional

2     sales representatives and targeting our marketing efforts to pain specialists.”139 Actiq
3
      became Cephalon’s second best-selling drug. By the end of 2006, Actiq’s sales had
4
5     exceeded $500 million. Only 1% of the 187,076 prescriptions for Actiq filled at retail
6     pharmacies during the first six months of 2006 were prescribed by oncologists. One
7
      measure suggested that “more than 80 percent of patients who use[d] the drug don’t have
8
9     cancer.”140
10
                 581. Upon information and belief, each of the Marketing Defendants tracked the
11
12    impact of their marketing efforts to measure their impact in changing doctors’ perceptions

13    and prescribing of their drugs. They purchased prescribing and survey data that allowed
14
      them to closely monitor these trends, and they did actively monitor them. They monitored
15
16    doctors’ prescribing before and after detailing visits, and at various levels of detailing

17    intensity, and before and after speaker programs, for instance. Defendants continued and,
18
      in many cases, expanded and refined their aggressive and deceptive marketing for one
19
20    reason: it worked. As described in this Complaint, both in specific instances (e.g., the

21    low abuse potential of various Defendants’ opioids), and more generally, Defendants’
22
      marketing changed prescribers’ willingness to prescribe opioids, led them to prescribe
23
24
25
     139 Cephalon, Inc., Annual Report (Form 10-K) at 28 (Mar. 31, 2003),
26        https://www.sec.gov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm.
     140 John Carreyrou, Narcotic ‘Lollipop’ Becomes Big Seller Despite FDA Curbs, Wall St. J., https://www.wsj.com/articles.SB116252463810112292 (last
27        updated Nov. 3, 2016, 12:01 AM).

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                                                                       -200-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 204 of 366 Page ID #:204




1    more of their opioids, and persuaded them not to stop prescribing opioids or to switch to

2    “safer” opioids, such as ADF opioids.
3
           582. This success would have come as no surprise. Drug company marketing
4
5    materially impacts doctors’ prescribing behavior.         The effects of sales calls on

6    prescribers’ behavior is well documented in the literature, including a 2017 study that
7
     found that physicians ordered fewer promoted brand-name medications and prescribed
8
9    more cost-effective generic versions if they worked in hospitals that instituted rules about
10   when and how pharmaceutical sales representatives were allowed to detail prescribers.
11
     The changes in prescribing behavior appeared strongest at hospitals that implemented the
12
13   strictest detailing policies and included enforcement measures. Another study examined
14   four practices, including visits by sales representatives, medical journal advertisements,
15
     direct-to-consumer advertising, and pricing, and found that sales representatives have the
16
17   strongest effect on drug utilization. An additional study found that doctor meetings with
18   sales representatives are related to changes in both prescribing practices and requests by
19
     physicians to add the drugs to hospitals’ formularies.
20
21         583. Marketing Defendants spent millions of dollars to market their drugs to

22   prescribers and patients and meticulously tracked their return on that investment. In one
23
     recent survey published by the AMA, even though nine in ten general practitioners
24
25   reported prescription drug abuse to be a moderate to large problem in their communities,
26   88% of the respondents said they were confident in their prescribing skills, and nearly
27
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                                               -201-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 205 of 366 Page ID #:205




 1    half were comfortable using opioids for chronic non-cancer pain. These results are

 2    directly due to the Marketing Defendants’ fraudulent marketing campaign focused on
 3
      several misrepresentations.
 4
 5               584. Thus, both independent studies and Marketing Defendants’ own tracking

 6    confirm that Defendants’ marketing scheme dramatically increased their sales.
 7
  1. Marketing Defendants’ Deception in Expanding Their Market Created and Fueled
 8 the Opioid Epidemic
 9
           585. Independent research demonstrates a close link between opioid prescriptions
10
     and opioid abuse. For example, a 2007 study found “a very strong correlation between
11
12    therapeutic exposure to opioid analgesics, as measured by prescriptions filled, and their
13
      abuse.”141 It has been estimated that 60% of the opioids that are abused come, directly
14
15    or indirectly, through physicians’ prescriptions.
16               586. There is a parallel relationship between the availability of prescription opioid
17
      analgesics through legitimate pharmacy channels and the diversion and abuse of these
18
19    drugs and associated adverse outcomes. The opioid epidemic is “directly related to the
20
      increasingly widespread misuse of powerful opioid pain medications.”142
21
22
23
24
25
     141 Theodore J. Cicero et al., Relationship Between Therapeutic Use and Abuse of Opioid Analgesics in Rural, Suburban, and Urban Locations in the
26        United States, 16(8) Pharmacopidemiology and Drug Safety, 827-40 (2007).
     142 Robert M. Califf, M.D., et al., A Proactive Response to Prescription Opioid Abuse, New Eng. J. Med., 1480-85 (2016),
27        http://www.nejm.org/doi/full/10.1056/NEJMsr1601307.

28
                                                                        -202-
                                                                     COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 206 of 366 Page ID #:206




E.1   Defendants Throughout the Supply Chain Deliberately Disregarded Their Duties
      to Maintain Effective Controls and to Identify, Report, and Take Steps to Halt
 2    Suspicious Orders
 3
            587. The Marketing Defendants created a vastly and dangerously larger market
 4
      for opioids. All of the Defendants compounded this harm by facilitating the supply of far
 5
 6    more opioids that could have been justified to serve that market. The failure of the
 7
      Defendants to maintain effective controls, and to investigate, report, and take steps to halt
 8
      orders that they knew or should have known were suspicious breached both their statutory
 9
10    and common law duties.
11
            588. For over a decade, as the Marketing Defendants increased the demand for
12
      opioids, all the Defendants aggressively sought to bolster their revenue, increase profit,
13
14    and grow their share of the prescription painkiller market by unlawfully and
15
      surreptitiously increasing the volume of opioids they sold. However, Defendants are not
16
17    permitted to engage in a limitless expansion of their sales through the unlawful sales of

18    regulated painkillers. Rather, as described below, Defendants are subject to various
19
      duties to report the quantity of Schedule II controlled substances in order to monitor such
20
21    substances and prevent oversupply and diversion into the illicit market.

22          589. Defendants are all required to register as either manufacturers or distributors
23
      pursuant to 21 U.S.C. § 823 and 21 C.F.R. §§ 1301.11, 1301.74.
24
25          590. Marketing Defendants’ scheme was resoundingly successful. Chronic opioid

26    therapy—the prescribing of opioids long-term to treat chronic pain—has become a
27
28
                                                -203-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 207 of 366 Page ID #:207




1     commonplace, and often first-line, treatment.         Marketing Defendants’ deceptive

2     marketing caused prescribing not only of their opioids, but of opioids as a class, to
3
      skyrocket. According to the CDC opioid prescriptions, as measured by number of
4
5     prescriptions and morphine milligram equivalent (“MME”) per person, tripled from 1999

6     to 2015. In 2015, on an average day, more than 650,000 opioid prescriptions were
7
      dispensed in the U.S. While previously a small minority of opioid sales, today between
8
9     80% and 90% of opioids (measured by weight) used are for chronic pain. Approximately
10    20% of the population between the ages of 30 and 44, and nearly 30% of the population
11
      over 45, have used opioids. Opioids are the most common treatment for chronic pain,
12
13    and 20% of office visits now include the prescription of an opioid.
14             591. In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing
15
      has quadrupled since 1999 and has increased in parallel with [opioid] overdoses.”
16
17    Patients receiving opioid prescriptions for chronic pain account for the majority of
18    overdoses. For these reasons, the CDC concluded that efforts to rein in the prescribing
19
      of opioids for chronic pain are critical “to reverse the epidemic of opioid drug overdose
20
21    deaths and prevent opioid-related morbidity.”143
22
23
24
25
26
27   143 Id.

28
                                                -204-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 208 of 366 Page ID #:208




1            1.    All Defendants Have a Duty to Report Suspicious Orders and Not to
                   Ship Those Orders Unless Due Diligence Disproves Their Suspicions
2
             592. Multiple sources impose duties on the Defendants to report suspicious orders
3
4    and further to not ship those orders unless due diligence disproves those suspicions.
5
             593. First, under the common law, the Defendants had a duty to exercise
6
     reasonable care in delivering dangerous narcotic substances. By flooding California with
7
8    more opioids than could be used for legitimate medical purposes and by filling and failing
9
     to report orders that they knew or should have realized were likely being diverted for
10
     illicit uses, Defendants breached that duty and both created and failed to prevent a
11
12   foreseeable risk of harm.
13
             594. Second, each of the Defendants assumed a duty, when speaking publicly
14
15   about opioids and their efforts to combat diversion, to speak accurately and truthfully.

16           595. Third, each of the Defendants was required to register with the DEA to
17
     manufacture and/or distribute Schedule II controlled substances. See 21 U.S.C. § 823(a)-
18
19   (b), (e); 28 C.F.R. § 0.100. As registrants, Defendants were required to “maint[ain] . . .

20   effective controls against diversion” and to “design and operate a system to disclose . . .
21
     suspicious orders of controlled substances.” 21 U.S.C. § 823(a)-(b); 21 C.F.R. § 1301.74.
22
23   Defendants were further required to take steps to halt suspicious orders. Defendants

24   violated their obligations under federal law.
25
             596. Fourth, as described below, Defendants also had duties under applicable state
26
27   laws.

28
                                               -205-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 209 of 366 Page ID #:209




1          597. Recognizing a need for greater scrutiny over controlled substances due to

2    their potential for abuse and danger to public health and safety, the United States
3
     Congress enacted the Controlled Substances Act in 1970. The CSA and its implementing
4
5    regulations created a closed-system of distribution for all controlled substances and listed

6    chemicals. Congress specifically designed the closed chain of distribution to prevent the
7
     diversion of legally produced controlled substances into the illicit market. Congress was
8
9    concerned with the diversion of drugs out of legitimate channels of distribution and acted
10   to halt the “widespread diversion of [controlled substances] out of legitimate channels
11
     into the illegal market.”      Moreover, the closed-system was specifically designed to
12
13   ensure that there are multiple ways of identifying and preventing diversion through active
14   participation by registrants within the drug delivery chain. All registrants—which
15
     includes all manufacturers and distributors of controlled substances—must adhere to the
16
17   specific security, recordkeeping, monitoring and reporting requirements that are designed
18   to identify or prevent diversion. When registrants at any level fail to fulfill their
19
     obligations, the necessary checks and balances collapse. The result is the scourge of
20
21   addiction that has occurred.
22         598. The CSA requires manufacturers and distributors of Schedule II substances
23
     like opioids to: (a) limit sales within a quota set by the DEA for the overall production of
24
25   Schedule II substances like opioids; (b) register to manufacture or distribute opioids;
26   (c) maintain effective controls against diversion of the controlled substances that they
27
28
                                               -206-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 210 of 366 Page ID #:210




1    manufacture or distribute; and (d) design and operate a system to identify suspicious

2    orders of controlled substances, halt such unlawful sales, and report them to the DEA.
3
           599. Central to the closed-system created by the CSA was the directive that the
4
5    DEA determine quotas of each basic class of Schedule I and II controlled substances each

6    year. The quota system was intended to reduce or eliminate diversion from “legitimate
7
     channels of trade” by controlling the “quantities of the basic ingredients needed for the
8
9    manufacture of [controlled substances], and the requirement of order forms for all
10   transfers of these drugs.” When evaluating production quotas, the DEA was instructed
11
     to consider the following information:
12
13               a.    Information provided by the Department of Health and Human
                       Services;
14
15               b.    Total net disposal of the basic class          [of each drug] by all
                       manufacturers;
16
                 c.    Trends in the national rate of disposal of the basic class [of drug];
17
18               d.    An applicant’s production cycle and current inventory position;

19               e.    Total actual or estimated inventories of the class [of drug] and of all
                       substances manufactured from the class and trends in inventory
20                     accumulation; and
21
                 f.    Other factors such as: changes in the currently accepted medical use
22                     of substances manufactured for a basic class; the economic and
23                     physical availability of raw materials; yield and sustainability issues;
                       potential disruptions to production; and unforeseen emergencies.
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                                              -207-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 211 of 366 Page ID #:211




1          600. It is unlawful to manufacture a controlled substance in Schedule II, like

2    prescription opioids, in excess of a quota assigned to that class of controlled substances
3
     by the DEA.
4
5          601. To ensure that even drugs produced within quota are not diverted, federal

6    regulations issued under the CSA mandate that all registrants, manufacturers and
7
     distributors alike, “design and operate a system to disclose to the registrant suspicious
8
9    orders of controlled substances.” 21 C.F.R. § 1301.74(b). Registrants are not entitled to
10   be passive (but profitable) observers, but rather “shall inform the Field Division Office
11
     of the Administration in his area of suspicious orders when discovered by the registrant.”
12
13   Id. Suspicious orders include orders of unusual size, orders deviating substantially from
14   a normal pattern, and orders of unusual frequency. Id. Other red flags may include, for
15
     example, “[o]rdering the same controlled substance from multiple distributors.”
16
17         602. These criteria are disjunctive and are not all inclusive. For example, if an

18   order deviates substantially from a normal pattern, the size of the order does not matter
19
     and the order should be reported as suspicious. Likewise, a distributor or manufacturer
20
21   need not wait for a normal pattern to develop over time before determining whether a
22   particular order is suspicious. The size of an order alone, regardless of whether it deviates
23
     from a normal pattern, is enough to trigger the responsibility to report the order as
24
25   suspicious. The determination of whether an order is suspicious depends not only on the
26   ordering patterns of the particular customer but also on the patterns of the entirety of the
27
28
                                               -208-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 212 of 366 Page ID #:212




1    customer base and the patterns throughout the relevant segment of the industry. For this

2    reason, identification of suspicious orders serves also to identify excessive volume of the
3
     controlled substance being shipped to a particular region.
4
5          603. In sum, Defendants have several responsibilities under state and federal law

6    with respect to control of the supply chain of opioids. First, they must set up a system to
7
     prevent diversion, including excessive volume and other suspicious orders. That would
8
9    include reviewing their own data, relying on their observations of prescribers and
10   pharmacies, and following up on reports or concerns of potential diversion.            All
11
     suspicious orders must be reported to relevant enforcement authorities. Further, they
12
13   must also stop shipment of any order which is flagged as suspicious and only ship orders
14   which were flagged as potentially suspicious if, after conducting due diligence, they can
15
     determine that the order is not likely to be diverted into illegal channels.
16
17         604. State and federal statutes and regulations reflect a standard of conduct and

18   care below which reasonably prudent manufacturers and distributors would not fall.
19
     Together, these laws and industry guidelines make clear that Distributor and Marketing
20
21   Defendants alike possess and are expected to possess specialized and sophisticated
22   knowledge, skill, information, and understanding of both the market for scheduled
23
     prescription narcotics and of the risks and dangers of the diversion of prescription
24
25   narcotics when the supply chain is not properly controlled.
26
27
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                                               -209-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 213 of 366 Page ID #:213




1           605. Further, these laws and industry guidelines make clear that the Distributor

2    Defendants and Marketing Defendants alike have a duty and responsibility to exercise
3
     their specialized and sophisticated knowledge, information, skill, and understanding to
4
5    prevent the oversupply of prescription opioids and minimize the risk of their diversion

6    into an illicit market.
7
            606. The Federal Trade Commission (“FTC”) has recognized the unique role of
8
9    distributors. Since their inception, Distributor Defendants have continued to integrate
10   vertically by acquiring businesses that are related to the distribution of pharmaceutical
11
     products and health care supplies.         In addition to the actual distribution of
12
13   pharmaceuticals, as wholesalers, Distributor Defendants also offer their pharmacy, or
14   dispensing, customers a broad range of added services.          For example, Distributor
15
     Defendants offer their pharmacies sophisticated ordering systems and access to an
16
17   inventory management system and distribution facility that allows customers to reduce
18   inventory carrying costs. Distributor Defendants are also able to use the combined
19
     purchase volume of their customers to negotiate the cost of goods with manufacturers
20
21   and offer services that include software assistance and other database management
22   support. See Fed. Trade Comm’n v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C.
23
     1998) (granting the FTC’s motion for preliminary injunction and holding that the
24
25   potential benefits to customers did not outweigh the potential anti-competitive effect of a
26   proposed merger between Cardinal Health, Inc. and Bergen Brunswig Corp.). As a result
27
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                                              -210-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 214 of 366 Page ID #:214




1    of their acquisition of a diverse assortment of related businesses within the

2    pharmaceutical industry, as well as the assortment of additional services they offer,
3
     Distributor Defendants have a unique insight into the ordering patterns and activities of
4
5    their dispensing customers.

6          607. Marketing Defendants also have specialized and detailed knowledge of the
7
     potential suspicious prescribing and dispensing of opioids through their regular visits to
8
9    doctors’ offices and pharmacies, and from their purchase of data from commercial
10   sources, such as IMS Health. Their extensive boots-on-the-ground activity through their
11
     sales force allows Marking Defendants to observe the signs of suspicious prescribing and
12
13   dispensing discussed elsewhere in the Complaint—lines of seemingly healthy patients,
14   out-of-state license plates, and cash transactions, to name only a few. In addition,
15
     Marketing Defendants regularly mined data, including, upon information and belief,
16
17   chargeback data, which allowed them to monitor the volume and type of prescribing of
18   doctors, including sudden increases in prescribing and unusually high dose prescribing,
19
     which would have alerted them, independent of their sales representatives, to suspicious
20
21   prescribing.   These information points gave Marketing Defendants insight into
22   prescribing and dispensing conduct that enabled them to play a valuable role in the
23
     preventing diversion and fulfilling their obligations under the CSA.
24
25
26
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                                              -211-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 215 of 366 Page ID #:215




1          608. Defendants have a duty, and are expected, to be vigilant in deciding whether

2    a prospective customer can be trusted to deliver controlled substances only for lawful
3
     purposes.
4
5          609. Defendants breached these duties by failing to: (a) control the supply chain;

6    (b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of opioids in
7
     quantities they knew or should have known could not be justified and were indicative of
8
9    serious problems of overuse of opioids.
10        2.     Defendants Were Aware of and Have Acknowledged Their Obligations
11               to Prevent Diversion and to Report and Take Steps to Halt Suspicious
                 Orders
12
           610. The reason for the reporting rules is to create a “closed” system intended to
13
14   control the supply and reduce the diversion of these drugs out of legitimate channels into
15
     the illicit market, while at the same time providing the legitimate drug industry with a
16
17   unified approach to narcotic and dangerous drug control. Both because distributors

18   handle such large volumes of controlled substances, and because they are uniquely
19
     positioned, based on their knowledge of their customers and orders, as the first line of
20
21   defense in the movement of legal pharmaceutical controlled substances from legitimate

22   channels into the illicit market, distributors’ obligation to maintain effective controls to
23
     prevent diversion of controlled substances is critical. Should a distributor deviate from
24
25   these checks and balances, the closed system of distribution, designed to prevent

26   diversion, collapses.
27
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                                               -212-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 216 of 366 Page ID #:216




1          611. Defendants were well aware they had an important role to play in this system,

2    and also knew or should have known that their failure to comply with their obligations
3
     would have serious consequences.
4
5          612. Recently, Mallinckrodt, a prescription opioid manufacturer, admitted in a

6    settlement with DEA that “[a]s a registrant under the CSA, Mallinckrodt had a
7
     responsibility to maintain effective controls against diversion, including a requirement
8
9    that it review and monitor these sales and report suspicious orders to DEA.” Mallinckrodt
10   further stated that it “recognizes the importance of the prevention of diversion of the
11
     controlled substances they manufacture” and agreed that it would “design and operate a
12
13   system that meets the requirements of 21 CFR 1301.74(b) . . . [such that it would] utilize
14   all available transaction information to identify suspicious orders of any Mallinckrodt
15
     product.” Mallinckrodt specifically agreed “to notify DEA of any diversion and/or
16
17   suspicious circumstances involving any Mallinckrodt controlled substances that
18   Mallinckrodt discovers.”
19
           613. Trade organizations to which Defendants belong have acknowledged that
20
21   wholesale distributors have been responsible for reporting suspicious orders for more
22   than 40 years. The Healthcare Distribution Management Association (“HDMA,” now
23
     known as the Healthcare Distribution Alliance (“HDA”)), a trade association of
24
25   pharmaceutical distributors to which Distributor Defendants belong, has long taken the
26   position that distributors have responsibilities to “prevent diversion of controlled
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                                              -213-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 217 of 366 Page ID #:217




1    prescription drugs” not only because they have statutory and regulatory obligations do

2    so, but “as responsible members of society.” Guidelines established by the HDA also
3
     explain that distributors, “[a]t the center of a sophisticated supply chain . . . are uniquely
4
5    situated to perform due diligence in order to help support the security of the controlled

6    substances they deliver to their customers.”
7
           614. The DEA also repeatedly reminded the Defendants of their obligations to
8
9    report and decline to fill suspicious orders. Responding to the proliferation of pharmacies
10   operating on the internet that arranged illicit sales of enormous volumes of opioids to
11
     drug dealers and customers, the DEA began a major push to remind distributors of their
12
13   obligations to prevent these kinds of abuses and educate them on how to meet these
14   obligations. Since 2007, the DEA has hosted at least five conferences that provided
15
     registrants with updated information about diversion trends and regulatory changes. Each
16
17   of the Distributor Defendants attended at least one of these conferences. The DEA has
18   also briefed wholesalers regarding legal, regulatory, and due diligence responsibilities
19
     since 2006. During these briefings, the DEA pointed out the red flags wholesale
20
21   distributors should look for to identify potential diversion.
22         615. The DEA also advised in a September 27, 2006 letter to every commercial
23
     entity registered to distribute controlled substances that they are “one of the key
24
25   components of the distribution chain. If the closed system is to function properly . . .
26   distributors must be vigilant in deciding whether a prospective customer can be trusted
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                                               -214-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 218 of 366 Page ID #:218




1    to deliver controlled substances only for lawful purposes. This responsibility is critical,

2    as . . . the illegal distribution of controlled substances has a substantial and detrimental
3
     effect on the health and general welfare of the American people.” The DEA’s September
4
5    27, 2006 letter also expressly reminded them that registrants, in addition to reporting

6    suspicious orders, have a “statutory responsibility to exercise due diligence to avoid
7
     filling suspicious orders that might be diverted into other than legitimate medical,
8
9    scientific, and industrial channels.”      The same letter reminds distributors of the
10   importance of their obligation to “be vigilant in deciding whether a prospective customer
11
     can be trusted to deliver controlled substances only for lawful purposes,” and warns that
12
13   “even just one distributor that uses its DEA registration to facilitate diversion can cause
14   enormous harm.”
15
           616. The DEA sent another letter to Defendants on December 27, 2007, reminding
16
17   them that, as registered manufacturers and distributors of controlled substances, they
18   share, and must each abide by, statutory and regulatory duties to “maintain effective
19
     controls against diversion” and “design and operate a system to disclose to the registrant
20
21   suspicious orders of controlled substances.”      The DEA’s December 27, 2007 letter
22   reiterated the obligation to detect, report, and not fill suspicious orders and provided
23
     detailed guidance on what constitutes a suspicious order and how to report (e.g., by
24
25   specifically identifying an order as suspicious, not merely transmitting data to the DEA).
26   Finally, the letter references the Revocation of Registration issued in Southwood
27
28
                                                -215-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 219 of 366 Page ID #:219




1    Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the

2    obligation to report suspicious orders and “some criteria to use when determining whether
3
     an order is suspicious.”
4
5         3.     Defendants Worked Together to Inflate the Quotas of Opioids They
                 Could Distribute
6
           617. Finding it impossible to legally achieve their ever-increasing sales ambitions,
7
8    Defendants engaged in the common purpose of increasing the supply of opioids and
9
     fraudulently increasing the quotas that governed the manufacture and distribution of their
10
     prescription opioids.
11
12         618. Wholesale distributors such as the Distributor Defendants had close financial
13
     relationships with both Marketing Defendants and customers, for whom they provide a
14
15   broad range of value added services that render them uniquely positioned to obtain

16   information and control against diversion. These services often otherwise would not be
17
     provided by manufacturers to their dispensing customers and would be difficult and
18
19   costly for the dispenser to reproduce. For example, “[w]holesalers have sophisticated

20   ordering systems that allow customers to electronically order and confirm their purchases,
21
     as well as to confirm the availability and prices of wholesalers’ stock.” Fed. Trade
22
23   Comm’n v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998). Through their

24   generic source programs, wholesalers are also able “to combine the purchase volumes of
25
     customers and negotiate the cost of goods with manufacturers.” Wholesalers typically
26
27
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                                              -216-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 220 of 366 Page ID #:220




1    also offer marketing programs, patient services, and other software to assist their

2    dispensing customers.
3
           619. Distributor Defendants had financial incentives from the Marketing
4
5    Defendants to distribute higher volumes, and thus to refrain from reporting or declining

6    to fill suspicious orders. Wholesale drug distributors acquire pharmaceuticals, including
7
     opioids, from manufacturers at an established wholesale acquisition cost. Discounts and
8
9    rebates from this cost may be offered by manufacturers based on market share and
10   volume. As a result, higher volumes may decrease the cost per pill to distributors.
11
     Decreased cost per pill in turn, allows wholesale distributors to offer more competitive
12
13   prices, or alternatively, pocket the difference as additional profit. Either way, the
14   increased sales volumes result in increased profits.
15
           620. The Marketing Defendants engaged in the practice of paying rebates and/or
16
17   chargebacks to the Distributor Defendants for sales of prescription opioids as a way to
18   help them boost sales and better target their marketing efforts. The Washington Post has
19
     described the practice as industry-wide, and the HDA includes a “Contracts and
20
21   Chargebacks Working Group,” suggesting a standard practice. Further, in a recent
22   settlement with the DEA, Mallinckrodt acknowledged that “[a]s part of their business
23
     model Mallinckrodt collects transaction information, referred to as chargeback data, from
24
25   their direct customers (distributors).” The transaction information contains data relating
26   to the direct customer sales of controlled substances to ‘downstream’ registrants,”
27
28
                                              -217-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 221 of 366 Page ID #:221




1    meaning pharmacies or other dispensaries, such as hospitals. Marketing Defendants buy

2    data from pharmacies as well. This exchange of information, upon information, and
3
     belief, would have opened channels providing for the exchange of information revealing
4
5    suspicious orders as well.

6          621. The contractual relationships among the Defendants also include vault
7
     security programs. Defendants are required to maintain certain security protocols and
8
9    storage facilities for the manufacture and distribution of their opioids. The manufacturers
10   negotiated agreements whereby the Marketing Defendants installed security vaults for
11
     the Distributor Defendants in exchange for agreements to maintain minimum sales
12
13   performance thresholds. These agreements were used by the Defendants as a tool to
14   violate their reporting and diversion duties in order to reach the required sales
15
     requirements.
16
17         622. In addition, Defendants worked together to achieve their common purpose

18   through trade or other organizations, such as the Pain Care Forum (“PCF”) and the HDA.
19
           623. The PCF has been described as a coalition of drug makers, trade groups and
20
21   dozens of non-profit organizations supported by industry funding, including the Front
22   Groups described in this Complaint. The PCF recently became a national news story
23
     when it was discovered that lobbyists for members of the PCF quietly shaped federal and
24
25   state policies regarding the use of prescription opioids for more than a decade.
26
27
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                                              -218-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 222 of 366 Page ID #:222




1               624. The Center for Public Integrity and The Associated Press obtained “internal

2     documents shed[ding] new light on how drug makers and their allies shaped the national
3
      response to the ongoing wave of prescription opioid abuse.”144                                                         Specifically, PCF
4
5     members spent over $740 million lobbying in the nation’s capital and in all 50 statehouses

6     on an array of issues, including opioid-related measures.145
7
                625. The Defendants who stood to profit from expanded prescription opioid use
8
9     are members of and/or participants in the PCF.146 In 2012, membership and participating
10    organizations included Endo, Purdue, Actavis and Cephalon.147 Each of the Marketing
11
      Defendants worked together through the PCF. But the Marketing Defendants were not
12
13    alone. The Distributor Defendants actively participated, and continue to participate in
14    the PCF, at a minimum, through their trade organization, the HDA.148 The Distributor
15
      Defendants participated directly in the PCF as well.
16
17              626. Additionally, the HDA led to the formation of interpersonal relationships and

18    an organization among the Defendants. Although the entire HDA membership directory
19
      is private, the HDA website confirms that each of the Distributor Defendants and several
20
21    of the Marketing Defendants, including Actavis, Endo, Purdue, Mallinckrodt, and
22
     144 Matthew Perrone & Ben Wieder, Pro-Painkiller Echo Chamber Shaped Policy Amid Drug Epidemic, The Ctr. for Pub. Integrity,
23        https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-shaped-policy-amid-drug-epidemic (last updated Dec. 15, 2016, 9:09
          AM) (emphasis added).
24   145 Id.
     146 PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011), https://assets.documentcloud.org/documents/3108982/PAIN-CARE-
25        FORUM-Meetings-Schedule-amp.pdf
     147 Mallinckrodt became an active member of the PCF sometime after 2012.
26   148 Id.; The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer, Pharmaceutical Segment for
          Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen Corporation, and the
          President, U.S. Pharmaceutical for McKesson Corporation. Executive Committee, Healthcare Distribution Alliance,
27        https://www.healthcaredistribution.org/about/executive-committee (last accessed Apr. 25, 2018).

28
                                                                        -219-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 223 of 366 Page ID #:223




1     Cephalon, were members of the HAD.149 Additionally, the HDA and each of the

2     Distributor Defendants, eagerly sought the active membership and participation of the
3
      Marketing Defendants by advocating for the many benefits of members, including
4
5     “strengthen[ing] . . . alliances.”150

6                627. Beyond strengthening alliances, the benefits of HDA membership included
7
      the ability to, among other things, “network one on one with manufacturer executives at
8
9     HDA’s members-only Business and Leadership Conference,” “networking with HDA
10    wholesale distributor members,” “opportunities to host and sponsor HDA Board of
11
      Directors events,” “participate on HDA committees, task forces and working groups with
12
13    peers and trading partners,” and “make connections.”151 Clearly, the HDA and the
14    Defendants believed that membership in the HDA was an opportunity to create
15
      interpersonal and ongoing organizational relationships and “alliances” between the
16
17    Marketing and Distributor Defendants.
18               628. The application for manufacturer membership in the HDA further indicates
19
      the level of connection among the Defendants and the level of insight that they had into
20
21    each other’s businesses.152 For example, the manufacturer membership application must
22
23
24   149 Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
          https://www.healthcaredistribution.org/about/membership/manufacturer.
25   150 Manufacturer Membership, Healthcare Distribution Alliance, https://www.healthcaredistribution.org/about/membership/manufacturer (last accessed
          Apr. 25, 2018).
26   151 Id.
     152 Manufacturer Membership Application, Healthcare Distribution Alliance, https://www.healthcaredistribution.org/~/media/pdfs/membership/
27        manufacturer-membership-application.ashx?la=en.

28
                                                                       -220-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 224 of 366 Page ID #:224




1     be signed by a “senior company executive,” and it requests that the manufacturer

2     applicant identify a key contact and any additional contacts from within its company.
3
                629. The HDA application also requests that the manufacturer identify its current
4
5     distribution information, including the facility name and contact information.

6     Manufacturer members were also asked to identify their “most recent year end net sales”
7
      through            wholesale               distributors,              including              the         Distributor   Defendants
8
9     AmerisourceBergen, Anda, Inc., Cardinal Health, McKesson and their subsidiaries.
10              630. The closed meetings of the HDA’s councils, committees, task forces and
11
      working groups provided the Marketing and Distributor Defendants with the opportunity
12
13    to work closely together, confidentially, to develop and further the common purpose and
14    interests of the enterprise.
15
                631. The HDA also offers a multitude of conferences, including annual business
16
17    and leadership conferences. The HDA and the Distributor Defendants advertise these
18    conferences to the Marketing Defendants as an opportunity to “bring together high-level
19
      executives, thought leaders and influential managers . . . to hold strategic business
20
21    discussions on the most pressing industry issues.”153 The conferences also gave the
22    Marketing and Distributor Defendants “unmatched opportunities to network with [their]
23
      peers and trading partners at all levels of the healthcare distribution industry.”154 The
24
25
26   153 Business and Leadership Conference—Information for Manufacturers, Healthcare Distribution Alliance,
          https://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-manufacturers.
27   154 Id.

28
                                                                        -221-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 225 of 366 Page ID #:225




1     HDA and its conferences were significant opportunities for the Marketing and Distributor

2     Defendants to interact at a high-level of leadership. It is clear that the Marketing
3
      Defendants embraced this opportunity by attending and sponsoring these events.155
4
5               632. After becoming members of HDA, Defendants were eligible to participate on

6     councils, committees, task forces and working groups, including:
7
                          a.        Industry Relations Council: “This council, composed of distributor
8                                   and manufacturer members, provides leadership on pharmaceutical
9                                   distribution and supply chain issues.”
10                        b.        Business Technology Committee: “This committee provides
                                    guidance to HDA and its members through the development of
11
                                    collaborative e-commerce business solutions. The committee’s
12                                  major areas of focus within pharmaceutical distribution include
                                    information systems, operational integration and the impact of e-
13
                                    commerce.” Participation in this committee includes distributor and
14                                  manufacturer members.
15                        c.        Logistics Operation Committee: “This committee initiates projects
16                                  designed to help members enhance the productivity, efficiency and
                                    customer satisfaction within the healthcare supply chain. Its major
17                                  areas of focus include process automation, information systems,
18                                  operational integration, resource management and quality
                                    improvement.” Participation in this committee includes distributor
19                                  and manufacturer members.
20
                          d.        Manufacturer Government Affairs Advisory Committee: “This
21                                  committee provides a forum for briefing HDA’s manufacturer
22                                  members on federal and state legislative and regulatory activity
                                    affecting the pharmaceutical distribution channel. Topics discussed
23                                  include such issues as prescription drug traceability, distributor
24                                  licensing, FDA and DEA regulation of distribution, importation and
                                    Medicaid/Medicare reimbursement.” Participation in this committee
25                                  includes manufacturer members.
26
     155 2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
27        https://web.archive.org/web/20160119143358/https://www.healthcaredistribution.org/events/2015-distribution-management-conference.

28
                                                                       -222-
                                                                    COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 226 of 366 Page ID #:226




1                e.     Contracts and Chargebacks Working Group: “This working group
                        explores how the contract administration process can be streamlined
2                       through process improvements or technical efficiencies. It also
3                       creates and exchanges industry knowledge of interest to contract and
                        chargeback professionals.” Participation in this group includes
4                       manufacturer and distributor members.
5
           633. The Distributor Defendants and Marketing Defendants also participated,
6
     through the HDA, in Webinars and other meetings designed to exchange detailed
7
8    information regarding their prescription opioid sales, including purchase orders,
9
     acknowledgements, ship notices, and invoices. For example, on April 27, 2011, the HDA
10
     offered a Webinar to “accurately and effectively exchange business transactions between
11
12   distributors and manufacturers . . . .” The Marketing Defendants used this information to
13
     gather high-level data regarding overall distribution and direct the Distributor Defendants
14
15   on how to most effectively sell prescription opioids.

16         634. Taken together, the interaction and length of the relationships between and
17
     among the Marketing and Distributor Defendants reflects a deep level of interaction and
18
19   cooperation between two groups in a tightly knit industry. The Marketing and Distributor

20   Defendants were not two separate groups operating in isolation or two groups forced to
21
     work together in a closed system. Defendants operated together as a united entity,
22
23   working together on multiple fronts, to engage in the unlawful sale of prescription

24   opioids.
25
26
27
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                                              -223-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 227 of 366 Page ID #:227




1          635. The HDA and the PCF are but two examples of the overlapping relationships,

2    and concerted joint efforts to accomplish common goals and demonstrates that the leaders
3
     of each of the Defendants were in communication and cooperation.
4
5          636. Publications and guidelines issued by the HDA nevertheless confirm that the

6    Defendants utilized their membership in the HDA to form agreements. Specifically, in
7
     the fall of 2008, the HDA published the Industry Compliance Guidelines: Reporting
8
9    Suspicious Orders and Preventing Diversion of Controlled Substances (the “Industry
10   Compliance Guidelines”) regarding diversion. As the HDA explained in an amicus brief,
11
     the Industry Compliance Guidelines were the result of “[a] committee of HDMA
12
13   members contribut[ing] to the development of this publication” beginning in late 2007.
14         637. This statement by the HDA and the Industry Compliance Guidelines support
15
     the allegation that Defendants utilized the HDA to form agreements about their approach
16
17   to their duties under the CSA. As John M. Gray, President/CEO of the HDA stated to
18   the Energy and Commerce Subcommittee on Health in April 2014, is “difficult to find
19
     the right balance between proactive anti-diversion efforts while not inadvertently limiting
20
21   access to appropriately prescribed and dispensed medications.” Here, it is apparent that
22   all of the Defendants found the same balance—an overwhelming pattern and practice of
23
     failing to identify, report or halt suspicious orders, and failure to prevent diversion.
24
25         638. The Defendants’ scheme had a decision-making structure driven by the

26   Marketing Defendants and corroborated by the Distributor Defendants. The Marketing
27
28
                                               -224-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 228 of 366 Page ID #:228




1    Defendants worked together to control the state and federal government’s response to the

2    manufacture and distribution of prescription opioids by increasing production quotas
3
     through a systematic refusal to maintain effective controls against diversion, and identify
4
5    suspicious orders and report them to the DEA.

6          639. The Defendants worked together to control the flow of information and
7
     influence state and federal governments to pass legislation that supported the use of
8
9    opioids and limited the authority of law enforcement to rein in illicit or inappropriate
10   prescribing and distribution. The Marketing and Distributor Defendants did this through
11
     their participation in the PCF and HDA.
12
13         640. The Defendants also worked together to ensure that the Aggregate Production

14   Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained
15
     artificially high and ensured that suspicious orders were not reported to the DEA in order
16
17   to ensure that the DEA had no basis for refusing to increase or decrease production quotas
18   due to diversion.
19
           641. The Defendants also had reciprocal obligations under the CSA to report
20
21   suspicious orders of other parties if they became aware of them. Defendants were thus
22   collectively responsible for each other’s compliance with their reporting obligations.
23
           642. Defendants thus knew that their own conduct could be reported by other
24
25   distributors or manufacturers and that their failure to report suspicious orders they filled
26   could be brought to the DEA’s attention. As a result, Defendants had an incentive to
27
28
                                               -225-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 229 of 366 Page ID #:229




1    communicate with each other about the reporting of suspicious orders to ensure

2    consistency in their dealings with DEA.
3
           643. The desired consistency was achieved. As described below, none of the
4
5    Defendants reported suspicious orders and the flow of opioids continued unimpeded.

6                a.       Defendants Kept Careful Track of Prescribing Data and Knew
7                         About Suspicious Orders and Prescribers
8          644. The data that reveals and/or confirms the identity of each wrongful opioid
9
     distributor is hidden from public view in the DEA’s confidential ARCOS database. The
10
     data necessary to identify with specificity the transactions that were suspicious is in
11
12   possession of the Distributor and Marketing Defendants but has not been disclosed to the
13
     public.
14
           645. Publicly available information confirms that Distributor and Marketing
15
16   Defendants funneled far more opioids into communities across the United States than
17
     could have been expected to serve legitimate medical use, and ignored other red flags of
18
19   suspicious orders.      This information, along with the information known only to

20   Distributor and Marketing Defendants, would have alerted them to potentially suspicious
21
     orders of opioids.
22
23         646. This information includes the following facts:

24               a.       distributors and manufacturers have access to detailed transaction-
25                        level data on the sale and distribution of opioids, which can be
                          broken down by zip code, prescriber, and pharmacy and includes the
26                        volume of opioids, dose, and the distribution of other controlled and
27                        non-controlled substances;

28
                                                -226-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 230 of 366 Page ID #:230




1                b.    manufacturers make use of that data to target their marketing and, for
                       that purpose, regularly monitor the activity of doctors and
2                      pharmacies;
3
                 c.    manufacturers and distributors regularly visit pharmacies and doctors
4                      to promote and provide their products and services, which allows
                       them to observe red flags of diversion, as described in paragraphs
5
                       516, 568-569, and 673;
6
                 d.    Distributor Defendants together account for approximately 90% of all
7                      revenues from prescription drug distribution in the United States, and
8                      each plays such a large part in the distribution of opioids that its own
                       volume provides a ready vehicle for measuring the overall flow of
9                      opioids into a pharmacy or geographic area; and
10
                 e.    Marketing Defendants purchased chargeback data (in return for
11                     discounts to Distributor Defendants) that allowed them to monitor the
                       combined flow of opioids into a pharmacy or geographic area.
12
13         647. The conclusion that Defendants were on notice of the problems of abuse and

14   diversion follows inescapably from the fact that they flooded communities with opioids
15
     in quantities that they knew or should have known exceeded any legitimate market for
16
17   opioids-even the wider market for chronic pain.
18         648. At all relevant times, the Defendants were in possession of national, regional,
19
     state, and local prescriber- and patient-level data that allowed them to track prescribing
20
21   patterns over time. They obtained this information from data companies, including but
22   not limited to: IMS Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source
23
     Healthcare Analytics, NDS Health Information Services, Verispan, Quintiles, SDI
24
25   Health, ArcLight, Scriptline, Wolters Kluwer, and/or PRA Health Science, and all of their
26   predecessors or successors in interest (the “Data Vendors”).
27
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                                              -227-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 231 of 366 Page ID #:231




1                649. The Distributor Defendants developed “know your customer” questionnaires

2     and files. This information, compiled pursuant to comments from the DEA in 2006 and
3
      2007 was intended to help the Defendants identify suspicious orders or customers who
4
5     were likely to divert prescription opioids.156 The “know your customer” questionnaires

6     informed the Defendants of the number of pills that the pharmacies sold, how many non-
7
      controlled substances were sold compared to controlled substances, whether the
8
9     pharmacy buys from other distributors, the types of medical providers in the area,
10    including pain clinics, general practitioners, hospice facilities, cancer treatment facilities,
11
      among others, and these questionnaires put the recipients on notice of suspicious orders.
12
13               650. Defendants purchased nationwide, regional, state, and local prescriber- and

14    patient-level data from the Data Vendors that allowed them to track prescribing trends,
15
      identify suspicious orders, identify patients who were doctor shopping, identify pill mills,
16
17    etc. The Data Vendors’ information purchased by the Defendants allowed them to view,
18    analyze, compute, and track their competitors’ sales, and to compare and analyze market
19
      share information.157
20
21               651. IMS Health, for example, provided Defendants with reports detailing

22    prescriber behavior and the number of prescriptions written between competing products.
23
24
25   156 Suggested Questions a Distributor Should Ask Prior to Shipping Controlled Substances, Drug Enf’t Admin., Diversion Control Div.,
          https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf; Richard Widup, Jr., & Kathleen H. Dooley, Esq.,
26        Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and McGuireWoods LLC (Oct. 2010),
          https://www.mcguirewoods.com/news-resources/publications/lifesciences/product_diversion_beyond_pdma.pdf.
     157 A Verispan representative testified that the Distributor Defendants use the prescribing information to “drive market share.” Sorrell v. IMS Health
27        Inc., No. 10-779, 2011 WL 661712, *9-10 (Feb. 22, 2011).

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                                                                          -228-
                                                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 232 of 366 Page ID #:232




1                652. Similarly, Wolters Kluwer, an entity that eventually owned data mining

2     companies that were created by McKesson (Source) and Cardinal Health (ArcLight),
3
      provided the Defendants with charts analyzing the weekly prescribing patterns of
4
5     multiple physicians, organized by territory, regarding competing drugs, and analyzed the

6     market share of those drugs.158
7
                 653. This information allowed the Defendants to track and identify instances of
8
9     overprescribing. In fact, one of the Data Vendors’ experts testified that the Data Vendors’
10    information could be used to track, identify, report and halt suspicious orders of
11
      controlled substances.159
12
13               654. Defendants were, therefore, collectively aware of the suspicious orders that

14    flowed daily from their manufacturing and distribution facilities.
15
                 655. Defendants refused to identify, investigate and report suspicious orders to the
16
17    DEA when they became aware of the same despite their actual knowledge of drug
18    diversion rings. As described in detail below, Defendants refused to identify suspicious
19
      orders and diverted drugs despite the DEA issuing final decisions against distributors in
20
21    178 registrant actions between 2008 and 2012 and 117 recommended decisions in
22    registrant actions from The Office of Administrative Law Judges. These numbers include
23
24
25
     158 Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 705207, *467-471 (Feb. 22, 2011).
26   159 In Sorrell, expert Eugene “Mick” Kolassa testified, on behalf of the Data Vendor, that “a firm that sells narcotic analgesics was able to use prescriber-
          identifiable information to identify physicians that seemed to be prescribing an inordinately high number of prescriptions for their product.” Joint
27        Appendix in Sorrell v. IMS Health, No. 10-779, 2011 WL 687134, at *204 (Feb. 22, 2011).

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                                                                           -229-
                                                                        COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 233 of 366 Page ID #:233




1    seventy-six (76) actions involving orders to show cause and forty-one (41) actions

2    involving immediate suspension orders, all for failure to report suspicious orders.
3
           656. Sales representatives were also aware that the prescription opioids they were
4
5    promoting were being diverted, often with lethal consequences. As a sales representative

6    wrote on a public forum:
7
     Actions have consequences—so some patient gets Rx’d the 80mg OxyContin
8    when they probably could have done okay on the 20mg (but their doctor got “sold”
9    on the 80mg) and their teen son/daughter/child’s teen friend finds the pill bottle
     and takes out a few 80’s . . . next they’re at a pill party with other teens and some
10   kid picks out a green pill from the bowl... they go to sleep and don’t wake up
11   (because they don’t understand respiratory depression) Stupid decision for a teen
     to make . . . yes . . . but do they really deserve to die?
12
           657. Moreover, Defendants’ sales incentives rewarded sales representatives who
13
14   happened to have pill mills within their territories, enticing those representatives to look
15
     the other way even when their in-person visits to such clinics should have raised
16
17   numerous red flags. In one example, a pain clinic in South Carolina was diverting

18   massive quantities of OxyContin. People traveled to the clinic from towns as far as 100
19
     miles away to get prescriptions, the DEA’s diversion unit raided the clinic, and
20
21   prosecutors eventually filed criminal charges against the doctors. But Purdue’s sales

22   representative for that territory, Eric Wilson, continued to promote OxyContin sales at
23
     the clinic. He reportedly told another local physician that this clinic accounted for 40%
24
25   of the OxyContin sales in his territory. At that time, Wilson was Purdue’s top-ranked

26   sales representative. In response to news stories about this clinic, Purdue issued a
27
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                                               -230-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 234 of 366 Page ID #:234




1     statement, declaring that “if a doctor is intent on prescribing our medication

2     inappropriately, such activity would continue regardless of whether we contacted the
3
      doctor or not.”160
4
5               658. In another example, a Purdue sales manager informed her supervisors in 2009

6     about a suspected pill mill in Los Angeles, reporting over email that when she visited the
7
      clinic with her sales representative, “it was packed with a line out the door, with people
8
9     who looked like gang members,” and that she felt “very certain that this an organized
10    drug ring[.]”161 She wrote, “This is clearly diversion. Shouldn’t the DEA be contacted
11
      about this?” But her supervisor at Purdue responded that while they were “considering
12
13    all angles,” it was “really up to [the wholesaler] to make the report.”162 This pill mill was
14    the source of 1.1 million pills trafficked to Everett, Washington, a city of around 100,000
15
      people. Purdue waited until after the clinic was shut down in 2010 to inform the
16
17    authorities.
18              659. A Kadian prescriber guide discusses abuse potential of Kadian. It is full of
19
      disclaimers that Actavis has not done any studies on the topic and that the guide is “only
20
21    intended to assist you in forming your own conclusion.” However, the guide includes the
22    following statements: 1) “unique pharmaceutical formulation of KADIAN may offer
23
      some protection from extraction of morphine sulfate for intravenous use by illicit users,”
24
25
     160 Meier, supra note 14, at 298-300.
26   161 Harriet Ryan et al., More Than 1 Million OxyContin Pills Ended Up in the Hands of Criminals and Addicts. What the Drugmaker Knew, Los Angeles
          Time (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.
27   162 Id.

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                                                                        -231-
                                                                     COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 235 of 366 Page ID #:235




1    and 2) “KADIAN may be less likely to be abused by health care providers and illicit

2    users” because of “Slow onset of action,” “Lower peak plasma morphine levels than
3
     equivalent doses of other formulations of morphine,” “Long duration of action,” and
4
5    “Minimal fluctuations in peak to trough plasma levels of morphine at steady state.” (p. 1-

6    2). The guide is copyrighted by Actavis in 2007, before Actavis officially purchased
7
     Kadian from Alpharma [paragraph deleted from Second Amended Complaint].
8
9          660. Defendants’ obligation to report suspicious prescribing ran head-on into their

10   marketing strategy.    Defendants did identify doctors who were their most prolific
11
     prescribers, not to report them, but to market to them. It would make little sense to focus
12
13   on marketing to doctors who may be engaged in improper prescribing only to report them
14   to law enforcement, nor to report those doctors who drove Defendants’ sales.
15
           661. Defendants purchased data from IMS Health (now IQVIA) or other
16
17   proprietary sources to identify doctors to target for marketing and to monitor their own
18   and competitors’ sales. Marketing visits were focused on increasing, sustaining, or
19
     converting the prescriptions of the biggest prescribers, particularly through aggressive,
20
21   high frequency detailing visits.
22         662. For example, at a national sales meeting presentation in 2011, Actavis
23
     pressed its sales representatives to focus on its high prescribers: “To meet and exceed our
24
25   quota, we must continue to get Kadian scripts from our loyalists. MCOs will continue to
26   manage the pain products more closely. We MUST have new patient starts or we will fall
27
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                                              -232-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 236 of 366 Page ID #:236




1    back into ‘the big leak’. We need to fill the bucket faster than it leaks.” “The selling

2    message should reflect the opportunity and prescribing preferences of each account. High
3
     Kadian Writers / Protect and Grow/ Grow = New Patient Starts and Conversions.” In an
4
5    example of how new patients + a high volume physician can impact performance: “102%

6    of quota was achieved by just one high volume physician initiating Kadian on 2-3 new
7
     patients per week.”
8
9          663. This focus on marketing to the highest prescribers had two impacts. First, it

10   demonstrates that manufacturers were keenly aware of the doctors who were writing large
11
     quantities of opioids. But instead of investigating or reporting those doctors, Defendants
12
13   were singularly focused on maintaining, capturing, or increasing their sales.
14         664. Whenever examples of opioid diversion and abuse have drawn media
15
     attention, Purdue and other Marketing Defendants have consistently blamed “bad actors.”
16
17   For example, in 2001, during a Congressional hearing, Purdue’s attorney Howard Udell
18   answered pointed questions about how it was that Purdue could utilize IMS Health data
19
     to assess their marketing efforts but not notice a particularly egregious pill mill in
20
21   Pennsylvania run by a doctor named Richard Paolino. Udell asserted that Purdue was
22   “fooled” by the doctor: “The picture that is painted in the newspaper [of Dr. Paolino] is
23
     of a horrible, bad actor, someone who preyed upon this community, who caused untold
24
25
26
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                                              -233-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 237 of 366 Page ID #:237




1     suffering. And he fooled us all. He fooled law enforcement. He fooled the DEA. He

2     fooled local law enforcement. He fooled us.”163
3
                 665. But given the closeness with which Defendants monitored prescribing
4
5     patterns through IMS Health data, it is highly improbable that they were “fooled.” In fact,

6     a local pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic
7
      and alerted authorities. Purdue had the prescribing data from the clinic and alerted no
8
9     one. Indeed, a Purdue executive referred to Purdue’s tracking system and database as a
10    “gold mine” and acknowledged that Purdue could identify highly suspicious volumes of
11
      prescriptions.
12
13               666. As discussed below, Endo knew that Opana ER was being widely abused.

14    Yet, the New York Attorney General revealed, based on information obtained in an
15
      investigation into Endo, that Endo sales representatives were not aware that they had a
16
17    duty to report suspicious activity and were not trained on the company’s policies or duties
18    to report suspicious activity, and Endo paid bonuses to sales representatives for detailing
19
      prescribers who were subsequently arrested for illegal prescribing.
20
21               667. Sales representatives making in-person visits to such clinics were likewise

22    not fooled. But as pill mills were lucrative for the manufacturers and individual sales
23
      representatives alike, Marketing Defendants and their employees turned a collective blind
24
25
26
27   163 Meier, supra note 14, at 179.

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                                                  -234-
                                               COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 238 of 366 Page ID #:238




1    eye, allowing certain clinics to dispense staggering quantities of potent opioids and

2    feigning surprise when the most egregious examples eventually made the nightly news.
3
                 b.     Defendants Failed to Report Suspicious Orders or Otherwise Act
4                       to Prevent Diversion
5
           668. As discussed above, Defendants failed to report suspicious orders, prevent
6
     diversion, or otherwise control the supply of opioids following into communities across
7
8    America. Despite the notice described above, and in disregard of their duties, Defendants
9
     continued to pump massive quantities of opioids despite their obligations to control the
10
     supply, prevent diversion, report and take steps to halt suspicious orders.
11
12         669. Governmental agencies and regulators have confirmed (and in some cases
13
     Defendants have admitted) that Defendants did not meet their obligations and have
14
15   uncovered especially blatant wrongdoing.

16         670. For example, on January 5, 2017, McKesson entered into an Administrative
17
     Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil
18
19   penalty for, inter alia, failure to identify and report suspicious orders at its facilities in

20   Aurora, CO; Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland FL; Landover, MD; La
21
     Vista, NE; Livonia, MI; Methuen, MA; Santa Fe Springs, CA; Washington Courthouse,
22
23   OH; and West Sacramento, CA. McKesson admitted that, at various times during the

24   period from January 1, 2009 through the effective date of the Agreement (January 17,
25
     2017) it “did not identify or report to [the] DEA certain orders placed by certain
26
27
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                                               -235-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 239 of 366 Page ID #:239




1    pharmacies which should have been detected by McKesson as suspicious based on the

2    guidance contained in the DEA Letters.”
3
           671. McKesson further admitted that, during this time period, it “failed to maintain
4
5    effective controls against diversion of particular controlled substances into other than

6    legitimate medical, scientific and industrial channels by sales to certain of its customers
7
     in violation of the CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300 et
8
9    seq., at the McKesson Distribution Centers” including the McKesson Distribution Center
10   located in Washington Court House, Ohio. Due to these violations, McKesson agreed to
11
     a partial suspension of its authority to distribute controlled substances from certain of its
12
13   facilities some of which (including the one in Washington Courthouse, Ohio),
14   investigators found “were supplying pharmacies that sold to criminal drug rings.”
15
           672. Similarly, in 2017, the Department of Justice fined Mallinckrodt $35 million
16
17   for failure to report suspicious orders of controlled substances, including opioids, and for
18   violating recordkeeping requirements. The government alleged that “Mallinckrodt failed
19
     to design and implement an effective system to detect and report ‘suspicious orders’ for
20
21   controlled substances—orders that are unusual in their frequency, size, or other patterns
22   . . . [and] Mallinckrodt supplied distributors, and the distributors then supplied various
23
     U.S. pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills
24
25   without notifying DEA of these suspicious orders.”
26
27
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                                               -236-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 240 of 366 Page ID #:240




1          673. On December 23, 2016, Cardinal Health agreed to pay the United States $44

2    million to resolve allegations that it violated the Controlled Substances Act in Maryland,
3
     Florida and New York by failing to report suspicious orders of controlled substances,
4
5    including oxycodone, to the DEA.        In the settlement agreement, Cardinal Health

6    admitted, accepted, and acknowledged that it had violated the CSA between January 1,
7
     2009 and May 14, 2012 by failing to:
8
9                a.    “timely identify suspicious orders of controlled substances and inform
                       the DEA of those orders, as required by 21 C.F.R. §1301.74(b)”;
10
                 b.    “maintain effective controls against diversion of particular controlled
11
                       substances into other than legitimate medical, scientific, and industrial
12                     channels, as required by 21 C.F.R. §1301.74, including the failure to
                       make records and reports required by the CSA or DEA’s regulations
13
                       for which a penalty may be imposed under 21 U.S.C. §842(a)(5)”; and
14
                 c.    “execute, fill, cancel, correct, file with the DEA, and otherwise handle
15                     DEA ‘Form 222’ order forms and their electronic equivalent for
16                     Schedule II controlled substances, as required by 21 U.S.C. §828 and
                       21 C.F.R. Part 1305.”
17
           674. In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal
18
19   Health, as well as several smaller wholesalers, for numerous causes of action, including
20
     violations of the CSA, consumer credit and protection, and antitrust laws. Unsealed court
21
22   records from that case demonstrate that AmerisourceBergen, along with McKesson and

23   Cardinal Health, together shipped 423 million pain pills to West Virginia between 2007
24
     and 2012. AmerisourceBergen itself shipped 80.3 million hydrocodone pills and 38.4
25
26   million oxycodone pills during that time period. These quantities alone are sufficient to

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                                               -237-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 241 of 366 Page ID #:241




1    show that the Defendants failed to control the supply chain or to report and take steps to

2    halt suspicious orders. In 2016, AmerisourceBergen agreed to settle the West Virginia
3
     lawsuit for $16 million to the state; Cardinal Health settled for $20 million.
4
5           675. Thus, it is the Defendants themselves who have admitted that the Defendants,

6    acting in disregard of their duties, pumped massive quantities of opioids into communities
7
     around the country despite their obligations to control the supply, prevent diversions, and
8
9    report and take steps to halt suspicious orders. Defendants Delayed a Response to the
10   Opioid Crisis by Pretending to Cooperate with Law Enforcement
11
            676. When a manufacturer or distributor does not report or stop suspicious orders,
12
13   prescriptions for controlled substances may be written and dispensed to individuals who
14   abuse them or who sell them to others to abuse. This, in turn, fuels and expands the illegal
15
     market and results in opioid-related overdoses. Without reporting by those involved in
16
17   the supply chain, law enforcement may be delayed in taking action—or may not know to
18   take action at all.
19
            677. After being caught failing to comply with particular obligations at particular
20
21   facilities, Distributor Defendants made broad promises to change their ways and insisted
22   that they sought to be good corporate citizens. As part of McKesson’s 2008 Settlement
23
     with the DEA, McKesson claimed to have “taken steps to prevent such conduct from
24
25   occurring in the future,” including specific measures delineated in a “Compliance
26   Addendum” to the Settlement. Yet, in 2017, McKesson paid $150 million to resolve an
27
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                                               -238-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 242 of 366 Page ID #:242




1    investigation by the U.S. DOJ for again failing to report suspicious orders of certain

2    drugs, including opioids. Even though McKesson had been sanctioned in 2008 for failure
3
     to comply with its legal obligations regarding controlling diversion and reporting
4
5    suspicious orders, and even though McKesson had specifically agreed in 2008 that it

6    would no longer violate those obligations, McKesson continued to violate the laws in
7
     contrast to its written agreement not to do so.
8
9          678. More generally, the Distributor Defendants publicly portrayed themselves as

10   committed to working with law enforcement, opioid manufacturers, and others to prevent
11
     diversion of these dangerous drugs. For example, Defendant Cardinal claims that: “We
12
13   challenge ourselves to best utilize our assets, expertise and influence to make our
14   communities stronger and our world more sustainable, while governing our activities as
15
     a good corporate citizen and with a belief that doing ‘the right thing’ serves everyone.”
16
17   Defendant Cardinal likewise claims to “lead [its] industry in anti-diversion strategies to
18   help prevent opioids from being diverted for misuse or abuse.” Along the same lines, it
19
     claims to “maintain a sophisticated, state-of-the-art program to identify, block and report
20
21   to regulators those orders of prescription controlled medications that do not meet [its]
22   strict criteria.” Defendant Cardinal also promotes funding it provides for “Generation
23
     Rx,” which funds grants related to prescription drug misuse. A Cardinal executive
24
25   recently claimed that Cardinal uses “advanced analytics” to monitor its supply chain;
26
27
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                                               -239-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 243 of 366 Page ID #:243




1    Cardinal assured the public it was being “as effective and efficient as possible in

2    constantly monitoring, identifying, and eliminating any outside criminal activity.”
3
           679. Along the same lines, Defendant McKesson publicly claims that its
4
5    “customized analytics solutions track pharmaceutical product storage, handling and

6    dispensing in real time at every step of the supply chain process,” creating the impression
7
     that McKesson uses this tracking to help prevent diversion. Defendant McKesson has
8
9    also publicly stated that it has a “best-in-class controlled substance monitoring program
10   to help identify suspicious orders,” and claimed it is “deeply passionate about curbing the
11
     opioid epidemic in our country.”
12
13         680. Defendant AmerisourceBergen, too, has taken the public position that it is

14   “work[ing] diligently to combat diversion and [is] working closely with regulatory
15
     agencies and other partners in pharmaceutical and healthcare delivery to help find
16
17   solutions that will support appropriate access while limiting misuse of controlled
18   substances.”   A   company     spokeswoman       also   provided   assurance    that:   “At
19
     AmerisourceBergen, we are committed to the safe and efficient delivery of controlled
20
21   substances to meet the medical needs of patients.”
22         681. Moreover, in furtherance of their effort to affirmatively conceal their conduct
23
     and avoid detection, the Defendants, through their trade associations, HDMA and
24
25
26
27
28
                                              -240-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 244 of 366 Page ID #:244




1     NACDS, filed an amicus brief in Masters Pharmaceuticals, which made the following

2     statements:164
3
                         a.         “HDMA and NACDS members not only have statutory and
4                                   regulatory responsibilities to guard against diversion of controlled
5                                   prescription drugs, but undertake such efforts as responsible
                                    members of society.”
6
7                        b.         “Distributors take seriously their duty to report suspicious orders,
                                    utilizing both computer algorithms and human review to detect
8                                   suspicious orders based on the generalized information that is
9                                   available to them in the ordering process.”

10              682. Through the above statements made on their behalf by their trade

11
      associations, and other similar statements assuring their continued compliance with their
12
      legal obligations, the Defendants not only acknowledged that they understood their
13
14    obligations under the law, but they further affirmed that their conduct was in compliance
15
      with those obligations.
16
                683. Defendant Mallinckrodt similarly claims to be “committed . . . to fighting
17
18    opioid misuse and abuse,” and further asserts that: “In key areas, our initiatives go beyond
19
      what is required by law. We address diversion and abuse through a multidimensional
20
      approach that includes educational efforts, monitoring for suspicious orders of controlled
21
22    substances, . . . .”
23
                684. Other Marketing Defendants also misrepresented their compliance with their
24
25    legal duties and their cooperation with law enforcement. Purdue serves as a hallmark

26
     164 Brief for HDMA and NACDS, Masters Pharms., Inc. v. U.S. Drug Enf’t Admin., Case No. 15-1335, 2016 WL 1321983 (D.C. Cir. April 4, 2016), at
27        *3-4, *25.


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                                                                      -241-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 245 of 366 Page ID #:245




1     example of such wrongful conduct. Purdue deceptively and unfairly failed to report to

2     authorities illicit or suspicious prescribing of its opioids, even as it has publicly and
3
      repeatedly touted its “constructive role in the fight against opioid abuse,” including its
4
5     commitment to ADF opioids and its “strong record of coordination with law

6     enforcement.”165
7
                 685. At the heart of Purdue’s public outreach is the claim that it works hand-in-
8
9     glove with law enforcement and government agencies to combat opioid abuse and
10
      diversion. Purdue has consistently trumpeted this partnership since at least 2008, and the
11
      message of close cooperation is in virtually all of Purdue’s recent pronouncements in
12
13    response to the opioid abuse.
14
                 686. Touting the benefits of ADF opioids, Purdue’s website asserts: “[W]e are
15
      acutely aware of the public health risks these powerful medications create . . . . That’s
16
17    why we work with health experts, law enforcement, and government agencies on efforts
18
      to reduce the risks of opioid abuse and misuse . . . .”166 Purdue’s statement on “Opioids
19
20    Corporate Responsibility” likewise states that “[f]or many years, Purdue has committed

21    substantial resources to combat opioid abuse by partnering with . . . communities, law
22
      enforcement, and government.”167 And, responding to criticism of Purdue’s failure to
23
24
     165 Purdue, Setting The Record Straight On OxyContin’s FDA-Approved Label (May 5, 2016), http://www.purduepharma.com/news-media/get-the-
25        facts/setting-the-record-straight-on-oxycontins-fda-approved-label/; Purdue, Setting The Record Straight On Our Anti-Diversion Programs, (July 11,
          2016) http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-our-anti-diversion-programs/.
26   166 Purdue, Opioids with Abuse-Deterrent Properties, http://www.purduepharma.com/healthcare-professionals/responsible-use-of-opioids/opioids-with-
          abuse-deterrent-properties/.
27   167 Purdue, Opioids Corporate Responsibility, http://www.purduepharma.com/news-media/opioids-corporate-responsibility/.

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                                                                         -242-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 246 of 366 Page ID #:246




1     report suspicious prescribing to government regulatory and enforcement authorities, the

2     website similarly proclaims that Purdue “ha[s] a long record of close coordination with
3
      the DEA and other law enforcement stakeholders to detect and reduce drug
4
5     diversion.”168
6               687. These public pronouncements create the misimpression that Purdue is
7
      proactively working with law enforcement and government authorities nationwide to root
8
9     out drug diversion, including the illicit prescribing that can lead to diversion. It aims to
10
      distance Purdue from its past conduct in deceptively marketing opioids and make its
11
      current marketing seem more trustworthy and truthful.
12
13              688. Public statements by the Defendants and their associates created the false and
14
      misleading impression to regulators, prescribers, and the public that the Defendants
15
      rigorously carried out their legal duties, including their duty to report suspicious orders
16
17    and exercise due diligence to prevent diversion of these dangerous drugs, and further
18
      created the false impression that these Defendants also worked voluntarily to prevent
19
      diversion as a matter of corporate responsibility to the communities their business
20
21    practices would necessarily impact.
22
23
24
25
26   168 Purdue, Setting The Record Straight On Our Anti-Diversion Programs (July 11, 2016), http://www.purduepharma.com/news-media/get-the-
          facts/setting-the-record-straight-on-our-anti-diversion-programs/. Contrary to its public statements, Purdue seems to have worked behind the scenes
27        to push back against law enforcement.

28
                                                                         -243-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 247 of 366 Page ID #:247




1                c.    The National Retail Pharmacies Were on Notice of and
                       Contributed to Illegal Diversion of Prescription Opioids
2
           689. National retail pharmacy chains earned enormous profits by flooding the
3
4    country with prescription opioids. They were keenly aware of the oversupply of
5
     prescription opioids through the extensive data and information they developed and
6
     maintained as both distributors and dispensaries. Yet, instead of taking any meaningful
7
8    action to stem the flow of opioids into communities, they continued to participate in the
9
     oversupply and profit from it.
10
           690. Each of the National Retail Pharmacies does substantial business throughout
11
12   the United States. This business includes the distribution and dispensing of prescription
13
     opioids.
14
           691. The National Retail Pharmacies failed to take meaningful action to stop this
15
16   diversion despite their knowledge of it, and contributed substantially to the diversion
17
     problem.
18
           692. The National Retail Pharmacies developed and maintained extensive data on
19
20   opioids they distributed and dispensed. Through this data, National Retail Pharmacies
21
     had direct knowledge of patterns and instances of improper distribution, prescribing, and
22
23   use of prescription opioids in communities throughout the country, and in Plaintiff’s

24   community in particular. They used the data to evaluate their own sales activities and
25
     workforce. On information and belief, the National Retail Pharmacies also provided
26
27   Defendants with data regarding, inter alia, individual doctors in exchange for rebates or

28
                                             -244-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 248 of 366 Page ID #:248




1    other forms of consideration. The National Retail Pharmacies’ data is a valuable resource

2    that they could have used to help stop diversion, but failed to do so.
3
                 b.     The National Retail Pharmacies Have a Duty to Prevent
4                       Diversion
5
           693. Each participant in the supply chain of opioid distribution, including the
6
     National Retail Pharmacies, is responsible for preventing diversion of prescription
7
8    opioids into the illegal market by, among other things, monitoring, and reporting
9
     suspicious activity.
10
           694. The National Retail Pharmacies, like manufacturers and other distributors,
11
12   are registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA, pharmacy
13
     registrants are required to “provide effective controls and procedures to guard against
14
15   theft and diversion of controlled substances.” See 21 C.F.R. § 1301.71(a). In addition, 21

16   C.F.R. § 1306.04(a) states, “[t]he responsibility for the proper prescribing and dispensing
17
     of controlled substances is upon the prescribing practitioner, but a corresponding
18
19   responsibility rests with the pharmacist who fills the prescription.” Because pharmacies

20   themselves are registrants under the CSA, the duty to prevent diversion lies with the
21
     pharmacy entity, not the individual pharmacist alone.
22
23         695. The DEA, among others, has provided extensive guidance to pharmacies

24   concerning their duties to the public. The guidance advises pharmacies how to identify
25
     suspicious orders and other evidence of diversion.
26
27
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                                              -245-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 249 of 366 Page ID #:249




1          696. Suspicious pharmacy orders include orders of unusually large size, orders

2    that are disproportionately large in comparison to the population of a community served
3
     by the pharmacy, orders that deviate from a normal pattern and/or orders of unusual
4
5    frequency and duration, among others.

6          697. Additional types of suspicious orders include: (1) prescriptions written by a
7
     doctor who writes significantly more prescriptions (or in larger quantities or higher doses)
8
9    for controlled substances compared to other practitioners in the area; (2) prescriptions
10   which should last for a month in legitimate use, but are being refilled on a shorter basis;
11
     (3) prescriptions for antagonistic drugs, such as depressants and stimulants, at the same
12
13   time; (4) prescriptions that look “too good” or where the prescriber’s handwriting is too
14   legible; (5) prescriptions with quantities or doses that differ from usual medical usage;
15
     (6) prescriptions that do not comply with standard abbreviations and/or contain no
16
17   abbreviations; (7) photocopied prescriptions; or (8) prescriptions containing different
18   handwriting. Most of the time, these attributes are not difficult to detect and should be
19
     easily recognizable by pharmacies.
20
21         698. Suspicious pharmacy orders are red flags for if not direct evidence of

22   diversion.
23
           699. Other signs of diversion can be observed through data gathered, consolidated,
24
25   and analyzed by the National Retail Pharmacies themselves. That data allows them to
26   observe patterns or instances of dispensing that are potentially suspicious, of oversupply
27
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                                               -246-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 250 of 366 Page ID #:250




1    in particular stores or geographic areas, or of prescribers or facilities that seem to engage

2    in improper prescribing.
3
           700. According to industry standards, if a pharmacy finds evidence of prescription
4
5    diversion, the local Board of Pharmacy and DEA must be contacted.

6          701. Despite their legal obligations as registrants under the CSA, the National
7
     Retail Pharmacies allowed widespread diversion to occur—and they did so knowingly.
8
9          702. Performance metrics and prescription quotas adopted by the National Retail

10   Pharmacies for their retail stores contributed to their failure. Under CVS’s Metrics
11
     System, for example, pharmacists are directed to meet high goals that make it difficult, if
12
13   not impossible, to comply with applicable laws and regulations. There is no measurement
14   for pharmacy accuracy or customer safety. Moreover, the bonuses for pharmacists are
15
     calculated, in part, on how many prescriptions that pharmacist fills within a year. The
16
17   result is both deeply troubling and entirely predictable: opioids flowed out of National
18   Retail Pharmacies and into communities throughout the country. The policies remained
19
     in place even as the epidemic raged.
20
21         703. Upon information and belief, this problem was compounded by the

22   Pharmacies’ failure to adequately train their pharmacists and pharmacy technicians on
23
     how to properly and adequately handle prescriptions for opioid painkillers, including
24
25   what constitutes a proper inquiry into whether a prescription is legitimate, whether a
26   prescription is likely for a condition for which the FDA has approved treatments with
27
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                                               -247-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 251 of 366 Page ID #:251




1    opioids, and what measures and/or actions to take when a prescription is identified as

2    phony, false, forged, or otherwise illegal, or when suspicious circumstances are present,
3
     including when prescriptions are procured and pills supplied for the purpose of illegal
4
5    diversion and drug trafficking.

6          704. Upon information and belief, the National Retail Pharmacies also failed to
7
     adequately use data available to them to identify doctors who were writing suspicious
8
9    numbers of prescriptions and/or prescriptions of suspicious amounts of opioids, or to
10   adequately use data available to them to do statistical analysis to prevent the filling of
11
     prescriptions that were illegally diverted or otherwise contributed to the opioid crisis.
12
13         705. Upon information and belief, the National Retail Pharmacies failed to

14   analyze: (a) the number of opioid prescriptions filled by individual pharmacies relative
15
     to the population of the pharmacy's community; (b) the increase in opioid sales relative
16
17   to past years; (c) the number of opioid prescriptions filled relative to other drugs; and (d)
18   the increase in annual opioid sales relative to the increase in annual sales of other drugs.
19
           706. Upon information and belief, the National Retail Pharmacies also failed to
20
21   conduct adequate internal or external audits of their opioid sales to identify patterns
22   regarding prescriptions that should not have been filled and to create policies accordingly,
23
     or if they conducted such audits, they failed to take any meaningful action as a result.
24
25
26
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                                               -248-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 252 of 366 Page ID #:252




1          707. Upon information and belief, the National Retail Pharmacies also failed to

2    effectively respond to concerns raised by their own employees regarding inadequate
3
     policies and procedures regarding the filling of opioid prescriptions.
4
5          708. The National Retail Pharmacies were, or should have been, fully aware that

6    the quantity of opioids being distributed and dispensed by them was untenable, and in
7
     many areas patently absurd; yet, they did not take meaningful action to investigate or to
8
9    ensure that they were complying with their duties and obligations under the law with
10   regard to controlled substances.
11
                 c.    Multiple Enforcement Actions against the National Retail
12                     Pharmacies Confirms their Compliance Failures
13
           709. The National Retail Pharmacies have long been on notice of their failure to
14
15   abide by state and federal law and regulations governing the distribution and dispensing

16   of prescription opioids. Indeed, several of the National Retail Pharmacies have been
17
     repeatedly penalized for their illegal prescription opioid practices. Upon information and
18
19   belief, based upon the widespread nature of these violations, these enforcement actions

20   are the product of, and confirm, national policies and practices of the National Retail
21
     Pharmacies.
22
23                                       xiv.   CVS

24         710. CVS is one of the largest companies in the world, with annual revenue of

25   more than $150 billion. According to news reports, it manages medications for nearly 90
26
27
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                                              -249-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 253 of 366 Page ID #:253




1     million customers at 9,700 retail locations. CVS could be a force for good in connection

2     with the opioid crisis, but like other Defendants, CVS sought profits over people.
3
                 711. CVS is a repeat offender and recidivist: the company has paid fines totaling
4
5     over $40 million as the result of a series of investigations by the DEA and the United

6     States Department of Justice (“DOJ”). It nonetheless treated these fines as the cost of
7
      doing business and has allowed its pharmacies to continue dispensing opioids in
8
9     quantities significantly higher than any plausible medical need would require, and to
10    continue violating its recordkeeping and dispensing obligations under the CSA.
11
                 712. As recently as July 2017, CVS entered into a $5 million settlement with the
12
13    U.S. Attorney’s Office for the Eastern District of California regarding allegations that its
14    pharmacies failed to keep and maintain accurate records of Schedule II, III, IV, and V
15
      controlled substances.169
16
17               713. This fine was preceded by numerous others throughout the country.

18               714. In February 2016, CVS paid $8 million to settle allegations made by the DEA
19
      and the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their
20
21    duties under the CSA and filling prescriptions with no legitimate medical purpose.
22               715. In October 2016, CVS paid $600,000 to settle allegations by the DOJ that
23
      stores in Connecticut failed to maintain proper records in accordance with the CSA.
24
25
26
     169 Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle Alleged Violations of the Controlled Substance Act, U.S.
27        Dep’t of Just. (July 11, 2017), https://www.justice.gov/usao-edca/pr/cvs-pharmacy-inc-pays-5m-settle-alleged-violations-controlled-substance-act.

28
                                                                         -250-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 254 of 366 Page ID #:254




1          716. In September 2016, CVS entered into a $795,000 settlement with the

2    Massachusetts Attorney General wherein CVS agreed to require pharmacy staff to access
3
     the state’s prescription monitoring program website and review a patient’s prescription
4
5    history before dispensing certain opioid drugs.

6          717. In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations
7
     that 50 of its stores violated the CSA by filling forged prescriptions for controlled
8
9    substances—mostly addictive painkillers—more than 500 times between 2011 and 2014.
10         718. In August 2015, CVS entered into a $450,000 settlement with the U.S.
11
     Attorney’s Office for the District of Rhode Island to resolve allegations that several of its
12
13   Rhode Island stores violated the CSA by filling invalid prescriptions and maintaining
14   deficient records. The United States alleged that CVS retail pharmacies in Rhode Island
15
     filled a number of forged prescriptions with invalid DEA numbers, and filled multiple
16
17   prescriptions written by psychiatric nurse practitioners for hydrocodone, despite the fact
18   that these practitioners were not legally permitted to prescribe that drug. Additionally,
19
     the government alleged that CVS had recordkeeping deficiencies.
20
21         719. In May 2015, CVS agreed to pay a $22 million penalty following a DEA

22   investigation that found that employees at two pharmacies in Sanford, Florida, had
23
     dispensed prescription opioids, “based on prescriptions that had not been issued for
24
25   legitimate medical purposes by a health care provider acting in the usual course of
26   professional practice. CVS also acknowledged that its retail pharmacies had a
27
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                                               -251-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 255 of 366 Page ID #:255




1    responsibility to dispense only those prescriptions that were issued based on legitimate

2    medical need.”
3
           720. In September 2014, CVS agreed to pay $1.9 million in civil penalties to
4
5    resolve allegations it filled prescriptions written by a doctor whose controlled-substance

6    registration had expired.
7
           721. In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board
8
9    for improperly selling prescription narcotics in at least five locations in the Oklahoma
10   City metropolitan area.
11
           722. Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere
12
13   intentionally violated the CSA by filling prescriptions signed by prescribers with invalid
14   DEA registration numbers.
15
                                     xv.    Walgreens
16
           723. Walgreens is the second-largest pharmacy store chain in the United States
17
18   behind CVS, with annual revenue of more than $118 billion. According to its website,
19
     Walgreens operates more than 8,100 retail locations and filled 990 million prescriptions
20
21   on a 30-day adjusted basis in fiscal 2017.

22         724. Walgreens also has been penalized for serious and flagrant violations of the
23
     CSA. Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—
24
25   to resolve allegations that it committed an unprecedented number of recordkeeping and

26   dispensing violations of the CSA, including negligently allowing controlled substances
27
28
                                              -252-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 256 of 366 Page ID #:256




1    such as oxycodone and other prescription painkillers to be diverted for abuse and illegal

2    black market sales.
3
           725. The settlement resolved investigations into and allegations of CSA violations
4
5    in Florida, New York, Michigan, and Colorado that resulted in the diversion of millions

6    of opioids into illicit channels.
7
           726. Walgreens’ Florida operations at issue in this settlement highlight its
8
9    egregious conduct regarding diversion of prescription opioids. Walgreens’ Florida
10   pharmacies each allegedly ordered more than one million dosage units of oxycodone in
11
     2011—more than ten times the average amount.
12
13         727. They increased their orders over time, in some cases as much as 600% in the

14   space of just two years, including, for example, supplying a town of 3,000 with 285,800
15
     orders of oxycodone in a one-month period. Yet Walgreens corporate officers not only
16
17   turned a blind eye, but provided pharmacists with incentives through a bonus program
18   that compensated them based on the number of prescriptions filled at the pharmacy. In
19
     fact, corporate attorneys at Walgreens suggested, in reviewing the legitimacy of
20
21   prescriptions coming from pain clinics, that “if these are legitimate indicators of
22   inappropriate prescriptions perhaps we should consider not documenting our own
23
     potential noncompliance,” underscoring Walgreens’ attitude that profit outweighed
24
25   compliance with the CSA or the health of communities.
26
27
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                                             -253-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 257 of 366 Page ID #:257




1          728. Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

2    investigation into Walgreens’ distribution center in Jupiter, Florida, which was
3
     responsible for significant opioid diversion in Florida. According to the Order to Show
4
5    Cause, Defendant Walgreens’ corporate headquarters pushed to increase the number of

6    oxycodone sales to Walgreens’ Florida pharmacies, and provided bonuses for pharmacy
7
     employees based on number of prescriptions filled at the pharmacy in an effort to increase
8
9    oxycodone sales. In July 2010, Defendant Walgreens ranked all of its Florida stores by
10   number of oxycodone prescriptions dispensed in June of that year, and found that the
11
     highest-ranking store in oxycodone sales sold almost 18 oxycodone prescriptions per day.
12
13   All of these prescriptions were filled by the Jupiter Center.
14         729. Walgreens has also settled with a number of state attorneys general, including
15
     West Virginia ($575,000) and Massachusetts ($200,000).
16
17         730. The Massachusetts Attorney General’s Medicaid Fraud Division found that,

18   from 2010 through most of 2015, multiple Walgreens stores across the state failed to
19
     monitor the opioid use of some Medicaid patients who were considered high-risk.
20
21         731. In January 2017, an investigation by the Massachusetts Attorney General

22   found that some Walgreens pharmacies failed to monitor patients’ drug use patterns and
23
     didn’t use sound professional judgment when dispensing opioids and other controlled
24
25   substances—despite the context of soaring overdose deaths in Massachusetts. Walgreens
26   agreed to pay $200,000 and follow certain procedures for dispensing opioids.
27
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                                              -254-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 258 of 366 Page ID #:258




1         F.     The Opioids the Defendants Sold Migrated into Other Jurisdictions

2          732. As the demand for prescription opioids grew, fueled by their potency and

3
     purity, interstate commerce flourished: opioids moved from areas of high supply to areas
4
     of high demand, traveling across state lines in a variety of ways.
5
6          733. First, prescriptions written in one state may, under some circumstances, be

7
     filled in a different state. But even more significantly, individuals transported opioids
8
     from one jurisdiction specifically to sell them in another.
9
10         734. Outside of Atlanta, Georgia, four individuals pled guilty in 2015 to operating
11
     a pill mill; the U.S. attorney’s office found that most of the pain clinic’s customers came
12
     from other states, including North Carolina, Kentucky, Tennessee, Ohio, South Carolina,
13
14   and Florida.    Another investigation in Atlanta led to the 2017 conviction of two
15
     pharmacists who dispensed opioids to customers of a pill mill across from the pharmacy;
16
17   many of those customers were from other states, including Ohio and Alabama.

18         735. In yet another case, defendants who operated a pill mill in south Florida were
19
     tried in eastern Kentucky based on evidence that large numbers of customers transported
20
21   oxycodone back to the area for both use and distribution by local drug trafficking

22   organizations. As explained by the Sixth Circuit in its decision upholding the venue
23
     decision, “[d]uring its existence, the clinic generated over $10 million in profits. To earn
24
25   this sum required more business than the local market alone could provide. Indeed, only

26   about half of the [Pain Center of Broward]’s customers came from Florida. Instead, the
27
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                                               -255-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 259 of 366 Page ID #:259




1     clinic grew prosperous on a flow of out-of-state traffic, with prospective patients traveling

2     to the clinic from locations far outside Ft. Lauderdale, including from Ohio, Georgia, and
3
      Massachusetts.”170 The court further noted that the pill mill “gained massive financial
4
5     benefits by taking advantage of the demand for oxycodone by Kentucky residents.”171

6                736. The route from Florida and Georgia to Kentucky, Ohio, and West Virginia
7
      was so well traveled that it became known as the Blue Highway, a reference to the color
8
9     of the 30mg Roxicodone pills manufactured by Mallinckrodt. Eventually, as police began
10    to stop vehicles with certain out-of-state tags cruising north on I-75, the prescription
11
      tourists adapted. They rented cars just over the Georgia state line to avoid the telltale
12
13    out-of-state tag. If they were visiting multiple pill mills on one trip, they would stop at
14    FedEx between clinics to mail the pills home and avoid the risk of being caught with
15
      multiple prescriptions if pulled over. Or they avoided the roads altogether: Allegiant
16
17    Air, which offered several flights between Appalachia and Florida, was so popular with
18    drug couriers that it was nicknamed the “Oxy Express.”172
19
                 737. While the I-75 corridor was well utilized, prescription tourists also came from
20
21    other states. The director of the Georgia drugs and narcotics agency observed that visitors
22    to Georgia pill mills come from as far away as Arizona and Nebraska.
23
24
25   170 United States v. Elliott, 876 F.3d 855, 858 (6th Cir. 2017).
     171 Id. at 861.
26   172 Id.; see also Andrew Welsh-Huggins, States Take on ‘Tourists’ Trafficking Painkillers, Republican Herald (July 9, 2012). Note that Interstate 75 is
          also called as the Oxy Express; for example, the Peabody Award-winning documentary by that name focuses on the transport of prescription opioids
27        along I-75. https://www.youtube.com/watch?v=wGZEvXNqzkM.

28
                                                                          -256-
                                                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 260 of 366 Page ID #:260




1          738. Similar pipelines developed in other regions of the country. For example, the

2    I-95 corridor was another transport route for prescription pills. As the director of the
3
     Maine Drug Enforcement Agency explained, the oxycodone in Maine was coming up
4
5    extensively from Florida, Georgia and California. And according to the FBI, Michigan

6    plays an important role in the opioid epidemic in other states; opioids prescribed in
7
     Michigan are often trafficked down to West Virginia, Ohio, and Kentucky.
8
9          739. Along the West Coast, over a million pills were transported from the Lake

10   Medical pain clinic in Los Angeles and cooperating pharmacies to the City of Everett,
11
     Washington. Couriers drove up I-5 through California and Oregon, or flew from Los
12
13   Angeles to Seattle. The Everett-based dealer who received the pills from southern
14   California wore a diamond necklace in the shape of the West Coast states with a trail of
15
     green gemstones—the color of 80-milligram OxyContin—connecting Los Angeles and
16
17   Washington state.
18
19
20
21
22
23
24
25
         740.    Abundant evidence, thus, establishes that prescription opioids migrated
26
27   between cities, counties, and states. As a result, prescription data from any particular
28
                                             -257-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 261 of 366 Page ID #:261




1    jurisdiction does not capture the full scope of the misuse, oversupply and diversion

2    problem in that specific area. As the criminal prosecutions referenced above show, if
3
     prescription opioid pills were hard to get in one area, they migrated from another. The
4
5    manufacturers and distributors were fully aware of this phenomenon and profited from

6    it.
7
           G.        California-Specific Facts
8
                741. The Marketing Defendants all marketed their products and disseminated their
9
10   misrepresentations in the state of California. The Distributors Defendants all distributed
11
     opioids and failed to meet their regulatory obligations in California.
12
                6.      The Devastating Effects of the Opioid Crisis in California and
13
                        Plaintiff’s Community
14
                        a.    Marketing Defendants’ Implementation of Their Scheme in
15                            Plaintiff’s community
16
                742. Defendants’ marketing and compliance were driven by national policies,
17
18   plans, and procedures that were the same in Plaintiff’s community as they were across

19   the country. Therefore, upon information and belief, the conduct of the Defendants
20
     described above also occurred in Plaintiff’s community. This conduct also has been
21
22   confirmed, in material ways, by the activities observed in Plaintiff’s community and their

23   impact in its community.
24
                743. Not surprisingly, sales representatives from each of the Marketing
25
26   Defendants visited prescribers in Plaintiff’s community.

27
28
                                                    -258-
                                                 COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 262 of 366 Page ID #:262




1          744. Marketing Defendants succeeded. Each of Defendants’ drugs and/or their

2    generic equivalents have been prescribed in Plaintiff’s community.
3
           745. Meanwhile, individuals addicted to opioids in Plaintiff’s community, as
4
5    elsewhere in the nation, also continued to crush, snort, and inject abuse-deterrent

6    formulations of their drugs, including OxyContin and Opana ER.
7
           746. Teva’s and Insys’s misleading marketing of their branded opioids as
8
9    appropriate for non-cancer pain occurred in Plaintiff’s community, too.
10               b.   Defendants Breached Their Duties in California
11
           747. The Marketing Defendants’ misrepresentations prompted California health
12
     care providers to prescribe, patients to take, and payors to cover opioids for the treatment
13
14   of chronic pain. Through their marketing, the Marketing Defendants overcame barriers
15
     to widespread prescribing of opioids for chronic pain with deceptive messages about the
16
17   risks and benefits of long-term opioid use. Defendants compounded these harms by

18   supplying opioids beyond even what this expanded market could bear, funneling so many
19
     opioids into California communities, including tribal communities, that they could only
20
21   have been delivering opioids for diversion and illicit use.

22         748. Marketing Defendants’ deceptive marketing substantially contributed to an
23
     explosion in the use of opioids across the country.
24
25         749. The sharp increase in opioid use resulting from Defendants’ conduct has led

26   directly to a dramatic increase in opioid abuse, addiction, overdose, and death throughout
27
28
                                               -259-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 263 of 366 Page ID #:263




1    the United States, including in California. Representing the NIH’s National Institute of

2    Drug Abuse in hearings before the Senate Caucus on International Narcotics Control in
3
     May 2014, Dr. Nora Volkow explained that “aggressive marketing by pharmaceutical
4
5    companies” is “likely to have contributed to the severity of the current prescription drug

6    abuse problem.”
7
           750. In August 2016, then U.S. Surgeon General Vivek Murthy published an open
8
9    letter to physicians nationwide, enlisting their help in combating this “urgent health
10   crisis” and linking that crisis to deceptive marketing.      He wrote that the push to
11
     aggressively treat pain, and the “devastating” results that followed, had “coincided with
12
13   heavy marketing to doctors . . . . [m]any of [whom] were even taught—incorrectly—that
14   opioids are not addictive when prescribed for legitimate pain.”
15
           751. In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing
16
17   has quadrupled since 1999 and has increased in parallel with [opioid] overdoses.”
18   Patients receiving opioid prescriptions for chronic pain account for the majority of
19
     overdoses. For these reasons, the CDC concluded that efforts to rein in the prescribing
20
21   of opioids for chronic pain are critical “to reverse the epidemic of opioid drug overdose
22   deaths and prevent opioid-related morbidity.”
23
           752. By continuing to fill and failing to report suspicious orders of opioids,
24
25   Defendants have enabled an oversupply of opioids, which allows non-patients to become
26   exposed to opioids, and facilitates access to opioids for both patients who could no longer
27
28
                                              -260-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 264 of 366 Page ID #:264




1    access or afford prescription opioids and individuals struggling with addiction and

2    relapse. Defendants had financial incentives to distribute higher volumes and not to
3
     report suspicious orders or guard against diversion. Wholesale drug distributors acquire
4
5    pharmaceuticals, including opioids, from manufacturers at an established wholesale

6    acquisition cost. Discounts and rebates from this cost may be offered by manufacturers
7
     based on market share and volume. As a result, higher volumes may decrease the cost
8
9    per pill to distributors. Decreased cost per pill in turn, allows wholesale distributors to
10   offer more competitive prices, or alternatively, pocket the difference as additional profit.
11
     Either way, the increased sales volumes result in increased profits.
12
13           753. Individuals addicted to prescription opioids often transition to heroin due to

14   its lower cost, ready availability, and similar high.
15
             754. In fact, people who are addicted to prescription opioid painkillers are 40
16
17   times more likely to be addicted to heroin. The CDC identified addiction to prescription
18   pain medication as the strongest risk factor for heroin addiction. Roughly 80% of heroin
19
     users previously used prescription opioids.
20
21           755. A recent, even more deadly problem stemming from the prescription opioid

22   epidemic involves fentanyl—a powerful opioid prescribed for cancer pain or in hospital
23
     settings that has made its way into California communities.
24
25           756. In California, there were at least 1,882 opioid-related overdose deaths in

26   2017.
27
28
                                               -261-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 265 of 366 Page ID #:265




1          757. Across the state, California families and communities have faced

2    heartbreaking tragedies that cannot be adequately conveyed by the overdose statistics,
3
     and have faced them all too often.
4
5          758. Moreover, overdose deaths are only one consequence. Opioid addiction and

6    misuse also result in an increase in emergency room visits, emergency responses, and
7
     emergency medical technicians’ administration of naloxone, the antidote to opioid
8
9    overdose.
10         759. Injury and illness in California further extends beyond even overdoses and
11
     emergency response. According to the CDC, an increase in Hepatitis C in the United
12
13   States is directly tied to intravenous injection of opioids.
14         760. The deceptive marketing, overprescribing, and oversupply of opioids also
15
     had a significant detrimental impact on children in California. Young children have
16
17   access to opioids, nearly all of which were prescribed or supplied to adults in their
18   household, and children have themselves been injured or killed. Children of parents
19
     addicted to opiates, described as the “invisible victims of the epidemic” are flooding the
20
21   child protection system.
22         761. Even infants have not been immune to the impact of opioid abuse. There has
23
     been a dramatic rise in the number of infants who are born addicted to opioids due to
24
25   prenatal exposure and suffer from neonatal abstinence syndrome (“NAS,” also known as
26   neonatal opioid withdrawal syndrome, or “NOWS”). These infants painfully withdraw
27
28
                                               -262-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 266 of 366 Page ID #:266




1    from the drug once they are born, cry nonstop from the pain and stress of withdrawal,

2    experience convulsions or tremors, have difficulty sleeping and feeding, and suffer from
3
     diarrhea, vomiting, and low weight gain, among other serious symptoms. The long-term
4
5    developmental effects are still unknown, though research in other states has indicated that

6    these children are likely to suffer from continued, serious neurologic and cognitive
7
     impacts, including hyperactivity, attention deficit disorder, lack of impulse control, and
8
9    a higher risk of future addiction. When untreated, NAS can be life-threatening. In 2009,
10   more than 13,000 infants in the United States were born with NAS, or about one every
11
     hour.
12
13           762. California communities, including their healthcare providers, continue to

14   evolve new strategies for fighting this epidemic. The needs, however, far outpace the
15
     available funding.
16
17           763. A number of California communities had an opioid prescription rate

18   exceeding their population, and at times well in excess of their population, for extended
19
     periods of time.
20
21           764. Given this, and the additional red flags described below, Defendants should

22   have been on notice that the diversion of opioids was likely occurring in and around
23
     Plaintiff’s community, should have investigated, ceased filling orders for opioids, and
24
25   reported potential diversion to law enforcement.
26
27
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                                              -263-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 267 of 366 Page ID #:267




1          765. Publicly available data suggests distribution of opioids to Plaintiff’s

2    community exceeded reasonable medical use and that opioids were likely diverted into
3
     Plaintiff’s community.
4
5          766. Pursuant to the Court’s April 11, 2018 Order, the United States Government

6    has provided Plaintiff a subset of data from its ARCOS database. On information and
7
     belief, the ARCOS data disclosed to date addressed four opioid-related DEA drug codes:
8
9                -      oxycodone (DEA Drug Code 9143);
10               -      hydrocodone (DEA Drug Code 9193);
11
                 -      hydromorphone (DEA Drug Code 9150); and
12
13               -      fentanyl (DEA Drug Code 9801).
14         767. The ARCOS data disclosed to date does not include a number of drug codes
15
     relevant to this action, including, for example,
16
17               -      morphine (DEA Drug Code 9300);
18               -      oxymorphone (DEA Drug Code 9652);
19
                 -      carfentanil (DEA Drug Code 9743);
20
21               -      tapentadol (DEA Drug Code 9780); or
22               -      buprenorphine (DEA Drug Code 9064).
23
           768. The ARCOS data confirms that the Distributor Defendants were the primary
24
25   source of prescription opioids in Plaintiff’s community.
26
27
28
                                               -264-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 268 of 366 Page ID #:268




1          769. This volume of opioids, as reported in the currently available ARCOS data,

2    appears to understate the scope of the problem. The ARCOS data disclosed to date in this
3
     litigation only accounts for four opioid-related DEA drug codes.
4
5          770. This information, along with the information known only to Defendants,

6    would have alerted them to potentially suspicious orders of opioids in and affecting
7
     Plaintiff’s community.
8
9          771. The Plaintiff’s information and belief rests upon the following facts:

10               a.    pharmacies, wholesalers and manufacturers have access to detailed
11                     transaction-level data on the sale and distribution of opioids, which
                       can be broken down by zip code, prescriber, and pharmacy and
12                     includes the volume of opioids, dose, and the distribution of other
13                     controlled and non-controlled substances;
14               b.    manufacturers make use of that data to target their marketing and, for
15                     that purpose, regularly monitor the activity of doctors and
                       pharmacies;
16
                 c.    manufacturers and distributors regularly visit pharmacies and doctors
17                     to promote and provide their products and services, which allows
18                     them to observe red flags of diversion;
19               d.    As described above, Distributor Defendants were the primary source
20                     of prescription opioids in Plaintiff’s community, and each plays such
                       a large part in the distribution of opioids that its own volume
21                     provides a ready vehicle for measuring the overall flow of opioids
22                     into a pharmacy or geographic area;

23               e.    Several of the National Retail Pharmacies have been relatedly
                       penalized for their illegal prescription opioid practices, and the wide-
24                     spread nature of these violations suggests they are the product of
25                     national policies and practices, including the performance metrics
                       and prescription quotas adopted for their retail stores;
26
27
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                                             -265-
                                          COMPLAINT
 Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 269 of 366 Page ID #:269




 1                         f.         Mallinckrodt and Distributor Defendants have admitted to or been
                                      subject to enforcement actions for systemic failures in their
 2                                    compliance with controlled substances obligations, from which its
 3                                    actions in Plaintiff’s community would not have been exempt; and

 4                         g.         Mallinckrodt, and upon information and belief, the other Marketing
                                      Defendants purchased chargeback data (in return for discounts to
 5
                                      Distributor Defendants) that allowed them to monitor the combined
 6                                    flow of opioids into a pharmacy or geographic area and/or detailed
 7                                    information about prescribing habits from IMS Health.173

 8
                772.       Upon information and belief, based on their access to data from Data Vendors
 9
10 and Distributor Defendants, their frequent visits to doctors’ offices, and the high level of
11
     prescribing in Plaintiff’s community, Marketing Defendants would have been aware of
12
     doctors who were engaging in inappropriate and illicit prescribing of opioids and other
13
14 signs of diversion.
15
                            a.             By Dramatically Increasing Prescription Opioid Prescribing
16                                         and Use, Defendants Have Created a Public Health Crisis in
                                           Plaintiff’s Tribal Communities
17
18               773. As explained above, Marketing Defendants overcame barriers to widespread

19    prescribing of opioids for chronic pain with deceptive messages about the risks and
20
      benefits of long-term opioid use. All Defendants compounded these harms by supplying
21
22    opioids beyond even what this expanded market could bear, funneling so many opioids
23    into Plaintiff’s community that they could only have been delivering opioids for diversion
24
      and illicit use. The massive amount of opioids that flooded into Plaintiff’s Tribal
25
26
     173 See 2017 Mallinckrodt MOA at 5 (acknowledging that “[a]s part of their business model Mallinckrodt collects transaction information, referred to as
27        chargeback data, from their direct customers (distributors).”).

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                                                                               -266-
                                                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 270 of 366 Page ID #:270




1    communities as a result of Defendants’ wrongful conduct has devastated the Plaintiff and

2    its Tribal communities and patient population.
3
           774. FRTH’s mission is to protect and promote the health and welfare of Native
4
5    Americans and their families in its service area, and all people in FRTH’s Tribal

6    communities, to the highest level possible through a comprehensive system of culturally
7
     appropriate preventive and therapeutic services. In line with FRTH’s mission, FRTH has
8
9    taken proactive measures and implemented numerous positive changes to fight against
10   prescription opioid abuse in FRTH’s community. FRTH has spent millions of dollars in
11
     both outpatient treatment services, and in contracting with third parties for in-patient
12
13   rehabilitation programs, straining its limited purchased/referred care (“PRC”) dollars and
14   diverting resources and funding away from other programs to fight the opioid epidemic.
15
           775. FRTH has created and implemented programs specifically intended to deal
16
17   with the opioid epidemic for its patients, their families, and their Tribal communities. To
18   date, FRTH has implemented various lifestyle management and alternative therapy
19
     programs to combat the opioid epidemic, including: acupuncture; massage; chiropractic
20
21   services; aquatic therapy; and behavioral health classes. FRTH offers an array of patient
22   services, including an intensive outpatient substance abuse program, which was
23
     developed due to lack of this type of program to address the growing need in its patient
24
25   population.
26
27
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                                              -267-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 271 of 366 Page ID #:271




1          776. One of the measures FRTH implemented to address the growing need for

2    opioid-related services in its Tribal communities includes the expansion of FRTH’s
3
     Oroville clinic. The Oroville clinic is a 41,000 sq. ft. facility serving the greater Oroville
4
5    area. Built in 2000, and expanded in 2008, the clinic now provides expanded medical

6    and behavioral health services, as well as a pharmacy. The clinic also hosts Lab Services
7
     through Quest Diagnostic. The Oroville Clinic was expanded in part to respond to the
8
9    opioid crisis and the unmet needs of its patients facing opioid addiction.
10         777. Most recently, FRTH constructed a Wellness Center in 2018 in part in
11
     response to the growing opioid epidemic. The purpose of the Wellness Center is to
12
13   provide Native American patients and their families with drug-free options to address
14   their opioid addiction and pain management in order to avoid relapse. This holistic
15
     approach embraces mind, body and spirit. Acupuncture, chiropractic, massage therapy,
16
17   physical therapy, exercise and aquatic therapy will be used as a replacement for
18   medications. Coupled with the treatment and recovery program, the Wellness Center is
19
     being used as a long-term solution to this devastating problem.
20
21         778. The Wellness Center also hosts a program titled, Red Road to Wellbriety:

22   White Bison, Inc. This program is a “Best Practices” program for treatment and recovery
23
     specifically designed for American Indians and Alaska Native populations. Through the
24
25   Wellbriety program, the Wellness Center takes a culturally-based and holistic approach
26   to addiction treatment – including opioid addiction. This programs, promotes overall
27
28
                                               -268-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 272 of 366 Page ID #:272




1    health and employs the Medicine Wheel and 12 -step program approach to encourage

2    patients to treat their mind, spirit and body to overcome addiction, which is in line with
3
     traditional Native American traditions, customs and practices. The program assists
4
5    patients in acclimating back into the community after the treatment program, as well as

6    assisting the patients’ families, to promote continuing wellness and sobriety through
7
     after-care treatment and services.
8
9          779. FRTH has also increased its number of employees, providers, and contractors

10   to address the opioid crisis by adding: pain management physicians; primary care
11
     physicians; chiropractors; acupuncture providers; psychiatrists; as well as additional
12
13   administrative and support staff to address the increased need created by the epidemic.
14   FRTH has expanded and improved its pain management education, training, monitoring
15
     and security by providing additional pain management education and training
16
17   opportunities. FRTH has further increased access to specialty care, pharmacy education
18   and counseling for its patients. Additionally, FRTH has facilitated specific opioid
19
     addiction prevention treatment and recovery strategies, including: better diagnosis of
20
21   addiction; medical assistance therapy; naloxone use; and, strategies to address the root
22   causes of addiction. Finally, FRTH has implemented community education and outreach
23
     strategies to increase awareness, education, wellness, and offer prevention activities.
24
25         780. However necessary these additional employees and services are, they come

26   at an additional cost to FRTH. In the absence of this epidemic, FRTH could use those
27
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                                              -269-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 273 of 366 Page ID #:273




1    resources in other areas of need. As an Indian health service provider, the majority of

2    FRTH’s funding comes its Compact with IHS. IHS is severely underfunded. In 2017, the
3
     national average of spending per capita was $9,207, while IHS spent an average of $3,332
4
5    per capita. Due to this chronic underfunding, IHS is unable to adequately adjust funds to

6    meet the increased healthcare needs of our patient population. FRTH’s funding has not
7
     adequately increased to counteract the increased costs of the opioid epidemic. FRTH has
8
9    had to divert funding from other programs and services in order to deal with the opioid
10   crisis. This diversion is particularly harmful in the negative effect it has on the time and
11
     funding available to address other catastrophic diseases, such as diabetes and pulmonary
12
13   disease, that disproportionately affect Native American populations and are highly
14   prevalent in FRTH’s patient population. In the absence of this epidemic, FRTH could
15
     use those resources in other areas of critical need.
16
17         781. The opioid epidemic has severely impacted FRTH and its limited funding

18   with additional patients who require their expanded services. The funding and health
19
     crisis created by the opioid epidemic is exacerbated when FRTH and its patients face
20
21   other, cumulative crises. Most recently, the November 2018 Camp Fire devastated parts
22   of FRTH’s service area and displaced patients suffering from opioid addiction. The
23
     Camp Fire further strained FRTH’s resources and reduced the availability of certain care
24
25   options to its patients, including those related to opioid addiction. On information and
26
27
28
                                               -270-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 274 of 366 Page ID #:274




1    belief, FRTH believes that this Fire will only increase the need of its displaced opioid

2    dependent patients and further strain its IHS/PRC funding.
3
              782. FRTH, uniquely and significantly, has been damaged by the effects of the
4
5    Distributor Defendants’ opioid diversion. Native Americans in general are more likely

6    than other racial/ethnic groups in the United States to die from drug-induced deaths.
7
     FRTH has thus been adversely impacted by the effects of Defendants’ opioid diversion.
8
9             783. The impact of the opioid epidemic on Native American children has been

10   particularly hard. It has been reported that by 12th grade, nearly 13 percent of Native
11
     American teens have used OxyContin, one of the most deadly opioids when misused.
12
13   The use of OxyContin by Native American 12th-graders was about double the National
14   average.
15
              784. A 2014 study funded by the National Institute on Drug Abuse found a much
16
17   higher prevalence of drug and alcohol use in the Native American 8th and 10th graders
18   compared with national averages.       Native American students’ annual heroin and
19
     OxyContin use was about two to three times higher than the national averages in those
20
21   years.
22            785. The fact that Native American teens, including those in the communities
23
     served by FRTH, are easily able to obtain OxyContin at these alarming rates indicates the
24
25   degree to which opioid diversion has created an illegal secondary market for opioids.
26
27
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                                              -271-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 275 of 366 Page ID #:275




1          786. It has been reported that pregnant Native American women are up to 8.7

2    times more likely to be diagnosed with opioid dependency or abuse compared to the next
3
     highest race/ethnicity; and it has been reported that in some communities upwards of 1 in
4
5    10 pregnant Native American women have a diagnosis of opioid dependency or abuse.

6    On information and belief, these statistics apply similarly to pregnant women in the
7
     communities served by FRTH. Additional, costly supportive and health care services
8
9    will be needed for Native American children born to, and potentially removed by Child
10   Protective Services from, their opioid-addicted mothers for the rest of their lives.
11
           787. FRTH will need to divert additional resources to care for and support Native
12
13   American children harmed by the opioid impact for their lifetimes. Children born to
14   opioid addicted mothers suffer from opioid withdrawal and Neonatal Abstinence
15
     Syndrome (NAS). Many NAS infants have short-term developmental issues that affect
16
17   their ability to reach cognitive and motor-skills milestones. The long-term effects of
18   children born with NAS include vision and digestive issues as well as behavioral and
19
     cognitive issues. Due to the effect the opioid crisis has had on the communities FRTH
20
21   serves, FRTH has dealt with the effects of opioid use during pregnancy both directly and
22   indirectly, and will face increased costs to care for children impacted by the epidemic for
23
     many years to come.
24
25         788. Defendants’ opioid diversion diminishes FRTH’s ability to combat other

26   addiction-related and health and wellness issues by straining its limited resources;
27
28
                                              -272-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 276 of 366 Page ID #:276




1    decreases productivity; increases poverty; and consequently, requires greater

2    expenditures by FRTH in treating opioid-addicted patients and their families in its Tribal
3
     communities.
4
5    H.     The Defendants Conspired To Engage In The Wrongful Conduct
            Complained Of Herein and Intended To Benefit Both Independently and
6           Jointly From Their Conspiracy
7
           1.     Conspiracy Among Marketing Defendants
8
           789. The Marketing Defendants agreed among themselves to set up, develop, and
9
10   fund an unbranded promotion and marketing network to promote the use of opioids for
11   the management of pain in order to mislead physicians, patients, health care providers,
12
     and health care payors through misrepresentations and omissions regarding the
13
14   appropriate uses, risks, and safety of opioids, to increase sales, revenue, and profit from
15   their opioid products.
16
           790. This interconnected and interrelated network relied on the Marketing
17
18   Defendants’ collective use of unbranded marketing materials, such as KOLs, scientific
19   literature, CMEs, patient education materials, and Front Groups developed and funded
20
     collectively by the Marketing Defendants intended to mislead consumers and medical
21
22   providers of the appropriate uses, risks, and safety of opioids.
23         791. The Marketing Defendants’ collective marketing scheme to increase opioid
24
     prescriptions, sales, revenues and profits centered around the development, the
25
26   dissemination, and reinforcement of nine false propositions: (1) that addiction is rare
27
28
                                               -273-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 277 of 366 Page ID #:277




1    among patients taking opioids for pain; (2) that addiction risk can be effectively managed;

2    (3) that symptoms of addiction exhibited by opioid patients are actually symptoms of an
3
     invented condition dubbed “pseudoaddiction”; (4) that withdrawal is easily managed;
4
5    (5) that increased dosing presents no significant risks; (6) that long-term use of opioids

6    improves function; (7) that the risks of alternative forms of pain treatment are greater than
7
     the adverse effects of opioids; (8) that use of time-released dosing prevents addiction;
8
9    and (9) that abuse-deterrent formulations provide a solution to opioid abuse.
10         792. The Marketing Defendants knew that none of these propositions is true and
11
     that there was no evidence to support them.
12
13         793. Each Marketing Defendant worked individually and collectively to develop

14   and actively promulgate these nine false propositions in order to mislead physicians,
15
     patients, health care providers, and healthcare payors regarding the appropriate uses,
16
17   risks, and safety of opioids.
18         794. What is particularly remarkable about the Marketing Defendants’ effort is the
19
     seamless method in which the Marketing Defendants joined forces to achieve their
20
21   collective goal: to persuade consumers and medical providers of the safety of opioids,
22   and to hide their actual risks and dangers. In doing so, the Marketing Defendants
23
     effectively built a new—and extremely lucrative—opioid marketplace for their select
24
25   group of industry players.
26
27
28
                                               -274-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 278 of 366 Page ID #:278




1          795. The Marketing Defendants’ unbranded promotion and marketing network

2    was a wildly successful marketing tool that achieved marketing goals that would have
3
     been impossible to have been met by a single or even a handful of the network’s distinct
4
5    corporate members.

6          796. For example, the network members pooled their vast marketing funds and
7
     dedicated them to expansive and normally cost-prohibitive marketing ventures, such as
8
9    the creation of Front Groups. These collaborative networking tactics allowed each
10   Marketing Defendant to diversify its marketing efforts, all the while sharing any risk and
11
     exposure, financial and/or legal, with other Marketing Defendants.
12
13         797. The most unnerving tactic utilized by the Marketing Defendants’ network,

14   was their unabashed mimicry of the scientific method of citing “references” in their
15
     materials. In the scientific community, cited materials and references are rigorously
16
17   vetted by objective unbiased and disinterested experts in the field, scientific method, and
18   an unfounded theory or proposition would, or should, never gain traction.
19
           798. Marketing Defendants put their own twist on the scientific method: they
20
21   worked together to manufacture wide support for their unfounded theories and
22   propositions involving opioids. Due to their sheer numbers and resources, the Marketing
23
     Defendants were able to create a false consensus through their materials and references.
24
25         799. An illustrative example of the Marketing Defendants’ utilization of this tactic

26   is the wide promulgation of the Porter & Jick Letter, which declared the incidence of
27
28
                                              -275-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 279 of 366 Page ID #:279




1    addiction “rare” for patients treated with opioids. The authors had analyzed a database

2    of hospitalized patients who were given opioids in a controlled setting to ease suffering
3
     from acute pain. These patients were not given long-term opioid prescriptions or
4
5    provided opioids to administer to themselves at home, nor was it known how frequently

6    or infrequently and in what doses the patients were given their narcotics. Rather, it
7
     appears the patients were treated with opioids for short periods of time under in-hospital
8
9    doctor supervision.
10         800. Nonetheless, Marketing Defendants widely and repeatedly cited this letter as
11
     proof of the low addiction risk in connection with taking opioids in connection with
12
13   taking opioids despite its obvious shortcomings. Marketing Defendants’ egregious
14   misrepresentations based on this letter included claims that less than one percent of opioid
15
     users became addicted.
16
17         801. Marketing Defendants’ collective misuse of the Porter & Jick Letter helped

18   the opioid manufacturers convince patients and healthcare providers that opioids were
19
     not a concern. The enormous impact of Marketing Defendants’ misleading amplification
20
21   of this letter was well documented in another letter published in the NEJM on June, 1,
22   2017, describing the way the one-paragraph 1980 letter had been irresponsibly cited and
23
     in some cases “grossly misrepresented.” In particularly, the authors of this letter
24
25   explained:
26   [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
27   and uncritically cited as evidence that addiction was rare with long-term opioid
28
                                               -276-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 280 of 366 Page ID #:280




1    therapy. We believe that this citation pattern contributed to the North American
     opioid crises by helping to shape a narrative that allayed prescribers’ concerns
2    about the risk of addiction associated with long-term opioid therapy . . .
3
           802. By knowingly misrepresenting the appropriate uses, risks, and safety of
4
     opioids, the Marketing Defendants committed overt acts in furtherance of their
5
6    conspiracy.
7
           2.      Conspiracy Among All Defendants
8
           803. In addition, and on an even broader level, all Defendants took advantage of
9
10   the industry structure, including end-running its internal checks and balances, to their
11   collective advantage. Defendants agreed among themselves to increasing the supply of
12
     opioids and fraudulently increasing the quotas that governed the manufacture and supply
13
14   of prescription opioids. Defendants did so to increase sales, revenue, and profit from their
15   opioid products.
16
           804. The interaction and length of the relationships between and among the
17
18   Defendants reflects a deep level of interaction and cooperation between Defendants in a
19   tightly knit industry. The Marketing and Distributor Defendants were not two separate
20
     groups operating in isolation or two groups forced to work together in a closed system.
21
22   The Defendants operated together as a united entity, working together on multiple fronts,
23   to engage in the unlawful sale of prescription opioids.
24
25
26
27
28
                                               -277-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 281 of 366 Page ID #:281




1          805. Defendants collaborated to expand the opioid market in an interconnected

2    and interrelated network in the following ways, as set forth more fully below, including,
3
     for example, membership in the Healthcare Distribution Alliance (“HDA”).
4
5          806. Defendants utilized their membership in the HDA and other forms of

6    collaboration to form agreements about their approach to their duties under the CSA to
7
     report suspicious orders. The Defendants overwhelmingly agreed on the same
8
9    approach—to fail to identify, report or halt suspicious opioid orders, and fail to prevent
10   diversion. Defendants’ agreement to restrict reporting provided an added layer of
11
     insulation from DEA scrutiny for the entire industry as Defendants were thus collectively
12
13   responsible for each other’s compliance with their reporting obligations. Defendants were
14   aware, both individually and collectively aware of the suspicious orders that flowed
15
     directly from Defendants’ facilities.
16
17         807. Defendants knew that their own conduct could be reported by other

18   Defendants and that their failure to report suspicious orders they filled could be brought
19
     to the DEA’s attention. As a result, Defendants had an incentive to communicate with
20
21   each other about the reporting or suspicious orders to ensure consistency in their dealings
22   with DEA.
23
           808. The Defendants also worked together to ensure that the opioid quotas allowed
24
25   by the DEA remained artificially high and ensured that suspicious orders were not
26
27
28
                                                -278-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 282 of 366 Page ID #:282




1    reported to the DEA in order to ensure that the DEA had not basis for refusing to increase

2    or decrease production quotas due to diversion.
3
           809. The desired consistency, and collective end goal was achieved. Defendants
4
5    achieved blockbuster profits through higher opioid sales by orchestrating the unimpeded

6    flow of opioids.
7
     I.      Statutes Of Limitations Are Tolled and Defendants Are Estopped From
8            Asserting Statutes Of Limitations As Defenses
9
            1.    Continuing Conduct
10
           810. Plaintiff contends they continue to suffer harm from the unlawful actions by
11
12   the Defendants.
13         811. The continued tortious and unlawful conduct by the Defendants causes a
14
     repeated or continuous injury. The damages have not occurred all at once but have
15
16   continued to occur and have increased as time progresses. The tort is not completed nor
17   have all the damages been incurred until the wrongdoing ceases. The wrongdoing and
18
     unlawful activity by Defendants has not ceased. The conduct causing the damages
19
20   remains unabated.
21         2.     Equitable Estoppel and Fraudulent Concealment
22
           812. Defendants are equitably estopped from relying upon a statute of limitations
23
24   defense because they undertook active efforts to deceive Plaintiff and to purposefully

25   conceal their unlawful conduct and fraudulently assure the public, including the State,
26
     the Plaintiff, and Plaintiff’s community, that they were undertaking efforts to comply
27
28
                                              -279-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 283 of 366 Page ID #:283




1    with their obligations under the state and federal controlled substances laws, all with the

2    goal of protecting their registered manufacturer or distributor status in the State and to
3
     continue generating profits.    Notwithstanding the allegations set forth above, the
4
5    Defendants affirmatively assured the public, including the State, the Plaintiff, and

6    Plaintiff’s community, that they are working to curb the opioid epidemic.
7
           813. The Defendants were deliberate in taking steps to conceal their conspiratorial
8
9    behavior and active role in the deceptive marketing and the oversupply of opioids through
10   overprescribing and suspicious sales, all of which fueled the opioid epidemic.
11
           814. As set forth herein, the Marketing Defendants deliberately worked through
12
13   Front Groups purporting to be patient advocacy and professional organizations, through
14   public relations companies hired to work with the Front Groups and through paid KOLs
15
     to secretly control messaging, influence prescribing practices and drive sales. The
16
17   Marketing Defendants concealed their role in shaping, editing, and approving the content
18   of prescribing guidelines, informational brochures, KOL presentations and other false
19
     and misleading materials addressing pain management and opioids that were widely
20
21   disseminated to regulators, prescribers and the public at large. They concealed the
22   addictive nature and dangers associated with opioid use and denied blame for the
23
     epidemic attributing it instead solely to abuse and inappropriate prescribing. They
24
25   manipulated scientific literature and promotional materials to make it appear that
26   misleading statements about the risks, safety and superiority of opioids were actually
27
28
                                              -280-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 284 of 366 Page ID #:284




1    accurate, truthful, and supported by substantial scientific evidence. Through their public

2    statements, omissions, marketing, and advertising, the Marketing Defendants’ deceptions
3
     deprived Plaintiff of actual or implied knowledge of facts sufficient to put Plaintiff on
4
5    notice of potential claims.

6          815. Defendants also concealed from Plaintiff the existence of Plaintiff’s claims
7
     by hiding their lack of cooperation with law enforcement and affirmatively seeking to
8
9    convince the public that their legal duties to report suspicious sales had been satisfied
10   through public assurances that they were working to curb the opioid epidemic. They
11
     publicly portrayed themselves as committed to working diligently with law enforcement
12
13   and others to prevent diversion of these dangerous drugs and curb the opioid epidemic,
14   and they made broad promises to change their ways insisting they were good corporate
15
     citizens. These repeated misrepresentations misled regulators, prescribers and the public,
16
17   including Plaintiff, and deprived Plaintiff of actual or implied knowledge of facts
18   sufficient to put Plaintiff on notice of potential claims.
19
           816. Plaintiff did not discover the nature, scope and magnitude of Defendants’
20
21   misconduct, and its full impact on Plaintiff, and could not have acquired such knowledge
22   earlier through the exercise of reasonable diligence.
23
           817. The Marketing Defendants’ campaign to misrepresent and conceal the truth
24
25   about the opioid drugs that they were aggressively pushing in the State and in Plaintiff’s
26
27
28
                                                -281-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 285 of 366 Page ID #:285




1    community deceived the medical community, consumers, the State, and Plaintiff’s

2    community.
3
           818. Defendants intended that their actions and omissions would be relied upon,
4
5    including by Plaintiff and Plaintiff’s community. Plaintiff and Plaintiff’s community did

6    not know and did not have the means to know the truth, due to Defendants’ actions and
7
     omissions.
8
9          819. The Plaintiff and Plaintiff’s community reasonably relied on Defendants’

10   affirmative statements regarding their purported compliance with their obligations under
11
     the law and consent orders.
12
13                J.    Facts Pertaining to Punitive Damages
14         820. As set forth above, Defendants acted deliberately to increase sales of, and
15
     profits from, opioid drugs. The Marketing Defendants knew there was no support for
16
17   their claims that addiction was rare, that addiction risk could be effectively managed, that

18   signs of addiction were merely “pseudoaddiction,” that withdrawal is easily managed,
19
     that higher doses pose no significant additional risks, that long-term use of opioids
20
21   improves function, or that time-release or abuse-deterrent formulations would prevent

22   addiction or abuse. Nonetheless, they knowingly promoted these falsehoods in order to
23
     increase the market for their addictive drugs.
24
25         821. All of the Defendants, moreover, knew that large and suspicious quantities

26   of opioids were being poured into communities throughout the United States, yet, despite
27
28
                                               -282-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 286 of 366 Page ID #:286




1    this knowledge, took no steps to report suspicious orders, control the supply of opioids,

2    or otherwise prevent diversion. Indeed as described above, Defendants acted in concert
3
     together to maintain high levels of quotas for their products and to ensure that suspicious
4
5    orders would not be reported to regulators.

6          822. Defendants’ conduct was so willful and deliberate that it continued in the face
7
     of numerous enforcement actions, fines, and other warnings from state and local
8
9    governments and regulatory agencies. Defendants paid their fines, made promises to do
10   better, and continued on with their marketing and supply schemes. This ongoing course
11
     of conduct knowingly, deliberately and repeatedly threatened and accomplished harm and
12
13   risk of harm to public health and safety, and large scale economic loss to communities
14   and government liabilities across the country.
15
           823. Defendants’ actions demonstrated both malice and also aggravated and
16
17   egregious fraud. Defendants engaged in the conduct alleged herein with a conscious
18   disregard for the rights and safety of other persons, even though that conduct had a great
19
     probability of causing substantial harm.         The Marketing Defendants’ fraudulent
20
21   wrongdoing was done with a particularly gross and conscious disregard.
22         7.     The Marketing Defendants Persisted in Their Fraudulent Scheme
23                Despite Repeated Admonitions, Warnings, and Even Prosecutions
24         824. So determined were the Marketing Defendants to sell more opioids that they
25
     simply ignored multiple admonitions, warnings and prosecutions. These governmental
26
27   and regulatory actions included:

28
                                              -283-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 287 of 366 Page ID #:287




1                  a.   FDA Warnings to Janssen Failed to Deter Janssen’s Misleading
                        Promotion of Duragesic
2
           825. On February 15, 2000, the FDA sent Janssen a letter concerning the
3
4    dissemination of “homemade” promotional pieces that promoted the Janssen drug
5
     Duragesic in violation of the Federal Food, Drug, and Cosmetic Act. In a subsequent
6
     letter, dated March 30, 2000, the FDA explained that the “homemade” promotional pieces
7
8    were “false or misleading because they contain misrepresentations of safety information,
9
     broaden Duragesic’s indication, contain unsubstantiated claims, and lack fair balance.”
10
     The March 30, 2000 letter detailed numerous ways in which Janssen’s marketing was
11
12   misleading.
13
           826. The letter did not stop Janssen. On September 2, 2004, the U.S. Department
14
15   of Health and Human Services (“HHS”) sent Janssen a warning letter concerning

16   Duragesic due to “false or misleading claims about the abuse potential and other risks of
17
     the drug, and . . . unsubstantiated effectiveness claims for Duragesic,” including,
18
19   specifically, “suggesting that Duragesic has a lower potential for abuse compared to other

20   opioid products.” The September 2, 2004 letter detailed a series of unsubstantiated, false,
21
     or misleading claims.
22
23         827. One year later, Janssen was still at it. On July 15, 2005, the FDA issued a

24   public health advisory warning doctors of deaths resulting from the use of Duragesic and
25
     its generic competitor, manufactured by Mylan N.V. The advisory noted that the FDA
26
27   had been “‘examining the circumstances of product use to determine if the reported

28
                                              -284-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 288 of 366 Page ID #:288




1    adverse events may be related to inappropriate use of the patch’” and noted the possibility

2    “that patients and physicians might be unaware of the risks” of using the fentanyl
3
     transdermal patch, which is a potent opioid analgesic approved only for chronic pain in
4
5    opioid-tolerant patients that could not be treated by other drugs.

6                b.     Governmental Action, Including Large Monetary Fines, Failed to
7                       Stop Cephalon from Falsely Marketing Actiq for Off-Label Uses
8          828. On September 29, 2008, Cephalon finalized and entered into a corporate
9
     integrity agreement with the Office of the Inspector General of HHS and agreed to pay
10
     $425 million in civil and criminal penalties for its off-label marketing of Actiq and two
11
12   other drugs (Gabitril and Provigil). According to a DOJ press release, Cephalon had
13
     trained sales representatives to disregard restrictions of the FDA-approved label,
14
15   employed sales representatives and healthcare professionals to speak to physicians about

16   off-label uses of the three drugs and funded CME to promote off-label uses.
17
           829. Notwithstanding letters, an FDA safety alert, DOJ and state investigations,
18
19   and the massive settlement, Cephalon has continued its deceptive marketing strategy.

20               c.     FDA Warnings Did Not Prevent Cephalon from Continuing
21                      False and Off-Label Marketing of Fentora

22         830. On September 27, 2007, the FDA issued a public health advisory to address

23   numerous reports that patients who did not have cancer or were not opioid tolerant had
24
     been prescribed Fentora, and death or life-threatening side effects had resulted. The FDA
25
26   warned: “Fentora should not be used to treat any type of short-term pain.” Indeed, FDA
27
28
                                              -285-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 289 of 366 Page ID #:289




1    specifically denied Cephalon’s application, in 2008, to broaden the indication of Fentora

2    to include treatment of non-cancer breakthrough pain and use in patients who were not
3
     already opioid-tolerant.
4
5          831. Flagrantly disregarding the FDA’s refusal to broaden the indication for

6    Fentora, Cephalon nonetheless marketed Fentora beyond its approved indications. On
7
     March 26, 2009, the FDA warned Cephalon against its misleading advertising of Fentora
8
9    (“Warning Letter”). The Warning Letter described a Fentora Internet advertisement as
10   misleading because it purported to broaden “the indication for Fentora by implying that
11
     any patient with cancer who requires treatment for breakthrough pain is a candidate for
12
13   Fentora . . . when this is not the case.” It further criticized Cephalon’s other direct
14   Fentora advertisements because they did not disclose the risks associated with the drug.
15
           832. Despite this warning, Cephalon continued to use the same sales tactics to
16
17   push Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published
18   an insert in Pharmacy Times titled “An Integrated Risk Evaluation and Mitigation
19
     Strategy (REMS) for FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral
20
21   Transmucosal Fentanyl Citrate).”      Despite the repeated warnings of the dangers
22   associated with the use of the drugs beyond their limited indication, as detailed above,
23
     the first sentence of the insert states: “It is well recognized that the judicious use of
24
25   opioids can facilitate effective and safe management of chronic pain.”
26
27
28
                                             -286-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 290 of 366 Page ID #:290




1                d.     A Guilty Plea and a Large Fine Did Not Deter Purdue from
                        Continuing Its Fraudulent Marketing of OxyContin
2
           833. In May 2007, Purdue and three of its executives pled guilty to federal charges
3
4    of misbranding OxyContin in what the company acknowledged was an attempt to mislead
5
     doctors about the risk of addiction. Purdue was ordered to pay $600 million in fines and
6
     fees. In its plea, Purdue admitted that its promotion of OxyContin was misleading and
7
8    inaccurate, misrepresented the risk of addiction and was unsupported by science.
9
     Additionally, Michael Friedman the company’s president, pled guilty to a misbranding
10
     charge and agreed to pay $19 million in fines; Howard R. Udell, Purdue’s top lawyer,
11
12   also pled guilty and agreed to pay $8 million in fines; and Paul D. Goldenheim, its former
13
     medical director, pled guilty as well and agreed to pay $7.5 million in fines.
14
           834. Nevertheless, even after the settlement, Purdue continued to pay doctors on
15
16   speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and
17
     fund seemingly neutral organizations to disseminate the message that opioids were non-
18
19   addictive as well as other misrepresentations. At least until early 2018, Purdue continued

20   to deceptively market the benefits of opioids for chronic pain while diminishing the
21
     associated dangers of addiction. After Purdue made its guilty plea in 2007, it assembled
22
23   an army of lobbyists to fight any legislative actions that might encroach on its business.

24   Between 2006 and 2015, Purdue and other painkiller producers, along with their
25
     associated nonprofits, spent nearly $900 million dollars on lobbying and political
26
27   contributions—eight times what the gun lobby spent during that period.

28
                                              -287-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 291 of 366 Page ID #:291




1                8.     Repeated Admonishments and Fines Did Not Stop Defendants
                        from Ignoring Their Obligations to Control the Supply Chain
2                       and Prevent Diversion
3
             835. Defendants were repeatedly admonished and even fined by regulatory
4
     authorities, but continued to disregard their obligations to control the supply chain of
5
6    dangerous opioids and to institute controls to prevent diversion.
7
             836. In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi
8
     described Defendants’ industry as “out of control,” stating that “[w]hat they wanna do, is
9
10   do what they wanna do, and not worry about what the law is. And if they don’t follow
11
     the law in drug supply, people die. That’s just it. People die.” He further explained
12
     that:
13
14   JOE RANNAZZISI: The three largest distributors are Cardinal Health, McKesson,
15   and AmerisourceBergen. They control probably 85 or 90 percent of the drugs
     going downstream.
16
     [INTERVIEWER]: You know the implication of what you’re saying, that these big
17   companies knew that they were pumping drugs into American communities that
18   were killing people.
19   JOE RANNAZZISI: That’s not an implication, that’s a fact. That’s exactly what
20   they did.

21           837. Another DEA veteran similarly stated that these companies failed to make

22   even a “good faith effort” to “do the right thing.” He further explained that “I can tell
23
     you with 100 percent accuracy that we were in there on multiple occasions trying to get
24
25   them to change their behavior. And they just flat out ignored us.”
26
27
28
                                              -288-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 292 of 366 Page ID #:292




1          838. Government actions against the Defendants with respect to their obligations

2    to control the supply chain and prevent diversion include:
3
                 a.    On April 24, 2007, the DEA issued an Order to Show Cause and
4                      Immediate Suspension Order against the AmerisourceBergen
5                      Orlando, Florida distribution center (“Orlando Facility”) alleging
                       failure to maintain effective controls against diversion of controlled
6                      substances. On June 22, 2007, AmerisourceBergen entered into a
7                      settlement that resulted in the suspension of its DEA registration;
8                b.    On November 28, 2007, the DEA issued an Order to Show Cause and
                       Immediate Suspension Order against the Cardinal Health Auburn,
9
                       Washington Distribution Center (“Auburn Facility”) for failure to
10                     maintain effective controls against diversion of hydrocodone;
11               c.    On December 5, 2007, the DEA issued an Order to Show Cause and
12                     Immediate Suspension Order against the Cardinal Health Lakeland,
                       Florida Distribution Center (“Lakeland Facility”) for failure to
13                     maintain effective controls against diversion of hydrocodone;
14
                 d.    On December 7, 2007, the DEA issued an Order to Show Cause and
15                     Immediate Suspension Order against the Cardinal Health
16                     Swedesboro, New Jersey Distribution Center (“Swedesboro
                       Facility”) for failure to maintain effective controls against diversion
17                     of hydrocodone;
18               e.    On January 30, 2008, the DEA issued an Order to Show Cause
19                     against the Cardinal Health Stafford, Texas Distribution Center
                       (“Stafford Facility”) for failure to maintain effective controls against
20                     diversion of hydrocodone;
21
                 f.    On September 30, 2008, Cardinal Health entered into a Settlement
22                     and Release Agreement and Administrative Memorandum of
23                     Agreement with the DEA related to its Auburn, Lakeland,
                       Swedesboro and Stafford Facilities. The document also referenced
24                     allegations by the DEA that Cardinal failed to maintain effective
25                     controls against the diversion of controlled substances at its
                       distribution facilities located in McDonough, Georgia (“McDonough
26                     Facility”), Valencia, California (“Valencia Facility”) and Denver,
27                     Colorado (“Denver Facility”);

28
                                             -289-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 293 of 366 Page ID #:293




1                g.     On February 2, 2012, the DEA issued an Order to Show Cause and
                        Immediate Suspension Order against the Cardinal Health’s Lakeland
2                       Facility for failure to maintain effective controls against diversion of
3                       oxycodone; and

4                h.     On December 23, 2016, Cardinal Health agreed to pay a $44 million
                        fine to the DEA to resolve the civil penalty portion of the
5
                        administrative action taken against its Lakeland Facility.
6
           839. McKesson’s conscious and deliberate disregard of its obligations was
7
8    especially flagrant.    On May 2, 2008, McKesson Corporation entered into an
9    Administrative Memorandum of Agreement (“2008 McKesson MOA”) with the DEA
10
     which provided that McKesson would “maintain a compliance program designed to
11
12   detect and prevent the diversion of controlled substances, inform DEA of suspicious
13   orders required by 21 C.F.R. § 1301.74(b), and follow the procedures established by its
14
     Controlled Substance Monitoring Program.”
15
16         840. Despite its 2008 agreement with DEA, McKesson continued to fail to report

17   suspicious orders between 2008 and 2012 and did not fully implement or follow the
18
     monitoring program it agreed to. It failed to conduct adequate due diligence of its
19
20   customers, failed to keep complete and accurate records in the CSMP files maintained
21   for many of its customers and bypassed suspicious order reporting procedures set forth
22
     in the CSMP. It failed to take these actions despite its awareness of the great probability
23
24   that its failure to do so would cause substantial harm.
25         841. On January 5, 2017, McKesson Corporation entered into an Administrative
26
     Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil
27
28
                                              -290-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 294 of 366 Page ID #:294




1    penalty for violation of the 2008 MOA as well as failure to identify and report suspicious

2    orders at its facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL,
3
     Landover MD, La Vista NE, Livonia MI, Methuen MA, Santa Fe Springs CA,
4
5    Washington Courthouse OH and West Sacramento CA. McKesson’s 2017 agreement

6    with DEA documents that McKesson continued to breach its admitted duties by “fail[ing]
7
     to properly monitor its sales of controlled substances and/or report suspicious orders to
8
9    DEA, in accordance with McKesson’s obligations.”
10         842. As The Washington Post and 60 Minutes recently reported, DEA staff
11
     recommended a much larger penalty than the $150 million ultimately agreed to for
12
13   McKesson’s continued and renewed breach of its duties, as much as a billion dollars, and
14   delicensing of certain facilities. A DEA memo outlining the investigative findings in
15
     connection with the administrative case against 12 McKesson distribution centers
16
17   included in the 2017 Settlement stated that McKesson “[s]upplied controlled substances
18   in support of criminal diversion activities”; “[i]gnored blatant diversion”; had a “[p]attern
19
     of raising thresholds arbitrarily”; “[f]ailed to review orders or suspicious activity”; and
20
21   “[i]gnored [the company’s] own procedures designed to prevent diversion.”
22         843. On December 17, 2017, CBS aired an episode of 60 Minutes featuring
23
     Assistant Special Agent Schiller, who described McKesson as a company that killed
24
25   people for its own financial gain and blatantly ignored the CSA requirement to report
26   suspicious orders:
27
28
                                               -291-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 295 of 366 Page ID #:295




1     DAVID SCHILLER: If they would stayed in compliance with their authority and
      held those that they’re supplying the pills to, the epidemic would be nowhere near
2     where it is right now. Nowhere near.
3
      ***
4
      They had hundreds of thousands of suspicious orders they should have reported,
5     and they didn’t report any. There’s not a day that goes by in the pharmaceutical
6     world, in the McKesson world, in the distribution world, where there’s not
      something suspicious. It happens every day.
7
      [INTERVIEWER:] And they had none.
8
9     DAVID SCHILLER: They weren’t reporting any. I mean, you have to understand
      that, nothing was suspicious?174
10
11              844. Following the 2017 settlement, McKesson shareholders made a books and

12    records request of the company. According to a separate action pending on their behalf,
13
      the Company’s records show that the Company’s Audit Committee failed to monitor
14
15    McKesson’s information reporting system to assess the state of the Company’s

16    compliance with the CSA and McKesson’s 2008 Settlements. More particularly, the
17
      shareholder action alleges that the records show that in October 2008, the Audit
18
19    Committee had an initial discussion of the 2008 Settlements and results of internal
20    auditing, which revealed glaring omissions; specifically:
21
                         a.         some customers had “not yet been assigned thresholds in the system
22                                  to flag large shipments of controlled substances for review”;
23
                         b.         “[d]ocumentation evidencing new customer due diligence was
24                                  incomplete”;
25
26
     174 Bill Whitaker, Whistleblowers: DEA Attorneys Went Easy on McKesson, the Country’s Largest Drug Distributor, CBS News (Dec. 17, 2017),
27        https://www.cbsnews.com/news/whistleblowers-deaattorneys-went-easy-on-mckesson-the-countrys-largest-drug-distributor/.

28
                                                                      -292-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 296 of 366 Page ID #:296




1               c.     “documentation supporting the company’s decision to change
                       thresholds for existing customers was also incomplete”; and
2
                d.     Internal Audit “identified opportunities to enhance the Standard
3
                       Operating Procedures.”
4
           845. Yet, instead of correcting these deficiencies, after that time, for a period of
5
6    more than four years, the Audit Committee failed to address the CSMP or perform any

7    more audits of McKesson’s compliance with the CSA or the 2008 Settlements, the
8
     shareholder action’s description of McKesson’s internal documents reveals. During that
9
10   period, McKesson’s Audit Committee failed to inquire whether the Company was in
11   compliance with obligations set forth in those agreements and with the controlled
12
     substances regulations more generally. It was only in January 2013 that the Audit
13
14   Committee received an Internal Audit report touching on these issues.
15         846. In short, McKesson, was “neither rehabilitated nor deterred by the 2008
16
     [agreement],” as a DEA official working on the case noted. Quite the opposite, “their
17
18   bad acts continued and escalated to a level of egregiousness not seen before.” According
19   to statements of “DEA investigators, agents and supervisors who worked on the
20
     McKesson case” reported in the Washington Post, “the company paid little or no attention
21
22   to the unusually large and frequent orders placed by pharmacies, some of them knowingly
23   supplying the drug rings.” “Instead, the DEA officials said, the company raised its own
24
     self-imposed limits, known as thresholds, on orders from pharmacies and continued to
25
26   ship increasing amounts of drugs in the face of numerous red flags.”
27
28
                                             -293-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 297 of 366 Page ID #:297




1          847. Since at least 2002, Purdue has maintained a database of health care providers

2    suspected of inappropriately prescribing OxyContin or other opioids. Physicians could
3
     be added to this database based on observed indicators of illicit prescribing such as
4
5    excessive numbers of patients, cash transactions, patient overdoses, and unusual

6    prescribing of the highest-strength pills (80 mg OxyContin pills or “80s,” as they were
7
     known on the street, were a prime target for diversion). Purdue claims that health care
8
9    providers added to the database no longer were detailed, and that sales representatives
10   received no compensation tied to these providers’ prescriptions.
11
           848. Yet, Purdue failed to cut off these providers’ opioid supply at the pharmacy
12
13   level—meaning Purdue continued to generate sales revenue from their prescriptions—
14   and failed to report these providers to state medical boards or law enforcement. Purdue’s
15
     former senior compliance officer acknowledged in an interview with the Los Angeles
16
17   Times that in five years of investigating suspicious pharmacies, the company never
18   stopped the supply of its opioids to a pharmacy, even where Purdue employees personally
19
     witnessed the diversion of its drugs.
20
21         849. The same was true of prescribers. For example, as discussed above, despite

22   Purdue’s knowledge of illicit prescribing from one Los Angeles clinic which its district
23
     manager called an “organized drug ring” in 2009, Purdue did not report its suspicions
24
25   until long after law enforcement shut it down and not until the ring prescribed more than
26   1.1 million OxyContin tablets.
27
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                                                -294-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 298 of 366 Page ID #:298




1          850. The New York Attorney General found that Purdue placed 103 New York

2    health care providers on its “No-Call” List between January 1, 2008 and March 7, 2015,
3
     and yet that Purdue’s sales representatives had detailed approximately two-thirds of these
4
5    providers, some quite extensively, making more than a total of 1,800 sales calls to their

6    offices over a six-year period.
7
           851. The New York Attorney General similarly found that Endo knew, as early as
8
9    2011, that Opana ER was being abused in New York, but certain sales representatives
10   who detailed New York health care providers testified that they did not know about any
11
     policy or duty to report problematic conduct. The New York Attorney General further
12
13   determined that Endo detailed health care providers who were subsequently arrested or
14   convicted for illegal prescribing of opioids a total of 326 times, and these prescribers
15
     collectively wrote 1,370 prescriptions for Opana ER (although the subsequent criminal
16
17   charges at issue did not involve Opana ER).
18         852. As all of the governmental actions against the Marketing Defendants and
19
     against all the Defendants shows, Defendants knew that their actions were unlawful, and
20
21   yet deliberately refused to change their practices because compliance with their legal
22   obligations would have decreased their sales and their profits.
23
     II.   Facts Pertaining to Claims Under Racketeer-Influenced and Corrupt
24          Organizations (“RICO”) Act
25
26
27
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                                              -295-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 299 of 366 Page ID #:299




1                A.       The Opioid Marketing Enterprise

2                         1.        The Common Purpose and Scheme of the Opioid Marketing
                                    Enterprise
3
4                853. Knowing that their products were highly addictive, ineffective and unsafe for

5     the treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO
6
      Marketing Defendants175 formed an association-in-fact enterprise and engaged in a
7
8     scheme to unlawfully increase their profits and sales, and grow their share of the
9     prescription painkiller market, through repeated and systematic misrepresentations about
10
      the safety and efficacy of opioids for treating long-term chronic pain.
11
12               854. In order to unlawfully increase the demand for opioids, the RICO Marketing

13    Defendants formed an association-in-fact enterprise (the “Opioid Marketing Enterprise”)
14
      with the “Front Groups” and KOLs described above.                                                           Through their personal
15
16    relationships, the members of the Opioid Marketing Enterprise had the opportunity to
17    form and take actions in furtherance of the Opioid Marketing Enterprise’s common
18
      purpose. The RICO Marketing Defendants’ substantial financial contribution to the
19
20    Opioid Marketing Enterprise, and the advancement of opioids-friendly messaging, fueled
21    the U.S. opioids epidemic.
22
                 855. The RICO Marketing Defendants, through the Opioid Marketing Enterprise,
23
24    concealed the true risks and dangers of opioids from the medical community and the
25
26
     175 The RICO Marketing Defendants referred to in this section are those named in the First and Second Claims for Relief under 28 U.S.C. § 1964(c),
27        including Purdue, Cephalon, Janssen, Endo, and Mallinckrodt.

28
                                                                         -296-
                                                                      COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 300 of 366 Page ID #:300




1    public, including Plaintiff, and made misleading statements and misrepresentations about

2    opioids that downplayed the risk of addiction and exaggerated the benefits of opioid use.
3
     The misleading statements included: (1) that addiction is rare among patients taking
4
5    opioids for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of

6    addiction exhibited by opioid patients are actually symptoms of an invented condition the
7
     RICO Marketing Defendants named “pseudoaddiction”; (4) that withdrawal is easily
8
9    managed; (5) that increased dosing present no significant risks; (6) that long-term use of
10   opioids improves function; (7) that the risks of alternative forms of pain treatment are
11
     greater than the adverse effects of opioids; (8) that use of time-released dosing prevents
12
13   addiction; and (9) that abuse-deterrent formulations provide a solution to opioid abuse.
14         856. The scheme devised, implemented and conducted by the RICO Marketing
15
     Defendants was a common course of conduct designed to ensure that the RICO Marketing
16
17   Defendants unlawfully increased their sales and profits through concealment and
18   misrepresentations about the addictive nature and effective use of the RICO Marketing
19
     Defendants’ drugs. The RICO Marketing Defendants, the Front Groups, and the KOLs
20
21   acted together for a common purpose and perpetuated the Opioid Marketing Enterprise’s
22   scheme, including through the unbranded promotion and marketing network as described
23
     above.
24
25         857. There was regular communication between the RICO Marketing Defendants,

26   Front Groups and KOLs, in which information was shared, misrepresentations were
27
28
                                              -297-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 301 of 366 Page ID #:301




1    coordinated, and payments were exchanged. Typically, the coordination, communication

2    and payment occurred, and continues to occur, through the repeated and continuing use
3
     of the wires and mail in which the RICO Marketing Defendants, Front Groups, and KOLs
4
5    share information regarding overcoming objections and resistance to the use of opioids

6    for chronic pain. The RICO Marketing Defendants, Front Groups and KOLs functioned
7
     as a continuing unit for the purpose of implementing the Opioid Marketing Enterprise’s
8
9    scheme and common purpose, and each agreed and took actions to hide the scheme and
10   continue its existence.
11
           858. At all relevant times, the Front Groups were aware of the RICO Marketing
12
13   Defendants’ conduct, were knowing and willing participants in and beneficiaries of that
14   conduct. Each Front Group also knew, but did not disclose, that the other Front Groups
15
     were engaged in the same scheme, to the detriment of consumers, prescribers, and the
16
17   Plaintiff. But for the Opioid Marketing Enterprise’s unlawful fraud, the Front Groups
18   would have had incentive to disclose the deceit by the RICO Marketing Defendants and
19
     the Opioid Marketing Enterprise to their members and constituents. By failing to disclose
20
21   this information, Front Groups perpetuated the Opioid Marketing Enterprise’s scheme
22   and common purpose, and reaped substantial benefits.
23
           859. At all relevant times, the KOLs were aware of the RICO Marketing
24
25   Defendants’ conduct, were knowing and willing participants in that conduct, and reaped
26   benefits from that conduct. The RICO Marketing Defendants selected KOLs solely
27
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                                             -298-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 302 of 366 Page ID #:302




1    because they favored the aggressive treatment of chronic pain with opioids. The RICO

2    Marketing Defendants’ support helped the KOLs become respected industry experts.
3
     And, as they rose to prominence, the KOLs falsely touted the benefits of using opioids to
4
5    treat chronic pain, repaying the RICO Marketing Defendants by advancing their

6    marketing goals. The KOLs also knew, but did not disclose, that the other KOLS and
7
     Front Groups were engaged in the same scheme, to the detriment of consumers,
8
9    prescribers, and the Plaintiff. But for the Opioid Marketing Enterprise’s unlawful
10   conduct, the KOLs would have had incentive to disclose the deceit by the RICO
11
     Marketing Defendants and the Opioid Marketing Enterprise, and to protect their patients
12
13   and the patients of other physicians. By failing to disclose this information, KOLs
14   furthered the Opioid Marketing Enterprise’s scheme and common purpose, and reaped
15
     substantial benefits.
16
17         860. As public scrutiny and media coverage focused on how opioids ravaged

18   communities in California and throughout the United States, the Front Groups and KOLS
19
     did not challenge the RICO Marketing Defendants’ misrepresentations, seek to correct
20
21   their previous misrepresentations, terminate their role in the Opioid Marketing
22   Enterprise, nor disclose publicly that the risks of using opioids for chronic pain
23
     outweighed their benefits and were not supported by medically acceptable evidence.
24
25         861. The RICO Marketing Defendants, Front Groups and KOLs engaged in

26   certain discrete categories of activities in furtherance of the common purpose of the
27
28
                                             -299-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 303 of 366 Page ID #:303




1    Opioid Marketing Enterprise. As described herein, the Opioid Marketing Enterprise’s

2    conduct in furtherance of the common purpose of the Opioid Marketing Enterprise
3
     involved: (1) misrepresentations regarding the risk of addiction and safe use of
4
5    prescription opioids for long-term chronic pain (described in detail above); (2) lobbying

6    to defeat measures to restrict over-prescription; (3) efforts to criticize or undermine CDC
7
     guidelines; and (4) efforts to limit prescriber accountability.
8
9          862. In addition to disseminating misrepresentations about the risks and benefits

10   of opioids, the Opioid Marketing Enterprise also furthered its common purpose by
11
     criticizing or undermining CDC Guideline. Members of the Opioid Marketing Enterprise
12
13   criticized or undermined the CDC Guideline, which represented “an important step—and
14   perhaps the first major step from the federal government—toward limiting opioid
15
     prescriptions for chronic pain.”
16
17         863. Several Front Groups, including the U.S. Pain Foundation and the AAPM,

18   criticized the draft guidelines in 2015, arguing that the “CDC slides presented on
19
     Wednesday were not transparent relative to process and failed to disclose the names,
20
21   affiliation, and conflicts of interest of the individuals who participated in the construction
22   of these guidelines.”
23
           864. The AAPM criticized the prescribing guidelines in 2016, through its
24
25   immediate past president, stating “that the CDC guideline makes disproportionately
26
27
28
                                               -300-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 304 of 366 Page ID #:304




1    strong recommendations based upon a narrowly selected portion of the available clinical

2    evidence.”
3
           865. The RICO Marketing Defendants alone could not have accomplished the
4
5    purpose of the Opioid Marketing Enterprise without the assistance of the Front Groups

6    and KOLs, who were perceived as “neutral” and more “scientific” than the RICO
7
     Marketing Defendants themselves. Without the work of the Front Groups and KOLs in
8
9    spreading misrepresentations about opioids, the Opioid Marketing Enterprise could not
10   have achieved its common purpose.
11
           866. The impact of the Opioid Marketing Enterprise’s scheme is still in place—
12
13   i.e., the opioids continue to be prescribed and used for chronic pain throughout the area
14   of Plaintiff’s community and the epidemic continues to injure Plaintiff, and consume the
15
     resources of Plaintiff’s community.
16
17         867. As a result, it is clear that the RICO Marketing Defendants, the Front Groups,

18   and the KOLs were each willing participants in the Opioid Marketing Enterprise, had a
19
     common purpose and interest in the object of the scheme, and functioned within a
20
21   structure designed to effectuate the Enterprise’s purpose.
22                2.   The Conduct of the Opioid Marketing Enterprise violated Civil
23                     RICO
24         868. From approximately the late 1990s to the present, each of the RICO
25
     Marketing Defendants exerted control over the Opioid Marketing Enterprise and
26
27
28
                                              -301-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 305 of 366 Page ID #:305




1    participated in the operation or management of the affairs of the Opioid Marketing

2    Enterprise, directly or indirectly, in the following ways:
3
                 a.     Creating and providing a body of deceptive, misleading and
4                       unsupported medical and popular literature about opioids that
5                       (i) understated the risks and overstated the benefits of long-term use;
                        (ii) appeared to be the result of independent, objective research; and
6                       (iii) was thus more likely to be relied upon by physicians, patients,
7                       and payors;
8                b.     Creating and providing a body of deceptive, misleading and
                        unsupported electronic and print advertisements about opioids that
9
                        (i) understated the risks and overstated the benefits of long-term use;
10                      (ii) appeared to be the result of independent, objective research; and
                        (iii) was thus more likely to be relied upon by physicians, patients,
11
                        and payors;
12
                 c.     Creating and providing a body of deceptive, misleading and
13                      unsupported sales and promotional training materials about opioids
14                      that (i) understated the risks and overstated the benefits of long-term
                        use; (ii) appeared to be the result of independent, objective research;
15                      and (iii) was thus more likely to be relied upon by physicians,
16                      patients, and payors;
17               d.     Creating and providing a body of deceptive, misleading and
18                      unsupported CMEs and speaker presentations about opioids that (i)
                        understated the risks and overstated the benefits of long-term use; (ii)
19                      appeared to be the result of independent, objective research; and (iii)
20                      was thus more likely to be relied upon by physicians, patients, and
                        payors;
21
                 e.     Selecting, cultivating, promoting and paying KOLs based solely on
22                      their willingness to communicate and distribute the RICO Marketing
23                      Defendants’ messages about the use of opioids for chronic pain;
24               f.     Providing substantial opportunities for KOLs to participate in
25                      research studies on topics the RICO Marketing Defendants suggested
                        or chose, with the predictable effect of ensuring that many favorable
26                      studies appeared in the academic literature;
27
28
                                               -302-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 306 of 366 Page ID #:306




1              g.   Paying KOLs to serve as consultants or on the RICO Marketing
                    Defendants’ advisory boards, on the advisory boards and in
2                   leadership positions on Front Groups, and to give talks or present
3                   CMEs, typically over meals or at conferences;

4              h.   Selecting, cultivating, promoting, creating and paying Front Groups
                    based solely on their willingness to communicate and distribute the
5
                    RICO Marketing Defendants’ messages about the use of opioids for
6                   chronic pain;
7              i.   Providing substantial opportunities for Front Groups to participate in
8                   and/or publish research studies on topics the RICO Marketing
                    Defendants suggested or chose (and paid for), with the predictable
9                   effect of ensuring that many favorable studies appeared in the
10                  academic literature;
11             j.   Paying significant amounts of money to the leaders and individuals
                    associated with Front Groups;
12
13             k.   Donating to Front Groups to support talks or CMEs, that were
                    typically presented over meals or at conferences;
14
               l.   Disseminating many of their false, misleading, imbalanced, and
15
                    unsupported statements through unbranded materials that appeared to
16                  be independent publications from Front Groups;
17             m.   Sponsoring CME programs put on by Front Groups that focused
18                  exclusively on the use of opioids for chronic pain;
19             n.   Developing and disseminating pro-opioid treatment guidelines with
20                  the help of the KOLs as authors and promoters, and the help of the
                    Front Groups as publishers, and supporters;
21
               o.   Encouraging Front Groups to disseminate their pro-opioid messages
22                  to groups targeted by the RICO Marketing Defendants, such as
23                  veterans and the elderly, and then funding that distribution;
24             p.   Concealing their relationship to and control of Front Groups and
25                  KOLs from the Plaintiff and the public at large; and

26
27
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                                          -303-
                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 307 of 366 Page ID #:307




1                q.    Intending that Front Groups and KOLs would distribute through the
                       U.S. mail and interstate wire facilities, promotional and other
2                      materials that claimed opioids could be safely used for chronic pain.
3
           869. The Opioid Marketing Enterprise had a hierarchical decision-making
4
     structure that was headed by the RICO Marketing Defendants and corroborated by the
5
6    KOLs and Front Groups. The RICO Marketing Defendants controlled representations
7
     made about their opioids and their drugs, doled out funds to PBMs and payments to
8
     KOLs, and ensured that representations made by KOLs, Front Groups, and the RICO
9
10   Marketing Defendants’ sales detailers were consistent with the Marketing Defendants’
11
     messaging throughout the United States and California. The Front Groups and KOLS in
12
     the Opioid Marketing Enterprise were dependent on the RICO Marketing Defendants for
13
14   their financial structure and for career development and promotion opportunities.
15
           870. The Front Groups also conducted and participated in the conduct of the
16
17   Opioid Marketing Enterprise, directly or indirectly, in the following ways:

18               a.    The Front Groups promised to, and did, make representations
19                     regarding opioids and the RICO Marketing Defendants’ drugs that
                       were consistent with the RICO Marketing Defendants’ messages;
20
                 b.    The Front Groups distributed, through the U.S. Mail and interstate
21                     wire facilities, promotional and other materials which claimed that
22                     opioids could be safely used for chronic pain without addiction, and
                       misrepresented the benefits of using opioids for chronic pain
23                     outweighed the risks;
24
                 c.    The Front Groups echoed and amplified messages favorable to
25                     increased opioid use—and ultimately, the financial interests of the
26                     RICO Marketing Defendants;

27
28
                                             -304-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 308 of 366 Page ID #:308




1                         d.         The Front Groups issued guidelines and policies minimizing the risk
                                     of opioid addiction and promoting opioids for chronic pain;
2
                          e.         The Front Groups strongly criticized the 2016 guidelines from the
3
                                     Center for Disease Control and Prevention (CDC) that recommended
4                                    limits on opioid prescriptions for chronic pain; and
5                         f.         The Front Groups concealed their connections to the KOLs and the
6                                    RICO Marketing Defendants.

7                871. The RICO Marketing Defendants’ Front Groups, “with their large numbers

8
      and credibility with policymakers and the public—have ‘extensive influence in specific
9
      disease areas.’” The larger Front Groups “likely have a substantial effect on policies
10
11    relevant to their industry sponsors.”176 “By aligning medical culture with industry goals
12
      in this way, many of the groups described in this report may have played a significant
13
14    role in creating the necessary conditions for the U.S. opioid epidemic.”177
15
                 872. The KOLs also participated in the conduct of the affairs of the Opioid
16
      Marketing Enterprise, directly or indirectly, in the following ways:
17
18                        a.         The KOLs promised to, and did, make representations regarding
                                     opioids and the RICO Marketing Defendants’ drugs that were
19
                                     consistent with the RICO Marketing Defendants’ messages
20                                   themselves;
21                        b.         The KOLs distributed, through the U.S. Mail and interstate wire
22                                   facilities, promotional and other materials which claimed that opioids
                                     could be safely used for chronic pain without addiction, and
23                                   misrepresented the benefits of using opioids for chronic pain
24                                   outweighed the risks;
25
26
     176 Fueling an Epidemic, supra note 85, at 1.
27   177 Id. at 2.

28
                                                           -305-
                                                        COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 309 of 366 Page ID #:309




1                c.    The KOLs echoed and amplified messages favorable to increased
                       opioid use—and ultimately, the financial interests of the RICO
2                      Marketing Defendants;
3
                 d.    The KOLs issued guidelines and policies minimizing the risk of
4                      opioid addiction and promoting opioids for chronic pain;
5                e.    The KOLs strongly criticized the 2016 guidelines from the Center for
6                      Disease Control and Prevention (CDC) that recommended limits on
                       opioid prescriptions for chronic pain; and
7
                 f.    The KOLs concealed their connections to the Front Groups and the
8
                       RICO Marketing Defendants, and their sponsorship by the RICO
9                      Marketing Defendants.
10         873. The scheme devised and implemented by the RICO Marketing Defendants
11
     and members of the Opioid Marketing Enterprise, amounted to a common course of
12
13   conduct intended to increase the RICO Marketing Defendants’ sales from prescription
14   opioids by encouraging the prescribing and use of opioids for long-term chronic pain.
15
     The scheme was a continuing course of conduct, and many aspects of it continue through
16
17   to the present.
18               3.    The RICO Marketing Defendants Controlled and Paid Front
19                     Groups and KOLs to Promote and Maximize Opioid Use
20         874. As discussed in detail above, the RICO Marketing Defendants funded and
21
     controlled the various Front Groups, including APF, AAPM/APS, FSMB, Alliance for
22
23   Patient Access, USPF, and AGS. The Front Groups, which appeared to be independent,

24   but were not, transmitted the RICO Marketing Defendants' misrepresentations. The RICO
25
     Marketing Defendants and the Front Groups thus worked together to promote the goals
26
27   of the Opioid Marketing Enterprise.

28
                                              -306-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 310 of 366 Page ID #:310




1          875. The RICO Marketing Defendants worked together with each other through

2    the Front Groups that they jointly funded and through which they collaborated on the
3
     joint promotional materials described above.
4
5          876. Similarly, as discussed in detail above, the RICO Marketing Defendants paid

6    KOLs, including Drs. Portenoy, Fine, Fishman, and Webster, to spread their
7
     misrepresentations and promote their products. The RICO Marketing Defendants and the
8
9    KOLs thus worked together to promote the goals of the Opioid Marketing Enterprise.
10               4.    Pattern of Racketeering Activity
11
           877. The RICO Marketing Defendants’ scheme described herein was perpetrated,
12
     in part, through multiple acts of mail fraud and wire fraud, constituting a pattern of
13
14   racketeering activity as described herein.
15
           878. The pattern of racketeering activity used by the RICO Marketing Defendants
16
17   and the Opioid Marketing Enterprise likely involved thousands of separate instances of

18   the use of the U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid
19
     Marketing Enterprise, including essentially uniform misrepresentations, concealments
20
21   and material omissions regarding the beneficial uses and non-addictive qualities for the

22   long-term treatment of chronic, non-acute and non-cancer pain, with the goal of profiting
23
     from increased sales of the RICO Marketing Defendants’ drugs induced by consumers,
24
25   prescribers, regulators and Plaintiff’s reliance on the RICO Marketing Defendants’

26   misrepresentations.
27
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                                               -307-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 311 of 366 Page ID #:311




1          879. Each of these fraudulent mailings and interstate wire transmissions

2    constitutes racketeering activity and collectively, these violations constitute a pattern of
3
     racketeering activity, through which the RICO Marketing Defendants, the Front Groups
4
5    and the KOLs defrauded and intended to defraud California consumers, the State, and

6    other intended victims.
7
           880. The RICO Marketing Defendants devised and knowingly carried out an
8
9    illegal scheme and artifice to defraud by means of materially false or fraudulent pretenses,
10   representations, promises, or omissions of material facts regarding the safe, non-addictive
11
     and effective use of opioids for long-term chronic, non-acute and non-cancer pain. The
12
13   RICO Marketing Defendants and members of the Opioid Marketing Enterprise knew that
14   these representations violated the FDA approved use these drugs, and were not supported
15
     by actual evidence. The RICO Marketing Defendants intended that that their common
16
17   purpose and scheme to defraud would, and did, use the U.S. Mail and interstate wire
18   facilities, intentionally and knowingly with the specific intent to advance, and for the
19
     purpose of executing, their illegal scheme.
20
21         881. By     intentionally concealing the material risks and affirmatively
22   misrepresenting the benefits of using opioids for chronic pain to prescribers, regulators
23
     and the public, including Plaintiff, the RICO Marketing Defendants, the Front Groups
24
25   and the KOLs engaged in a fraudulent and unlawful course of conduct constituting a
26   pattern of racketeering activity.
27
28
                                               -308-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 312 of 366 Page ID #:312




1          882. The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire

2    facilities to perpetrate the opioids marketing scheme involved thousands of
3
     communications, publications, representations, statements, electronic transmissions,
4
5    payments, including, inter alia:

6                a.    Marketing materials about opioids, and their risks and benefits,
7                      which the RICO Marketing Defendants sent to health care providers,
                       transmitted through the internet and television, published, and
8                      transmitted to Front Groups and KOLs located across the country and
9                      Plaintiff’s community;
10               b.    Written representations and telephone calls between the RICO
                       Marketing Defendants and Front Groups regarding the
11
                       misrepresentations, marketing statements and claims about opioids,
12                     including the non-addictive, safe use of chronic long-term pain
                       generally;
13
14               c.    Written representations and telephone calls between the RICO
                       Marketing Defendants and KOLs regarding the misrepresentations,
15                     marketing statements and claims about opioids, including the non-
16                     addictive, safe use of chronic long-term pain generally;
17               d.    E-mails, telephone and written communications between the RICO
18                     Marketing Defendants and the Front Groups agreeing to or
                       implementing the opioids marketing scheme;
19
                 e.    E-mails, telephone and written communications between the RICO
20                     Marketing Defendants and the KOLs agreeing to or implementing the
21                     opioids marketing scheme;
22               f.    Communications between the RICO Marketing Defendants, Front
23                     Groups and the media regarding publication, drafting of treatment
                       guidelines, and the dissemination of the same as part of the Opioid
24                     Marketing Enterprise;
25               g.    Communications between the RICO Marketing Defendants, KOLs
26                     and the media regarding publication, drafting of treatment guidelines,
27
28
                                             -309-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 313 of 366 Page ID #:313




1                       and the dissemination of the same as part of the Opioid Marketing
                        Enterprise;
2
                 h.     Written and oral communications directed to State agencies, federal
3
                        and state courts, and private insurers throughout Plaintiff’s
4                       community that fraudulently misrepresented the risks and benefits of
                        using opioids for chronic pain; and
5
6                i.     Receipts of increased profits sent through the U.S. Mail and interstate
                        wire facilities—the wrongful proceeds of the scheme.
7
           883. In addition to the above-referenced predicate acts, it was intended by and
8
9    foreseeable to the RICO Marketing Defendants that the Front Groups and the KOLs
10
     would distribute publications through the U.S. Mail and by interstate wire facilities, and,
11
     in those publications, claim that the benefits of using opioids for chronic pain outweighed
12
13   the risks of doing so.
14
           884. To achieve the common goal and purpose of the Opioid Marketing
15
16   Enterprise, the RICO Marketing Defendants and members of the Opioid Marketing

17   Enterprise hid from the consumers, prescribers, regulators and the Plaintiff: (a) the
18
     fraudulent nature of the RICO Marketing Defendants’ marketing scheme; (b) the
19
20   fraudulent nature of statements made by the RICO Marketing Defendants and by their

21   KOLs, Front Groups and other third parties regarding the safety and efficacy of
22
     prescription opioids; and (c) the true nature of the relationship between the members of
23
24   the Opioid Marketing Enterprise.

25         885. The RICO Marketing Defendants, and each member of the Opioid Marketing
26
     Enterprise agreed, with knowledge and intent, to the overall objective of the RICO
27
28
                                              -310-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 314 of 366 Page ID #:314




1     Marketing Defendants’ fraudulent scheme and participated in the common course of

2     conduct to commit acts of fraud and indecency in marketing prescription opioids.
3
            886. Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work,
4
5     each of them had to agree to implement similar tactics regarding fraudulent marketing of

6     prescription opioids. This conclusion is supported by the fact that the RICO Marketing
7
      Defendants each financed, supported, and worked through the same KOLs and Front
8
9     Groups, and often collaborated on and mutually supported the same publications, CMEs,
10    presentations, and prescription guidelines
11
            887. The RICO Marketing Defendants’ predicate acts all had the purpose of
12
13    creating the opioid epidemic that substantially injured Plaintiff’s business and property,
14    while simultaneously generating billion-dollar revenue and profits for the RICO
15
      Marketing Defendants. The predicate acts were committed or caused to be committed by
16
17    the RICO Marketing Defendants through their participation in the Opioid Marketing
18    Enterprise and in furtherance of its fraudulent scheme.
19
            B.    The Opioid Supply Chain Enterprise
20
21          888. Faced with the reality that they will now be held accountable for the

22    consequences of the opioid epidemic they created, members of the industry resort to “a
23
      categorical denial of any criminal behavior or intent.”178 Defendants’ actions went far
24
25
26   178McKesson Responds to Recent 60 Minutes Story About January 2017 Settlement With the Federal
     Government, McKesson, http://www.mckesson.com/about-mckesson/fighting-opioid-abuse/60-
27   minutes-response (last visited Apr. 21, 2018).
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                                                 -311-
                                              COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 315 of 366 Page ID #:315




1    beyond what could be considered ordinary business conduct. For more than a decade,

2    certain Defendants, the “RICO Supply Chain Defendants” (Purdue, Cephalon, Endo,
3
     Mallinckrodt, Actavis, McKesson, Cardinal, and AmerisourceBergen) worked together
4
5    in an illicit enterprise, engaging in conduct that was not only illegal, but in certain respects

6    anti-competitive, with the common purpose and achievement of vastly increasing their
7
     respective profits and revenues by exponentially expanding a market that the law intended
8
9    to restrict.
10          889. Knowing that dangerous drugs have a limited place in our society, and that
11
     their dissemination and use must be vigilantly monitored and policed to prevent the harm
12
13   that drug abuse and addiction causes to individuals, society and governments, Congress
14   enacted the Controlled Substances Act (“CSA”). Specifically, through the CSA, which
15
     created a closed system of distribution for controlled substances, Congress established an
16
17   enterprise for good. CSA imposes a reporting duty that cuts across company lines.
18   Regulations adopted under the CSA require that companies who are entrusted with
19
     permission to operate within this system cannot simply operate as competitive in an
20
21   “anything goes” profit-maximizing market. Instead, the statute tasks them to watch over
22   each other with a careful eye for suspicious activity. Driven by greed, Defendants
23
     betrayed that trust and subverted the constraints of the CSA’s closed system to conduct
24
25   their own enterprise for evil.
26
27
28
                                                -312-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 316 of 366 Page ID #:316




1               890. As “registrants” under the CSA, the RICO Supply Chain Defendants are duty

2     bound to identify and report “orders of unusual size, orders deviating substantially from
3
      a normal pattern, and orders of unusual frequency.”179 Critically, these Defendants’
4
5     responsibilities do not end with the products they manufacture or distribute—there is no
6     such limitation in the law because their duties cut across company lines. Thus, when
7
      these Defendants obtain information about the sales and distribution of other companies’
8
9     opioid products, as they did through data mining companies like IMS Health, they were
10
      legally obligated to report that activity to the DEA.
11
                891. If morality and the law did not suffice, competition dictates that the RICO
12
13    Supply Chain Defendants would turn in their rivals when they had reason to suspect
14
      suspicious activity. Indeed, if a manufacturer or distributor could gain market share by
15
      reporting a competitor’s illegal behavior (causing it to lose a license to operate, or
16
17    otherwise inhibit its activity), ordinary business conduct dictates that it would do so.
18
      Under the CSA this whistleblower or watchdog function is not only a protected choice,
19
      but a statutory mandate. Unfortunately, however, that is not what happened. Instead,
20
21    knowing that investigations into potential diversion would only lead to shrinking markets,
22
      the Rico Supply Chain Defendants elected to operate in a conspiracy of silence, in
23
24    violation of both the CSA and RICO.

25
26
27   179 21 C.F.R. § 1301.74(b).

28
                                                 -313-
                                              COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 317 of 366 Page ID #:317




1          892. The RICO Supply Chain Defendants’ scheme required the participation of

2    all. If any one member broke rank, its compliance activities would highlight deficiencies
3
     of the others, and the artificially high quotas they maintained through their scheme would
4
5    crumble. But, if all the members of the enterprise conducted themselves in the same

6    manner, it would be difficult for the DEA to go after any one of them. Accordingly,
7
     through the connections they made as a result of their participation in the Healthcare
8
9    Distribution Alliance (“HDA”), the RICO Supply Chain Defendants chose to flout the
10   closed system designed to protect the citizens. Publicly, in 2008, they announced their
11
     formulation of “Industry Compliance Guidelines: Reporting Suspicious Orders and
12
13   Prevention Diversion of Controlled Substances.” But, privately, the RICO Supply Chain
14   Defendants refused to act and through their lobbying efforts, they collectively sought to
15
     undermine the impact of the CSA. Indeed, despite the issuance of these Industry
16
17   Compliance Guidelines, which recognize these Defendants’ duties under the law, as
18   illustrated by the subsequent industry-wide enforcement actions and consent orders
19
     issued after that time, none of them complied. John Gray, President and CEO of the HDA
20
21   said to Congress in 2014, it is “difficult to find the right balance between proactive anti-
22   diversion efforts while not inadvertently limiting access to appropriately prescribed and
23
     dispensed medications.” Yet, the RICO Supply Chain Defendants apparently all found
24
25   the same profit-maximizing balance -- intentionally remaining silent to ensure the largest
26   possible financial return.
27
28
                                               -314-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 318 of 366 Page ID #:318




1          893. As described above, at all relevant times, the RICO Supply Chain Defendants

2    operated as an association-in-fact enterprise formed for the purpose of unlawfully
3
     increasing sales, revenues and profits by fraudulently increasing the quotas set by the
4
5    DEA that would allow them to collectively benefit from a greater pool of prescription

6    opioids to manufacture and distribute. In support of this common purpose and fraudulent
7
     scheme, the RICO Supply Chain Defendants jointly agreed to disregard their statutory
8
9    duties to identify, investigate, halt and report suspicious orders of opioids and diversion
10   of their drugs into the illicit market so that those orders would not result in a decrease, or
11
     prevent an increase in, the necessary quotas.
12
13         894. At all relevant times, as described above, the RICO Supply Chain Defendants

14   exerted control over, conducted and/or participated in the Opioid Supply Chain
15
     Enterprise by fraudulently claiming that they were complying with their duties under the
16
17   CSA to identify, investigate and report suspicious orders of opioids in order to prevent
18   diversion of those highly addictive substances into the illicit market, and to halt such
19
     unlawful sales, so as to increase production quotas and generate unlawful profits, as
20
21   follows:
22         895. The RICO Supply Chain Defendants disseminated false and misleading
23
     statements to state and federal regulators claiming that:
24
25               a.     the quotas for prescription opioids should be increased;
26               b.     they were complying with their obligations to maintain effective
27                      controls against diversion of their prescription opioids;

28
                                               -315-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 319 of 366 Page ID #:319




1                        c.         they were complying with their obligations to design and operate a
                                    system to disclose to the registrant suspicious orders of their
2                                   prescription opioids;
3
                         d.         they were complying with their obligation to notify the DEA of any
4                                   suspicious orders or diversion of their prescription opioids; and
5                        e.         they did not have the capability to identify suspicious orders of
6                                   controlled substances.

7               896. The Defendants applied political and other pressure on the DOJ and DEA to

8
      halt prosecutions for failure to report suspicious orders of prescription opioids and
9
      lobbied Congress to strip the DEA of its ability to immediately suspend registrations
10
11    pending investigation by passing the “Ensuring Patient Access and Effective Drug
12
      Enforcement Act.”180
13
                897. The CSA and the Code of Federal Regulations, require the RICO Supply
14
15    Chain Defendants to make reports to the DEA of any suspicious orders identified through
16
      the design and operation of their system to disclose suspicious orders. The failure to
17
18    make reports as required by the CSA and Code of Federal Regulations amounts to a

19    criminal violation of the statute.
20
                898. The RICO Supply Chain Defendants knowingly and intentionally furnished
21
22    false or fraudulent information in their reports to the DEA about suspicious orders, and/or

23
24
     180 HDMA is Now the Healthcare Distribution Alliance, Pharmaceutical Commerce, http://pharmaceuticalcommerce.com/business-and-finance/hdma-
25        now-healthcare-distribution-alliance/ (last updated July 6, 2016); Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement
          While the Opioid Epidemic Grew Out of Control, Wash. Post (Oct. 22, 2016), https://www.washingtonpost.com/investigations/the-dea-slowed-
          enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html; Lenny Bernstein &
26        Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post (Mar. 6, 2017),
          https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-
          b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail (Feb. 18,
27        2017), http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.

28
                                                                      -316-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 320 of 366 Page ID #:320




1    omitted material information from reports, records and other document required to be

2    filed with the DEA including the Marketing Defendants’ applications for production
3
     quotas. Specifically, the RICO Supply Chain Defendants were aware of suspicious orders
4
5    of prescription opioids and the diversion of their prescription opioids into the illicit

6    market, and failed to report this information to the DEA in their mandatory reports and
7
     their applications for production quotas.
8
9          899. The RICO Supply Chain Defendants used, directed the use of, and/or caused

10   to be used, thousands of interstate mail and wire communications in service of their
11
     scheme through virtually uniform misrepresentations, concealments and material
12
13   omissions regarding their compliance with their mandatory reporting requirements and
14   the actions necessary to carry out their unlawful goal of selling prescription opioids
15
     without reporting suspicious orders or the diversion of opioids into the illicit market.
16
17         900. In devising and executing the illegal scheme, the RICO Supply Chain

18   Defendants devised and knowingly carried out a material scheme and/or artifice to
19
     defraud by means of materially false or fraudulent pretenses, representations, promises,
20
21   or omissions of material facts.
22         901. For the purpose of executing the illegal scheme, the RICO Supply Chain
23
     Defendants committed racketeering acts, which number in the thousands, intentionally
24
25   and knowingly with the specific intent to advance the illegal scheme. These racketeering
26
27
28
                                               -317-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 321 of 366 Page ID #:321




1    acts, which included repeated acts of mail fraud and wire fraud, constituted a pattern of

2    racketeering.
3
           902. The RICO Supply Chain Defendants’ use of the mail and wires includes, but
4
5    is not limited to, the transmission, delivery, or shipment of the following by the Marketing

6    Defendants, the Distributor Defendants, or third parties that were foreseeably caused to
7
     be sent as a result of the RICO Supply Chain Defendants’ illegal scheme, including but
8
9    not limited to:
10               a.     The prescription opioids themselves;
11
                 b.     Documents and communications that supported and/or facilitated the
12                      RICO Supply Chain Defendants’ request for higher aggregate
                        production quotas, individual production quotas, and procurement
13
                        quotas;
14
                 c.     Documents and communications that facilitated the manufacture,
15                      purchase and sale of prescription opioids;
16
                 d.     RICO Supply Chain Defendants’ DEA registrations;
17
                 e.     Documents and communications that supported and/or facilitated
18                      RICO Supply Chain Defendants’ DEA registrations;
19
                 f.     RICO Supply Chain Defendants’ records and reports that were
20                      required to be submitted to the DEA pursuant to 21 U.S.C. § 827;
21               g.     Documents and communications related to the RICO Supply Chain
22                      Defendants’ mandatory DEA reports pursuant to 21 U.S.C. § 823 and
                        21 C.F.R. § 1301.74;
23
24               h.     Documents intended to facilitate the manufacture and distribution of
                        the RICO Supply Chain Defendants’ prescription opioids, including
25                      bills of lading, invoices, shipping records, reports and
26                      correspondence;

27
28
                                               -318-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 322 of 366 Page ID #:322




1                 i.   Documents for processing and receiving payment for prescription
                       opioids;
2
                  j.   Payments from the Distributors to the Marketing Defendants;
3
4                 k.   Rebates and chargebacks from the Marketing Defendants to the
                       Distributors Defendants;
5
                  l.   Payments to the RICO Supply Chain Defendants’ lobbyists through
6
                       the PCF;
7
                  m.   Payments to the RICO Supply Chain Defendants’ trade
8                      organizations, like the HDA, for memberships and/or sponsorships;
9
                  n.   Deposits of proceeds from the RICO Supply Chain Defendants’
10                     manufacture and distribution of prescription opioids; and
11                o.   Other documents and things, including electronic communications.
12
           903. The RICO Supply Chain Defendants (and/or their agents), for the purpose of
13
     executing the illegal scheme, sent and/or received (or caused to be sent and/or received)
14
15   by mail or by private or interstate carrier, shipments of prescription opioids and related
16
     documents by mail or by private carrier affecting interstate commerce, including the
17
18   following:

19                                                                  Drugs
       Defendant
20                       Company Names             Drug             Chemical         CSA
      Group Name
                                                   Name              Name          Schedule
21                                                              Oxycodone
                       (1) Purdue Pharma,
22                     LP,                                      hydrochloride      Schedule
                                                OxyContin
                                                                extended           II
23       Purdue        (2) Purdue Pharma,                       release
                       Inc.,
24                                                              Morphine
                       (3) The Purdue                                              Schedule
25                                              MS Contin       sulfate extended
                       Frederick Company                                           II
                                                                release
26
27
28
                                               -319-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 323 of 366 Page ID #:323




1                                                            Drugs
      Defendant
                      Company Names             Drug         Chemical           CSA
2    Group Name
                                                Name          Name           Schedule
3                                                         Hydromorphone      Schedule
                                              Dilaudid
                                                          hydrochloride      II
4
                                              Dilaudid-   Hydromorphone      Schedule
5                                             HP          hydrochloride      II
6                                                                            Schedule
                                              Butrans     Buprenorphine
7                                                                            II

8                                             Hysinga     Hydrocodone        Schedule
                                              ER          bitrate            II
9
                                              Targiniq    Oxycodone          Schedule
10                                            ER          hydrochloride      II
11                  (1) Cephalon, Inc.,                                      Schedule
                                              Actiq       Fentanyl citrate
                    (2) Teva                                                 II
12
                    Pharmaceutical                                           Schedule
13    Cephalon                                Fentora     Fentanyl citrate
                    Industries, Ltd.,                                        II
14                  (3) Teva
                                              Generic     Oxycodone          Schedule
15                  Pharmaceuticals
                                              oxycodone   hydrochloride      II
                    USA, Inc.
16
                                                          Oxymorphone
17                                                        hydrochloride      Schedule
                                              Opana ER
18                                                        extended           II
                    (1) Endo Health                       release
19                  Solutions, Inc.,
                                                          Oxymorphone        Schedule
                    (2) Endo                  Opana
20                                                        hydrochloride      II
        Endo        Pharmaceuticals Inc.,
21                                                        Oxymorphone
                    (3) Qualitest                                            Schedule
                                              Percodan    hydrochloride
22                  Pharmaceuticals, Inc.                                    II
                                                          and aspirin
23                  (wholly-owned
                    subsidiary of Endo)                   Oxymorphone
24                                                        hydrochloride      Schedule
                                              Percocet
                                                          and                II
25                                                        acetaminophen
26
27
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                                             -320-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 324 of 366 Page ID #:324




1                                                              Drugs
       Defendant
                        Company Names            Drug          Chemical           CSA
2     Group Name
                                                 Name           Name           Schedule
3                                                                              Schedule
                                               Generic oxycodone
                                                                               II
4
                                                                               Schedule
5                                              Generic oxymorphone
                                                                               II
6                                                                              Schedule
                                               Generic hydromorphone
7                                                                              II

8                                                                              Schedule
                                               Generic hydrocodone
                                                                               II
9
                      (1) Mallinckrodt plc,                  Hydromorphone     Schedule
                                               Exalgo
10                    (2) Mallinckrodt LLC                   hydrochloride     II
      Mallinckrodt    (wholly-owned
11                                                           Oxycodone         Schedule
                      subsidiary of            Roxicodone
12                                                           hydrochloride     II
                      Mallinckrodt plc)
13                    (1) Allergan Plc,                      Morphine          Schedule
                                               Kadian
14                    (2) Actavis LLC,                       Sulfate           II
15                    (3) Actavis Pharma,      Norco         Hydrocodone
                                                                               Schedule
                      Inc.,                    (Generic of   and
16                                                                             II
                                               Kadian)       acetaminophen
        Allergan      (4) Actavis Plc,
17                                             Generic                         Schedule
                      (5) Actavis, Inc.,                     Fentanyl
18                                             Duragesic                       II
                      (6) Watson
19                    Pharmaceuticals, Inc.,   Generic       Oxymorphone       Schedule
20                                             Opana         hydrochloride     II
                      Watson Pharma, Inc.
21
22
           904. Each of the RICO Supply Chain Defendants identified manufactured,
23
     shipped, paid for and received payment for the drugs identified above, throughout the
24
25   United States.
26
27
28
                                              -321-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 325 of 366 Page ID #:325




1          905. The RICO Supply Chain Defendants used the internet and other electronic

2    facilities to carry out their scheme and conceal the ongoing fraudulent activities.
3
     Specifically, the RICO Supply Chain Defendants made misrepresentations about their
4
5    compliance with Federal and State laws requiring them to identify, investigate and report

6    suspicious orders of prescription opioids and/or diversion of the same into the illicit
7
     market.
8
9          906. At the same time, the RICO Supply Chain Defendants misrepresented the

10   superior safety features of their order monitoring programs, ability to detect suspicious
11
     orders, commitment to preventing diversion of prescription opioids, and their compliance
12
13   with all state and federal regulations regarding the identification and reporting of
14   suspicious orders of prescription opioids.
15
           907. The RICO Supply Chain Defendants utilized the internet and other electronic
16
17   resources to exchange communications, to exchange information regarding prescription
18   opioid sales, and to transmit payments and rebates/chargebacks.
19
           908. The RICO Supply Chain Defendants also communicated by U.S. Mail, by
20
21   interstate facsimile, and by interstate electronic mail with each other and with various
22   other affiliates, regional offices, regulators, distributors, and other third-party entities in
23
     furtherance of the scheme.
24
25         909. The mail and wire transmissions described herein were made in furtherance

26   of the RICO Supply Chain Defendants’ scheme and common course of conduct to
27
28
                                                -322-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 326 of 366 Page ID #:326




1    deceive regulators, the public and the Plaintiff that these Defendants were complying with

2    their state and federal obligations to identify and report suspicious orders of prescription
3
     opioids all while Defendants were knowingly allowing millions of doses of prescription
4
5    opioids to divert into the illicit drug market. The RICO Supply Chain Defendants’

6    scheme and common course of conduct was to increase or maintain high production
7
     quotas for their prescription opioids from which they could profit.
8
9          910. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

10   wire facilities have been deliberately hidden by Defendants and cannot be alleged without
11
     access to Defendants’ books and records. However, Plaintiff has described the types of,
12
13   and in some instances, occasions on which the predicate acts of mail and/or wire fraud
14   occurred. They include thousands of communications to perpetuate and maintain the
15
     scheme, including the things and documents described in the preceding paragraphs.
16
17         911. The RICO Supply Chain Defendants did not undertake the practices

18   described herein in isolation, but as part of a common scheme. Various other persons,
19
     firms, and corporations, including third-party entities and individuals not named as
20
21   defendants in this Complaint, may have contributed to and/or participated in the scheme
22   with these Defendants in these offenses and have performed acts in furtherance of the
23
     scheme to increase revenues, increase market share, and /or minimize the losses for the
24
25   RICO Supply Chain Defendants.
26
27
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                                               -323-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 327 of 366 Page ID #:327




1          912. The predicate acts constituted a variety of unlawful activities, each conducted

2    with the common purpose of obtaining significant monies and revenues from the sale of
3
     their highly addictive and dangerous drugs. The predicate acts also had the same or
4
5    similar results, participants, victims, and methods of commission. The predicate acts

6    were related and not isolated events.
7
           913. The predicate acts all had the purpose of creating the opioid epidemic that
8
9    substantially injured Plaintiff’s business and property, while simultaneously generating
10   billion-dollar revenue and profits for the RICO Supply Chain Defendants. The predicate
11
     acts were committed or caused to be committed by the Defendants through their
12
13   participation in the Opioid Supply Chain Enterprise and in furtherance of its fraudulent
14   scheme.
15
           914. As described above, the RICO Supply Chain Defendants were repeatedly
16
17   warned, fined, and found to be in violation of applicable law and regulations, and yet they
18   persisted. The sheer volume of enforcement actions against the RICO Supply Chain
19
     Defendants supports this conclusion that the RICO Supply Chain Defendants operated
20
21   through a pattern and practice of willfully and intentionally omitting information from
22   their mandatory reports to the DEA as required by 21 C.F.R. § 1301.74.
23
           915. Each instance of racketeering activity alleged herein was related, had similar
24
25   purposes, involved the same or similar participants and methods of commission, and had
26   similar results affecting similar victims,’ communities and the Plaintiff. The RICO
27
28
                                                -324-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 328 of 366 Page ID #:328




1    Supply Chain Defendants calculated and intentionally crafted the diversion scheme to

2    increase and maintain profits from unlawful sales of opioids, without regard to the effect
3
     such behavior would have on this jurisdiction, its citizens or the Plaintiff. The RICO
4
5    Supply Chain Defendants were aware that Plaintiff and the citizens of these jurisdictions

6    rely on these Defendants to maintain a closed system of manufacturing and distribution
7
     to protect against the non-medical diversion and use of their dangerously addictive opioid
8
9    drugs.
10            916. By intentionally refusing to report and halt suspicious orders of their
11
     prescription opioids, the RICO Supply Chain Defendants engaged in a fraudulent scheme
12
13   and unlawful course of conduct constituting a pattern of racketeering activity.
14                                    CLAIMS FOR RELIEF
15
                               FIRST CLAIM FOR RELIEF
16       Violation of RICO, 18 U.S.C. § 1961 et seq.—Opioid Marketing Enterprise
17       (Against Purdue, Cephalon, Janssen, Endo, and Mallinckrodt (the “RICO
                                 Marketing Defendants”))
18
              917. Plaintiff repeats, re-alleges, and incorporates by reference each and every
19
20   allegation set forth above as if fully set forth herein.
21
              918. The RICO Marketing Defendants—through the use of “Front Groups” that
22
     appeared to be independent of the RICO Marketing Defendants; through the
23
24   dissemination of publications that supported the RICO Marketing Defendants’ scheme;
25
     through continuing medical education (“CME”) programs controlled and/or funded by
26
     the RICO Marketing Defendants; by the hiring and deployment of so-called “key opinion
27
28
                                                -325-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 329 of 366 Page ID #:329




1    leaders,” (“KOLs”) who were paid by the RICO Marketing Defendants to promote their

2    message; and through the “detailing” activities of the RICO Marketing Defendants’ sales
3
     forces—conducted an association-in-fact enterprise, and/or participated in the conduct of
4
5    an enterprise through a pattern of illegal activities (the predicate racketeering acts of mail

6    and wire fraud) to carry-out the common purpose of the Opioid Marketing Enterprise,
7
     i.e., to unlawfully increase profits and revenues from the continued prescription and use
8
9    of opioids for long-term chronic pain. Through the racketeering activities of the Opioid
10   Marketing Enterprise sought to further the common purpose of the enterprise through a
11
     fraudulent scheme to change prescriber habits and public perception about the safety and
12
13   efficacy of opioid use by convincing them that each of the nine false propositions alleged
14   earlier were true. In so doing, each of the RICO Marketing Defendants knowingly
15
     conducted and participated in the conduct of the Opioid Marketing Activities by engaging
16
17   in mail and wire fraud in violation of 18 U.S.C. §§ 1962(c) and (d).
18         919. The Opioid Marketing Enterprise alleged above, is an association-in-fact
19
     enterprise that consists of the RICO Marketing Defendants (Purdue, Cephalon, Janssen,
20
21   Endo, and Mallinckrodt); the Front Groups (APF, AAPM, APS, FSMB, USPF, and
22   AGS); and the KOLs (Dr. Portenoy, Dr. Webster, Dr. Fine, and Dr. Fishman).
23
           920. Each of the RICO Marketing Defendants and the other members of the
24
25   Opioid Marketing Enterprise conducted and participated in the conduct of the Opioid
26   Marketing Enterprise by playing a distinct role in furthering the enterprise’s common
27
28
                                               -326-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 330 of 366 Page ID #:330




1    purpose of increasing profits and sales through the knowing and intentional dissemination

2    of false and misleading information about the safety and efficacy of long-term opioid use,
3
     and the risks and symptoms of addiction, in order increase the market for prescription
4
5    opioids by changing prescriber habits and public perceptions and increase the market for

6    opioids.
7
           921. Specifically, the RICO Marketing Defendants each worked together to
8
9    coordinate the enterprise’s goals and conceal their role, and the enterprise’s existence,
10   from the public by, among other things, (i) funding, editing and distributing publications
11
     that supported and advanced their false messages; (ii) funding KOLs to further promote
12
13   their false messages; (iii) funding, editing and distributing CME programs to advance
14   their false messages; and (iv) tasking their own employees to direct deceptive marketing
15
     materials and pitches directly at physicians and, in particular, at physicians lacking the
16
17   expertise of pain care specialists (a practice known as sales detailing).
18         922. Each of the Front Groups helped disguise the role of RICO Marketing
19
     Defendants by purporting to be unbiased, independent patient-advocacy and professional
20
21   organizations in order to disseminate patient education materials, a body of biased and
22   unsupported scientific “literature,” and “treatment guidelines” that promoted the RICO
23
     Marketing Defendants false messages.
24
25         923. Each of the KOLs were physicians chosen and paid by each of the RICO

26   Marketing Defendants to influence their peers’ medical practice by promoting the
27
28
                                               -327-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 331 of 366 Page ID #:331




1    Marketing Defendant’s false message through, among other things, writing favorable

2    journal articles and delivering supportive CMEs as if they were independent medical
3
     professionals, thereby further obscuring the RICO Marketing Defendants’ role in the
4
5    enterprise and the enterprise’s existence.

6           924. Further, each of the RICO Marketing Defendants, KOLs and Front Groups
7
     that made-up the Opioid Marketing Enterprise had systematic links to and personal
8
9    relationships with each other through joint participation in lobbying groups, trade
10   industry organizations, contractual relationships and continuing coordination of
11
     activities.   The systematic links and personal relationships that were formed and
12
13   developed allowed members of the Opioid Marketing Enterprise the opportunity to form
14   the common purpose and agree to conduct and participate in the conduct of the Opioid
15
     Marketing Enterprise. Specifically, each of the RICO Marketing Defendants coordinated
16
17   their efforts through the same KOLs and Front Groups, based on their agreement and
18   understanding that the Front Groups and KOLs were industry friendly and would work
19
     together with the RICO Marketing Defendants to advance the common purpose of the
20
21   Opioid Marketing Enterprise; each of the individuals and entities who formed the Opioid
22   Marketing Enterprise acted to enable the common purpose and fraudulent scheme of the
23
     Opioid Marketing Enterprise.
24
25          925. At all relevant times, the Opioid Marketing Enterprise: (a) had an existence

26   separate and distinct from each RICO Marketing Defendant and its members; (b) was
27
28
                                              -328-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 332 of 366 Page ID #:332




1    separate and distinct from the pattern of racketeering in which the RICO Marketing

2    Defendants engaged; (c) was an ongoing and continuing organization consisting of
3
     individuals, persons, and legal entities, including each of the RICO Marketing
4
5    Defendants; (d) was characterized by interpersonal relationships between and among

6    each member of the Opioid Marketing Enterprise, including between the RICO
7
     Marketing Defendants and each of the Front Groups and KOLs; (e) had sufficient
8
9    longevity for the enterprise to pursue its purpose and functioned as a continuing unit.
10         926. The persons and entities engaged in the Opioid Marketing Enterprise are
11
     systematically linked through contractual relationships, financial ties, personal
12
13   relationships, and continuing coordination of activities, as spearheaded by the RICO
14   Marketing Defendants.
15
           927. The RICO Marketing Defendants conducted and participated in the conduct
16
17   of the Opioid Marketing Enterprise through a pattern of racketeering activity that
18   employed the use of mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud)
19
     and § 1343 (wire fraud), to increase profits and revenue by changing prescriber habits
20
21   and public perceptions in order to increase the prescription and use of prescription
22   opioids, and expand the market for opioids.
23
           928. The RICO Marketing Defendants each committed, conspired to commit,
24
25   and/or aided and abetted in the commission of at least two predicate acts of racketeering
26   activity (i.e. violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The
27
28
                                              -329-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 333 of 366 Page ID #:333




1    multiple acts of racketeering activity that the RICO Marketing Defendants committed, or

2    aided and abetted in the commission of, were related to each other, posed a threat of
3
     continued racketeering activity, and therefore constitute a “pattern of racketeering
4
5    activity.”   The racketeering activity was made possible by the RICO Marketing

6    Defendants’ regular use of the facilities, services, distribution channels, and employees
7
     of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire facilities. The
8
9    RICO Marketing Defendants participated in the scheme to defraud by using mail,
10   telephones and the Internet to transmit mailings and wires in interstate or foreign
11
     commerce.
12
13         929. The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C.

14   § 1961(1)) include, but are not limited to:
15
                  a.    Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C.
16                      § 1341 by sending or receiving, or by causing to be sent and/or
17                      received, materials via U.S. mail or commercial interstate carriers for
                        the purpose of executing the unlawful scheme to design, manufacture,
18                      market, and sell the prescription opioids by means of false pretenses,
19                      misrepresentations, promises, and omissions.
20                b.    Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C.
21                      § 1343 by transmitting and/or receiving, or by causing to be
                        transmitted and/or received, materials by wire for the purpose of
22                      executing the unlawful scheme to design, manufacture, market, and
23                      sell the prescription opioids by means of false pretenses,
                        misrepresentations, promises, and omissions.
24
           930. Indeed, as summarized herein, the RICO Marketing Defendants used the mail
25
26   and wires to send or receive thousands of communications, publications, representations,
27
28
                                              -330-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 334 of 366 Page ID #:334




1    statements, electronic transmissions and payments to carry-out the Opioid Marketing

2    Enterprise’s fraudulent scheme.
3
           931. Because the RICO Marketing Defendants disguised their participation in the
4
5    enterprise, and worked to keep even the enterprise’s existence secret so as to give the

6    false appearance that their false messages reflected the views of independent third parties,
7
     many of the precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail and
8
9    interstate wire facilities (and corresponding predicate acts of mail and wire fraud) have
10   been hidden and cannot be alleged without access to the books and records maintained
11
     by the RICO Marketing Defendants, Front Groups, and KOLs. Indeed, an essential part
12
13   of the successful operation of the Opioid Marketing Enterprise alleged herein depended
14   upon secrecy. However, Plaintiff has described the occasions on which the RICO
15
     Marketing Defendants, Front Groups, and KOLs disseminated misrepresentations and
16
17   false statements to California consumers, prescribers, regulators and Plaintiff, and how
18   those acts were in furtherance of the scheme.
19
           932. Each instance of racketeering activity alleged herein was related, had similar
20
21   purposes, involved the same or similar participants and methods of commission, and had
22   similar results affecting similar victims, including California consumers, prescribers,
23
     regulators and Plaintiff. The RICO Marketing Defendants, Front Groups and KOLs
24
25   calculated and intentionally crafted the scheme and common purpose of the Opioid
26   Marketing Enterprise to ensure their own profits remained high. In designing and
27
28
                                               -331-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 335 of 366 Page ID #:335




1    implementing the scheme, the RICO Marketing Defendants understood and intended that

2    those in the distribution chain rely on the integrity of the pharmaceutical companies and
3
     ostensibly neutral third parties to provide objective and scientific evidence regarding the
4
5    RICO Marketing Defendants’ products.

6          933. The RICO Marketing Defendants’ pattern of racketeering activity alleged
7
     herein and the Opioid Marketing Enterprise are separate and distinct from each other.
8
9    Likewise, the RICO Marketing Defendants are distinct from the Opioid Marketing
10   Enterprise.
11
           934. The pattern of racketeering activity alleged herein is continuing as of the date
12
13   of this complaint, and, upon information and belief, will continue into the future unless
14   enjoined by this Court.
15
           935. The racketeering activities conducted by the RICO Marketing Defendants,
16
17   Front Groups and KOLs amounted to a common course of conduct, with a similar pattern
18   and purpose, intended to deceive California consumers, prescribers, regulators and the
19
     Plaintiff. Each separate use of the U.S. Mail and/or interstate wire facilities employed by
20
21   Defendants was related, had similar intended purposes, involved similar participants and
22   methods of execution, and had the same results affecting the same victims, including
23
     California consumers, prescribers, regulators and the Plaintiff. The RICO Marketing
24
25   Defendants have engaged in the pattern of racketeering activity for the purpose of
26   conducting the ongoing business affairs of the Opioid Marketing Enterprise.
27
28
                                              -332-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 336 of 366 Page ID #:336




1                936. Each of the RICO Marketing Defendants aided and abetted others in the

2     violations of the above laws, thereby rendering them indictable as principals in the 18
3
      U.S.C. §§ 1341 and 1343 offenses.
4
5                937. As described herein, the RICO Marketing Defendants engaged in a pattern

6     of related and continuous predicate acts for years. The predicate acts constituted a variety
7
      of unlawful activities, each conducted with the common purpose of obtaining significant
8
9     money and revenue from the marketing and sale of their highly addictive and dangerous
10    drugs. The predicate acts also had the same or similar results, participants, victims, and
11
      methods of commission. The predicate acts were related and not isolated events.
12
13               938. The pattern of racketeering activity alleged herein is continuing as of the date

14    of this Complaint and, upon information and belief, will continue into the future unless
15
      enjoined by this Court. The last racketeering incident occurred within five years of the
16
17    commission of a prior incident of racketeering.
18               939. The RICO Marketing Defendants’ violations of law and their pattern of
19
      racketeering activity directly and proximately caused Plaintiff injury in their business and
20
21    property. The RICO Marketing Defendants’ pattern of racketeering activity logically,
22    substantially and foreseeably caused an opioid epidemic. Plaintiff’s injuries, as described
23
24    below, were not unexpected, unforeseen or independent.181 Rather, as Plaintiff alleges,

25    the RICO Marketing Defendants knew that the opioids were unsuited to treatment of
26
27   181 Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1030 (2017).

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                                                                          -333-
                                                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 337 of 366 Page ID #:337




1     long-term chronic, non-acute, and non-cancer pain, or for any other use not approved by

2     the FDA, and knew that opioids were highly addictive and subject to abuse.182
3
      Nevertheless, the RICO Marketing Defendants engaged in a scheme of deception that
4
5     utilized the mail and wires in order to carry-out the Opioid Marketing Enterprises’
6     fraudulent scheme, thereby increasing sales of their opioid products.
7
                 940. It was foreseeable and expected that the RICO Marketing Defendants
8
9     creating and then participating in the Opioid Marketing Enterprise through a pattern of
10
      racketeering activities to carry-out their fraudulent scheme would lead to a nationwide
11
12    opioid epidemic, including increased opioid addiction and overdose.183

13               941. Specifically,   the RICO Marketing Defendants’ creating and then
14
      participating in the Opioid Marketing Enterprise through a pattern of racketeering
15
16    activities to carry-out their fraudulent scheme has injured Plaintiff in the form of

17    substantial losses of money and property that logically, directly and foreseeably arise
18
      from the opioid-addiction epidemic. Plaintiff’s injuries, as alleged throughout this
19
20    complaint, and expressly incorporated herein by reference, include:

21                      a.   Losses caused by the decrease in funding available for Plaintiff’s
22                           health care services for which funding was lost because it was
                             diverted to other health care services, including payments to third-
23                           parties for inpatient rehabilitative services using PRC funding,
24                           designed to address the opioid epidemic;
25
26
     182 Id. at 1041.
27   183 Id.

28
                                                   -334-
                                                COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 338 of 366 Page ID #:338




1                b.    Costs for providing healthcare and medical care, additional
                       therapeutic, and prescription drug purchases, and other treatments for
2                      patients suffering from opioid-related addiction or disease, including
3                      overdoses and deaths;

4                c.    Costs of training emergency and/or first responders in the proper
                       treatment of drug overdoses;
5
6                d.    Costs associated with providing responders with naloxone—an
                       opioid antagonist used to block the deadly effects of opioids in the
7                      context of overdose;
8
                 e.    Costs associated with emergency responses by responders to opioid
9                      overdoses;
10               f.    Costs for providing additional mental-health services, treatment,
11                     counseling, rehabilitation services, and social services to victims of
                       the opioid epidemic and their families;
12
                 g.    Costs for providing treatment of infants born with opioid-related
13
                       medical conditions, or born dependent on opioids due to drug use by
14                     mother during pregnancy;
15               h.    Costs associated with increased burden on Plaintiff’s health care
16                     systems, including increased security, increased staff, and the
                       increased cost due to opioid addiction;
17
18               i.    Costs associated with providing care for children whose parents
                       suffer from opioid-related disability or incapacitation; and
19
                 j.    Loss of efficiency and size of the working population in Plaintiff’s
20                     community.
21
           942. Plaintiff’s injuries were directly and thus proximately caused by these
22
23   Defendants’ racketeering activities because they were the logical, substantial and

24   foreseeable cause of Plaintiff’s injuries. But for the opioid-addiction epidemic the RICO
25
     Marketing Defendants created through their Opioid Marketing Enterprise, Plaintiff would
26
27
28
                                             -335-
                                          COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 339 of 366 Page ID #:339




1    not have spent its limited resources on expanded patient services within its four walls or

2    limited PRC funds on inpatient rehabilitative services with third parties.
3
           943. Plaintiff is the most directly harmed entity and there is no other Plaintiff
4
5    better suited to seek a remedy for the economic harms at issue here.

6          944. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter
7
     alia, actual damages; treble damages; equitable and/or injunctive relief in the form of
8
9    court-supervised corrective communication, actions and programs; forfeiture as deemed
10   proper by the Court; attorney’s fees; all costs and expenses of suit; and pre- and post-
11
     judgment interest.
12
13                               SECOND CLAIM FOR RELIEF
14     Violation of RICO, 18 U.S.C. § 1961 et seq.—Opioid Supply Chain Enterprise
15         (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
          McKesson, Cardinal, and AmerisourceBergen—“RICO Supply Chain
16                                     Defendants”)
17
           945. Plaintiff repeats, re-alleges, and incorporates by reference each and every
18
     allegation set forth above as if fully set forth herein.
19
20         946. At all relevant times, the RICO Supply Chain Defendants were and are

21
     “persons” under 18 U.S.C. § 1961(3) because they are entities capable of holding, and do
22
     hold, “a legal or beneficial interest in property.”
23
24         947. The RICO Supply Chain Defendants together formed an association-in-fact
25
     enterprise, the Opioid Supply Chain Enterprise, for the purpose of increasing the quota
26
     for and profiting from the increased volume of opioid sales in the United States. The
27
28
                                                -336-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 340 of 366 Page ID #:340




1     Opioid Supply Chain Enterprise is an association-in-fact enterprise within the meaning

2     of § 1961. The Opioid Supply Chain Enterprise consists of the RICO Supply Chain
3
      Defendants.
4
5                948. The RICO Supply Chain Defendants were members of the Healthcare

6     Distribution Alliance (the “HDA”).184 Each of the RICO Supply Chain Defendants is a
7
      member, participant, and/or sponsor of the HDA, and has been since at least 2006, and
8
9     utilized the HDA to form the interpersonal relationships of the Opioid Supply Chain
10    Enterprise and to assist them in engaging in the pattern of racketeering activity that gives
11
      rise to the Count.
12
13               949. At all relevant times, the Opioid Supply Chain Enterprise: (a) had an

14    existence separate and distinct from each of the RICO Supply Chain Defendants; (b) was
15
      separate and distinct from the pattern of racketeering in which the RICO Supply Chain
16
17    Defendants engaged; (c) was an ongoing and continuing organization consisting of legal
18    entities, including each of the RICO Supply Chain Defendants; (d) was characterized by
19
      interpersonal relationships among the RICO Supply Chain Defendants; (e) had sufficient
20
21    longevity for the enterprise to pursue its purpose; and (f) functioned as a continuing unit..
22    Each member of the Opioid Supply Chain Enterprise participated in the conduct of the
23
      enterprise, including patterns of racketeering activity, and shared in the astounding
24
25    growth of profits supplied by fraudulently inflating opioid quotas and resulting sales.
26
27   184 History, Health Distribution Alliance, https://www.healthcaredistribution.org/about/hda-history (last accessed Sept. 15, 2017).


28
                                                                           -337-
                                                                        COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 341 of 366 Page ID #:341




1          950. The RICO Supply Chain Defendants carried out, or attempted to carry out, a

2    scheme to defraud federal and state regulators, and the American public by knowingly
3
     conducting or participating in the conduct of the Opioid Supply Chain Enterprise through
4
5    a pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(1) that

6    employed the use of mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud)
7
     and § 1343 (wire fraud).
8
9          951. The RICO Supply Chain Defendants committed, conspired to commit, and/or

10   aided and abetted in the commission of at least two predicate acts of racketeering activity
11
     (i.e. violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple
12
13   acts of racketeering activity that the RICO Supply Chain Defendants committed, or aided
14   and abetted in the commission of, were related to each other, posed a threat of continued
15
     racketeering activity, and therefore constitute a “pattern of racketeering activity.” The
16
17   racketeering activity was made possible by the RICO Supply Chain Defendants’ regular
18   use of the facilities, services, distribution channels, and employees of the Opioid Supply
19
     Chain Enterprise. The RICO Supply Chain Defendants participated in the scheme to
20
21   defraud by using mail, telephone and the Internet to transmit mailings and wires in
22   interstate or foreign commerce.
23
           952. The RICO Supply Chain Defendants also conducted and participated in the
24
25   conduct of the affairs of the Opioid Supply Chain Enterprise through a pattern of
26   racketeering activity by the felonious manufacture, importation, receiving, concealment,
27
28
                                              -338-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 342 of 366 Page ID #:342




1    buying, selling, or otherwise dealing in a controlled substance or listed chemical (as

2    defined in section 102 of the Controlled Substance Act), punishable under any law of the
3
     United States.
4
5          953. The RICO Supply Chain Defendants committed crimes that are punishable

6    as felonies under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes
7
     it unlawful for any person to knowingly or intentionally furnish false or fraudulent
8
9    information in, or omit any material information from, any application, report, record or
10   other document required to be made, kept or filed under this subchapter. A violation of
11
     § 843(a)(4) is punishable by up to four years in jail, making it a felony. 21 U.S.C.
12
13   § 843(d)(1).
14         954. Each of the RICO Supply Chain Defendants is a registrant as defined in the
15
     CSA. Their status as registrants under the CSA requires that they maintain effective
16
17   controls against diversion of controlled substances in schedule I or II, design and operate
18   a system to disclose to the registrant suspicious orders of controlled substances and
19
     inform the DEA of suspicious orders when discovered by the registrant. 21 U.S.C. § 823;
20
21   21 C.F.R. § 1301.74(b).
22         955. The RICO Supply Chain Defendants’ predicate acts of racketeering (18
23
     U.S.C. § 1961(1)) include, but are not limited to:
24
25               a.     Mail Fraud: The RICO Supply Chain Defendants violated 18 U.S.C.
                        § 1341 by sending or receiving, or by causing to be sent and/or
26                      received, materials via U.S. mail or commercial interstate carriers for
27                      the purpose of executing the unlawful scheme to design, manufacture,
28
                                              -339-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 343 of 366 Page ID #:343




1                       market, and sell the prescription opioids by means of false pretenses,
                        misrepresentations, promises, and omissions.
2
                 b.     Wire Fraud: The RICO Supply Chain Defendants violated 18 U.S.C.
3
                        § 1343 by transmitting and/or receiving, or by causing to be
4                       transmitted and/or received, materials by wire for the purpose of
                        executing the unlawful scheme to design, manufacture, market, and
5
                        sell the prescription opioids by means of false pretenses,
6                       misrepresentations, promises, and omissions.
7          956. Controlled Substance Violations: The RICO Supply Chain Defendants who
8
     are Distributor Defendants violated 21 U.S.C. § 823 by knowingly or intentionally
9
10   furnishing false or fraudulent information in, and/or omitting material information from,
11   documents filed with the DEA.
12
           957. The RICO Supply Chain Defendants conducted their pattern of racketeering
13
14   activity in this jurisdiction and throughout the United States through this enterprise.
15         958. The RICO Supply Chain Defendants aided and abetted others in the
16
     violations of the above laws, thereby rendering them indictable as principals in the 18
17
18   U.S.C. §§ 1341 and 1343 offenses.
19         959. The RICO Supply Chain Defendants hid from the general public and
20
     suppressed and/or ignored warnings from third parties, whistleblowers and governmental
21
22   entities about the reality of the suspicious orders that the RICO Supply Chain Defendants
23   were filling on a daily basis – leading to the diversion of hundreds of millions of doses
24
     of prescriptions opioids into the illicit market.
25
26
27
28
                                                -340-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 344 of 366 Page ID #:344




1          960. The RICO Supply Chain Defendants, with knowledge and intent, agreed to

2    the overall objective of their fraudulent scheme and participated in the common course
3
     of conduct to commit acts of fraud and indecency in manufacturing and distributing
4
5    prescription opioids.

6          961. Indeed, for the Defendants’ fraudulent scheme to work, each of the
7
     Defendants had to agree to implement similar tactics regarding manufacturing
8
9    prescription opioids and refusing to report suspicious orders.
10         962. As described herein, the RICO Supply Chain Defendants engaged in a pattern
11
     of related and continuous predicate acts for years. The predicate acts constituted a variety
12
13   of unlawful activities, each conducted with the common purpose of obtaining significant
14   monies and revenues from the sale of their highly addictive and dangerous drugs. The
15
     predicate acts also had the same or similar results, participants, victims, and methods of
16
17   commission. The predicate acts were related and not isolated events.
18         963. The predicate acts all had the purpose of creating the opioid epidemic that
19
     substantially injured Plaintiff’s business and property, while simultaneously generating
20
21   billion-dollar revenue and profits for the RICO Supply Chain Defendants. The predicate
22   acts were committed or caused to be committed by the RICO Supply Chain Defendants
23
     through their participation in the Opioid Supply Chain Enterprise and in furtherance of
24
25   its fraudulent scheme.
26
27
28
                                               -341-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 345 of 366 Page ID #:345




1          964. The pattern of racketeering activity alleged herein and the Opioid Supply

2    Chain Enterprise are separate and distinct from each other. Likewise, the RICO Supply
3
     Chain Defendants are distinct from the enterprise.
4
5          965. The pattern of racketeering activity alleged herein is continuing as of the date

6    of this Complaint and, upon information and belief, will continue into the future unless
7
     enjoined by this Court.
8
9          966. Many of the precise dates of the RICO Supply Chain Defendants’ criminal

10   actions at issue here have been hidden by Defendants and cannot be alleged without
11
     access to Defendants’ books and records. Indeed, an essential part of the successful
12
13   operation of the Opioid Supply Chain Enterprise alleged herein depended upon secrecy.
14         967. By intentionally refusing to report and halt suspicious orders of their
15
     prescription opioids, Defendants engaged in a fraudulent scheme and unlawful course of
16
17   conduct constituting a pattern of racketeering activity.
18         968. It was foreseeable to the RICO Supply Chain Defendants that Plaintiff would
19
     be harmed when they refused to report and halt suspicious orders, because their violation
20
21   of the duties imposed by the CSA and Code of Federal Regulations allowed the
22   widespread diversion of prescription opioids out of appropriate medical channels and into
23
     the illicit drug market—causing the opioid epidemic that the CSA intended to prevent.
24
25         969. The last racketeering incident occurred within five years of the commission

26   of a prior incident of racketeering.
27
28
                                               -342-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 346 of 366 Page ID #:346




1               970. The RICO Supply Chain Defendants’ violations of law and their pattern of

2     racketeering activity directly and proximately caused Plaintiff injury in their business and
3
      property. The RICO Supply Chain Defendants’ pattern of racketeering activity, including
4
5     their refusal to identify, report and halt suspicious orders of controlled substances,

6     logically, substantially and foreseeably cause an opioid epidemic. Plaintiff was injured
7
      by the RICO Supply Chain Defendants’ pattern of racketeering activity and the opioid
8
9     epidemic that they created.
10              971. The RICO Supply Chain Defendants knew that the opioids they
11
      manufactured and supplied were unsuited to treatment of long-term, chronic, non-acute,
12
13    and non-cancer pain, or for any other use not approved by the FDA, and knew that opioids
14
      were highly addictive and subject to abuse. 185 Nevertheless, the RICO Supply Chain
15
      Defendants engaged in a scheme of deception, that utilized the mail and wires as part of
16
17    their fraud, in order to increase sales of their opioid products by refusing to identify,
18
      report suspicious orders of prescription opioids that they knew were highly addictive,
19
20    subject to abuse, and were actually being diverted into the illegal market.186

21              972. The RICO Supply Chain Defendants’ predicate acts and pattern of
22
      racketeering activity were a cause of the opioid epidemic which has injured Plaintiff in
23
24
25
26
     185 Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1030 (2017).
27   186 City of Everett v. Purdue Pharma L.P., Case No. 17-cv-00209, 2017 WL 4236062, *2 (W.D. Wash. Sept. 25, 2017).

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                                                                      -343-
                                                                   COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 347 of 366 Page ID #:347




1    the form of substantial losses of money and property that logically, directly and

2    foreseeably arise from the opioid-addiction epidemic.
3
           973. Specifically, Plaintiff’s injuries, as alleged throughout this complaint, and
4
5    expressly incorporated herein by reference, include:

6                a.    Losses caused by the decrease in funding available for Plaintiff’s
7                      public services for which funding was lost because it was diverted to
                       other public services designed to address the opioid epidemic;
8
                 b.    Costs for providing healthcare and medical care, additional
9
                       therapeutic, and prescription drug purchases, and other treatments for
10                     patients suffering from opioid-related addiction or disease, including
                       overdoses and deaths;
11
12               c.    Costs of training emergency and/or first responders in the proper
                       treatment of drug overdoses;
13
                 d.    Costs associated with providing responders with naloxone—an
14
                       opioid antagonist used to block the deadly effects of opioids in the
15                     context of overdose;
16               e.    Costs associated with emergency responses responders to opioid
17                     overdoses;
18               f.    Costs for providing mental-health services, treatment, counseling,
19                     rehabilitation services, and social services to victims of the opioid
                       epidemic and their families;
20
                 g.    Costs associated with referring patients to third parties for inpatient
21                     rehabilitation services, using limited PRC funds to provide higher
22                     levels of care to its addicted patients;
23               h.    Costs for providing treatment of infants born with opioid-related
24                     medical conditions, or born dependent on opioids due to drug use by
                       mother during pregnancy;
25
                 i.    Costs associated with increased burden on Plaintiff’s health care
26                     systems, including increased security, increased staff, and the
27                     increased cost due to opioid addiction;
28
                                              -344-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 348 of 366 Page ID #:348




1                  j.   Costs associated with providing care for children whose parents
                        suffer from opioid-related disability or incapacitation; and
2
                   k.   Loss of revenue due to the decreased efficiency and size of the
3
                        working population in Plaintiff’s communities.
4
           974. Plaintiff’s injuries were proximately caused by Defendants’ racketeering
5
6    activities because they were the logical, substantial and foreseeable cause of Plaintiff’s

7    injuries. But for the opioid-addiction epidemic created by Defendants’ conduct, Plaintiff
8
     would not diverted its resources to fighting and treating the opioid epidemic in its patient
9
10   population.
11         975. Plaintiff’s injuries were directly caused by the RICO Supply Chain
12
     Defendants’ pattern of racketeering activities.
13
14         976. Plaintiff is most directly harmed and there is no other Plaintiff better suited

15   to seek a remedy for the economic harms at issue here.
16
           977. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter
17
18   alia, actual damages; treble damages; equitable and/or injunctive relief in the form of
19   court-supervised corrective communication, actions and programs; forfeiture as deemed
20
     proper by the Court; attorney’s fees; all costs and expenses of suit; and pre- and post-
21
22   judgment interest, including, inter alia:
23                 a.   Actual damages and treble damages, including pre-suit and post-
24                      judgment interest;
25                 b.   An order enjoining any further violations of RICO;
26                 c.   An order enjoining any further violations of any statutes alleged to
27                      have been violated in this Complaint;
28
                                               -345-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 349 of 366 Page ID #:349




1              d.   An order enjoining the commission of any tortious conduct, as
                    alleged in this Complaint;
2
               e.   An order enjoining any future marketing or misrepresentations
3
                    regarding the health benefits or risks of prescription opioids use,
4                   except as specifically approved by the FDA;
5              f.   An order enjoining any future marketing of opioids through non-
6                   branded marketing including through the Front Groups, KOLs,
                    websites, or in any other manner alleged in this Complaint that
7                   deviates from the manner or method in which such marketing has
8                   been approved by the FDA;
9              g.   An order enjoining any future marketing to vulnerable populations,
                    including but not limited to, persons over the age of fifty-five,
10
                    anyone under the age of twenty-one, and veterans;
11
               h.   An order compelling the Defendants to make corrective advertising
12                  statements that shall be made in the form, manner and duration as
13                  determined by the Court, but not less than print advertisements in
                    national and regional newspapers and medical journals, televised
14                  broadcast on major television networks, and displayed on their
15                  websites, concerning: (1) the risk of addiction among patients taking
                    opioids for pain; (2) the ability to manage the risk of addiction; (3)
16                  pseudoaddiction is really addiction, not a sign of undertreated
17                  addiction; (4) withdrawal from opioids is not easily managed; (5)
                    increasing opioid dosing presents significant risks, including
18                  addiction and overdose; (6) long term use of opioids has no
19                  demonstrated improvement of function; (8) use of time-released
                    opioids does not prevent addiction; (9) abuse-deterrent formulations
20                  do not prevent opioid abuse; and (10) that manufacturers and
21                  distributors have duties under the CSA to monitor, identify,
                    investigate, report and halt suspicious orders and diversion but failed
22                  to do so;
23
               i.   An order enjoining any future lobbying or legislative efforts
24                  regarding the manufacturer, marketing, distribution, diversion,
25                  prescription, or use of opioids;

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                                          -346-
                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 350 of 366 Page ID #:350




1              j.   An order requiring all Defendants to publicly disclose all documents,
                    communications, records, data, information, research or studies
2                   concerning the health risks or benefits of opioid use;
3
               k.   An order prohibiting all Defendants from entering into any new
4                   payment or sponsorship agreement with, or related to, any: Front
                    Group, trade association, doctor, speaker, CME, or any other person,
5
                    entity, or association, regarding the manufacturer, marketing,
6                   distribution, diversion, prescription, or use of opioids;
7              l.   An order establishing a National Foundation for education, research,
8                   publication, scholarship, and dissemination of information regarding
                    the health risks of opioid use and abuse to be financed by the
9                   Defendants in an amount to be determined by the Court;
10
               m.   An order enjoining any diversion of opioids or any failure to monitor,
11                  identify, investigate, report and halt suspicious orders or diversion of
                    opioids;
12
13             n.   An order requiring all Defendants to publicly disclose all documents,
                    communications, records, information, or data, regarding any
14                  prescriber, facility, pharmacy, clinic, hospital, manufacturer,
15                  distributor, person, entity or association regarding suspicious orders
                    for or the diversion of opioids;
16
17             o.   An order divesting each Defendant of any interest in, and the
                    proceeds of any interest in, the Marketing and Supply Chain
18                  Enterprises, including any interest in property associated with the
19                  Marketing and Supply Chain Enterprises;

20             p.   Dissolution and/or reorganization of any trade industry organization,
                    Front Group, or any other entity or association associated with the
21                  Marketing and Supply Chain Enterprises identified in this Complaint,
22                  as the Court sees fit;
23             q.   Dissolution and/or reorganization of any Defendant named in this
24                  Complaint as the Court sees fit;

25             r.   Suspension and/or revocation of the license, registration, permit, or
                    prior approval granted to any Defendant, entity, association or
26                  enterprise named in the Complaint regarding the manufacture or
27                  distribution of opioids;
28
                                          -347-
                                       COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 351 of 366 Page ID #:351




1                 s.     Forfeiture as deemed appropriate by the Court; and

2                 t.     Attorney’s fees and all costs and expenses of suit.
3                                  THIRD CLAIM FOR RELIEF
4
                                            Negligence
5                                     (Against All Defendants)
6
            978. Plaintiff incorporates by reference all other paragraphs of this Complaint as
7
     if fully set forth herein, and further alleges:
8
9           979. Defendants owed Plaintiff a duty to not expose Plaintiff to an unreasonable

10
     risk of harm.
11
            980. Defendants had a legal duty to exercise reasonable and ordinary care and skill
12
13   in accordance with applicable standards of conduct in manufacturing, advertising,
14
     marketing, selling and/or distributing opioids.
15
            981. Defendants had a duty not to breach the standard of care established under
16
17   California law and the federal Controlled Substances Act (“CSA”) and its implementing
18
     regulations to report suspicious prescribing and to maintain systems to detect and report
19
20   such activity.

21          982. The degree of care the law requires is commensurate with the risk of harm
22
     the conduct creates. Defendants’ conduct in marketing, distributing, and selling
23
24   dangerously addictive drugs requires a high degree of care and places them in a position

25   of great trust and responsibility vis a vis Plaintiff. Their duty cannot be delegated.
26
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                                                -348-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 352 of 366 Page ID #:352




1          983. Each Defendant breached its duty to exercise the degree of care, prudence,

2    watchfulness, and vigilance commensurate with the dangers involved in selling
3
     dangerous controlled substances.
4
5          984. Defendants breached their duty to Plaintiff by, inter alia:

6                a.     Distributing and selling opioids in ways that facilitated and
7                       encouraged their flow into the illegal, secondary market;
8                b.     Distributing and selling opioids without maintaining effective
                        controls against the diversion of opioids;
9
10               c.     Choosing not to effectively monitor for suspicious orders;
11               d.     Choosing not to investigate suspicious orders;
12               e.     Choosing not to report suspicious orders;
13
                 f.     Choosing not to stop or suspend shipments of suspicious orders; and
14
                 g.     Distributing and selling opioids prescribed by “pill mills” when
15                      Defendants knew or should have known the opioids were being
16                      prescribed by “pill mills.”
17         985. The Marketing Defendants breached their duty to Plaintiff by deceptively
18
     marketing opioids, including minimizing the risks of addiction and overdose and
19
20   exaggerating the purported benefits of long-term use of opioids for the treatment of

21   chronic pain.
22
           986. Plaintiff does not allege that Defendants were negligent for failure to protect
23
24   from harm. Rather, Defendants engaged in conduct the foreseeable result of which was

25   to cause harm to Plaintiff.
26
27
28
                                              -349-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 353 of 366 Page ID #:353




1          987. Defendants have engaged in affirmative acts of creating an illegal, secondary

2    prescription opioid market by failing to exercise adequate control over the marketing,
3
     distribution, and sale of their prescription opioids.
4
5          988. Defendants were negligent by marketing, distributing, and selling opioids in

6    a way that created and fostered an illegal, secondary prescription opioid market that
7
     resulted in a foreseeable and unreasonable risk of harm to Plaintiff.
8
9          989. The method by which Defendants created this market was by marketing,

10   distributing, and selling opioids without regard to the likelihood that the opioids would
11
     be placed in the hands of criminals, addicts, juveniles, and others not permitted to use or
12
13   possess prescription opioids.
14         990. A reasonably prudent opioid manufacturer and distributor should have
15
     anticipated an injury to Plaintiff as a probable result of marketing, distributing, and selling
16
17   prescription opioids in this manner.
18         991. It was reasonably foreseeable that Defendants’ actions and omissions would
19
     result in the harm to Plaintiff as described herein.
20
21         992. Defendants had control over their conduct in Plaintiff’s Tribal communities

22   and patient service area. Marketing Defendants controlled their deceptive advertising
23
     and efforts to mislead the public, including their acts and omissions in detailing by their
24
25   sales representatives, online communications, publications, Continuing Medical
26   Education programs and other speaking events, and other means described in this
27
28
                                                -350-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 354 of 366 Page ID #:354




1    Complaint. Defendants had control over their own shipments of opioids and over their

2    reporting, or lack thereof, of suspicious prescribers and orders. Each of the Defendants
3
     controlled the systems they developed to prevent diversion, including the criteria and
4
5    process they used to identify suspicious orders, whether and to what extent they trained

6    their employees to report and halt suspicious orders, and whether they filled orders they
7
     knew or should have known were likely to be diverted or fuel an illegal market.
8
9          993. Because of the Marketing Defendants’ deceptive marketing of opioids and

10   each of the Defendants’ special positions within the closed system of opioid distribution,
11
     without Defendants’ actions, opioid use would not have become so widespread, and the
12
13   enormous public health hazard of prescription opioid and heroin overuse, abuse, and
14   addiction that now exists would have been averted.
15
           994. Defendants also misleadingly portrayed themselves as cooperating with law
16
17   enforcement and actively working to combat the opioid epidemic when, in reality,
18   Defendants failed to satisfy even their minimum, legally-required obligations to report
19
     suspicious orders. Defendants voluntarily undertook duties, through their statements to
20
21   the media, regulators, and the public at large, to take all reasonable precautions to prevent
22   drug diversion.
23
           995. Defendants are in the business of manufacturing, marketing, and/or
24
25   distributing prescription drugs, including opioids, which are specifically known to
26
27
28
                                               -351-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 355 of 366 Page ID #:355




1    Defendants to be dangerous because inter alia these drugs are defined under federal and

2    state law as substances posing a high potential for abuse and addiction.
3
           996. Indeed, opioids are akin to medical-grade heroin. Defendants’ wrongful
4
5    conduct of deceptively marketing and pushing as many opioids onto the market as

6    possible led directly to the harm to Plaintiff—exactly as would be expected when
7
     medical-grade heroin in the form of prescription opioids are deceptively marketed, flood
8
9    the community, and are diverted into an illegal, secondary market.
10         997. Reasonably prudent manufacturers and distributors of prescription opioids
11
     would have anticipated that the scourge of opioid addiction would wreak havoc on
12
13   communities, and the significant costs which would be imposed upon the Tribal
14   governmental entities associated with those communities, including the three Tribal
15
     governments that operate FRTH. Indeed, it is a violation of R.C. § 4729.35 and a
16
17   violation of R.C. § 4729.35, 21 U.S.C. § 823, and 21 C.F.R. § 1301.74 for Defendants
18   not to report suspicious orders and exercise due diligence not to ship such orders unless
19
     and until the suspicion has been removed. The closed system of opioid distribution,
20
21   whereby wholesale distributors are the gatekeepers between manufacturers and
22   pharmacies, exists for the purpose of controlling dangerous substances such as opioids
23
     and preventing diversion and abuse.
24
25         998. Marketing Defendants knew or should have known, that their affirmative

26   misconduct in engaging in an aggressive, widespread, and misleading campaign in
27
28
                                              -352-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 356 of 366 Page ID #:356




1    marketing narcotic drugs created an unreasonable risk of harm. The Defendants’ sales

2    data, reports from sales representatives, and internal documents, should have put them on
3
     notice that such harm was not only foreseeable, but was actually occurring. Defendants
4
5    nevertheless chose to deceptively withhold information about the dangers of opioids from

6    Plaintiff, physicians, patients, and the public.
7
           999. Defendants conduct was negligence per se in that Defendants violated federal
8
9    law, including, but not limited to, 21 U.S.C. §§ 823 and 827(d)(1); 21 C.F.R. §§ 1301.74,
10   1304.21, 1304.22, and 1304.33(e); including, but not limited to, R.C. §2925.02(A) and §
11
     4729.01(F). Plaintiff is a party intended to be protected by such laws and whose injuries
12
13   said laws were designed to prevent. Defendants’ violations of said laws proximately
14   caused injury to Plaintiff.
15
           1000. Defendants also violated federal and California statutes and regulations,
16
17   including the controlled substances laws, by, inter alia:
18               a.     Distributing and selling opioids in ways that facilitated and
19                      encouraged their flow into the illegal, secondary market;
20               b.     Distributing and selling opioids without maintaining effective
21                      controls against the diversion of opioids;

22               c.     Choosing not to effectively monitor for suspicious orders;
23               d.     Choosing not to investigate suspicious orders;
24               e.     Choosing not to report suspicious orders;
25
                 f.     Choosing not to stop or suspend shipments of suspicious orders; and
26
27
28
                                               -353-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 357 of 366 Page ID #:357




1                g.     Distributing and selling opioids prescribed by “pill mills” when
                        Defendants knew or should have known the opioids were being
2                       prescribed by “pill mills.”
3
           1001. As a direct and proximate result of Defendants’ negligence and/or negligence
4
     per se, Plaintiff has suffered and will continue to suffer economic damages including, but
5
6    not limited to, significant expenses for emergency, health, inpatient rehabilitation, and
7
     other culturally appropriate health and wellness services.
8
           1002. As a direct and proximate result of Defendants’ negligence and/or negligence
9
10   per se, Plaintiff has suffered and will continue to suffer damages.
11
           1003. As a direct and proximate result of Defendants’ negligent, willful, wanton,
12
     and intentional acts, omissions, misrepresentations and otherwise culpable acts, there is
13
14   now a national opioid epidemic.
15
           1004. Defendants’ misconduct alleged in this case is ongoing and persistent.
16
           1005. Defendants’ misconduct alleged in this case does not concern a discrete event
17
18   or discrete emergency of the sort a political subdivision would reasonably expect to occur,
19
     and is not part of the normal and expected costs of a Tribal government’s existence.
20
21   Plaintiff alleges wrongful acts which are neither discrete nor of the sort a consortium of

22   Tribal governments can reasonably expect in operating a Tribal health program.
23
           1006. Plaintiff has incurred expenditures for special programs over and above
24
25   Plaintiff’s ordinary health and wellness services.

26
27
28
                                              -354-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 358 of 366 Page ID #:358




1          1007. Plaintiff has suffered an indivisible injury as a result of the tortious conduct

2    of Defendants.
3
           1008. The tortious conduct of each Defendant was a substantial factor in producing
4
5    harm to Plaintiff.

6          1009. Defendants acted with actual malice because Defendants acted with a
7
     conscious disregard for the rights and safety of other persons, and said actions have a
8
9    great probability of causing substantial harm.
10         1010. Plaintiff seeks all legal and equitable relief as allowed by law, including inter
11
     alia injunctive relief, restitution, disgorgement of profits, compensatory and punitive
12
13   damages, and all damages allowed by law to be paid by the Defendants, attorney fees and
14   costs, and pre- and post-judgment interest.
15
                                 FOURTH CLAIM FOR RELIEF
16
17                          Fraud and Fraudulent Misrepresentation
                                   (Against All Defendants)
18
           1011. Plaintiff incorporates by reference all other paragraphs of this Complaint as
19
20   if fully set forth here, and further alleges as follows.
21
           1012. Defendants violated their general duty under common law, and Sections 1709
22
23   and 1710 of the California Civil Code, all of which prohibit deceit, making knowingly

24   false statements, and either omitting or concealing information that makes statements
25
     Defendants did make knowingly false.
26
27
28
                                                -355-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 359 of 366 Page ID #:359




1            1013. As alleged herein, the Manufacturer Defendants made false representations

2    and concealed material facts regarding the use of opioids to treat chronic, non-cancer
3
     pain.
4
5            1014. As alleged herein, Defendants made false statements regarding their efforts

6    to prevent diversion, were either aware or suspected that they were distributing opioids
7
     to certain persons or entities that were likely or certain to be diverted for inappropriate or
8
9    unlawful use, and either concealed this information from Plaintiff and the public or made
10   false representations regarding these facts.
11
             1015. Defendants made these false representations and concealed facts with
12
13   knowledge of the falsity of their representations, and did so with the intent of misleading
14   the public, including tribal communities, its physicians, healthcare providers, and
15
     patients.
16
17           1016. These false representations and concealments were reasonably calculated to

18   deceive the Plaintiff and the physicians who prescribed opioids for its patients, were made
19
     with the intent to deceive and induce reliance, and did in fact deceive all of these persons.
20
21           1017. The Plaintiff, patients, and the physicians who prescribed opioids reasonably

22   and justifiably relied on these false representations and concealments of material fact,
23
     and the FRTH’s injuries were proximately caused by this reliance.
24
25           1018. The injuries alleged by the Plaintiff herein were sustained as a direct and

26   proximate cause of the Defendants’ fraudulent conduct.
27
28
                                               -356-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 360 of 366 Page ID #:360




1            1019. The Plaintiff seeks economic losses (direct, incidental, or consequential

2    pecuniary losses) resulting from Defendants’ fraudulent activity, including fraudulent
3
     misrepresentations and fraudulent concealment.
4
5            1020. The Plaintiff seeks all legal and equitable relief as allowed by law, including

6    inter alia injunctive relief, restitution, disgorgement of profits, compensatory damages
7
     and punitive damages, and all damages allowed by law to be paid by the Defendants,
8
9    attorney fees and costs, and pre- and post-judgment interest.
10
11                                 FIFTH CLAIM FOR RELIEF
12
                                        Unjust Enrichment
13                                    (Against All Defendants)
14
             1021. Plaintiff incorporates by reference all other paragraphs of this Complaint as
15
16   if fully set forth herein, and further alleges:

17           1022. As an expected and intended result of their conscious wrongdoing as set forth
18
     in this Complaint, Defendants have profited and benefited from the increase in the
19
20   distribution and purchase of opioids within Plaintiff’s Tribal communities and service

21   area, including from opioids foreseeably and deliberately diverted within and into
22
     Plaintiff’s Tribal communities.
23
24           1023. Unjust enrichment arises not only where an expenditure by one party adds to

25   the property of another, but also where the expenditure saves the other from expense or
26
     loss.
27
28
                                                -357-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 361 of 366 Page ID #:361




1          1024. Plaintiff has expended substantial amounts of money in an effort to remedy

2    or mitigate the societal harms caused by Defendants’ conduct.
3
           1025. These expenditures include the provision of healthcare services and treatment
4
5    services, as well as contracting with third parties to provide inpatient rehabilitative

6    services to people who use opioids.
7
           1026. These expenditures have helped sustain Defendants’ businesses.
8
9          1027. Plaintiff has conferred a benefit upon Defendants by paying for Defendants’

10   externalities:   the cost of the harms caused by Defendants’ improper distribution
11
     practices.
12
13         1028. Defendants were aware of these obvious benefits, and their retention of the

14   benefit is unjust.
15
           1029. Plaintiff has paid for the cost of Defendants’ externalities and Defendants
16
17   have benefited from those payments because they allowed them to continue providing
18   customers with a high volume of opioid products. Because of their deceptive marketing
19
     of prescription opioids, Marketing Defendants obtained enrichment they would not
20
21   otherwise have obtained. Because of their conscious failure to exercise due diligence in
22   preventing diversion, Defendants obtained enrichment they would not otherwise have
23
     obtained. The enrichment was without justification and Plaintiff lacks a remedy provided
24
25   by law.
26
27
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                                              -358-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 362 of 366 Page ID #:362




1           1030. Defendants have unjustly retained benefits to the detriment of Plaintiff, and

2    Defendants’ retention of such benefits violates the fundamental principles of justice,
3
     equity, and good conscience.
4
5           1031. Defendants’ misconduct alleged in this case is ongoing and persistent.

6           1032. Defendants’ misconduct alleged in this case does not concern a discrete event
7
     or discrete emergency of the sort a political subdivision would reasonably expect to occur,
8
9    and is not part of the normal and expected costs of a Tribal government’s existence.
10   Plaintiff alleges wrongful acts which are neither discrete nor of the sort a consortium of
11
     Tribal governments can reasonably expect while operating a Tribal governmental health
12
13   program.
14          1033. Plaintiff has incurred expenditures for special programs over and above
15
     Plaintiff’s ordinary services.
16
17          1034. Plaintiff seeks an order compelling Defendants to disgorge all unjust

18   enrichment to Plaintiff; and awarding such other, further, and different relief as this
19
     Honorable Court may deem just.
20
21                                 SIXTH CLAIM FOR RELIEF
22                                       Civil Conspiracy
23                                    (Against All Defendants)

24          1035. Plaintiff incorporates by reference all other paragraphs of this Complaint as
25
     if fully set forth herein, and further alleges:
26
27
28
                                                -359-
                                             COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 363 of 366 Page ID #:363




1          1036. Defendants engaged in a civil conspiracy in their unlawful marketing of

2    opioids and/or distribution of opioids into California and Plaintiff’s Tribal communities
3
     and patient service area.
4
5          1037. Defendants      engaged in a civil conspiracy to commit fraud and

6    misrepresentation in conjunction with their unlawful marketing of opioids and/or
7
     distribution of opioids into California and Plaintiff’s Tribal communities.
8
9          1038. Defendants unlawfully failed to act to prevent diversion and failed to monitor

10   for, report, and prevent suspicious orders of opioids.
11
           1039. The Marketing Defendants further unlawfully marketed opioids in the
12
13   California and Plaintiff’s Tribal communities in furtherance of that conspiracy.
14         1040. Defendants’ conspiracy and acts in furtherance thereof are alleged in detail
15
     in this Complaint, including, without limitation, in Plaintiff’s Counts for violations of
16
17   RICO. Such allegations are specifically incorporated herein.
18         1041. Defendants acted with a common understanding or design to commit
19
     unlawful acts, as alleged herein, and acted purposely, without a reasonable or lawful
20
21   excuse, which directly caused the injuries alleged herein.
22         1042. Defendants acted with malice, purposely, intentionally, unlawfully, and
23
     without a reasonable or lawful excuse.
24
25         1043. Defendants conduct in furtherance of the conspiracy described herein was

26   not mere parallel conduct because each Defendant acted directly against their commercial
27
28
                                              -360-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 364 of 366 Page ID #:364




1    interests in not reporting the unlawful distribution practices of their competitors to the

2    authorities, which they had a legal duty to do. Each Defendant acted against their
3
     commercial interests in this regard due to an actual or tacit agreement between the
4
5    Defendants that they would not report each other to the authorities so they could all

6    continue engaging in their unlawful conduct.
7
           1044. Defendants’ conspiracy, and Defendants’ actions and omissions in
8
9    furtherance thereof, caused the direct and foreseeable losses alleged herein.
10         1045. Defendants’ actions demonstrated both malice and also aggravated and
11
     egregious fraud. Defendants engaged in the Conduct alleged herein with a conscious
12
13   disregard for the rights and safety of other persons, even though that conduct has a great
14   probability of causing substantial harm. Marketing Defendants’ fraudulent wrongdoing
15
     was also particularly gross.
16
17         1046. Defendants’ misconduct alleged in this case is ongoing and persistent.

18         1047. Defendants’ misconduct alleged in this case does not concern a discrete event
19
     or discrete emergency of the sort a political subdivision would reasonably expect to occur,
20
21   and is not part of the normal and expected costs of a Tribal government’s existence.
22   Plaintiff alleges wrongful acts which are neither discrete nor of the sort a consortium of
23
     Tribal governments can reasonably expect in operating a Tribal government health
24
25   program.
26
27
28
                                              -361-
                                           COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 365 of 366 Page ID #:365




1          1048. Plaintiff has incurred expenditures for special programs over and above

2    Plaintiff’s ordinary services.
3
           1049. Plaintiff seeks all legal and equitable relief as allowed by law, including inter
4
5    alia injunctive relief, restitution, disgorgement of profits, compensatory and punitive

6    damages, and all damages allowed by law to be paid by the Defendants, attorney fees and
7
     costs, and pre-and post-judgment interest.
8
9                                     PRAYER FOR RELIEF
10         1050. Plaintiff respectfully request that this Court enter an order of judgment
11
     granting all relief requested in this complaint, and/or allowed at law or in equity,
12
     including:
13
14                a.   abatement of the nuisance;
15                b.   actual damages;
16
                  c.   treble or multiple damages and civil penalties as allowed by statute;
17
                  d.   punitive damages;
18
19                e.   exemplary damages;

20                f.   disgorgement of unjust enrichment;
21                g.   equitable and injunctive relief in the form of Court-enforced
22                     corrective action, programs, and communications, including culturally
                       appropriate equitable relief aimed at FRTH’s unique Tribal
23                     communities and patient population;
24                h.   forfeiture, disgorgement, restitution and/or divestiture of proceeds and
25                     assets;
26                i.   attorneys’ fees;
27
28
                                               -362-
                                            COMPLAINT
Case 5:19-cv-00823-KK Document 1 Filed 05/02/19 Page 366 of 366 Page ID #:366




1              j.   costs and expenses of suit;

2              k.   pre- and post-judgment interest; and
3              l.   such other and further relief as this Court deems appropriate.
4
5                                          Respectfully submitted,
     Dated: May 2, 2019
6
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                                        COMPLAINT
